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                                          No. 21-2017 (L)


                                           In the
                              United States Court of Appeals
                                  for the Fourth Circuit

                              MARYLAND SHALL ISSUE,                  ,
                                   Plaintiffs-Appellants
                                                 v.
                                 LAWRENCE HOGAN,                 ,
                                    Defendants-Appellees

                         On Appeal from the United States District Court
                                   for the District of Maryland
                        No. 1:16-cv-03311-ELH (Hon. Ellen L. Hollander)
                                     JOINT APPENDIX VOLUME IV
                                            JA1429-JA1871

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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

        MARYLAND SHALL ISSUE, INC., et al.; )
                                            )
                                            )
        Plaintiffs,                         )
                                            )
                     v.                     )                      Case No.: 16-cv-3311-ELH
                                            )
        LAWRENCE HOGAN, et al.;             )
                                            )
                                            )
        Defendants.                         )
                                            )


                                DECLARATION OF CONNOR M. BLAIR

              I, Connor Blair, under penalty of perjury, declare and state as follows:

              1.     I am an attorney at Bradley Arant Boult Cummings LLP. I am over the age of 18

       and am competent to testify, upon personal knowledge, to the matters stated below.

              2.     Attached as Exhibit 1 to Plaintiffs’ Memorandum in Support of Cross-Motion for

       Summary Judgment and in Opposition to Defendants’ Motion for Summary Judgment (“Plaintiffs’

       Cross-Motion”) is a true and correct copy of the Redacted Declaration of Stephen Schneider, dated

       October 3, 2018. The unredacted declaration is filed under seal identified as ECF 77-01.

              3.     Attached as Exhibit 2 to Plaintiffs’ Cross-Motion is a true and correct copy of the

       Declaration of Mark Pennak, dated January 22, 2021, including true and correct copies of its

       accompanying exhibits.

              4.     Identified as Exhibit 9 to Plaintiffs’ Cross-Motion is a true and correct copy of the

       77R Handgun Registration presentation produced by Defendants in this case, in CD-Rom format

       previously filed and identified as ECF 77-09.



                                                                                               EXHIBIT
                                                                                                 27
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              5.      Attached as Exhibit 14 to Plaintiffs’ Cross-Motion is a true and correct copy of

       Defendants William M. Pallozzi’s Third Supplemental Answers to Plaintiff Atlantic Guns, Inc.’s

       First Set of Interrogatories and a true and correct copy of Assistant Attorney General Robert Scott’s

       October 30, 2020 email that updates the number of HQL applications initiated but not submitted

       as final to the Maryland State Police.

              6.      Attached as Exhibit 15 to Plaintiffs’ Cross-Motion is a true and correct copy of

       Deposition Exhibits 48, 105, and 106 and a true and correct copy of Maryland State Police Firearm

       Transfer Data emailed by Mr. Scott on October 27, 2020.

              7.      Attached as Exhibit 20 to Plaintiffs’ Cross-Motion is a true and correct copy of

       Defendant William M. Pallozzi’s Answers to Plaintiff Atlantic Guns, Inc.’s First Set of

       Interrogatories.

              8.      Attached as Exhibit 21 to Plaintiffs' Cross-Motion is a true and correct copy of the

       Handgun License administrative log produced by Defendants in this case as bates MSP

       Supplemental Production Jan.2021_000001-Jan.2021_000199. To calculate the number of

       applications that were administratively denied after thirty days because the safety course instructor

       or fingerprint vendor had failed to timely submit the Firearms Safety Training Certificate to the

       Maryland State Police or live-scan fingerprints to the Central Repository, I reviewed the reasons

       for disapproval, identified applications added to the administrative log due to livescan, training, or

       instructor reasons, and added the total number of these applications.

              9.      Attached as Exhibit 22 to Plaintiffs' Cross-Motion is a true and correct copy of a

       chart of Maryland crime statistical data and its accompanying exhibits that support the chart.




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              10.    Attached as Exhibit 23 to Plaintiffs' Cross-Motion is a true and correct copy of the

       Declaration of Carlisle Moody, dated October 3, 2018, including true and correct copies of its

       accompanying exhibits.

              11.    Attached as Exhibit 24 to Plaintiffs' Cross-Motion is a true and correct copy of the

       Declaration of Gary Kleck, dated October 4, 2018, including true and correct copies of its

       accompanying exhibits.

              12.    Attached as Exhibit 28 to Plaintiffs' Cross-Motion is a true and correct copy of the

       Supplemental Declaration of Gary Kleck, dated January 26, 2020, including true and correct copies

       of its accompanying exhibits.

              I declare and affirm under penalty of perjury that the foregoing is true and correct to the

       best of my knowledge, information, and belief.



       /s/ Connor M. Blair                                         January 27, 2021
       Connor M. Blair                                             Date




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                                                    JA1443
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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

      MARYLAND SHALL ISSUE, INC., et al.,

             Plaintiffs,

      v.                                                            Civil Case No. 16-cv-3311-ELH

      LAWRENCE HOGAN, et al.,


             Defendants.



                           SUPPLEMENTAL DECLARATION OF GARY KLECK

             I, Gary Kleck, under penalty of perjury, declare and state:

             1.      This supplemental declaration is a response to Daniel W. Webster’s Second

      Supplemental Declaration, in which he cites three additional studies that purportedly buttress his

      opinion supporting Maryland’s Handgun Qualification License (“HQL”) law. In Part 1 I explain

      fundamental problems afflicting Webster’s evaluation of background check laws, addressing

      problems characterizing all of his studies on this topic. Then, in Parts 2-4 I separately examine

      each of the three studies he newly cites in the Second Supplemental Declaration.

      Part 1 - Problems with the Webster Research Program as a Whole

             2.      Each of the individual studies on which Webster relies in his Second Supplement

      is fatally flawed in itself, but the entire series of studies on background check laws co-authored by

      Webster is misguided and misleading as a whole, showing all the earmarks of data-dredging to

      obtain chance findings and present them as if they were tests of a single a priori hypothesis

      formulated before looking at the data.




                                                                                                    EXHIBIT
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             3.      “Data dredging” is a misuse of data analysis in which the analyst examines a large,

      complex body of data (such as the set of all the rates of firearm violence in all states over the past

      80 years), identifies some chance (non-causal) associations, formulates a hypothesis after this peek

      at the data, conducts an analysis rediscovering these associations, then reports the results of the

      analysis as if it provides a test of a single a priori hypothesis, i.e. one formulated before examining

      the data. The strategy is disreputable partly because it employs tests of significance that rely on

      the assumption that the analyst was only testing a single hypothesis (such as “firearm purchasing

      licensing laws that require the applicant to personally appear before law enforcement authorities

      reduce firearms homicide”) when the analyst had actually tested dozens or hundreds of variants of

      the hypothesis (e.g., “some kind of gun control law (unspecified) reduces some kind of crime or

      violence”). Tests of statistical significance are supposed to assess the probability that a statistical

      result could be entirely the result of chance factors (rather than the product of actual causation),

      but the significance levels yielded when the analyst indulges in data dredging are grossly

      inaccurate, because the probability of a purely chance finding is far greater when the analyst

      performs dozens or hundreds of tests rather than the single test assumed by conventional

      significance computations (for a classic discussion of data dredging, see Selvin and Stuart 1966).

             4.      The tactic is notably unreliable because it lends itself to cherry-picking

      unrepresentative subsets of the available data and reporting misleading results that confirm the

      researcher’s expectations, and not reporting results contrary to those expectations.

             5.      There have been thousands of changes in gun control law in the 50 states and the

      District of Columbia (DC) in past decades. Further, over the past 80 years or so, homicide and

      suicide rates have increased about half the time and decreased about half the time (U.S. Federal

      Bureau of Investigation 2017; Kleck 1997, pp. 262-263, 289-290). Thus, at any one time that a


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      new gun control law is passed or an old one is repealed there is roughly a 50% chance that

      enactment of the law will coincide with a reduction in the homicide or suicide rate – even if the

      policy has no actual effects. An unscrupulous analyst could dredge through decades of violence

      statistics, examine data for each of the 50 states and D.C., identify the many time points when

      firearms violence decreased in this or that state, and then selectively look for the states and years

      when the decreases coincidentally happened to be preceded by a change in gun law. Even if gun

      law changes had no actual causal effects on violence rates, there would be hundreds or thousands

      of such coincidences simply because there were so many changes in gun laws and so many years

      in which violence decreased. Under a no-effect assumption, it would be a reasonable expectation

      that roughly half of enactments of new gun laws would be followed by increases in firearm

      violence and half by decreases.

             6.      If one were sufficiently selective, one would also be able to identify some very

      specific subtypes of gun laws for which violence decreases were more common in the post-law

      period than violence increases, just as other subtypes were more often followed by increases than

      decreases. The unethical analyst might be tempted to publish results pertaining to the former type

      of gun law, while ignoring the latter.

             7.      Webster and his colleagues do not assert that firearm background check laws in

      general reduce firearms violence. Quite the contrary, they have explicitly rejected this position

      (McCourt, Crifasi, Stuart, Vernick, Kagawa, Wintemute, and Webster 2020, pp. 1546-1547).

      Rather, Webster has claimed that only very specific subtypes of background check laws,

      incorporating very specific elements, have this beneficial effect, though over time he has changed

      which elements he thinks are responsible for gun violence reductions.



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             8.      Webster has offered multiple speculations about which background check subtypes

      are consequential, and has changed over time which ones he has stressed as beneficial. Thus, he

      cannot assert that, at the very start of his research on this topic, around 2013, he was going to test

      for the gun violence-reducing effects of one specific type of background check laws, such as those

      requiring fingerprinting. Rather, he effectively revised his implied hypothesis as he and his

      colleagues examined more subsets of the available data, testing multiple specific versions of the

      general hypothesis that some kind of background check on firearms purchasers reduces gun

      violence. There is nothing wrong with scholars changing their views about what an evolving body

      of evidence shows; indeed, flexibility is generally a scholarly virtue. What is not desirable is: (1)

      selectively presenting only some research findings regarding a wide variety of hypotheses and not

      others; and (2) reporting erroneous significance tests as if the researcher had tested only a single

      version of his hypothesis.

             9.      Webster’s earliest empirical work in this area assessed the effect of repealing

      Missouri’s permit-to-purchase (“PTP”) law (which he now relabels a “purchaser licensing law”)

      on firearms violence, finding that the repeal was followed by increases in firearms homicides

      (Webster, Crifasi, and Vernick 2014). Since the repeal did not eliminate background checks on

      people trying to get guns from licensed dealers, he had to offer some kind of rationale for why

      Missouri’s repeal of its PTP law would increase firearms violence. The repealed law had to have

      some additional provisions that reduced gun violence when it was still in effect. At that time

      (2014) Webster seemed to most strongly emphasize the fact that background checks were required

      for private transfers as well as dealer transfers, stressing that the repeal “eliminated mandatory

      background checks for handguns sold by unlicensed sellers” (p. 294; stressed again on p. 298).



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             10.     Recent research on states with universal background checks, however, indicates

      that it is highly unlikely that this element of Missouri law had any measurable pre-repeal effect on

      gun violence or criminal acquisition of guns, since few private sellers obey this legal requirement,

      and virtually none of the few prospective private transferees who do submit to background checks

      are denied. Data from Colorado, Oregon, and California indicate that only about 1/10th of 1% of

      private transfers of guns in those states were both: (1) subjected to the legally required background

      check; and (2) resulted in a denial of the transfer (Kleck 2020). In this light, it is implausible that

      eliminating this feature of Missouri gun law could have had any measurable effect on rates of

      firearms violence. Indeed, Webster’s own recent research concludes that universal background

      checks - which he has relabeled “comprehensive background checks” (“CBC”) - do not reduce

      firearms violence (McCourt et al. 2020).

             11.     Webster also stressed that applicants for PTP permits in Missouri had to appear in

      person at some law enforcement agency to apply, asserting (though not documenting) that “most

      states with PTP handgun licensing require applicants to apply for the license directly at a law

      enforcement agency” (Webster, Crifasi, and Vernick 2014, p. 294). He speculated that this might

      deter some criminal applicants who would have passed the checks (those who would not have

      passed the checks are irrelevant to this claim since they would have been denied anyway).

             12.     By 2018 Webster and his colleagues (Crifasi et al. 2018) had obtained findings of

      higher firearms homicide rates in places with CBC laws, suggesting that violence-reducing effects

      of background check laws, including Missouri’s pre-repeal law, were not due to background

      checks covering private (nondealer) transfers. Webster then argued that CBCs alone do not reduce

      firearms homicides, but that other elements of the permitting process do. He and his colleagues

      then speculated that these crucial elements were either: (1) the longer times that permit laws often


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      allow for authorities to conduct the background check (p. 387); or (2) the requirement for a

      personal appearance of the applicant at a law enforcement agency.

             13.     By 2020, however, Webster had become more ambivalent about the value of the

      personal appearance requirement for reducing gun violence. The background check laws that he

      and his colleagues claimed reduce firearms violence were those that required either: (1) an in-

      person application; or (2) fingerprinting (Webster, McCourt, Crifasi, Booty, and Stuart 2020, p.

      187). In other places in that article, he alludes only to fingerprinting (p. 171). Strictly speaking,

      by this point Webster was unwilling to unambiguously commit himself to the value of personal

      appearance of applicants, effectively hedging his bets by claiming it might reduce gun violence, or

      it might not, and that it may instead be fingerprinting requirements that account for the purported

      benefits of permit laws.

             14.     Webster has never offered a credible explanation of why fingerprinting would

      strengthen the ability of background check laws to block criminals and other high-risk persons

      from getting guns. A fingerprinting requirement does not increase the comprehensiveness of

      criminal background databases’ coverage, nor does it widen the scope of persons who fall into a

      disqualified category. Rather, the standard rationale for requiring applicants to be fingerprinted is

      simply to ensure that applicants really are who they claim to be, and minimize the use of fake

      documents to claim the identity of a person qualified to receive a gun. Whether a fingerprinting

      requirement has a measurable effect on gun acquisition by disqualified persons is, then, a function

      of how often such persons use false ID to impersonate a qualified person.

             15.     This tactic, however, appears to be extremely unusual. According to a 2016

      national survey of 24,848 prison inmates, most criminals who possessed a gun during the offense

      for which they were incarcerated did not get the gun from a licensed source of the type required to


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      perform a background check, and among those who use such sources, most used their own name.

      Only about 1.3% of gun-armed criminals got their gun from a retail source and used a false name

      (Alper and Glaze 2019, p. 8). A fingerprinting requirement therefore seems to be a solution to an

      extremely rare problem, and therefore unlikely to produce the enormous effects on firearms

      homicides claimed by Webster.

             16.     In his most recent article on background check laws, Webster no longer stresses the

      personal appearance requirement at all - or even mentions it. In that article’s conclusions, he and

      his co-authors primarily emphasize the purported benefits of authorities being allowed more time

      to conduct background checks (McCourt et al. 2020, p. 1550), though they also make a single brief

      allusion to “mandated fingerprinting” at the beginning of the article (p. 1546). Having dropped

      the stress on either universal background checks or personal appearance requirements (and

      possibly fingerprinting), he seems to now stress the waiting period element of the permitting

      process. The problem with this emphasis is that virtually all technically sound research indicates

      that waiting period laws have no measureable effect on homicide rates (Loftin and McDowall

      1983; Kleck and Patterson 1993; Ludwig and Cook 2000; Lott and Whitley 2001; Makarios and

      Pratt 2012; Kleck, Kovandzic, and Bellows 2016). The authors cite a single study to support the

      contrary position (Luca, Malhotra, and Poliquin 2017), which supposedly showed that “longer

      waiting periods between applying to purchase firearms and receiving the firearms are associated

      with lower rates of firearm homicides and suicides,” but even this study’s strongest findings did

      not find an association between waiting periods and either total homicide or total suicide that was

      significant at the conventional 5% level (Kleck 2017, pp. 8-9).

             17.     Thus, Webster did not have, back in 2013, a single specific a priori hypothesis

      about a specific kind of background check law that he believed reduced gun violence. Rather,


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      over the years he tested for effects of many different variants of such laws, repeatedly changing

      which elements of those different laws were claimed to be responsible for supposed effects. He

      was testing multiple hypotheses, not just one. And the results of these multiple hypothesis test do

      not consistently support any one specific hypothesis about the benefits of permit laws.

             18.     They certainly do not consistently support Maryland’s HQL law.              Maryland

      requires fingerprinting of handgun applicants, yet the results of Webster’s research do not

      consistently support the effect of fingerprinting of permit applicants. His most recent research

      concludes that the law in Connecticut, which requires fingerprinting, reduces gun violence, but

      that Maryland’s law, which also requires fingerprinting, does not reduce gun violence (McCourt

      et al. 2020, pp. 1548-1549).

             19.     Nor are his results consistent regarding the view that allowing more time for

      background checks reduces gun violence. Maryland allows 30 days for the check to be completed,

      but Webster and his colleagues concluded that its law had no effect on firearms homicide, while

      concluding that Missouri’s repealed permit law, which involved no wait at all, did reduce gun

      homicide (McCourt et al. 2020, pp. 1548-1549).

      Cherry-picking States to Study

             20.     At least 11 states plus DC have laws requiring a permit to purchase firearms (CT,

      HA, IA, MD, MI, NE, NJ, NC) or a license to own or purchase them (IL, MA, NY) (Giffords Law

      Center to Prevent Gun Violence 2021)(collectively referred to as “Purchaser Licensing” or “PL”

      laws). Why, then, did Webster study just four of these 12 jurisdictions? And if only four, why

      CT, MD, MO, PA in particular? These questions are crucial because if researchers decide to study

      just a few instances of a policy that has been implemented in many jurisdictions, there is a risk that

      researchers will cherry-pick one or two unrepresentative examples that appear to support a


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      preferred finding, even if analysis of all instances would have indicated that the average effect of

      the policy was zero.

             21.     The danger can be illustrated by a simple example. Suppose gun control policy X

      had no effect whatsoever on homicide rates, but a hypothetical researcher wanted to create the

      false impression that X was effective. This is easy to do with any policy that has been implemented

      in numerous states. In the long run, over the past 80 years or so, homicide rates have increased

      about half the time and decreased about half the time (U.S. Federal Bureau of Investigation 2017).

      Thus, at any one time that a new state gun control law is passed, there is roughly a 50% chance

      that its introduction will be followed by a reduction in the homicide rate, even if the law has no

      effect on violence. All the researcher would need to do to create the false impression that some

      kind of gun control law was effective in reducing homicide would be to dredge through data on

      homicide rates in the 50 states and DC, looking for declines in state firearms homicide rates

      occurring in any of the 80-some years for which state homicide statistics are available, and to then

      search for instances of new gun laws that happened to have been introduced just before the

      homicide declines began. Each of the 4,000-plus state-years (51 x 80 = 4,080) would represent a

      potential opportunity to observe a homicide decline that began just after a new gun law was

      enacted, and roughly half of these state-years would be cases in which the homicide rate was lower

      than it had been the year before. Consequently, there would be hundreds of instances where

      introduction of a new gun law was coincidentally followed by a drop in the firearms homicide rate.

      The researcher could simply pick a few of them that happened to coincide with an especially strong

      drop in the firearm homicide rate to analyze and publish the results for these few nonrandomly

      selected states, as if they were the specific states that the researcher wanted to study all along.



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              22.     Studying just a small minority of a larger number of implementations of a given

      type of policy is prone to yielding misleading results for the foregoing reasons, and consequently

      is not accepted as a method by knowledgeable researchers. The more accepted procedure is to

      study all implementations of a given type of gun law, estimating the average treatment effect of

      the full set, in either a cross-sectional analysis of states, counties, or cities (e.g. Kleck and Patterson

      1993; Kleck, Kovandzic, and Bellows 2016) or a panel design in which all state-years are coded

      as to which ones had a given type of law in operation (e.g. Lott and Whitley 2001; Marvell and

      Moody 1995). Either way, no one could claim that researchers using these methods had cherry-

      picked an unrepresentative subset of the instances of a given type of law being implemented.

              23.     It is unhelpful to phrase research results in associational language, saying that

      changes in handgun purchasing licensing laws were “associated with” changes in firearms

      homicide or suicide. This could charitably be interpreted as a sign of scientific caution, the authors

      refraining from making unwarranted claims about cause-and-effect. Less charitably, it serves to

      obscure the actual meaning the authors were clearly trying to convey – that changes in gun law

      caused changes in firearms violence. Webster and his colleagues conveyed their actual intended

      meaning in their abstract (and other places) when they admitted that they were trying to estimate

      “the effects of these laws on homicide and suicide rates” (p. 1546, emphasis added). The word

      “effects” plainly denotes causal effects. But, policy cannot be based on merely coincidental

      statistical associations between violence rates and changes in law. Accordingly, for purposes of

      this supplemental report, I treat the authors’ conclusions as if they pertained to the purported causal

      effects of changes in gun laws.




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      Part 2 - Critique of the Hasegawa et al. (2019) Study

             24.     In his Second Supplement, Webster does not explain how the Hasegawa study adds

      anything to our understanding of the impact of Missouri’s repeal of its PTP law or in what specific

      ways it improves on his original Missouri study (Webster et al. 2014). It fails to address the most

      glaring problems with that prior study.

             25.     Hasegawa et al. appeared to believe that a serious problem with the original 2014

      research was that it did not address “concerns about history interacting with group” (p. 371). As

      applied to this study, “history interacting with group” refers to the possibility that unmeasured

      confounding variables had different effects on firearms homicide rates in Missouri in the post-

      repeal period than in other states that did not change their purchase permit laws. It is crucial to

      stress what “interacting” means in this context. A confounder (or an historical event) “interacting

      with group” means that the confounding factor has different effects in one group (e.g., Missouri)

      than in another (e.g. a bordering control state such as Iowa). It does not mean the level of the

      variable changed over time more in one group than another. Rather, it means that the degree of

      effect differs across groups, e.g. the amount of change in firearms homicide caused by a one unit

      change in the confounder (or the historical event) differs between the groups.

             26.     This is not a problem that afflicted Webster’s 2004 study, and thus the solution is

      irrelevant to any of the actual problems with the earlier study (summarized in Kleck 2017). The

      most important problem with that study was uncontrolled confounders – variables beside the PTP

      repeal that affected firearms homicide rates, that were not controlled by Webster, and that changed

      over time more in Missouri than in control states. The problem was not “history interacting with

      group,” but rather simple omitted variables bias. These “omitted variables” were uncontrolled

      variables that might well exert the same magnitude of effect, unit-for-unit, in both Missouri and


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      control states (and thus did not “interact with group”), both before and after the repeal, but simply

      changed more in Missouri than in the control states. This is not the problem addressed in the

      Hasegawa et al. study, and the procedures they employ do not solve it. The only way to solve it

      would be to measure and explicitly control for the omitted confounding variables, and this was not

      done in either the original Webster et al. (2014) study or in the Hasegawa et al. (2019) study.

               27.   Suppose, for example, that a spate of street gang violence occurred in Missouri for

      reasons completely unrelated to the PTP repeal, and resulted in more firearms homicides in

      Missouri in 2008, just after the repeal. The unit-for-unit impact on the firearms homicide rate of

      a given number of gang combats might be identical in both Missouri and in other states, and

      identical in both the pre-repeal and post-repeal period, so their effect does not interact with either

      group or period. Nevertheless, if the level of gang violence increased in Missouri more than in the

      control states, it would cause a larger increase in firearms homicide in Missouri than in other states.

      Since Webster did not control for the level of gang violence (or any other known confounders), he

      had no basis for attributing post-repeal homicide increases in Missouri to the PTP repeal (Kleck

      2017).

               28.   In that earlier study, Webster did at least acknowledge in principle the need to

      control for confounders, and facially appeared to do that. A confounder in that study would be a

      variable that both affects the rate of firearms homicide and is correlated with the existence of a

      PTP law. The variables actually controlled by Webster, however, were not confounders, either

      because they showed no significant association with firearms homicide rates, or had no known

      association with the existence of a PTP law. For example, while Webster and his colleagues

      claimed to control for at least eight variables or sets of variables, results buried in their

      Supplemental Tables show that five of these showed no significant association with firearms


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      homicide rates (and thus could not be confounders), while two others showed nonsensical

      associations (they implied that more poverty reduces homicide, and that bans on Saturday Night

      Special handguns increase homicide) (Kleck 2017).

             29.     The Hasegawa study likewise did nothing to correct any other serious defects of

      the 2014 study. One fundamental problem was simply the decision to assess the impact of just

      one state’s change in PTP law, rather than studying the average impact of all state PTP laws.

      Focusing on a single state lends itself to cherry-picking an unrepresentative state, and ignoring the

      more typical effects in other states, or the average effect across all states with a PTP law. At the

      time this study was done there were at least nine states with PTP laws, raising the question: “Why

      study just Missouri?” (Kleck 2017). The Hasegawa study is also confined to just Missouri, so it

      simply repeats this problem.

             30.     Another problem in the 2014 study left unsolved by the Hasegawa study was the

      extremely short pre-repeal time series, 1998-2007. Webster et al. had limited the pre-repeal period

      to just nine years, even though there were data for many times that many years. This decision to

      needlessly restrict the pre-intervention sample guaranteed more unstable results, particularly

      regarding how much post-repeal Missouri firearms homicide rates changed compared to the rates

      prevailing prior to the repeal. Hasegawa’s analysis used exactly the same needlessly truncated

      pre-repeal time period (p. 375).

             31.     Yet another problem with the 2014 study of Missouri was that Webster and his

      colleagues could not explain why repeal of the PTP law appeared to have all of its “effect” in a

      single year. All of the post-2007 increase in the firearms homicide rate in Missouri occurred from

      2007 to 2008. Thereafter, there was no further increase during the period studied by Webster et

      al. The Missouri firearm homicide rates jumped from 4.6 per 100,000 in 2007 to 6.2 in 2008, but


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      by 2011 had returned to its pre-repeal 2005 rate of 5.2. (Kleck 2017). If eliminating the PTP

      elements of background checks had actually caused a gun homicide increase, the effects should

      have persisted as long as those elements continued to be absent, i.e. right up through the end of the

      study period. They did not. Why would a persisting set of conditions for buying a gun have effects

      lasting only a year?

             32.     More likely causes of this very short-lived jump in Missouri gun homicide would

      be short-lived developments in Missouri, such as a brief spate of inter-gang violence in which

      killings by one gang triggered retaliatory killings by another. A similar development might be a

      brief elevation of homicide linked with conflicts over drug dealing. Since nearly all homicides

      linked with street gang conflict or drug dealing are committed with firearms (U.S. FBI 2007,

      Expanded Homicide Data Table 10), one would expect the impact to be largely limited to the rate

      of firearms homicide. This is precisely the pattern observed in Missouri, but one that Webster et

      al. touted as evidence that the increase was due to the PTP repeal.

             33.     Nothing in either the original 2014 study or in the 2019 Hasegawa study even

      establishes that more Missouri criminals purchased guns after the 2007 repeal, which is clearly the

      reason why Webster et al. thought that eliminating the PTP law would cause increased gun

      homicide (2014, p. 294). They claimed to have had measures of what they vaguely described as

      “illegal diversion” of guns to criminals (p. 299), a term they never defined, and asserted that this

      increased after the PTP law was repealed. Their indicator of “illegal diversion” was the share of

      guns recovered by police that: (1) had been first sold at retail a relatively short time before

      recovery; and (2) came from a state outside of Missouri. Neither is a valid indicator of gun

      trafficking or of criminals’ gun acquisition (Kleck and Wang 2009).



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             34.     The repeal of the PTP law only changed one mechanism for acquiring guns -

      purchase. Webster later concluded that extending background checks to cover private transfers

      does not affect gun homicide (McCourt et al. 2020), so repealing this element of Missouri’s PTP

      law should not have affected criminal gun acquisition via purchases from private transfers. Thus,

      he must believe criminal purchases of guns from dealers must have increased. Since Missouri

      continued to have federally mandated background checks on purchases from gun dealers, one

      would expect that Webster might have checked whether an increased share of these checks in

      Missouri resulted in denials due to criminal records. He did not - or at least did not report the

      results of such an inquiry. Hasegawa et al. contribute nothing on this score – they provide no basis

      for believing that criminal purchases of guns increased after Missouri repealed its PTP law.

             35.     The Hasegawa study repeats the critical error pervading all of the studies Webster

      has advanced addressing the purported impact of gun control laws. He reports analyses confined

      to firearms violence. Nothing in either Missouri study even addresses whether Missouri’s PTP

      law saved lives while it was in effect, i.e. reduced the total number of homicides. There is no

      public safety benefit in merely inducing criminals to murder people with different weapons, if

      there is no decrease in the total number murdered. Webster, in both the 2014 study and in his 2019

      study with Hasegawa, simply ignores this problem. Consequently, nothing in either study – even

      if taken at face value – actually supports the view that PTP laws save any lives.

             36.     In sum, Webster’s new reliance on the Hasegawa study does not strengthen his

      opinion that PTP laws in general or the Maryland HQL provisions in particular reduce firearms

      violence.




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      Part 3 - Critique of the Webster et al. (2020) Study

                37.   Webster, McCourt, Crifasi, Booty, and Stuart (2020) concluded, based on a panel

      study of annual state-level data, that the incidence of mass shooting incidents and the total number

      of fatalities linked with such incidents are reduced by purchaser licensing laws that require

      applicants to personally appear at a public safety agency or that require them to be fingerprinted,

      as well as bans on large-capacity magazines (LCM). The conclusion regarding purchaser licensing

      is not supported by any technically sound methods, and is highly sensitive to exactly how a mass

      shooting is defined.

                38.   Webster cites this study to support the claim that “handgun purchaser licensing

      laws requiring either in-person application with law enforcement or fingerprinting (of

      applicants) were associated with incidents of fatal mass shootings 56 percent lower than

      that of other states” (Webster Second Supplement, p. 3). Webster in this Supplement, and in the

      cited article, used associational language, but in the Abstract of that article advanced the meaning

      that he and his colleagues actually intended to convey: causation. They asserted that their findings

      indicate that “laws requiring firearms purchasers to be licensed through a background check

      supported by fingerprints and laws banning LCMs [large-capacity magazines] are the most

      effective gun policies for reducing fatal mass shootings” (Webster et al. 2020, p. 171, emphasis

      added).

      The Failure to Control Confounding Variables Means the Results Cannot Be Used to
           Support any Causal Effects of Purchaser Licensing Laws

                39.   Accurately inferring causation in this case would have required the authors to

      control for as many confounding variables as possible. In this context, confounding variables

      would be other factors besides the two supposedly effective gun laws (PL laws and LCM bans)



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      that had both of two properties: (1) they affected the frequency or seriousness of mass shootings;

      and (2) they were correlated with the presence of absence of those two gun laws.

             40.     As far as can be determined from the authors’ published findings, they did not

      actually control for any confounding variables, which are the only kind of controls that help

      establish causal effects of one’s focal variables.

             41.     In the analysis reported in their Table 3, only two control variables (i.e. variables

      other than the two gun control laws) were even significantly related to incidence of fatal mass

      shootings, neither of which is known to be correlated with the presence/absence of purchaser

      permit laws or LCM bans. In the Table 3 analysis pertaining to number of victim deaths, none of

      the control variables were related to the outcome variable, and thus none could be regarded as

      confounders. In their Table 4 analyses limited to “domestic-linked” mass shootings, not a single

      control variable was significantly related to either outcome variable, and thus none could be

      regarded as confounders. Finally, in their Table 5 analyses, pertaining to mass shootings not linked

      to domestic violence, just one of the control variables was significantly related to either outcome

      variable, and the authors did not show this control variable to be correlated with their two preferred

      gun control laws. Thus, the authors did not control for a single known confounder in this analysis

      either. In particular, although they controlled for a few gun control laws unlikely to affect mass

      shootings, they did not even control for the one that would seem to be most likely to affect killings

      by mentally ill killers – bans on gun purchases by mentally ill persons. In sum, the authors simply

      did not control for variables that were actually confounders. The controls that they did introduce

      could not help isolate the effect of purchaser licensing laws because the variables they did control

      were not confounding variables, but rather were either irrelevant variables (i.e. variables that do



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      not affect the outcome variable) or variables that were relevant but uncorrelated with gun laws and

      consequently could not bias estimates of gun law effects.

      The Misleading Effects of an Ambiguous Definition of the Gun Law Variable

             42.     If one ignores the authors’ failure to control for confounders, and takes at face value

      their estimates of the effect of firearm Purchaser License (“PL”) laws, what do their findings mean?

      The key to understanding these findings lies in the curiously ambiguous way they defined PL laws,

      as “handgun purchaser licensing laws that require either in-person application or fingerprinting”

      (p. 174, emphasis added). Any sensible analyst would obviously want to know which of these

      elements of PL laws reduce violence – it might be only the fingerprinting requirement, it might be

      only the personal appearance requirement, or it might be both. The ambiguous way that Webster

      and his colleagues chose to define their PL variable makes it impossible to establish which element

      has violence-reducing effects. Given that Maryland’s PL law requires fingerprinting, but not a

      personal appearance, it would be especially important in the current case to know which element

      improves the law’s potential for reducing violence.

             43.     The authors could easily have created two separate variables, one of which

      measured whether a state had a PL law requiring fingerprinting (without regard to whether it also

      required a personal appearance), and another that measured whether a state had a PL law requiring

      a personal appearance (without regard to whether it also required fingerprinting). This approach

      could have revealed which one worked. From the standpoint of which approach gives better

      guidance as to policy makers in crafting better public policy, the separate variables approach is

      obviously superior, but the authors did not utilize this strategy.

             44.     Since the authors do not report any results of analyses using the superior strategy,

      it cannot be known for certain what those results would have been. Nevertheless some relevant


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      statistical insights can be confidently stated. First, whether the PL/mass shooting association is

      statistically significant is a function of the standard error of the coefficient measuring this

      association. The standard error is a measure of the instability of estimates of the coefficient. The

      bigger the standard error, the less likely it is that a given estimate of the PL/mass shooting

      association is statistically significant.

              45.     Second, the size of a standard error is a function of, among other things, the

      variation in the variables involved in the association – in this case, PL laws and mass shootings.

      The more variation, the smaller the standard error. Variation in a binary variable that merely

      measures the presence or absence of a PL law, as with any other binary variables, is a function of

      how common the thing being measured is. If only two or three states have a specific kind of PL

      law, there is little variation, since nearly all states are the same, i.e. nearly all do not have the law.

      Conversely, if nearly all states had that type of PL law, there would also be little variation since

      nearly all states would be the same in that they did have the law. The greatest amount of variation,

      as with any binary variable, would be if half the states had the law and half did not.

              46.     Consequently, the standard error of the coefficient for a specific PL law would be

      larger if few states had that law, smaller if the share was closer to half. The rarer the specific type

      of PL law being tested, the bigger its coefficient’s standard error would be, other things being

      equal, and the less likely the coefficient would be significant. By definition, the number of states

      with a type of PL law that required fingerprinting would have to be smaller than the number of

      states that had either a fingerprinting requirement or a personal appearance requirement, unless all

      states with the former requirement also had the latter – something we know is not true. Thus, there

      is less variation in a variable that specifically measures the presence of a PL law with a

      fingerprinting requirement, or a variable that specifically measures the presence of a PL law with


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      a personal appearance requirement, than there is in a variable that ambiguously measures whether

      a state has either provision. Consequently, the standard error will be smaller, other things being

      equal, using the ambiguous formulation used by the authors.

             47.       This means that by choosing to use the more ambiguous way of defining their PL

      variable, the authors artificially increased their chances of getting a significant association between

      the PL variable and the incidence or seriousness of mass shootings. Webster of all people should

      have been especially desirous of establishing which specific elements of a background check law

      reduce violence, since his own research indicates that some variants appear to be effective, while

      others do not.

             48.       Webster’s ambiguity about which elements of PL laws help reduce violence is

      especially problematic in connection with Maryland’s HQL law. It requires fingerprinting of

      applicants but does not require in-person application at a law enforcement agency. Therefore it is

      critical to know which of these two provisions reduce violence. If it is fingerprinting that matters,

      then Webster’s results may support Maryland’s HQL law as he claims. If only the personal

      appearance requirement matters, his results do not support Maryland’s HQL law. As things stand,

      given the inherent ambiguity of Webster’s definition of his PL law variable, it is impossible to tell

      whether the results of the Webster et al. (2020) study provide any support for Maryland’s PL law.

      The Results of this Study Are Inconsistent and Dependent on Arbitrary Decisions as to How
      a Mass Shooting is Defined

             49.       Tables A14 and A15 of the appendix include findings based on analyses using

      different cut-offs for the minimum number of victims that must be killed in an incident for it to be

      defined as a mass shooting. In the analysis reported in the main body of the article, there was a

      significant association between PL laws and the incidence of mass shootings, interpreted by the

      authors to means that PL laws “were associated with incidents of fatal mass shootings 56% lower


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      than that of other states” (p. 181). This was based on a definition of mass shooting as an incident

      with more than three victims killed. Since the exact numerical cut-off used is necessarily

      somewhat arbitrary, it is important to test whether the results are consistent if different cut-offs are

      used.

               50.    When the authors changed their cut-off by just one, to “more than four victims,”

      there was no longer any significant association between PL laws and mass shootings (Table A14).

      When the cut-off was changed to “more than five victims,” the association was not only

      insignificant; it almost completely disappeared (Table A15). The authors gloss over this glaring

      inconsistency by claiming that the magnitude of the association did not change much when the

      cut-off was changed (p. 187), but this is inaccurate. The estimated association changed from one

      implying 56% fewer mass shootings in states with PL laws when the cut-off was more than three

      (Table 3) to a nonsignificant 13% lower when the cut-off was more than five (Table A15).

      Describing these results as “similar,” as the authors did (p. 187) is misleading.

      The Authors Analyzed a Biased Sample of Mass Shootings that Artificially Inflated
            Support for an Impact of Purchaser Licensing Laws

               51.    Background check laws of all types are most likely to affect gun acquisition by

      persons willing to submit to checks when trying to get a gun, i.e. the law-abiding. Conversely, the

      people least likely to get guns from a source that would require them to submit to a background

      check would be hard-core criminals. Surveys of prison inmates confirm that few serious criminals

      get guns from sources that require a background check, such as licensed gun dealers (Alper and

      Glaze 2019, p. 7). Thus, PL laws are least likely to influence the kinds of repeat offenders who

      deal drugs or belong to gangs, and when addressing mass shootings, one would expect that PL

      laws would be least likely to affect mass shooters who commit massacres connected to gangs or

      drug dealing.


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             52.     This means that one could bias results in favor of the view that PL laws reduce mass

      shootings by simply not counting the kinds of massacres least likely to be affected. This is

      precisely what the authors did. They frankly admitted that “we excluded any case that was coded

      as having a connection to gang or narcotic activity” (p. 174). They did not acknowledge the biasing

      effects of this exclusion. Their justification for introducing this sample bias was that other

      researchers had altered their samples in the same way (p. 174).

             53.     They further biased their sample by non-randomly excluding five states from their

      analyses (p. 174). Their justification for these exclusions was that there were “Uniform Crime

      Reports (UCR)-SHR [Supplementary Homicide Reports] reporting issues over multiple years” (p.

      374). A justification based on problems with UCR/SHR data is particularly implausible given that

      the authors did not need to use these sources for counting up either the number of mass shootings

      in a given state or the number of deaths linked with these incidents (or for any other purpose).

      They could rely on either the “Stanford Mass Shootings in America” dataset or the data in the Gun

      Violence Archive for producing these counts, and indeed they did use these very sources to

      “remedy” the deficiencies in UCR/SHR data (p. 374). Significantly, their “sensitivity analyses”

      (pp. 183-187) did not include any checks to see if their estimates of gun law effects were distorted

      by excluding these particular five states.

             54.     In sum, the Webster et al. (2020) study does not provide a scientifically credible

      basis for estimating the effect of handgun purchaser license laws on mass shootings, and does not

      strengthen Daniel Webster’s support for Maryland’s Handgun Qualifying License law.




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      Part 4 - Critique of the McCourt et al. (2020) Study

      The Results Pertaining to Maryland

             55.     Before addressing why the McCourt et al. study cited by Webster is not credible, it

      is first important to note what its results bearing on Maryland, if taken at face value, imply for this

      case. Webster claimed that the McCourt study showed “that State handgun purchaser licensing

      laws such as the Maryland law at issue in this case—which require a prospective buyer to apply

      for a license or permit from state or local law enforcement—are highly effective at reducing

      firearm homicide and suicide rates.” (Webster Second Supplement, pp. 3-4).

             56.     Webster uses the key phrase “laws such as the Maryland law,” as opposed to simply

      “the Maryland law.” Webster stresses the McCourt et al. study’s findings regarding Connecticut

      and Pennsylvania, but is silent on what that study found specifically regarding the purchaser

      licensing law of Maryland - the only state whose law is at issue in this case. McCourt et al. only

      studied Maryland’s “implementation of a CBC [comprehensive background check] law (1996-

      2013) (p. 1548). That is, they studied Maryland’s pre-exiting and continuing background check

      law, and NOT the HQL that was adopted in 2013. And despite the fact they studied through the

      period of 2017, they failed to report what happened to the firearms homicide in Maryland after it

      implemented the HQL in 2013.          Instead they compare Maryland’s pre-existing CBC with

      Connecticut’s PL and failed to report the effects if any of Maryland’s comparable law, the HQL.

      In sum, Webster’s own most recent study does not support a claim that Maryland’s gun law

      reduced firearms homicide.

      The Essential Analysis the Authors Failed to Do

             57.     There is no public health benefit in reducing the number of firearms homicides (or

      firearms suicides) if the number of non-firearms homicides (or non-firearms suicides) increases


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      by an equal or larger amount, so that the total number of people who are murdered or commit

      suicide is unchanged. If such an outcome did result from a change in gun law, however, it would

      be impossible to detect if analysts never analyzed the impact of the change on the total (firearms

      and non-firearms homicides combined) homicide rate or the total suicide rate (firearms and non-

      firearms suicides combined). For reasons the authors never explain, they never analyzed either

      total homicide rates or total suicide rates – or at least did not report the results of such an analysis.

              58.     It is possible the authors fell prey to a fallacy widespread among scholars who

      publish in public health journals. They accept, consciously or unconsciously, the following

      fallacious logic: If X is: (1) significantly associated with the rate of firearms homicide (or suicide);

      and (2) X has no significant association with the rate of non-firearms homicide (or suicide); then

      (3) X must have a significant association with the total homicide (or suicide) rate. In that case, the

      reasoning goes, it is unnecessary to actually show that X has a significant association with the total

      homicide/suicide rate.

              59.     We can be certain this logic is fallacious because numerous empirical studies have

      obtained results directly contradicting the logic. For example, many studies obtain findings of: (1)

      a significant positive association of gun ownership rates with firearm suicide rates; and (2) no

      significant association of gun ownership rates with non-firearm suicide rates, yet also find no

      significant association of gun ownership rates with total suicide rates. For a sample of examples

      displaying this pattern, see Smith and Stevens (2003, p. 37), Miller et al. (2002, p. 32), Markush

      and Bartolucci (1984, p. 126), Lester (1987, p. 288), and Killias (1993, p. 294).

              60.     Thus, if this is the logic the authors were relying on to believe that it was

      unnecessary to analyze total homicide or suicide rates, they were wrong. Based on the findings

      the authors did report, even if one took these dubious findings at face value, there was no


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      foundation in this study for believing that the changes in the four gun laws studied had any effect

      at all on either the total number of homicides or the total number of suicides. All of their results

      are completely consistent with the interpretation that these changes, if they had any actual impact

      at all, merely induced some people to change the weapons they used to kill others, or the methods

      they used to kill themselves, without any effect on the total number who died.

              61.     This issue is critical to understanding the extremely misleading summary of

      previous studies the authors provide on p. 1547. In study after cited study, the authors report that

      previous research found that purchaser licensing laws were significantly associated with rates of

      firearm homicide or firearm suicide (see their cited studies 11, 12, 14, and 15). The crucial

      information the authors omitted, however, was that none of these four studies showed any impact

      of such laws on either total homicide or total suicide. Three of the studies did not even address

      this crucial issue (or at least did not report the relevant findings), and the one that did (study 12, p.

      48) found no significant association of the gun law with total suicide – a finding McCourt et al.

      did not feel obliged to share with readers. In sum, as far as the authors knew, all four of these

      studies supported the view that these laws were useless for reducing either total homicides or total

      suicides.

      The Authors’ Arbitrary Truncation of the Time Period Studied

              62.     The results of any statistical analysis can always be manipulated simply by

      arbitrarily picking unrepresentative subsets of the available data – in this case, unrepresentative

      sets of years – to analyze. The authors cannot justify their truncation of their study period by

      claiming the necessary data were not available. Official statistics on firearm and non-firearm

      homicides, and firearm and non-firearm suicides, have been available for every state and every

      year since at least as far back as 1933, in a volume titled Vital Statistics of the United States (year).


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      For example, the easily available online version of the 1933 data (and corresponding data for later

      years) may be found at https://www.cdc.gov/nchs/data/vsushistorical/mortstatsh_1933.pdf. By

      arbitrarily starting their study period at 1985, leaving out 1933-1984 (52 years), the authors were

      omitting over 61% of the available data (1933-2017 – 85 years).

             63.     This is especially harmful to their efforts to identify states that could effectively

      serve as components of the synthetic control because the efforts then rely on a needlessly reduced

      number of data points, which increases the probability that any correlation of pre-intervention

      trends found between the prospective control state and the target state is the mere result of a short-

      term coincidence prevailing only in the very brief 10-year pre-intervention period they chose to

      study. More generally, using smaller samples leads to less stable statistical results, regardless of

      the topic studied or the statistical techniques employed.

             64.     The authors themselves admit that their estimates of effects of the Connecticut law

      were smaller when they changed the end point of their study period from 2017 to 2012. Deleting

      just five years from their time series reduced the estimated effect of the law on firearm homicide

      by 40% (compare their Table 2 with Table I in Appendix A). In short, the results are extremely

      sensitive to exactly which set of years were analyzed.

             65.     The data for some of the predictor variables the authors incorporated in their

      synthetic controls (listed on p. 1547) would not be available for some earlier years, but this is

      irrelevant to whether it was legitimate to exclude the earlier years. The authors do not provide any

      evidence, in either their main article or the online supplement Appendix A, that these variables are

      essential or even helpful in predicting trends in homicide or suicide rates. Therefore, there is no

      reason to believe that the absence of such data in earlier years would justify excluding most of the

      years for which data on homicide and suicide were available.


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             66.     The end points for some of the authors’ study periods are also arbitrary. The end

      point for their Maryland analysis is 2013 even though the authors had data for years at least up

      through 2017. Having fewer post-intervention years makes their results more unstable and subject

      to chance findings, so one should have a very strong justification for this truncation, something

      the authors lack. They say they truncated their study periods because another change in gun law

      occurred after their end-point year (2013 for the Maryland analysis, 2017 for Missouri). If

      enactment of new laws really did mean that an analyst could not use years after such laws had been

      implemented, it would mean one could not use data for any year. Every state legislature makes

      multiple changes in the criminal law that could affect violence rates in every year. For example,

      over the period 1973 to 1992, the Florida legislature passed an average of 381 general bills (this

      total excludes resolutions), including 2.45 gun control bills, per year (Etten, 2002). A cursory

      glance at the Session Laws of other states, including MO, MD, PA, and CT, supports the same

      general point - almost every enactment of a change in gun law is preceded or followed by numerous

      other changes in criminal law, many also intended to reduce crime. If the occurrence of such

      changes were accepted as a legitimate reason for truncating a time series, every researcher would

      be entitled to trim their time series down to whatever subset of history generated results supporting

      a favored hypothesis.

             67.     Here the reason given for cutting off the study at 2013 in Maryland was enactment

      of a criminal law, but they do not reveal that the law was the HQL, similar to Connecticut’s. Nor

      do they reveal that the homicide rates in Maryland increased during their study period – including

      2017 – after that law’s enactment. See Everytown for Gun Safety, Gun Violence in Maryland, at




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      p. 1 1; Daniel W. Webster, et al., Reducing Violence and Building Trust, at p. 12 2; Violent Crime

      & Property Crime Statewide Totals: 1975 to Present. 3

      The Synthetic Control Method is Unlikely to be Useful for Assessing Policy Impact

                 68.     The authors tested the impact of changes in purchaser license laws on firearm

      homicide and firearm suicide rates using the “synthetic control” (SC) methodology. This method

      itself theoretically might be useful for evaluating the impact of a policy, but only in extraordinarily

      rare circumstances.

                 69.     The basic logic of the design is that the researcher looks for areas (besides the target

      area that implemented the policy being evaluated) that had similar trends in the outcome variable

      (the firearms homicide or suicide rate in this case) as well as correlates of the outcome variable

      prior to the implementation of the new policy. These areas are then combined into a single

      “synthetic control” unit whose trends in the outcome variable are used to simulate how that

      outcome variable would have trended in the intervention area during the post-intervention period,

      had that policy not been implemented. The areas that more closely mirror the pre-treatment trends

      of the outcome variable are assigned greater weight in the computation of the synthetic control

      (SC). If post-intervention trends in the outcome variable are more favorable (more of a decrease

      or less of an increase in violence) in the area with the new policy than in the synthetic control, the

      analyst tentatively concludes that the intervention was effective.




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       https://maps.everytownresearch.org/wp-content/uploads/2020/04/Every-State-Fact-Sheet-2.0-042720-
      Maryland.pdf
      2
        https://www.jhsph.edu/research/centers-and-institutes/johns-hopkins-center-for-gun-policy-and-
      research/_docs/reducing-violence-and-building-trust-gun-center-report-june-4-2020.pdf
      3
          https://opendata.maryland.gov/Public-Safety/Violent-Crime-Property-Crime-Statewide-Totals-1975/hyg2-hy98



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              70.       The utility of the SC method, then, relies entirely on the coincidence of there being

      other areas whose trends in the outcome variable closely mirror those prevailing in the area in

      which the policy was implemented. In the present case, if there are no states whose trends in

      firearms homicide or suicide rates in the years prior to changes in purchaser licensing law

      happened to closely parallel those trends in the states experiencing such changes, the SC method

      cannot predict post-intervention trends and thus cannot generate an accurate estimate of the impact

      of the gun law change. This is true regardless of what weights are attached to each state – if none

      of the states are much good for predicting trends in firearms homicide or suicide rates, the differing

      weights can only reflect the fact that some states are even worse than others.

              71.       As it happens, there were no states whose trends in firearms homicide or firearms

      suicide closely matched those prevailing in the pre-intervention periods in the four states evaluated

      by the authors.

      The Authors’ Synthetic Controls Were Not Effective in Tracking Gun Violence Trends

              72.       The authors’ conclusion that the changes in gun laws caused changes in firearms

      homicide or suicide rates was entirely dependent on a single assumption: that their synthetic

      controls could accurately predict how these rates would have trended in the target states, had those

      states not changed their gun laws. The empirical support for this assumption in turn consists

      entirely of the temporal correspondence of pre-intervention trends in the synthetic control and

      those trends in the target state.

              73.       The authors’ own results, however, uniformly indicate that their synthetic controls

      had a very poor pre-intervention correspondence with actual trends in rates of firearms violence.

      Consider, for example, Figure 1 (p. 1550), focusing on pre-intervention trends in the firearm

      homicide rate (to the left of the dashed vertical line). In the figure pertaining to the Missouri


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      analysis (Figure 1b), the synthetic Missouri increases from 1997 to 1998, in effect predicting that

      Missouri’s gun homicide rate would increase as well. In reality, the actual rate (solid line)

      decreased. Not only did the authors’ synthetic Missouri fail to predict the magnitude of the actual

      change in firearm homicide, it did not even get the direction of change correct – something one

      could guess correctly 50% of the time by flipping a coin. One might think this was just an isolated

      failure, but the next year’s change (1998-1999) indicates the same thing – the SC predicted a

      decline in firearms homicide, but Missouri actually experienced another increase. Then the SC

      predicted a reversal of trend from increases to decreases between 1999 and 2000, but actual gun

      homicides did precisely the opposite of what the SC predicted. Indeed, in every single year from

      1997 to 2002, actual changes in firearms homicide rates were exactly the opposite of what the

      authors’ SC predicted. In the last year before Missouri changed its law, from 2006 to 2007, the

      SC again failed to predict the direction of the change in firearms homicide. The same unsupportive

      patterns can be found in the figure pertaining to Connecticut (Figure 1a) – the direction of change

      predicted by the Connecticut synthetic control was wrong for 1986-1987, 1987-1988, 1989-1990,

      and 1991-1992. Even when the synthetic control got the direction of change correct, the magnitude

      of change was often wrong. For example, the SC predicted a sharp decline from 1993 to 1994, but

      Connecticut actually experienced only a mild decline.

                 74.     Results in the online supplement Appendix A 4 regarding Maryland (see their

      figures A and B) and Pennsylvania (see their figures J, K, and L) likewise indicate that the authors’

      synthetic controls for those two states do a poor job of tracking pre-intervention trends in firearm

      and non-firearm homicides and suicides, and thus provide no sound basis for forecasting post-

      intervention trends, or judging the impact of the changes in gun laws. In sum, the authors did not



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          https://ajph.aphapublications.org/doi/suppl/10.2105/AJPH.2020.305822


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      have effective synthetic controls for any of the four states they studied, and thus no scientifically

      valid basis for judging the effects of changes in purchasing licensing laws. The statistical method

      the authors contend to be “rigorous” (p. 1551) is anything but.

      The Authors’ Interpretation of their Findings is Unwarranted

             75.     The authors claimed that, because post-intervention trends in homicide or suicide

      rates deviated from what their synthetic controls predicted, the change in gun laws that they

      happened to be studying caused the deviation. This interpretation is unwarranted for two reasons.

      First, even if the authors’ synthetic controls were effective in predicting post-intervention trends

      (something we know is not true), their interpretation of the results would still be unwarranted. At

      best, the SC method can only establish that something happened around the time of the intervention

      to change firearms homicide or suicide rates. It cannot establish what specific factor (or, more

      likely, factors) changed at that time to produce the change. The authors’ opinion that it was

      changes in firearms purchaser license laws that caused the change is little more than speculation

      based on the temporal coincidence of the law change and the shift in gun violence trends.

      However, as previously noted, virtually every drop in violence will coincide with some change in

      law simply because of the frequency of law making and the frequency of violence declines, so this

      coincidence is essentially meaningless.

             76.     Second, there is an obvious alternative explanation for the deviation of (a) post-

      intervention trends in homicide or suicide in the target state from (b) post-intervention trends in

      the synthetic control. Trends in the synthetic control’s homicide or suicide are used as predictions

      of future trends in homicide or suicide in the treated state, had no gun law changed. Predictions

      of future trends, however, tend to get less and less accurate the further into the future they are

      projected. For example, the weatherman can predict fairly well what the daily high temperature


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      will be tomorrow, and his predictions for a few days after that may be moderately accurate, but his

      predictions for two or three weeks into the future are usually much less accurate. Correspondingly,

      predictions of homicide or suicide for future years get worse and worse the more one tries to make

      predictions for times many years into the future. Thus, even if the purchaser licensing laws had

      no effect at all on homicide or suicides, one would still expect target states’ trends in homicide or

      suicide to deviate more and more from what the synthetic control predicted the homicide or suicide

      would be, simply because the synthetic control’s ability to predict future levels of violent crime

      degrades the further into the future the one goes.

             77.     To summarize, the McCourt et al. study does not provide any credible evidence on

      the effects of background check laws. None of the three Webster-coauthored studies increases the

      scientific strength of Webster’s support for Maryland’s Handgun Qualifying License.

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                                                    JA1477
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                                    EXHIBIT 17




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                                            Daniel Webster

                                                                                    Page 1
                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
                    -------------------------------X
                    MARYLAND SHALL ISSUE, INC.,               :
                    et al.,                                   :
                                                              :    Case No:
                                    Plaintiffs                :    16-cv-3311-MJG
                                                              :
                                         -vs-                 :    Pages 1 - 337
                                                              :
                    LAWRENCE HOGAN, in his                    :
                    capacity of Governor of                   :
                    Maryland, et al.,                         :
                                                              :
                                    Defendants                :
                    -------------------------------X




                               Deposition of Daniel Webster, Ph.D.
                                             Washington, D.C.
                                        Wednesday, June 13, 2018




                    Reported by:        Kathleen M. Vaglica, RPR, RMR
                    Job No:    409352


                                          MAGNA LEGAL SERVICES
                                              (866) 624-6221
                                            JA1480
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                                               Daniel Webster

                                                                                   Page 29
               1                    Let's start out by reaching an

               2    understanding on what it is that you mean on

               3    permit-to-purchase laws.

               4          A.        Sure.     These laws vary across the states

               5    that have them.           I think most fundamentally they

               6    require anyone who wants to purchase a firearm to --

               7    pardon me -- to apply directly to law enforcement

               8    for some form of, some call it a license, some call

               9    it a permit, that demonstrates that they have met

              10    each and every condition of obtaining that license.

              11                    That is the most fundamental thing, and I

              12    guess the other thing is that having a valid permit

              13    or license to purchase is required for virtually any

              14    transfer of a regulated firearm.                  Now, there are

              15    some exceptions with respect to transfers among

              16    family members, for example, but what we most

              17    commonly think of as transfers between, permanent

              18    transfers from non-family members to, you know,

              19    someone else, that to do that lawfully you have to

              20    have a valid permit or license that you applied for

              21    and received directly from law enforcement or public

              22    safety agencies.
                                               JA1481
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                                             Daniel Webster

                                                                                     Page 30
               1          Q.        What do you mean by apply directly to law

               2    enforcement?        What does that mean?

               3          A.        What that means -- and, again, it varies

               4    from state to state.          Sometimes that means a

               5    face-to-face application at a local or state law

               6    enforcement or public safety agency.                Sometimes that

               7    means applying not face to face, but through mail or

               8    there may be one case that allows an online process.

               9          Q.        And what is the importance of the element

              10    of applying directly to law enforcement?

              11          A.        Right.   So, in my opinion, I think the

              12    relevance is that it is a more meaningful, I guess,

              13    application, perhaps, frankly, intimidating of sort

              14    of underscoring what's at stake here.                    The important

              15    thing is the overall context of firearm

              16    marketplaces, and we know from research that there

              17    are a relatively small percentage of licensed gun

              18    dealers who through a variety of kinds of evidence

              19    suggest that they are not particularly rigorous in

              20    vetting and sort of making sure that sales

              21    applications are done in an accurate and lawful

              22    manner.
                                             JA1482
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                                               Daniel Webster

                                                                                     Page 31
               1                    And in the context of straw purchase where

               2    someone, usually, not always, but usually a

               3    prohibited individual is asking someone, in essence,

               4    to stick their neck out to purchase a gun for them,

               5    that going into a less than reputable gun shop or

               6    alternatively going to different private sales

               7    venues, might be gun shows or other similar kind of

               8    situations through online, that that appears to be

               9    and probably, frankly, is a relatively risk-free

              10    thing to do.

              11                    And I think that going directly to law

              12    enforcement when a prohibited person is asking

              13    someone to buy a gun for them, it likely causes

              14    hesitancy to do so.

              15          Q.        All right.       So I get the intimidating

              16    factor being face to face with a law enforcement

              17    officer at police headquarters, but what is the

              18    intimidating effect of applying through the mail, as

              19    you said, some of these PTPs allow?

              20          A.        Yeah.     Honestly, I don't know.           I haven't

              21    studied that.

              22          Q.        And you also said that there's online
                                               JA1483
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               Case 1:16-cv-03311-ELH Document 140-1 Filed 03/08/21 Page 6 of 6
                                               Daniel Webster

                                                                                       Page 32
               1    applications for some of these, at least one of

               2    these PTPs.        What's the intimidating effect to

               3    applying to a law enforcement agency online?

               4          A.        Yeah, again, I don't know.             I haven't

               5    studied that specifically.

               6          Q.        So in Maryland, for instance, is that the

               7    example you were thinking that you can apply online

               8    for your PTP?

               9          A.        In Maryland you have to go to a certified

              10    vendor, you know, that processes fingerprinting,

              11    does the fingerprinting, so it's not -- you can't be

              12    fingerprinted online.

              13          Q.        But you apply online?

              14          A.        Yeah.

              15          Q.        But you apply directly to the Maryland

              16    State Police online?

              17          A.        Yes.

              18          Q.        That would qualify under your definition

              19    of applying directly to a law enforcement agency for

              20    the permit; correct?

              21          A.        Yes, but, again, I think it's distinct

              22    from other states that allow that without a
                                               JA1484
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                                    EXHIBIT 18




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                                            JA1486
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                                            JA1487
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                                            JA1488
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                                            JA1489
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                                            JA1490
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                                            JA1491
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                                            JA1492
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                                            JA1493
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                                    EXHIBIT 19




                                          JA1494
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


      MARYLAND SHALL ISSUE, INC., et al., *

            Plaintiffs,                               *

            v.                                        *        Civil Case No. 16-cv-3311-ELH

      LAWRENCE HOGAN, et al.,                         *

            Defendants.                               *

      *     *         *     *      *      *      *        *    *      *      *      *      *      *


           THIRD SUPPLEMENTAL DECLARATION OF DANIEL W. WEBSTER

            I, Daniel W. Webster, under penalty of perjury, declare and state:

            1.        I am Bloomberg Professor of American Health in Violence Prevention in the

      Department of Health Policy and Management at the Johns Hopkins Bloomberg School of

      Public Health with a joint appointment in the School of Education. I am also Director of

      the Johns Hopkins Center for Gun Policy and Research and previously served as Co-

      Director of the Johns Hopkins Center for the Prevention of Youth Violence. I am more

      than 18 years of age and am competent to testify, upon personal knowledge, to the matters

      stated below.

            2.        This declaration is submitted in response to the supplemental declaration of

      plaintiffs’ expert Gary Kleck (ECF 135-29) filed in support of plaintiffs’ cross-motion for

      summary judgment, which attempts to critique my expert opinions in this case and some

      of the research studies upon which my opinions are based.


                                                     JA1495
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              3.     Kleck claims that the three studies that I have published with colleagues

       demonstrating that the repeal of Missouri’s handgun permit-to-purchase (PTP) law (also

       known as handgun purchaser licensing) in 2007 was associated with a large and statistically

       significant increase in firearm homicides is a matter of “data dredging.” [We also found

       similarly large and statistically significant increases in firearm suicide coincident with this

       same policy change (McCourt et al., 2020)1, a 2-fold increase in the share of crime guns

       that moved unusually quickly from retail sale to crime involvement in Missouri (Webster

       et al., 2013)2 and a 37 percent increase in the number of guns originally sold in Missouri

       that were later recovered in neighboring states of Illinois and Iowa with PTP laws (Webster

       et al. 2014)3, and a more than two-fold increase in the rate of law enforcement officers

       nonfatally wounded in the line of duty by criminal suspects using handguns (Crifasi,

       Pollack & Webster, 2016)4 – all conspicuously co-incident with Missouri’s repeal of its



       1
        McCourt, Alexander D., Cassandra K. Crifasi, Elizabeth A. Stuart, Jon S. Vernick, Rose M.C.
       Kagawa, Garen J. Wintemute, and Daniel W. Webster. (2020) Effects of Purchaser Licensing and
       Point-of-Sale Background Check Laws on Firearm Homicide and Suicide in Four States.
       American Journal of Public Health 110:1546-1552. doi: 10.2105/AJPH.2020.305822. Epub 2020
       Aug 20.
       2
        Webster, Daniel W., Jon S. Vernick, Emma E. McGinty, and Ted Alcorn. (2013) “Preventing the
       Diversion of Guns to Criminals through Effective Firearm Sales Laws,” pp. 109-122 in Webster,
       Daniel W. & Jon S. Vernick, Eds. Reducing Gun Violence in America: Informing Policy with
       Evidence and Analysis. Baltimore, MD: Johns Hopkins University Press.
       3
         Webster, Daniel W., Cassandra K. Crifasi, & Jon S. Vernick. (2014) Effects of the repeal of
       Missouri’s handgun purchaser licensing law on homicides. J Urban Health 91:293-302. Erratum:
       J Urban Health 91:598-601.
       4
        Crifasi, Cassandra K., Keshia Pollack, & Daniel W. Webster. (2016) The influence of state-level
       policy changes on the risk environment for law enforcement officers. Injury Prevention 22:274-
       8. doi: 10.1136/injuryprev-2015-041825. PMID: 26718550.

                                                      2

                                                    JA1496
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      PTP law.] Kleck implies that my colleagues and I poured over decades of data and many

      changes in gun laws and found one by chance that demonstrated an association, for a

      particular period of time, between a change in a PTP law and firearm homicide rates. But

      the research I cite in my declarations reveal many points of evidence consistently linking

      multiple changes in PTP laws over a range of time periods with changes in firearm

      homicides and other key outcomes that are relevant to public safety and that are consistent

      with prior theory and evidence about the role of handgun purchaser licensing laws. Kleck’s

      argument that the evidence I put forward is based on a single outlier data point (Missouri’s

      firearm homicide rate in 2008) is simply not true. My conclusions are supported by peer-

      reviewed articles published in top scientific journals that use multiple sources of data and

      multiple analytic techniques commonly used to estimate the effects of change in public

      policies on public safety outcomes, and multiple changes in PTP laws with remarkably

      consistent findings.

             4.     Kleck criticizes the first scientific article I published that demonstrated a

      strong and statistically significant association between the repeal of Missouri’s PTP law

      (Webster et al., 2014) and an increase in firearm homicide rates because I did not look at

      more changes in PTP laws over a longer period of time. He fails to mention that my co-

      authors and I provide a strong rationale for using data beginning in 1999. The 15 years

      prior to 1999 included the most dramatic changes in firearm homicide rates in decades.

      The timing and magnitude of those changes were (1) far from uniform across states and (2)

      appear to have been driven by the emergence and turbulence of crack cocaine markets that

      are not easily measured in a standardized way that would readily allow for reliable direct

                                                   3

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       statistical controls. Importantly, the states most impacted by crack cocaine and its lethal

       firearm violence were far more urban and with more densely populated cities with highly-

       concentrated poverty among African Americans, and tended to have stricter gun laws than

       more rural states. Thus, the omitted and largely unmeasurable (in a standardized way)

       variable of volatile crack cocaine markets can easily bias estimates of the effects of gun

       laws enacted during this period (Donohue, Aneja & Weber, 2019).5

              5.     Kleck suggests that any association that my research found between the

       repeal of Missouri’s repeal of its PTP law and increased firearm homicide rates may have

       been due to a temporary increase in gang violence in a single city, e.g., St. Louis. The data

       tell a very different story. Comparing changes from the relatively stable period of 1999-

       2006, before Missouri repealed its PTP law on August 28, 2007, and the period after the

       law had been repealed (2008-2019), the average annual firearm homicide rate in St. Louis

       (its own county) increased by an astronomical rate from 22.3 to 33.9 per 100,000

       population, a per capita increase of 11.6 firearm homicides per 100,000. That increase is

       nearly three times higher than that of the large central metro county with the next highest

       per capita increase over that period, Jackson County, Missouri (which includes Kansas

       City) where annual firearm homicide rates increased from 11.6 to 15.6 per 100,000

       population. Among the 64 large central metro counties in the United States, the two

       jurisdictions that experienced the largest increase in firearm homicide rates during the 12-



       5
        Donohue, John J., Abhay Aneja, & Kyle D. Weber. (2019) Right-to-Carry Laws and Violent
       Crime: A Comprehensive Assessment Using Panel Data and a State-Level Synthetic Control
       Analysis. Journal of Empirical Legal Studies Volume 16, Issue 2, 198–247.
                                                    4

                                                   JA1498
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       year period after Missouri repealed its PTP law were both located in Missouri, St. Louis

       City (which is its own county) and Jackson County where Kansas City is located. Looking

       at all large central metro counties in the United States over these time periods, the average

       annual firearm homicide rate declined from 6.92 during 1999-2006 to 5.89 during 2008-

       2019, a decrease of 1.03 firearm homicides per 100,000 population (15 percent). Thus, the

       change in population risk of death from firearm homicide in Missouri’s urban counties over

       the 12 years full years after the state repealed its PTP law was an extreme outlier compared

       to national trends.

              6.     The increases in firearm homicide in Missouri following the repeal of its PTP

       law were not only an urban phenomenon. Other less urban counties saw their annual

       average firearm homicide rate increase from 2.37 to 3.73 between the period in which the

       PTP law was in place (1999-2006) and the 12-year period after the repeal (2008-2019), an

       increase of 36.4 percent. The increased risk for firearm homicide among Missouri residents

       was more than three times as large as what was experienced nationally for non-large-

       central-metro counties over those time periods (2.75 during 1999-2006 and 3.08 during

       2008-2019). In summary, the large increase in firearm homicide that Missouri residents

       experienced after it repealed its PTP law relative to changes throughout the rest of the U.S.

       were not limited to a single jurisdiction or to a single year (2008)6; the surge in firearm

       homicides occurred throughout the state over the first 12 full years following the repeal.

       Furthermore, the rise in lethal violence did not abate in Missouri in 2020. In St. Louis,


       6
                  Rice,          Glen            and           Kansas           City           Star.
       https://www.kansascity.com/news/local/crime/article246077040.html
                                                    5

                                                   JA1499
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      homicides increased by 35 percent from 2019 to 2020, causing the homicide rate to be at a

      50-year high (Hefferman, 2021).7 Kansas City had its highest homicide rate ever in 2020

      as well (Willis 2021)8. Kleck’s claim of a happenstance, 1-year blip in 2008 attributable

      to some local phenomenon could not be more discordant with the available data and

      contradicts the research he cites.

             7.      In addition to an increase in firearm homicide rates, the repeal of Missouri’s

      PTP law also was coincident with the two-fold increase in the share of crime guns

      recovered in Missouri (Webster et al., 2013). Guns recovered from a criminal suspect or a

      crime scene less than 12 months after retail sale is widely accepted as an indicator of

      criminal diversion by the top researchers studying gun violence (Braga et al., 2012).9

      Missouri experienced a 37% increase in guns that were recovered from criminal suspects

      and crime scenes than neighboring states with PTP/handgun purchaser licensing laws


      7
        Hefferman, Erin. (2021) St. Louis homicide rate in 2020 highest in 50 years with 262 killings.
      St. Louis Today. January 1. https://www.stltoday.com/news/local/crime-and-courts/st-louis-
      homicide-rate-in-2020-highest-in-50-years-with-262-killings/article_b3c323a7-bc38-55bc-812b-
      08990b0eb289.html
      8
        Willis, Jasmyn (2021) St. Louis 2020 homicide rate is the highest in 50 years and KC has
      deadliest year ever. KRCG-TV https://krcgtv.com/news/local/st-louis-2020-homicide-rate-is-
      highest-in-50-years-kc-suffers-deadliest-year-
      ever#:~:text=But%20because%20the%20city's%20population,highest%20on%20record%20sinc
      e%201970.
      9
        Braga, Anthony A., Garen J. Wintemute, Glenn L. Pierce, Philip J. Cook, and Greg Ridgeway
      (2012) Interpreting the empirical evidence on illegal gun market dynamics. Journal of Urban
      Health 89(5):779-93. DOI 10.1007/s11524-012-9681-y. Kleck cites an article he wrote with Shun-
      yung Wang that was published in the UCLA Law Review in 2009 as “evidence” that the indicators
      that I and other leading researchers use to measure the diversion of gun from lawful to criminal
      use are invalid because they do not correlate well with their preferred indicator – obliterated serial
      numbers. Of course, a law review article is a far cry from scientific peer review. Professors Braga,
      Wintemute, Pierce, Cook and Ridgeway represent some of the top researchers studying gun
      violence and illegal gun markets. The article referenced here is a scathing rebuttal of Kleck &
      Wang’s claims published in an actual scientific peer-reviewed journal.

                                                        6

                                                      JA1500
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       (Illinois and Iowa). This represented a clear shift in the share of guns recovered by law

       enforcement in Missouri that originated with a retail sale within the state (Webster et al.

       2013). The timing of these changes in the diversion and criminal misuse of firearms in

       Missouri also coincided with sharp increases in firearm homicide rates in the state relative

       to comparison states and controlling for other factors associated with suicide rates (Crifasi

       et al., 2015;10 McCourt et al., 2020). Each of these data points are consistent with the theory

       that requiring a law enforcement-issued permit to purchase a handgun protects against

       illegal straw purchases, firearm trafficking, and impulsive high-risk handgun acquisitions

       with the potential to lead to lethal consequences. Kleck has not offered any explanation for

       the huge and statistically anomalous increases in multiple forms of firearm mortality that

       have occurred in Missouri over a twelve-year period nor did he explain the stark changes

       in the diversion of guns for criminal use shortly after retail sale by Missouri firearms

       dealers that are also co-incident with the repeal of Missouri’s PTP law.

              8.     Kleck offers a variety of warnings that the many estimates of the changes

       post-PTP-repeal that we find to be statistically significant may be attributable to

       unmeasured omitted variables. The truth is that studies of this type cannot directly measure

       all important factors that could potentially influence changes in firearm homicide rates

       because we do not have standard ways to measure conditions such as gang feuds or

       important changes in local drug markets. That is why we must identify the best available


       10
          Crifasi, Cassandra K., John Speed Meyers, Jon S. Vernick, and Daniel W. Webster. (2015)
       Effects of changes in permit-to-purchase handgun laws in Connecticut and Missouri on suicide
       rates.       Preventive Med. Jul 23, 2015. pii: S00917435(15)00229-7. doi:
       10.1016/j.ypmed.2015.07.013.
                                                     7

                                                   JA1501
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       comparison states that are most likely to share similar unmeasured conditions that influence

       homicide rates and closely examine the data for consistency in the associations and base

       our estimates on differential changes in homicide rates between states that change PTP

       laws and similar states with similar baseline trends. Those similarities in baseline levels

       and trends between states that adopt new gun laws of interest and those that do not adopt

       those laws of interest, especially when preceded by a period when homicide rates are not

       particularly volatile, provide assurance that estimates of the impact of gun laws based on

       differential changes in homicide rates coincident with changes in laws are attributable to

       changes in gun laws. The 1999-2007 period prior to the repeal of Missouri’s PTP law was

       a very stable period for annual firearm homicide rates, ideal for isolating the effects of a

       very meaningful change in state firearm policy. Why did we only examine this particular

       change in PTP law at that time of the first study isolating the change in Missouri’s PTP law

       in Webster et al., 2014? As stated in the article, it was the only change in a PTP law during

       that time period. Another advantage to studying the repeal of a law as opposed to its initial

       implementation is that most statistical methods are best designed to contrast abrupt changes

       – legal requirements and procedures immediate change – as opposed to a less certain

       process of ramping up implementation of a new law.

              9.     One of the articles that assesses the changes in firearm homicides in Missouri

       relative to changes in other states in the region uses sophisticated methods to identify the

       most appropriate comparisons for the state with a significant policy change. This was

       published in one of the top journals for research methods in public health and safety,

       Epidemiology, (Hasegawa, Webster & Smart, 2019) and was recognized by the journal as

                                                    8

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      the second most outstanding research methods contribution of all of the articles published

      in 2019. The study showed that when compared with states within the region with baseline

      rates of firearm homicide comparably as high as Missouri’s, Missouri’s PTP repeal was

      associated with a 27 percent increase in firearm homicide rates through 2016. Our most

      recent research study uses another sophisticated analytic method designed to develop the

      most accurate counterfactual forecast for the purpose of deriving estimates of the effects

      of a policy change on relevant outcomes – synthetic control methods – and demonstrates

      that the approach produces highly-accurate prediction of Missouri’s firearm homicide rates

      prior to the PTP repeal by using a weighted combination of comparison states and

      covariates that maximize prediction accuracy (McCourt et al., 2020). The synthetic control

      models revealed close concordance between Missouri’s actual firearm homicide rates and

      its synthetic control until the PTP repeal went into effect. During 2008-2016, there was an

      immediate and consistent gap between Missouri’s firearm homicide rate following the

      repeal and the forecasted counterfactual (see figure below). Based on this immediate and

      consistent difference between actual firearm homicide rates and those predicted by the

      synthetic control, we estimated a 47 percent increase in firearm homicide rates in Missouri

      associated with the policy change. What would explain such a large change in firearm

      homicide rates that was exactly coincident with PTP repeal and last for more than a decade?




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                                                 JA1503
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              10.    Kleck incorrectly argues that, because we found no protective effect of

       comprehensive background check (CBC) laws in Maryland (1996) and Pennsylvania

       (1995) that did not include purchaser permit/licensing requirements, that the repeal of

       Missouri’s PTP law could not have impacted homicides due to criminals’ acquisition of

       handguns from private parties. Our contention is that the addition of purchaser permit

       requirements, in particular requiring a prospective purchaser to apply directly at a law

       enforcement agency (as was the case in Missouri) and/or requiring purchasers to be

       fingerprinted and complete safety training (as is the case in Connecticut), is likely to be a

       significant deterrent to one of the most common ways in which prohibited purchasers

       obtain firearms – through straw purchases or from private unlicensed sellers who purchase

       firearms from licensed gun dealers and then sell them in the underground gun market to

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                                                   JA1504
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       criminals (Braga et al., 2012). In the same paragraph (34 on page 15), Kleck appears to

       suggest that the primary way to determine whether the repeal of Missouri’s law impacted

       firearm homicide rates is to examine whether background checks led to increased denials

       due to criminal prohibitions on applicants. This makes no sense. The repeal of PTP

       eliminated the legal requirement for background checks if the transfer is between private

       parties and eliminated the legal requirement that handgun purchasers first obtain a permit

       from the local sheriff. These changes set the stage for virtually eliminating the risk for

       illegal straw sales that supply prohibited criminals with handguns. Prior to the repeal, a

       prospective straw purchaser was legally required to engage with the Sheriff’s office to be

       vetted and then had the legal requirement to ensure that anyone who they sold their

       handgun to also had a valid permit to purchase. Thus, the repeal of these provisions would

       not lead more prohibited criminals trying to buy handguns from licensed dealers when the

       repeal made it far easier and less risky to acquire a handgun through a straw purchase and

       for traffickers to channel guns into the underground market. Indeed, the data from our

       research studies demonstrating an immediate two-fold increase in the share of crime guns

       that had been purchased within 12 months of crime involvement doubled following the

       law’s repeal (Webster et al., 2013).

              11.    Kleck suggests that my research on the impacts of Missouri’s repeal of its

       PTP law does not show that the repeal was associated with a reduction in deaths because

       the first two studies showed that the repeal was followed by significant increases in firearm

       homicide rates, but does not examine the repeal’s association with overall homicides. Here

       he is raising the familiar weapon substitution hypothesis, i.e., that persons prone to commit

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      lethal violence will substitute an equally lethal means of killing someone if access to

      firearms are restricted. He presents no actual evidence that this weapon substitution theory

      is supported in research. In the fields of criminology and public health, the heightened

      lethality of firearms compared to other personal weapons, e.g., objects such as knives, is

      settled and not controversial. If Kleck’s suggestion that homicide rates did not really

      change in Missouri after the repeal of the state’s PTP law, one would expect to see little

      difference in Missouri’s overall homicide trends compared with its regional neighbors or

      all other states. Yet the data show Missouri’s homicide rate increased significantly

      compared to other states (see figure below with data from CDC’s WISQARS Fatal Injury

      Reports, 1999-2019 https://webappa.cdc.gov/sasweb/ncipc/mortrate.html).




      The gap between Missouri’s homicide rates and its regional neighbors and with the rest of

      the country grows immediately after Missouri’s PTP law is repealed. Comparing the mean


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       annual homicide rate for Missouri during the first 12 years after its PTP law was repealed

       (2008-2019) versus its mean annual homicide for the eight years prior to the repeal (1999-

       2006), Missouri’s annual homicide rate increased from 6.82 to 8.37 per 100,000

       population, an increase of 22.8 percent. Comparing the same time periods for all other

       states in the Midwest shows a decline of 2.7 percent (from 5.34 to 5.20) and for all other

       states shows a 11.6 percent decline (from 6.19 to 5.75). Had Missouri’s homicides trends

       changed similarly to other states in the Midwest during 2008-2019, its annual homicide

       rate during that period would have averaged 6.64 rather than 8.37. That translates to 1,460

       fewer homicides – 122 per year – that would have occurred had Missouri followed the

       regional trend rather than the one it did. Clearly, in Missouri, homicides committed by

       means other than firearms did not decline at a rate similar to the increase in firearm

       homicides after the PTP law was repealed. This was confirmed in the synthetic control

       statistical models for non-firearm homicide rates in Missouri that we published in McCourt

       et al. 2020.

              12.     Kleck correctly states that prior studies that I have been involved in have

       found no statistically significant protective effect from laws that extend background check

       requirements to private transfers but do not also require handgun purchasers to obtain a

       license or permit to purchase or own a handgun. That does not mean that background

       check requirements for firearm sales are unnecessary or irrelevant to firearm violence. Dr.

       Garen Wintemute, a top researcher with whom I have collaborated, has presented

       persuasive arguments for why comprehensive background check (CBC) laws alone often

       yield minimal impacts on firearm fatalities in studies to date which have primarily focused

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                                                  JA1507
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       on law changes in the 1990s or early 2000s. One of the key reasons for this is the inability

       to both identify prohibited applicants and deter illegal straw purchases without a permit to

       purchase (PTP) or licensing system in place (Wintemute 2019).11 PTP or purchaser

       licensing systems that use law enforcement agencies and fingerprint verification of an

       applicant’s identity more effectively vet applications to purchase firearms than can be

       accomplished by gun store owners and clerks who process these applications in the absence

       of licensing systems or biometric identity markers. Background checks conducted with

       only identification documents but without the applicant’s fingerprints can lead to “false

       negatives” – situations in which individuals are cleared to purchase and possess firearms

       despite having a disqualifying criminal conviction. One tragic example of this occurred in

       2019 when Gary Martin, who had received his Firearm Owner Identification card (FOID)

       in January 2014 after passing a background check, used a handgun he acquired on March

       6, 2014 with that FOID card to murder five co-workers, shoot another co-worker, and shoot

       five police officers responding to the incident in Aurora, Illinois in 2019. Mr. Martin also

       died in the incident. Martin should have been denied his application to purchase the

       handgun he used in this mass killing because he was convicted in 1995 in Mississippi of

       felony aggravated assault. On March 16, 2014, he applied for a concealed-carry permit

       which, under Illinois law, requires applicants to be fingerprinted for the background check.

       His fingerprints flagged him for the 1995 conviction in Mississippi and his application for




       11
         Wintemute, Garen J. (2019) Background Checks For Firearm Purchases: Problems And Recommendations To
       Improve Effectiveness. Health Affairs Vol. 38 (10) doi: 10.1377/hlthaff.2019.00671

                                                          14

                                                        JA1508
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       a concealed carry permit was denied (Hanna, Karimi, & Almasy, 2019).12 The FBI and

       most state law enforcement agencies have invested considerable resources in the

       development and maintenance of the Integrated Automated Fingerprint Identification

       System (IAFIS). The FBI uses the IAFIS to link criminal records for individuals because

       of the public safety risks for failing to link records of individuals who use false names and

       identification documents or linkage failures due to misspelling names or making mistakes

       on social security numbers (SEARCH Group, Inc., 1993).13 As the authors of a General

       Accounting Office study reported, the “FBI provided us examples of actual cases in which

       IAFIS responses to law enforcement agencies prevented the premature release of arrested

       individuals who had used false names and were wanted in other jurisdictions.” (General

       Accounting Office, 2004)14

              13.    By requiring fingerprint verification of identity and/or in-person law

       enforcement agency scrutiny of purchaser applications and identification documents,

       purchasers are less likely to attempt to provide fraudulent or incorrect identifying

       information upon which the background check is conducted. The more rigorous systems

       for purchase applications under purchaser licensing versus CBC, in addition to such


       12
         Hanna, Jason, Faith Karimi, and Steve Almasy. “Shooter in Deadly Illinois Rampage was not
       Supposed to own a gun. CNN, February 18, 2019. https://www.cnn.com/2019/02/16/us/illinois-
       aurora-shooting/index.html
       13
          SEARCH, The National Consortium for Justice Information and Statistics. (1993) Use and
       Management of Criminal History Record Information: A Comprehensive Report. Prepared for the
       U.S. Bureau of Justice Statistics. https://www.bjs.gov/content/pub/pdf/CCHUSE.PDF
       14
          General Accounting Office (2004) Information on Timeliness of Criminal Fingerprint
       Submissions to the FBI. GAO-04-260. https://www.gao.gov/assets/250/241267.html



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                                                   JA1509
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       requirements as mandatory safety training, are likely to dissuade individuals from agreeing

       to purchase firearms on behalf of another person who is legally prohibited or who is

       planning to use the firearm to commit a crime.

              14.     The importance of fingerprinting and/or in-person application to a law

       enforcement agency is underscored by examining ATF crime gun trace data for 2017 15

       across the nine states that currently have some form of purchaser licensing. This data

       reveals a pattern consistent with previous research in state measures of within-state

       diversion to crime shortly after retail sale and the strength of the licensing law. We look at

       data for Illinois including Chicago and Illinois other than Chicago because Chicago has

       historically had very restrictive gun laws compared with the rest of the state. When Chicago

       data are excluded, Illinois, Iowa, and North Carolina – the only purchaser licensing states

       that don’t require fingerprints – have notably higher percentages of crime guns with time

       to crime under one year (15.9%, 21.4%, and 16.7%, respectively) and higher percentages

       of crime guns originating from within-state sales (65.0%, 71%, and 72.5%, respectively)

       than is the case for other purchaser licensing states that require in-person application,

       fingerprint verification and/or safety training including Maryland (11% under 12 months

       between retail sale and crime and 47.1% originating from within state).16 By 2019, the

       share of Maryland’s crime guns with under 12 months to crime was 8% and 46% of the


       15
          Data obtained from the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) website
       for the year 2017 because Chicago Police Department released detailed crime gun trace data for
       that year. https://www.atf.gov/resource-center/firearms-trace-data-2017
       16
          Hawaii has a relatively high percentage of its crime guns that were sold within a year of crime
       involvement; however, firearm ownership in Hawaii is very low and the number of crime guns
       traced (356) is a small fraction of the number of crime guns traced in other states.
                                                      16

                                                     JA1510
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       state’s crime guns originated from within state sales.17      This is a clear signal that

       Maryland’s HQL requirements that include fingerprinting applicants are effective in

       preventing firearms sold within the state from being diverted for criminal misuse.




       17
            https://www.atf.gov/file/147101/download
                                                       17

                                                       JA1511
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       Percentage of crime guns recovered in 2017 within 12 months of sale and percentage of crime
       guns that were recovered in the source state among states with purchaser licensing handgun laws.
                                                                                                   Guns
                                          Total guns        Crime guns                           recovered
                                                                                 Total guns
                                        recovered and       recovered                            that were
                                                                              recovered and
                                         successfully        within 12                           purchased
                                                                               successfully
                         Fingerprints      traced to       months of sale                        within the
                                                                              traced to first
                            Taken         purchaser                                                state
                                                                  n (%)         retail seller
                                                                                                   n (%)


                                            2,234               223 (10.0)        2,330         1,330 (57.1)
        Connecticut          Yes


        Hawaii                               356                 62 (17.4)         382           175 (45.8)
                             Yes

                             No                                                   31,336        15,752 (50.3)
        Illinois
                                            30,749             4,428 (14.4)
                                                                                                   -7,575
                                                                                 -18,749
                                        -18,526 Chicago    -2,483 Chicago                         Chicago
                                                                                 Chicago
        Illinois minus
                                            12,223             1,945 (15.9)                      8,177 (65.0)
        Chicago
                                                                                  12,587


        Iowa                                4,462               953 (21.4)
                             No                                                   4,521         3,221 (71.2)


        Maryland                            5,831              753 (12.9)
                             Yes                                                  5,886         2,775 (47.1)


        Massachusetts                       4,243               498 (11.7)
                             Yes                                                  4,342         1,696 (39.1)


        New Jersey                          9,263               747 (8.1)
                             Yes                                                  9,355         2,027 (21.7)


        New York                            19,327             1,815 (9.4)
                             Yes                                                  19,610        5,679 (29.0)


        North Carolina                      32,721             5,456 (16.7)
                             No                                                   34,107        24,730 (72.5)




                                                          18

                                                        JA1512
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              15.    Kleck claims that it is simply not plausible that Missouri’s PTP law or any

       handgun purchaser licensing law could impact firearm violence because relatively few

       criminals report that they obtained the firearms they used from licensed firearms dealers.

       There are two problems with that argument. First, the purchaser licensing requirement

       applies to private-party transfers as well as retail sales. Second, the point of background

       checks and licensing systems is not only to screen out prohibited persons, but to prevent

       the diversion of firearms after retail sale into the underground market through straw

       purchasers and gun traffickers. As I reported in my prior declarations, research that my

       colleagues and I published demonstrated that the adoption of Maryland’s HQL

       requirement, along with other provisions of the Firearm Safety Act (FSA), was followed

       by an immediate 76% reduction in the number of handguns recovered in crime by

       Baltimore police that had originally been sold by a Maryland firearms dealer after

       controlling for the number of handguns sold (as reflected in background checks) and

       seasonal factors (Crifasi et al., 2017). In that study, we also conducted anonymous surveys

       of a sample of men on parole or probation in Baltimore. Among the respondents with

       history of involvement in the underground gun market, 40 percent said it became more

       difficult to get a gun after the 2013 FSA went into effect and 34 percent said it became

       more difficult to get someone to buy a gun for them after the law.

              16.    Kleck’s declaration reveals that he either does not have a good understanding

       of firearm laws or does not consider the specifics of the laws that he discusses. For example,

       he claims that my research does not support the effects of fingerprint requirements for

       handgun purchase permits because McCourt et al. (2020) finds no effect of Maryland’s law

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                                                   JA1513
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       that requires fingerprints. Kleck either fails to understand or misses the fact that the

       McCourt et al. (2020) study estimates the effects of Maryland’s 1996 CBC law that

       extended background check requirement to private transfers but did not require fingerprints

       from purchase applicants. Of course, Maryland’s requirements for fingerprints do not come

       into play until the Firearm Safety Act (FSA) went into effect in October 2013, the very law

       that is in question in this case. As we document in a separate study, Maryland’s FSA

       requirement that handgun purchasers obtain a HQL was associated with an immediate and

       dramatic decrease in the diversion of firearms for criminal use after sales by Maryland gun

       dealers even after controlling for a reduction in the number of handguns sold following the

       law (Crifasi et al., 2017). Furthermore, 40 percent of persons on parole or probation for

       criminal offenses who were surveyed in Baltimore reported that it became harder to obtain

       firearms on the underground gun market following the 2013 law (Crifasi et al., 2017).

              17.    Kleck raises the question of why our team decided to focus on in-depth study

       on changes of handgun purchase laws in the four states of Maryland, Pennsylvania,

       Connecticut, and Missouri when the answer was obvious to those who read the article. We

       focus on four changes in laws because while they each apply only to handgun purchases,

       two concern comprehensive background check (CBC) requirements for all transfers

       (Maryland and Pennsylvania) and two concern changes in background check requirements

       in addition to purchaser permit/license requirements (Connecticut and Missouri). The two

       CBC laws were adopted within 12 months of the CBC and handgun purchaser license

       requirement in Connecticut, thus allowing us to estimate the relative importance of adding

       a license/permit requirement in addition to the CBC requirement. Of course, this is

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                                                  JA1514
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      precisely what Maryland did in 2013 when it added the HQL requirement to its CBC

      requirement that was enacted in 1996.

             18.    Kleck also incorrectly claims that we cherry picked states with permit-to-

      purchase handgun or license-to-own laws to study and points to eight states with purchase

      permit/license laws and three states with license-to-own laws, citing Giffords Law Center.

      Two of the eight purchase permit/license laws Kleck and Giffords identify, Nebraska and

      Michigan, do not meet our criteria for such laws because prospective purchasers are not

      required to have a permit or license to purchase a handgun from licensed firearm dealers

      in those states; the purchase permit requirement in those statutes only applies to private

      transfers.18 This is a significant departure from a full purchaser licensing requirement.

      Nearly two-thirds of firearm acquisitions nationally are purchases from licensed firearms

      dealers (Miller, Hepburn, & Azrael, 2017).19 All states that had a permit or license to

      purchase or own requirement for nearly all transfers, whether by a licensed dealer or an

      unlicensed (for retail sale) private party, were included in our study of the effects of state

      gun laws on homicides in urban counties. In this study, we estimate that these laws, on




      18
         As noted in on the same Giffords Law Center webpage cited by Kleck, “Michigan requires either
      a license to carry a concealed handgun or a handgun purchase license, although a person who
      purchases a handgun from a licensed dealer does not need either license… Nebraska issues
      handgun certificates, although handgun purchasers outside Omaha who purchase from licensed
      dealers or who have a concealed weapons permit do not need a handgun
      certificate.”                         https://giffords.org/lawcenter/gun-laws/policy-areas/owner-
      responsibilities/licensing/
      19
         Miller, Matthew, Lisa Hepburn, and Deborah Azrael. (2017) Firearm acquisitions without
      background checks: Results from a national survey. Annals of Internal Medicine.
      https://www.acpjournals.org/doi/full/10.7326/M16-1590?journalCode=aim#t2-M161590

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      average, reduced firearm homicide rates by 11 percent (Crifasi et al., 2018).20 Thus, none

      of the relevant state laws have been left out of our collective body of work.

             19.    It is worth noting that some of the states with purchaser or owner licensing

      laws (Massachusetts, New York, New Jersey, North Carolina) date back 50 to 100 years.

      Our interest has been on understanding the impact of state gun laws in more recent years.

      Kleck criticizes our research because we do not use data dating back to the early 1930s,

      but he cites no published longitudinal studies that analyze changes in homicide trends over

      80-90 years. I know of no such studies. There are good reasons that this is not done in

      research on the effects of public policies such as firearm laws. First, all statistical models

      designed to estimate the association between a policy change and any outcome is based on

      a projected counterfactual – what the model forecasts would have happened if there had

      been no policy change – and what actually occurred (the observed). Forecasting firearm

      homicide or suicide rates based on temporal patterns observed 30 to 90 years ago simply

      makes no sense and is likely to produce biased and inefficient (broader confidence

      intervals) estimates of policy effects. Forecasting counterfactuals over long periods after

      a policy intervention has been introduced also provides more opportunities for historical

      confounders to bias the estimates of policy impact. Whether you are forecasting the

      weather, the stock market, or homicide rates, there is greater uncertainty and increased




      20
        Crifasi, Cassandra K., Molly Merrill-Francis, Alexander D. McCourt, Jon S. Vernick, Garen J.
      Wintemute, and Daniel W. Webster. (2018) Association bet ween Firearm Laws and Homicide in
      Large, Urban U.S. Counties, Journal of Urban Health 95(3):383-390. doi: 10.1007/s11524-018-
      0273-3. Correction: Oct 2018; 95 (5):773-776. 10.1007/s11524-018-0306-y

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                                                  JA1516
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       room for error the longer period you are attempting to forecast. Ironically, Kleck makes

       this same point in his rebuttal to our work when he claims that we are forecasting for too

       long of a period with our models. He seems to want to have it both ways. Some researchers

       who use synthetic control methods for such purposes, as we did in McCourt et al. (2020)

       and earlier studies of handgun purchaser licensing laws (Rudolph et al., 2015;21 Crifasi et

       al., 201622), and do not generate estimates beyond a 10-year period in which a policy has

       been in place due to concerns about the accuracy of forecasts over lengthy periods. Second,

       in addition to increasing the likelihood of bias in policy impact estimates, there is the issue

       of applicability to current times. While it would be interesting to know whether New

       York’s PTP law reduced firearm homicides in the 1920s, I am doubtful that we could infer

       similar effects during the 21st century. There have been significant changes in society over

       those many decades that would influence rates of violent behavior, legal and illegal gun

       markets, and the guns themselves. Kleck portrays our decisions as if they are made to

       construct or inflate estimates to our liking when, in fact, these decisions are based on

       realistic understanding of what statistical models can and cannot do to generate valid

       estimates of the effects of laws. More historical data do not necessarily improve and can



       21
          Rudolph, Kara E., Elizabeth A. Stuart, Jon S. Vernick, and Daniel W. Webster. (2015)
       Association between Connecticut’s permit-to-purchase handgun law and homicides. American
       Journal of Public Health 105(8):e49-54.
       doi:10.2105/AJPH.2015.302703.
       22
          Crifasi, Cassandra K., John Speed Meyers, Jon S. Vernick JS, and Daniel W. Webster. (2015)
       Effects of changes in permit-to-purchase handgun laws in Connecticut and Missouri on suicide
       rates.       Preventive Med. Jul 23, 2015. pii: S00917435(15)00229-7. doi:
       10.1016/j.ypmed.2015.07.013. [Epub ahead of print] PMID: 26212633.


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       seriously bias estimates of policy effects when the time periods under study include many

       unmeasurable factors that influence the outcomes and primary independent variables under

       study (Donohue et al., 2019).

              20.    Kleck criticizes the study in which my colleagues and I show a strong

       negative association between handgun purchaser licensing laws and fatal mass shootings

       by suggesting that some unnamed confounder might explain the strong, statistically

       significant association – a 56 percent lower rate of the incidence of fatal mass shootings

       (Webster et al., 2020). There is no published research that suggests that any single factor

       could explain such a large difference in the rate of fatal mass shootings other than

       something that effectively restricts the availability of firearms, especially to persons at risk

       of committing violence. Kleck then puts forward something that he claims could explain

       such a strong association – failing to account for the effects of laws that prohibit persons

       who are dangerous due to mental illness from possessing firearms. However, if the

       estimated association between handgun purchaser licensing laws and a 56 percent lower

       rate of fatal mass shootings was due to our failure to control for laws that prohibit

       individuals from purchasing firearms due to mental illness, the following conditions would

       have to be met: (1) states and years with handgun purchaser licensing laws must have

       significantly broader mental health firearm prohibitions than states and years without

       handgun purchaser licensing; and (2) perpetrators of fatal mass shootings in states without

       handgun purchaser licensing laws must account for large majority of fatal mass shootings

       while close to no mass shooters in states with purchaser licensing laws would commit fatal

       mass shootings. Regarding the first point, Federal law – that obviously applies to all states

                                                     24

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       – prohibits persons from accessing firearms who have been found by a court, board,

       commission, or other lawful authority to be a danger to self or others, or to “lack[] the

       mental capacity to contract or manage [their] own affairs,” as a result of their mental

       condition or illness or who have been found incompetent to stand trial or not guilty of a

       crime due to mental incapacity.23 Most state laws mimic the Federal prohibitions in their

       statues (Giffords Law Center to Prevent Gun Violence, 2021).24 A few states with handgun

       purchaser licensing laws that require in-person application with law enforcement or

       mandatory fingerprinting of applicants have somewhat broader firearm prohibitions based

       on an applicant’s mental illness than is the case under Federal law; yet those prohibitions

       still apply to a very small percentage of persons with a mental illness. During much of the

       study period (1984-2017), relatively few states submitted records for mental health

       disqualifiers into databases for background checks (Wintemute 2019). Only 5.3 percent of

       firearms transfer application denials in 2016 were for mental health related prohibitions




       23
          Federal law, enacted in 1968, still uses archaic and offensive terminology to prohibit firearm
       access by people who have been “adjudicated as a mental defective.” Federal regulations define
       that term to mean:
       (a) A determination by a court, board, commission, or other lawful authority that a person, as a
       result of marked subnormal intelligence, or mental illness, incompetency, condition, or disease
       (1) Is a danger to himself or to others; or
       (2) Lacks the mental capacity to contract or manage his own affairs. Federal regulation also
       expressly clarifies that this firearm prohibition applies to:
       (1) A finding of insanity by a court in a criminal case; and
       (2) Those persons found incompetent to stand trial or found not guilty by reason of lack of
       mental responsibility pursuant to [specified articles] of the Uniform Code of Military Justice. 27
       CFR § 478.11
       24
          Giffords Law Center to Prevent Gun Violence. Who Can Have a Gun? Firearm Prohibitions.
       Accessed February 20, 2021. https://giffords.org/lawcenter/gun-laws/policy-areas/who-can-have-
       a-gun/firearm-prohibitions/
                                                      25

                                                     JA1519
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       (Connor, 2021).25 However, in 2007, only 0.8 percent of all denials for firearms transfers

       were due to mental health prohibitors (Federal Bureau of Investigation, 2007),26 showing

       that the limited availability of mental health records during much of the study period

       greatly limited the ability of laws designed to keep firearms from people who are dangerous

       due to mental illness to impact gun violence.

              21.    Data from the most comprehensive dataset (www.theviolenceproject.org) on

       fatal mass violence that includes incidents beginning in 1966 includes data on 172

       perpetrators of fatal mass shootings. The data indicate that 19.8 percent of the perpetrators

       had previously been hospitalized for psychiatric reasons and that psychosis played a

       primary role in 10.5 percent of the incidents (Peterson & Densley, 2021).27 Typically, to

       be legally disqualified from acquiring firearms, someone must have been involuntarily

       committed for in-patient treatment for a mental illness or experienced a very lengthy (6+

       months under Connecticut law) voluntary in-patient treatment that is very rare.

       Unfortunately, Peterson and Densley’s (2021) data cannot reliably distinguish voluntary

       versus involuntary psychiatric hospitalizations. Involuntary civil commitments for

       psychiatric care are rare in comparison to voluntary psychiatric hospitalizations. In a study

       of 22,780 individuals identified with a serious mental illness in Connecticut based on



       25
          Brooks, Connor. (2021) Background Checks for Firearms Transfers, 2016-2017 – Statistical
       Tables. Bureau of Justice Statistics, Office for Justice Programs, U.S. Department of Justice.
       Washington, DC. NCJ 254757. https://www.bjs.gov/content/pub/pdf/bcft15st.pdf
       26
          Federal Bureau of Investigations. National Instant Criminal Background System: Operations
       2007. https://www.fbi.gov/file-repository/2007_operations_report.pdf/view
       27
          Peterson, Jillian . (2021) Psychosis and Mass Shootings: A Systematic Examination using
       Publicly Available Data. Manuscript under review for publication.

                                                    26

                                                   JA1520
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       administrative records from public mental health and criminal justice agencies, 1,086 (4.8

       percent) had an involuntary civil commitment that prohibited firearm ownership and 1,122

       (4.9 percent) had some kind of mental health prohibitor for possessing firearms and were

       not otherwise prohibited based on prior criminal convictions. Many perpetrators of mass

       shootings do, however, have histories of violence and criminality that would prohibit them

       from possessing firearms. In the Peterson and Densley (2021) comprehensive study of

       mass shootings in the United States, two-thirds (111 out of 172) had criminal records,

       usually for violent crimes. It is, therefore, far more likely that potential mass shooters are

       denied firearm purchases due to prior criminal offenses rather than for prohibiting

       conditions due to mental illness (Table 3). Given the very small number of potential mass

       shooters who might be denied due to mental illness and the fact that Federal law prohibits

       many if not most such persons from purchasing firearms, it is virtually impossible that the

       large association between handgun purchaser licensing laws and lower incidence of fatal

       mass shootings could be explained away by stronger mental health disqualifications for

       firearm possession in states with handgun purchaser licensing.

              22.    Kleck criticizes our article on state gun laws and fatal mass shootings

       because we did not demonstrate that the variables we controlled for in our models were,

       indeed, confounders for the relationship between purchaser licensing laws and fatal mass

       shootings. But most studies of gun laws do not formally test for these conditions. The best

       we can do as researchers is identify the most plausible covariates that are collected in a

       standardized way across all 50 states over decades of time. Fatal mass shootings are

       relatively rare events and there is not a large body of research showing which population

                                                    27

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       characteristics are most predictive of rates of fatal mass shootings. The study controls for

       the presence of 15 types of firearm laws and 13 other measures of potential population risk

       or conditions that may impact fatal mass violence including estimates of gun ownership,

       the most likely confounder.

              23.    Kleck also does not like that we did not tease apart the discrete impact of

       requiring fingerprints for handgun purchaser applicants versus the discrete impact of

       requiring applicants to apply for a handgun purchaser license in-person from a law

       enforcement agency. The reason we did not do this is that the study was designed to

       simultaneously assess the independent association between many different types of gun

       laws on a relatively rare outcome – fatal mass shooting with four or more deaths, not

       inclusive of the shooter.     Only two states that had handgun purchaser licensing

       requirements during the study period had in-person application without fingerprint

       requirements (Iowa and Missouri) and only one state (Maryland) had fingerprint

       requirements without in-person application and that change in October 2013 provided very

       few annual data points for a study period that ended in 2017.

              24.    Kleck highlights the fact that the estimates for the association between

       handgun purchaser licensing laws and fatal mass shootings changed when we looked at the

       subset of cases in which more than five victims were killed versus our primary analyses

       with the commonly-used threshold of more than three victim fatalities. What he fails to

       mention is that the sample of incidents shrunk from 604 to 92 with those two different

       thresholds – 85 percent fewer incidents in which to analyze. As you restrict the fatality

       count threshold to higher numbers of deaths in these mass shootings, you find a growing

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       prevalence of assault-style rifles with high-capacity magazines which are not subject to

       handgun purchaser licensing. It is not surprising that the relationship between handgun

       purchaser licensing and fatal mass shootings would decline as the number killed threshold

       rises and assault rifles become more relevant.

              25.    Finally, Kleck claims that we biased our findings because we chose to

       exclude five states from our analysis for which there were many years of missing data from

       our primary source of data for the study – the FBI’s UCR Supplemental Homicide Report.

       We used our secondary sources – Stanford Mass Shooting in America and Gun Violence

       Archive – that did not cover all of the study period but allowed us to fill major mass

       shootings in when localities that were not reporting data (e.g., Newtown, Aurora,

       Colorado). Trying do to this for whole states for many years would have likely skewed

       our data.

              26.    Kleck makes an argument at the top of page 25 of his declaration regarding

       the findings from McCourt et al. (2020): “All of their (McCourt et al.) results are

       completely consistent with the interpretation that these changes, if they had any actual

       impact at all, merely induced some people to change the weapons they used to kill others,

       or the methods they used to kill themselves, without any effect on the total number who

       died.” The argument he puts forward is that firearm restrictions will just lead to method

       substitution such that changes in firearm homicide and suicide rates associated with

       changes in purchaser licensing laws would be negated by opposing changes in non-firearm

       homicide and suicide rates. A close inspection of the data in Table 2 on page 1549 of the

       article, puts that claim to rest. While we found that Connecticut’s handgun purchaser

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       licensing law was associated with a 27.8 percent decline in firearm homicide rates, it was

       associated with a non-significant 0.7 percent decline in non-firearm homicide rates – in

       essence, no change. The estimated change in firearm suicide rates was 23 percent during

       the period prior to Connecticut’s firearm removal law (precursor to Red Flag laws) and a

       combined reduction of 32 percent for the whole study period. Under Kleck’s hypothesis,

       some significant amount of that reduction would be negated by an increase in non-firearm

       suicides. Yet our models estimate a non-significant 3 percent decline in non-firearm

       suicide rates associate with Connecticut’s purchaser licensing law. The same is true when

       we examine the data for Missouri. We estimate that the purchaser licensing law repeal was

       associated with a 47 percent increase in firearm homicide rates. These increases in firearm

       homicides were not negated by decreases in non-firearm homicides, which also increased

       but at a much smaller rate of 18 percent. The pattern for suicide rates changing in response

       to changes in handgun purchaser licensing laws follow the same pattern as with homicides.

       The 23.5 percent increase in firearm suicide rates following the repeal of Missouri’s

       handgun purchaser law was not accompanied by a decline in non-firearm suicides, but a

       nonsignificant increase of 6.9 percent. We present the data stratified by weapon type to

       show that the changes observed in response to changes in handgun purchaser licensing

       laws are specific to or primarily concentrated on changes in firearm homicide and suicide

       and have little or no impact on homicides and suicides by other means. Not a single analysis

       in McCourt et al. (2020) supported Kleck’s method substitution hypothesis. The analyses

       simply reveal that the observed changes in homicide and suicide rates in response to



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       changes in purchaser licensing laws were highly concentrated in, if not exclusive to,

       changes in deaths due to firearms.

              27.    Kleck says that the authors’ study periods in McCourt et al. (2020) are

       arbitrary and provides our analysis of Maryland’s CBC law as an example where our

       analysis ends at 2013 – 17 years of post-law data. As we state in our article, we truncate

       Maryland’s time series at 2013 because our purpose is to contrast CBC versus handgun

       purchaser licensing laws and Maryland’s begins requiring handgun purchaser licensing in

       October 2013. Adding four years of post-CBC data that included these new important law

       change would only bias our estimate of the CBC effects. Finally, Baltimore City’s firearm

       homicide rates skyrocketed in May 2015 and have remained at high levels after massive

       destructive riots in response to the in-custody death of Freddie Gray. Kleck disagrees with

       our decision to truncate our post-CBC time series for Maryland at 2013 and our post-PTP-

       repeal time series for Missouri to 2017 due to the adoption of significant changes firearm

       laws in those states that prior research has shown to impact firearm homicide rates. His

       argument is that gun laws change all of the time, so researchers are not justified in

       truncating data for any reason. This is foolhardy because many of the changes in gun laws

       are very modest in nature and unlikely to impact population-level homicide rates whereas

       other law changes are more substantial and have been shown to be associated with changes

       in firearm homicide rates. The purpose and study design for McCourt et al. (2020) was to

       isolate changes in key policies by analyzing trends over sufficiently long periods in which

       there are no other major policy changes. For Maryland’s CBC law, we used 17 years of

       post-law change data and for Missouri we used 10 years of post-law data. Forecasting

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       counterfactuals beyond those time periods with significant policy changes coming into

       effect would not improve and would most likely bias our estimates of CBC and PTP law

       change effects.

              28.     Kleck says of our analytic method for estimating the effects of policy

       changes on homicide and suicide rates – synthetic control methods – that they “might be

       useful for evaluating the impact of a policy, but only in extraordinary circumstances.” Yet

       synthetic control methodology has become a widely accepted, and often preferred, method

       for estimating policy impacts. Synthetic control methodology has been called arguably the

       most important innovation in the policy evaluation literature in the last 15 years by two of

       the most prominent economists in the world who are studying policy impacts (Athey and

       Imbens, 2017),28 and the key articles on synthetic control methodology have over 4,000

       citations. Other methods of estimating policy impacts, such as difference-in-difference

       estimates29 from regression analysis with panel data are premised on assumptions of

       parallel trends in treated and untreated units prior to treatment (policy change in this case)

       and assumptions about the proper form of the relationship between the independent and

       dependent variables in the analysis. These conditions often do not hold in studies of state-

       level changes in homicides and suicides. This is why my colleagues and I chose not to use

       data from the 1980s and 1990s in our studies of the impacts of Missouri’s repeal of its


       28
          Athey, Susan. and Guido W. Imbens (2017). The state of applied econometrics: Causality and
       policy evaluation. Journal of Economic Perspectives 31 (2), 3–32.
       29
          Differences-in-differences refers to differences in dependent variables before and after policy
       change in the jurisdiction with the change versus the difference in the dependent variable over the
       same two time periods among jurisdictions that did not change the policy after controlling for
       changes in variables controlled for in the statistical model.
                                                       32

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       handgun purchaser licensing law when we used negative binomial regression models

       (Webster et al., 2014; Hasagawa, Webster & Smart, 2019). Synthetic control models

       minimize prediction error by allowing for different comparison states to receive different

       weights depending upon their ability to aid in the prediction of homicide or suicide trends

       in the state with the policy change under study. It is a mathematical process that is the

       opposite of “cherry picking” because it selects weights based on the weights’ ability to

       minimize prediction error. Kleck is incorrect in his statement that synthetic control

       methodology “relies entirely on the coincidence of there being other areas whose trends in

       the outcome variable closely mirror those prevailing in the area in which the policy is

       implemented.” Obviously, the more similar the comparison units are with respect to

       baseline levels and trends, the easier it is for the method to derive a good fit or prediction

       with the model. The estimation methodology does not rely upon parallel trends of

       comparison units and this is precisely the reason so many researchers use this method

       (Bouttell et al., 2017). My colleagues and I recently published a study that demonstrated

       substantial improvement in model fit when synthetic control methods were used in

       comparison to difference-in-difference estimates from regression analysis in a study of

       local gun violence prevention interventions in Baltimore neighborhoods – another type of

       study in which study units can be quite different and have unique, nonparallel trends.30




       30
         Buggs, Shani A.L., Daniel W. Webster, and Cassandra K. Crifasi. (2021) Using synthetic control
       methodology to estimate effects of a Cure Violence intervention in Baltimore, Maryland. Injury
       Prevention Published Online First: 08 February 2021. http://dx.doi.org/10.1136/injuryprev-2020-
       044056.


                                                     33

                                                    JA1527
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              29.    Kleck claims that the McCourt et al. (2020) study does not provide any

       evidence that the variables we used in our statistical models were essential in predicting

       homicide or suicide trends. Yet we provide model fit statistics and graphs of actual versus

       model-predicted values that show remarkable strong model fit and thus strong prediction

       based on the variables we used. Kleck picks apart data point by data point yearly change

       in Missouri or Connecticut prior to the law change to support his claim that the synthetic

       control method we used did not work well. But the approach is designed to estimate the

       value of the dependent variable for each year over a span of time, minimizing error in the

       mean values rather than minimizing error predicting a 1-year change. The graphs shows

       close concordance with the mean and general trend prior to the law’s repeal in Missouri

       and Connecticut, especially close concordance during the years leading up to the policy

       change – key in any estimation of policy effects. The model fit statistics – mean square

       predictive error – for Missouri’s firearm homicide rates and all other models were all less

       than 0.560.

              30.    Finally, Kleck argues that we cannot conclude that firearm homicide and

       suicide rates changed dramatically in response to changes in handgun purchaser licensing

       laws in Missouri and Connecticut because it is possible that it was some other factor or set

       of factors that changed at the same time the laws were changing that dramatically

       influenced firearm homicide and suicide rates. While this is theoretically possible in any

       study of a law because we cannot run randomized experiments with laws, the pattern and

       consistency of the data are in accord with my inference that handgun purchaser licensing

       lowers population rates of firearm homicide and suicide. The effects are substantial and

                                                   34

                                                  JA1528
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       long-lasting, are evident primarily with firearm homicides and suicides and not with

       homicides and suicides by other means. The changes in diversions of firearms for criminal

       use that coincide with the changes in firearm homicide rates are consistent with a causal

       connection.



             I hereby declare under penalty of perjury that the foregoing is true and correct.




             Date: February 24, 2021
                                                Daniel W. Webster




                                                  35

                                                 JA1529
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                                    EXHIBIT 20




                                          JA1530
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                                                                                    Page 1
                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND
                        -------------------------------X
                        MARYLAND SHALL ISSUE, INC.,            :
                        et al.,                                :
                                                               :   Case No:
                                      Plaintiffs               :   16-cv-3311-MJG
                                                               :
                                           -vs-                :   Pages 1 - 169
                                                               :
                        LAWRENCE HOGAN, in his                 :
                        capacity of Governor of                :
                        Maryland, et al.,                      :
                                                               :
                                      Defendants               :
                        -------------------------------X



                                        Deposition of Andy R. Johnson
                                             Baltimore, Maryland
                                          Wednesday, April 11, 2018




                        Reported by:      Kathleen M. Vaglica, RPR, RMR
                        Job No:   393199


                                            MAGNA LEGAL SERVICES
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                                             JA1531
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                                                                                    Page 79
                1       conversations with Detective Sergeant Lopez.

                2            Q.       To your knowledge, has Maryland State

                3       Police ever had access to that information?

                4            A.       That I don't know.

                5            Q.       Item 23, the HQL's effect on handgun sales

                6       in Maryland from 2013 through 2017.            You have a

                7       note, "No response on effect."          What does that mean?

                8            A.       It just means that I can't, I don't feel

                9       that I can testify on the effect on the sales in

               10       Maryland.

               11            Q.       Do you have any information on the effect

               12       of handgun sales in Maryland from the HQL?

               13            A.       Only that today we're back to near record

               14       numbers.

               15            Q.       What's the basis of that statement?

               16            A.       Just the information I reviewed here

               17       today.

               18            Q.       Show me exactly what you're pointing to.

               19       Is that the -- well, just show me what you're

               20       referring to.

               21            A.       Sure.   So I have information on the MAFSS

               22       yearly count of firearm transfer by gun type.




                                              JA1532
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                                                                                      Page 80
                1                     MR. SCOTT:     Has it been previously marked?

                2                     THE WITNESS:     I believe it has, but I'm

                3       not sure.

                4                     MR. SWEENEY:     We'll get a copy marked.

                5                     (Exhibit No. 92, MAFSS Yearly Count of

                6       Firearm Transfer by Gun Type, was marked for

                7       identification and retained by Mr. Scott.)

                8                     MR. SWEENEY:     Is this Bates number 3207?

                9                     THE WITNESS:     Yes, sir.

               10                     MR. SWEENEY:    Let's go ahead and mark that

               11       as the next exhibit number.           We may have a duplicate

               12       in the record.

               13                     MR. SCOTT:   That's all right.            No worries.

               14       BY MR. SWEENEY:

               15            Q.       We've marked as Exhibit 92 the document

               16       with Bates stamp 3207 on it, and tell me what

               17       specifically you're referring to in this document to

               18       support the statement you just made.

               19            A.       Just the transfer count.

               20            Q.       All right.   And it's your understanding --

               21       and are you looking at the transfer count column?

               22       Is that what you're referring to, or are you looking




                                             JA1533
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                                                                                    Page 81
                1       at the handgun transfer column?

                2               A.    The handgun transfer column.

                3               Q.    All right.     And when you're saying near

                4       record, you're comparing 52,101 handgun transfers

                5       depicted here in 2017 with prior years?

                6               A.    Yes, sir.

                7               Q.    2013 had 90,090, almost twice as many.          So

                8       you're not really near that record, are you, sir?

                9               A.    Could you repeat the question?

               10            Q.       Sure.   2013 had over 90,000 transfers, so

               11       the 52,000 in 2017 isn't really near that record

               12       year, is it?

               13                     MR. SCOTT:   Objection.      Go ahead.

               14                     THE WITNESS:     I would say that's a record

               15       year.    And the next record year would be, looking at

               16       this document, 47,348 in 2012, and 52,101 from 2017

               17       is above that so that was my reference.

               18       BY MR. SWEENEY:

               19            Q.       All right.   And the total transfers

               20       depicted here in 2014 and 2015 of 28,799 and 34,751

               21       are significantly below those years; correct?

               22                     MR. SCOTT:   Objection.




                                              JA1534
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                                                                                    Page 82
                1                     THE WITNESS:     Below the years that are

                2       listed here from 2000 to 2017, no, sir.

                3       BY MR. SWEENEY:

                4            Q.       All right.   So 28,000 and 34,000 is not

                5       significantly below 52,000?

                6            A.       It is below 52,000.      I was using the range

                7       that we have here so that's what I was referring to.

                8            Q.       Let me try to understand.        What do you

                9       mean by a range?

               10            A.       We have listed here on this document 2000

               11       to 2017, the years 2000 through 2017.

               12            Q.       Okay.

               13            A.       The other document that I've used in the

               14       past is the weekly report, which I believe we've

               15       also provided to you for 2018.

               16            Q.       We marked that as Exhibit 80 earlier

               17       today.    Can you identify where on that document

               18       you're referring?

               19            A.       So, again, using the totals for -- these

               20       are applications received from 2015 through 2018 and

               21       a weekly average, as well as a yearly total, for

               22       2015 to 2017 and as far back as 2014, I believe, on




                                              JA1535
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                                                                                    Page 83
                1       some of the older weekly reports.           And just that the

                2       weekly average from 2015 to 2018 has gone up

                3       significantly as well.

                4            Q.       Now, what period of time is used to

                5       calculate the weekly average that appears there, the

                6       data that you're looking at?

                7            A.       From the start of the calendar year,

                8       January 1, through the current date of that weekly

                9       report averaged out over the number of years.

               10            Q.       So the last report for the year would be

               11       cumulative for the entire year and provide an

               12       average by week based on the total for the year?

               13            A.       Yes, sir.

               14            Q.       Are there any other documents that you're

               15       basing your opinion on?

               16                     MR. SCOTT:   Objection to form.

               17                     MR. SWEENEY:    If I revise it and

               18       substitute statement, will you remove your

               19       objection?

               20                     MR. SCOTT:   If you restate the question.

               21                     MR. SWEENEY:    Sure.

               22       BY MR. SWEENEY:




                                             JA1536
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                                                                                    Page 132
                1       administrative denial log as well or ledger I should

                2       say.    I think we're getting hung up on the log

                3       versus ledger, so I want to make sure I have the

                4       other information in front of me.

                5              Q.     I don't know if I have the disapproval

                6       ledger with me.      What I do have is the -- we can

                7       talk about what this is.         Pull it out.

                8                     MR. SWEENEY:    Let's mark that as 98.

                9                     (Exhibit No. 98, Administrative Denial

               10       Ledger, was marked for identification and retained

               11       by Mr. Scott.)

               12       BY MR. SWEENEY:

               13              Q.     Let me show you what we've marked as 98,

               14       which is another log-like spreadsheet that we took

               15       out of your document production.           What is it that

               16       we're looking at that's identified as Bates

               17       number 1218 through 1227?

               18              A.     I believe that this is the administrative

               19       denial ledger.      And this ledger is -- I know it's

               20       hard to say without the redacted information, but I

               21       believe it is the information that is given back to,

               22       when the section receives a Rap Back or an ADR




                                             JA1537
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                                                                                    Page 133
                1       report, the person is put on this log or ledger as a

                2       person who's come back on that report.             That's what

                3       I recognize this to be.

                4              Q.     We had been calling this the revocation

                5       log.

                6              A.     Correct.

                7              Q.     Does that make -- is that what you would

                8       call it?

                9              A.     Yes, sir.

               10              Q.     And it is a different spreadsheet and

               11       stream of data than the administrative log that we

               12       marked as Exhibit 97; correct?

               13              A.     Yes, sir.

               14              Q.     And let me understand what's a Rap Back?

               15              A.     I believe it's a record of arrest and

               16       prosecution, if I'm not mistaken, or processing.

               17       I'm sorry.      Not prosecution.

               18              Q.     What does that mean?

               19              A.     That's a term that they use when they are

               20       getting this -- it's called an ADR report, Arrest

               21       Disposition Report, sent back to the unit based on

               22       someone's fingerprints who has now been charged with




                                             JA1538
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                                                                                Page 134
                1       a crime or arrested.

                2              Q.     And what does the HQL unit do with that

                3       information?      In other words, an HQL holder has been

                4       fingerprinted in connection with an arrest.            That

                5       information comes to the HQL unit.           It's reflected

                6       in this log.      What then happens?

                7              A.     If -- you can see there are some here that

                8       have been revoked, so if the charge is prohibitor,

                9       they would follow the disposition of the case; and

               10       once the case had a disposition, if it is, in fact,

               11       a disqualifier, they would then revoke the person's

               12       HQL.    Those are highlighted in the blue on the color

               13       copy we have here.

               14              Q.     Do you know what the significance, if any,

               15       of the yellow highlighting is?

               16              A.     I believe those are cases that may still

               17       be under disposition.        Actually, I don't know.        I

               18       believe they were still -- they have not yet

               19       received disposition, I believe.           That's my

               20       understanding of what they are.

               21                     So, if you look at the majority of the

               22       charges in white, they are either for the most part




                                             JA1539
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                                                                                Page 135
                1       not disqualifiers, nolle prossed, those kinds of

                2       things, so if you look at the highlighted numbers,

                3       they are from charges that have yet to have a

                4       disposition.

                5            Q.       All right.   You mentioned that this

                6       process is triggered at least in terms of the

                7       reporting to Maryland State Police by fingerprints

                8       being taken incident to a criminal arrest and

                9       matched to the fingerprints on file for an HQL

               10       applicant; am I correct?

               11            A.       Matched to the SID number from the

               12       applicant.      State ID number, yes, sir.

               13            Q.       And is there any other means of reporting

               14       of an arrest of an HQL holder other than a match of

               15       the fingerprint identification?

               16            A.       Is there any means to what?        I'm sorry.

               17            Q.       To report to Maryland State Police that an

               18       HQL holder has been arrested, a potentially

               19       disqualifying event, other than the fingerprinting?

               20            A.       So that's a twofold question, and I'll

               21       answer it's still by fingerprinting, but the only

               22       other event that I know of would be, if the person




                                             JA1540
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                                                                                Page 136
                1       has a handgun permit, the code for the fingerprints

                2       is related to handgun permit.          They would be

                3       notified.      They would then notify HQL.

                4            Q.       All right.   So, before the HQL

                5       fingerprinting requirement, if the owner of a

                6       registered firearm in Maryland was arrested for a

                7       potentially disqualifying crime, was there any

                8       report of that arrest that went to anyone at

                9       Maryland State Police?

               10            A.       Not that I recall.

               11            Q.       And other than reports that are triggered

               12       by fingerprint matches, would the HQL fingerprint

               13       data that's kept on file, there's no reporting to

               14       Maryland State Police of the arrest of any HQL

               15       holder now; correct?

               16            A.       That is my understanding, yes, sir.

               17            Q.       Going back to Exhibit 97, if you would for

               18       a moment, and let's just look at the first item and

               19       see -- it's on Bates stamp page 1214 and see if we

               20       can understand it.

               21                     There appears to be a column that's been

               22       redacted in black on the far left of the page.              Are




                                             JA1541
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                                                                                  Page 139
                1       the administrative log when the application in

                2       question was submitted?

                3            A.       I don't believe so.

                4            Q.       Are the dates in which an application that

                5       has been administratively disapproved is overturned

                6       all occurring within 30 days of the submission of

                7       that application to MSP?

                8            A.       I'm going to have to have you repeat that.

                9       I'm sorry.

               10                     MR. SWEENEY:    Please read that back,

               11       Kathy.

               12                     (The reporter read back as requested.)

               13                     THE WITNESS:    Once the, the reason for

               14       administrative denial has been corrected, it then

               15       becomes a properly completed application.              Within

               16       30 days of that happening, they are being

               17       overturned, yes, sir.

               18       BY MR. SWEENEY:

               19            Q.       And I'm trying to find out what the time

               20       period is between the submission of the application

               21       and the overturning of the administrative

               22       disapproval.      Is that within 30 days?




                                             JA1542
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                                                                                Page 140
                1            A.       The time that it's denied and the

                2       administrative approval?         In most cases it would be.

                3       However, if it's not a properly completed

                4       application, we can only make a decision on it once

                5       we have a properly completed application.

                6            Q.       What I'm trying to find out is how long

                7       does that take?

                8            A.       It varies.

                9            Q.       And does it sometimes involve more than

               10       30 days from the submission of the application?

               11            A.       From the submission of a not properly

               12       completed application to the time of overturn for a

               13       denial, yes.

               14            Q.       All right.   More than 30 days?

               15            A.       Yes, sir.

               16            Q.       And that's happened more than once;

               17       correct?

               18            A.       I would assume so.

               19            Q.       All right.   And do you know how often it's

               20       happened?

               21            A.       I'm just told that it's, most of those

               22       cases are still generally, once we have the reason




                                             JA1543
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                                                                                 Page 141
                1       for administrative denial corrected, that they are

                2       all within 30 days.        However, most of them are still

                3       corrected and approved within 30 days from the

                4       initial application date.

                5            Q.       But some are not, and we don't know how

                6       many?

                7            A.       Yes, sir, correct.

                8            Q.       You don't keep the records of how long it

                9       takes or how many don't do it within 30 days;

               10       correct?

               11            A.       No, sir.

               12            Q.       All right.   On the same page we've been

               13       looking at, 12/14, about three quarters of the way

               14       down the page one of the reasons given is ARN

               15       number/hunting license.        Can you tell us what that

               16       means?

               17            A.       I do not know.

               18            Q.       All right.   Is the hunting license

               19       accepted instead of the handgun safety training

               20       under the HQL?

               21            A.       Instead of the hunter's safety?

               22            Q.       Instead of the handgun training.         Is a




                                             JA1544
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                                                                                Page 148
                1                     (Whereupon, a short recess was taken from

                2       2:59 to 3:08 p.m.)

                3                     MR. SWEENEY:    Let's mark this as number

                4       99.

                5                     (Exhibit No. 99, MAFSS Spreadsheet, was

                6       marked for identification and retained by Mr.

                7       Scott.)

                8       BY MR. SWEENEY:

                9             Q.      Captain Johnson, while we were off the

               10       record, I marked as Exhibit 99 another spreadsheet

               11       from MAFSS that looks very much like the spreadsheet

               12       we marked and talked about as Number 92 with the

               13       exception that the numbers are largely all

               14       different, and it is Bates 3206.           Are you familiar

               15       with that document, as well as with Document 92, and

               16       can you explain the differences?

               17             A.      I am, and the differences in the transfer

               18       count are significantly higher on the Exhibit 99

               19       than they are Exhibit 92.

               20             Q.      And do you know why that is?

               21             A.      When we saw the numbers that MAFSS

               22       provided on the original Exhibit 99, we actually set




                                             JA1545
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                                                                                Page 149
                1       a meeting with the information technology people at

                2       MAFSS to try to find out why the data was the way it

                3       is, and the only thing they could tell us is they

                4       believe someone had written the script wrong to pull

                5       the data.

                6                     And once we explained to them what we were

                7       looking for and that those numbers we didn't feel

                8       were accurate, they provided the second copy of

                9       Exhibit 92 to us as a corrected copy.

               10            Q.       What, if anything, did you do to satisfy

               11       yourself that Exhibit 92 as corrected is correct?

               12            A.       Those numbers appeared more accurate,

               13       consistent with some of the information from our

               14       weekly report than what was originally presented on

               15       Exhibit 99 with the exception of the years 2014,

               16       '15, '16.

               17                     Most recently in viewing the document, I

               18       questioned why in those years under category S as a

               19       single shot we had a significant increase over prior

               20       years at which time I was advised that the

               21       application for the 77R during those years had a

               22       misprint on the back of the form which was




                                             JA1546
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                                                                                Page 150
                1       categorizing semiautomatics with a category Code S

                2       instead of A.

                3                     Therefore, when people were putting the

                4       information in, the numbers for that year for single

                5       shot were significantly higher than years past.

                6               Q.    And what years did that form misprint

                7       occur?

                8               A.    I believe it was in 2014.

                9               Q.    And who advised you of that?

               10            A.       Sergeant Pickle.

               11            Q.       And what was the basis of his information?

               12            A.       He was in the registration section at the

               13       time.

               14            Q.       Do you know how long the single shot

               15       category has been in the MAFSS system?

               16            A.       I do not.   It appears since 2000.

               17            Q.       Is there anything else you did to satisfy

               18       yourself that the information on Exhibit 92 is

               19       accurate?

               20            A.       No, sir.

               21                     (Discussion held off the record.)

               22                     MR. SWEENEY:    Let's mark this.




                                             JA1547
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                                                                                  Page 158
                1       report, as you understood it, indicate that Maryland

                2       State Police had not followed the requirements of

                3       the Maryland HQL law in requiring the paper

                4       submission of HQL applications?

                5            A.       That was not discussed.

                6            Q.       Were you advised that the audit found that

                7       Maryland State Police did not adequately ensure that

                8       the handgun registration data in MAFSS was accurate?

                9            A.       The handgun registration data in MAFSS?

               10            Q.       Mm-hmm.

               11            A.       I was advised that there were clerical

               12       errors in the data, yes, sir.

               13            Q.       Is it your understanding that it's the

               14       responsibility of the Licensing Division under your

               15       command to ensure that the handgun registration data

               16       in MAFSS is accurate?

               17            A.       Yes, sir.

               18            Q.       All right.      And what does your Licensing

               19       Division do to ensure itself that the handgun

               20       registration data in MAFSS is accurate?

               21            A.       Currently?

               22            Q.       Yes.




                                                JA1548
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                                                                                Page 159
                1            A.       So the information currently that's put

                2       into the portal, which went live January 1 of 2017,

                3       has no longer required the -- what was required

                4       prior was 100 percent quality assurance in each

                5       application as the data was being entered into, at

                6       that time, our Isabel system and then ultimately

                7       transposed into the MAFSS database.

                8                     When that information was put into the

                9       MAFSS database, there was always at least more than

               10       one person looking at that information because it

               11       was coming in on an electronic, a fax copy, and then

               12       from there, once the data was entered and the

               13       application came back to the Licensing Division,

               14       what we call final date where that firearm was

               15       considered transferred, that information was then

               16       reviewed again upon entry into MAFSS, the firearm

               17       data at this point.

               18                     Of those approximately 3 to 5 percent of

               19       those applications are pulled for random samples,

               20       and there's quality control done on those random

               21       samplings.      Currently, with the portal the

               22       information is already in the digital format.               It's




                                             JA1549
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                                                                                Page 160
                1       taken right out of the digital application, the

                2       electronic application, and placed into MAFSS and

                3       the same quality control is conducted on those

                4       random sampling of applications.

                5              Q.     And the process you described is effective

                6       as of January 1, 2017, when the new 77R electronic

                7       portal became active?

                8              A.     From the standpoint of the quality control

                9       and directly from the electronic application, yes,

               10       sir.    Prior to that was the 100 percent quality

               11       assurance.      When that application came in, it was a

               12       manual data entry from the fax copy into Isabel and

               13       then ultimately into MAFSS.

               14              Q.     Now, the audit report that we have here on

               15       2015 found that there were some 4,000 out of 27,500

               16       handgun records that were reviewed contained errors.

               17       What, if anything, did Maryland State Police do

               18       after receiving this audit report to look at all the

               19       MAFSS firearms registration data to ensure it was

               20       accurate?

               21              A.     I don't know what was done prior to me as

               22       far as this audit that was completed in, I believe,




                                             JA1550
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                                    EXHIBIT 21




                                          JA1551
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                                                                                    Page 1
                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND
                        -------------------------------X
                        MARYLAND SHALL ISSUE, INC.,            :
                        et al.,                                :
                                                               :   Case No:
                                      Plaintiffs               :   16-cv-3311-MJG
                                                               :
                                           -vs-                :   Pages 1 - 109
                                                               :
                        LAWRENCE HOGAN, in his                 :
                        capacity of Governor of                :
                        Maryland, et al.,                      :
                                                               :
                                      Defendants               :
                        -------------------------------X



                                         Deposition of James Johnson
                                             Baltimore, Maryland
                                           Tuesday, March 13, 2018




                        Reported by:      Kathleen M. Vaglica, RPR, RMR
                        Job No:   390081


                                            MAGNA LEGAL SERVICES
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                                             JA1552
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                                                                                     Page 24
                1                     THE WITNESS:    I'm not in a position to

                2       answer the question.

                3       BY MR. SWEENEY:

                4            Q.       Now, fingerprinting is not, per se, going

                5       to deter a straw purchaser; correct?            Because by

                6       definition a straw purchaser is an individual who

                7       can be positively identified and is qualified to

                8       purchase a handgun; correct?

                9                     MS. KATZ:    Objection to form.          You can

               10       answer.

               11                     THE WITNESS:    I believe that's an accurate

               12       statement.

               13       BY MR. SWEENEY:

               14            Q.       All right.   So what is it about the

               15       fingerprinting process that in any way discourages

               16       straw purchases?

               17            A.       I believe that an individual that knows

               18       that they have to render fingerprints is less likely

               19       to carry out the scheme.         I believe that most

               20       individuals have a great concern or a concern about

               21       rendering their fingerprints.

               22                     It's been my experience throughout my




                                             JA1553
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                                                                                   Page 51
                1       one-month period of time the cost is $38 million as

                2       a result of gun violence and accidental or suicide

                3       by use of guns.      I believe this training could help

                4       address one or more of those areas.

                5            Q.       Can we try to pull apart your

                6       understanding of the prevalence of accidental gun

                7       injury and death as opposed to the other categories

                8       of intentional criminal acts and suicide?

                9            A.       I can tell you, as a police officer, I've

               10       handled a number of accidental discharges involving

               11       children and/or adults.        I'll bring your attention,

               12       just last within the last 24 hours in Harford County

               13       an individual cleaning his gun shot and killed

               14       himself.      It's quite common.      It's quite frequent to

               15       have accidental gun discharges.          Again, even amongst

               16       police officers, it's not an infrequent event.

               17            Q.       Can you point to any data that quantifies

               18       quite common and quite frequent?           How many

               19       accidental shootings are occurring each day, each

               20       year in this country?

               21            A.       I believe that material is available.         I

               22       do not possess it.       Again, it would require




                                             JA1554
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                                                                                   Page 52
                1       research, time, and resources.

                2            Q.       Which you have not done in advance of your

                3       opinion in this case?

                4            A.       No, sir.

                5            Q.       All right.   And you also don't have any

                6       such information specifically about Maryland;

                7       correct?

                8            A.       That's correct.

                9            Q.       Item 7 of your testimony talks about the

               10       live fire requirement.        We already discussed that.

               11       Is there anything else about your opinion with

               12       respect to the live fire requirement that you'd like

               13       to address?

               14            A.       Well, personally, I think just firing one

               15       round is not adequate, but I do not think the

               16       requirement to show proficiency in discharging a

               17       round is unreasonable.        Again, I would draw your

               18       attention to the process of actually chambering a

               19       round, which is an exercise in and of itself.              And,

               20       you know, the average individual that's new to guns,

               21       I think, would struggle working that mechanism of

               22       the weapon, and I'm sure that's a necessary




                                             JA1555
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                                                                                   Page 53
                1       component or process in actually discharging a

                2       round.

                3            Q.       Now, can this live fire training take

                4       place anywhere or do you have to have it at a

                5       special location?

                6            A.       I believe that with the change in allowing

                7       a marker-type round that can be conducted virtually

                8       anywhere.      I do not believe that is discharging a

                9       weapon in a metropolitan district, for example, so I

               10       believe it could be done anywhere.           We use

               11       simunition weapons in classrooms, at the academy.

               12       We use simunition weapons in various locations.

               13            Q.       So it's your opinion then that a

               14       simunition live fire training can take place within

               15       the city limits of Baltimore City?

               16            A.       I do not think it's discharging a weapon

               17       in a metropolitan district.

               18            Q.       And so that could take place anywhere?         It

               19       could take place, say, in a backyard or a home in

               20       Baltimore City?

               21            A.       When I think about this issue, I'm

               22       thinking about a projectile that simply delivers a




                                             JA1556
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                                                                                    Page 105
                1       including live fire?          You don't mention that either

                2       as a means to prevent gun trafficking in this

                3       document, do you, sir?

                4            A.       No.

                5                     MR. SWEENEY:       Thank you.     I have no

                6       further questions, sir.           Thank you for your time

                7       today.

                8                     MS. KATZ:      I'm just going to take a

                9       one-minute break.         We'll be right back before we

               10       close up shop.

               11                     (Whereupon, a short recess was taken from

               12       1:16 to 1:17 p.m.)

               13            EXAMINATION BY COUNSEL FOR THE DEFENDANTS

               14       BY MS. KATZ:

               15            Q.       A few quick questions.          Chief Johnson, in

               16       your experience as a law enforcement officer in

               17       Maryland, were you aware of any accidental

               18       discharges of handguns in Maryland?

               19            A.       Yes.

               20            Q.       Can you estimate how many?

               21            A.       Over 100.

               22            Q.       Did you ever personally respond to a




                                                JA1557
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                                                                                   Page 106
                1       situation where there had been an accidental

                2       discharge of a handgun?

                3            A.       I'd have to say just numerous cases of

                4       both police officer and private citizen.

                5            Q.       Okay.    Do you recall being asked about the

                6       live fire component of the training requirement?

                7            A.       Yes.

                8            Q.       And do you recall mentioning the

                9       importance of the training having experience of

               10       chambering a round?

               11            A.       It's a credible component given the

               12       technology of the current state-of-the-art weapons,

               13       and what caused all of the accidental discharges in

               14       Baltimore County were failure to recall, remember

               15       that there was a round previously chambered, and

               16       unfortunately, the person pulled the trigger unaware

               17       that there was a round in the chamber thinking

               18       ejection of the magazine was sufficient to safe the

               19       weapon.

               20            Q.       And how might the live fire component of

               21       the training prevent that situation?

               22            A.       I think it causes an individual to become




                                                JA1558
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                                                                                   Page 107
                1       accustom to the mechanism, the operation of the

                2       weapon, and then just your muscle memory or

                3       training, again, and repeat a process of clearing

                4       the weapon before they determine, in fact, it's

                5       safe.

                6                     MS. KATZ:   Okay.       I don't have any other

                7       questions.

                8                     MR. SWEENEY:     I have no other questions.

                9                     (Whereupon, signature not having been

               10       waived, the taking of the deposition concluded at

               11       1:19 p.m.)

               12                                  *     *     *

               13

               14

               15

               16

               17

               18

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               21

               22




                                             JA1559
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                                    EXHIBIT 22




                                          JA1560
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                                                                                    Page 1
                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND
                        -------------------------------X
                        MARYLAND SHALL ISSUE, INC.,            :
                        et al.,                                :
                                                               :   Case No:
                                      Plaintiffs               :   16-cv-3311-MJG
                                                               :
                                           -vs-                :   Pages 1 - 229
                                                               :
                        LAWRENCE HOGAN, in his                 :
                        capacity of Governor of                :
                        Maryland, et al.,                      :
                                                               :
                                      Defendants               :
                        -------------------------------X



                                      Deposition of Diane S. Armstrong
                                             Baltimore, Maryland
                                           Friday, March 23, 2018




                        Reported by:      Kathleen M. Vaglica, RPR, RMR
                        Job No:   391104


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                                             JA1561
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                                                                                     Page 9
                1            Q.       All right.     Now, what is your position

                2       with the Maryland State Police?

                3            A.       My position is office supervisor for the

                4       civilian staff for the Handgun Qualification License

                5       Unit.

                6            Q.       All right.     I'm going to mark as

                7       Exhibit 43 a copy of the deposition notice and

                8       subpoena for today's deposition.

                9                     (Armstrong Exhibit No. 43, Notice of

               10       Deposition and Subpoena, was marked for

               11       identification and retained by Mr. Scott.)

               12                     (Mr. Hansel entered the deposition room.)

               13                     MR. SWEENEY:    Morning, Cary.

               14                     MR. HANSEL:    Morning.

               15                     MR. SWEENEY:    You didn't miss anything.

               16                     MR. HANSEL:    Good.

               17       BY MR. SWEENEY:

               18            Q.       Ms. Armstrong, I'd ask you to take a look

               19       at the document I've marked as Exhibit 43.             The

               20       first three pages are the deposition notice for the

               21       Maryland State Police.        The next three pages are the

               22       subpoena for that deposition, and then there are




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                                                                                   Page 113
                1       number of times that you've received these e-mails

                2       and phone calls?

                3            A.       I do not keep track of them individually.

                4       You have all the e-mails that we've received, and

                5       the phone calls, we don't keep track of the phone

                6       calls so I cannot give you a number.

                7            Q.       Referring you to paragraph eight of the

                8       declaration, Exhibit 47, what do you do when asked

                9       to assist citizens who have inadvertently created

               10       multiple accounts and initiated multiple

               11       applications?

               12            A.       Well, we have one applicant that created

               13       nine accounts, and when they create nine accounts or

               14       multiple accounts, then we have to refer them over

               15       or we refer it over to our IT section for them

               16       'cause they have to delete the accounts.

               17            Q.       All right.   So is it the practice when

               18       individuals have initiated multiple accounts that

               19       you refer them to IT for the deletion of those

               20       multiple accounts?

               21            A.       If we cannot figure out their information

               22       on the phone with them, then we do not have the




                                             JA1563
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                                                                                      Page 114
                1       ability to move any further.

                2            Q.       All right.     So at that point, the citizen

                3       is referred to another part of the Maryland State

                4       Police, its IT unit?

                5            A.       No.   We contact the IT section on their

                6       behalf, and then we get back to this applicant when

                7       it's corrected.

                8            Q.       And the correction in the instance of

                9       multiple applications is the multiple applications

               10       in the system are canceled out?

               11            A.       I don't know the process on that so I

               12       can't answer that.

               13            Q.       What is it that you give back to the

               14       applicant and tell them that has resolved the

               15       problem of their multiple applications?                  What do you

               16       say to them?

               17            A.       We give them the user ID and assist them

               18       with resetting their passwords.

               19            Q.       And you would be resetting it on one of

               20       their existing applications in the system?

               21            A.       Correct.

               22            Q.       And to your knowledge, what happens to




                                               JA1564
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                                                                                   Page 115
                1       those other multiple applications that were in the

                2       system when you reset the existing application?

                3            A.       I can't -- I don't know what happens to

                4       them.

                5            Q.       In the course of doing that, do you obtain

                6       the unique user name and password of any applicants?

                7            A.       To reset their account?

                8            Q.       Yes.

                9            A.       No.    We have access to their user name,

               10       but we don't have access to passwords.

               11            Q.       Do you ever request the password of an

               12       applicant?

               13            A.       If they want us to reset the password for

               14       them, they have to give us a password.

               15            Q.       And do you do that?

               16            A.       On occasion, yes.

               17            Q.       Do you know how often you do that?

               18            A.       Not very often.

               19            Q.       And do you do anything special to

               20       safeguard the password that you obtained from the

               21       HQL applicant for that purpose?

               22            A.       We don't write it down or, if we do, we




                                                JA1565
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                                                                                   Page 117
                1       applicants that contain their passwords?

                2                     MR. SCOTT:      Objection.      Go ahead.

                3                     THE WITNESS:       I believe everything is

                4       encrypted, but I can't answer on what the server

                5       does, what the IT section does with those e-mails.

                6       BY MR. SWEENEY:

                7            Q.       Paragraph nine you refer to one qualified

                8       handgun instructor creating fictional accounts in

                9       order to walk his students through the HQL

               10       application process; am I correct?

               11            A.       Correct.

               12            Q.       Earlier today we talked about a qualified

               13       handgun instructor who had contacted you and talked

               14       about creating a fictional account.               Is this the

               15       same instructor?

               16            A.       Yes.

               17            Q.       Do you know if that instructor has ever

               18       created more than one fictional account for the

               19       purpose of walking his students through the HQL

               20       application process?

               21            A.       I do not know.

               22            Q.       Do you know of any other qualified handgun




                                                JA1566
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                                                                                   Page 124
                1                     THE WITNESS:     I can't answer that.    I

                2       don't know their requirements.

                3       BY MR. SWEENEY:

                4            Q.       All right.   How many applications have

                5       been initiated by individuals who are younger than

                6       21 in the HQL system?

                7            A.       I can't give you an answer to that.          I

                8       don't know the number.

                9            Q.       Is there anyone who can tell me that

               10       number?

               11            A.       Not to my knowledge.

               12            Q.       In paragraph 11 you say, "MSP personnel

               13       have initiated numerous applications for testing

               14       purposes."      How do you know that?

               15            A.       Because I, personally, have done it.

               16            Q.       And how many applications have you

               17       initiated for testing purposes?

               18            A.       Five.

               19            Q.       And do you know how many other

               20       applications MSP personnel have initiated for

               21       testing purposes?

               22            A.       No, I do not know that.




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                                    EXHIBIT 23




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            1                    IN THE UNITED STATES DISTRICT COURT
            2                         FOR THE DISTRICT OF MARYLAND
            3      MARYLAND SHALL ISSUE, INC.,                :
            4      et al.                                     :
            5                                Plaintiffs,:
            6           v.                                    : Civil Case No.
            7      LAWRENCE HOGAN, et al.                     : 16-cv-3311-MJG
            8                                Defendants.:
            9                                -----------
            10               CONTAINS CONFIDENTIAL INFORMATION
            11                    Deposition of SCOTT THOMAS MILLER
            12                           Baltimore, Maryland
            13                          Tuesday, March 27, 2018
            14                                 2:07 p.m.
            15
            16
            17
            18
            19
            20     Job No.:      179483
            21     Pages:     1 - 37
            22     Reported By:        Dawn M. Hart, RPR/RMR/CRR




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            1      basically how it was.            They contacted me and said,
            2      hey, we, you know, we see that you might be a good
            3      member for this.          Are you willing to go forward with
            4      it?    And I said yeah.
            5             Q      Who contacted you about that?
            6             A      Oh, man.       I've -- I do know that Mark -- I
            7      have talked to Mark Penick about it.                       However, I
            8      remember speaking on the phone with a female and
            9      giving her a little bit of my background, answering
            10     some of her questions.             Unfortunately I can't remember
            11     what her name is.
            12            Q      How did the request for volunteers come to
            13     you?
            14            A      I want to say it was just a verbal request
            15     at one of the meetings.             It would either be that or
            16     through email, but I'm pretty sure they just said, you
            17     know, anybody who's willing, just sign up, put your
            18     name down, so I did that.
            19            Q      What prompted you to join MSI a year and a
            20     half ago?
            21            A      I want to purchase and own a handgun for
            22     self-defense, and I don't like jumping through hoops


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            1      and paying for licenses and classes that I don't feel
            2      are helpful or necessary.
            3             Q      So it was -- was it the HQL law in
            4      particular that prompted you to join MSI?
            5             A      Yeah, that's one of the main things, yep.
            6             Q      When did you first find out about the HQL
            7      law?
            8             A      Probably about two years ago when I went to
            9      the sporting goods store and was hoping to purchase a
            10     handgun and found out about it that way.
            11            Q      When did you decide you wanted to buy a
            12     handgun?
            13            A      I wouldn't say there was any time when I
            14     concretely made up my mind about it.                       It's just that I
            15     feel like as an adult male, I should be able to defend
            16     my life and my home and my property.                       And now that I
            17     have, you know, a full-time job, I can afford things
            18     like that.         So I mean, yeah, at least for two years
            19     I've been wanting to own a handgun.
            20            Q      Do you own any firearms right now?
            21            A      I do.
            22            Q      What do you own?


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                                          Transcript of Scott Thomas Miller
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            1             A      I just own one sporting shotgun.
            2             Q      A long gun?
            3             A      Yeah.
            4             Q      And when did you get that?
            5             A      That was given to me by my father last
            6      Thanksgiving.
            7             Q      And have you shopped for a handgun?                  Do you
            8      know what you would buy?
            9             A      Yeah.     Yeah.      I mean I've done lots of
            10     research online just in my free time.
            11            Q      How much are you thinking about spending?
            12            A      Like three or $400.
            13            Q      And you have sufficient funds or credit that
            14     would enable you to do that?
            15            A      I can come up with the funds.                   At this time
            16     I wouldn't have the money to spend on that, but you
            17     know, if I was eligible to purchase a handgun, I would
            18     be able to save up and buy one within a reasonable
            19     amount of time.
            20            Q      What's your annual income?
            21            A      I'm not salaried.            Do you want to know what
            22     my gross income was last year?


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            1             Q      So your off days, it looks like, would be
            2      Tuesday, Thursday, Friday?
            3             A      That's correct.          And I go to school on
            4      Tuesday and Thursday afternoons.
            5             Q      Where are you going to school?
            6             A      Anne Arundel Community College.
            7             Q      Do you have a computer at home?
            8             A      I do.
            9             Q      Do you have internet access?
            10            A      I do.
            11            Q      Do you have a credit or debit card?
            12            A      I do.
            13            Q      Do you have a Maryland driver's license?
            14            A      Yes.
            15            Q      Do you have access to a scanner?
            16            A      Yes.
            17            Q      Have you ever been the victim of criminal
            18     violence?
            19            A      No.
            20            Q      And it's my understanding -- well, I think
            21     you said it earlier -- that you've been deterred from
            22     purchasing a handgun because of the requirements of


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            1      the HQL law; is that right?
            2                    You have to say --
            3             A      Oh, sorry.        Yes.
            4             Q      And what is it about -- well, before I get
            5      into that, what is your understanding of what you
            6      would need to do in order to get an HQL?
            7             A      My understanding is that you need to take a
            8      handgun safety course, you need to be fingerprinted,
            9      you need to submit an application for the HQL, pay a
            10     fee, and then I suppose wait for the State Police to
            11     issue you your card.
            12            Q      And what is your understanding of how much
            13     it would cost you to fulfill all those requirements?
            14            A      I believe -- so my sister's boyfriend just
            15     went through the process.              I think he paid about $160.
            16     I think that was everything included.                      I'm not sure
            17     how much time it took him.               I think he just attended
            18     like a week-long evening class.
            19            Q      What's your understanding of how long the
            20     handgun safety training takes?
            21            A      I would imagine it's probably like a 10-hour
            22     course.


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            1             Q      And that's based on your conversation with
            2      your sister's boyfriend?
            3             A      Uh-huh.
            4             Q      Is that right?
            5             A      Yes.
            6             Q      Have you done any research to determine how
            7      long the courses are other than talking to your
            8      sister's boyfriend?
            9             A      Well, I have myself taken a hunter safety
            10     course.     It was an online class which I was able to do
            11     in between school semesters this winter, and I
            12     completed that class.            However, they only -- the
            13     only -- you have to go to a field day, and the only
            14     field day they offered was in August.                      So I'm waiting
            15     until August to be able to go and prove that I learned
            16     the material.
            17            Q      Is this a Maryland hunter's safety course?
            18            A      Yeah, uh-huh.
            19            Q      So you've completed the actual coursework
            20     but you need to go to one final --
            21            A      Yeah.     You have to show up in person and
            22     perform whatever operation of a firearm, and I think


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            1      take a written test as well.
            2             Q      And you're planning to do this in August?
            3             A      Yes.
            4             Q      How long did it take you to complete the
            5      online training?
            6             A      It was a significant training because it's
            7      not just firearm safety, it's also hunter -- hunting
            8      safety.     I would -- I would estimate 15 hours.
            9             Q      Do you hunt?
            10            A      No, not currently.
            11            Q      Do you plan to?
            12            A      Not concretely.          However, when I do go in
            13     August that will enable me to get a hunting license,
            14     so ...
            15            Q      What is it that prompted you to want to get
            16     a hunting license?
            17            A      Well, actually the HQL because my main goal
            18     is to be able to own a handgun, and pardon me for
            19     saying this, but it just seemed silly to take a class
            20     just to prove that you can operate a handgun.                    And so
            21     I researched it and my brother told me that instead of
            22     taking the handgun class, you can take the Maryland


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            1       hunting safety class and use that as your firearms
            2       training.     And so I figured that if I did that, at
            3       least now I'm learning something about hunting, get a
            4       little bit more value for my time and money.
            5             Q      How much did you pay for the hunter's safety
            6       training?
            7             A      I think it was only $20.
            8             Q      Have you done any research to find out how
            9       long it would take, if you took just the HQL handgun
            10      safety training, how long that would take?
            11            A      I -- I mean I couldn't state exactly how
            12      long it would take.
            13            Q      I just want to know if you went online and
            14      did any research to determine how long it would take.
            15            A      No, I can't say I did.
            16            Q      Have you done any research -- well, what's
            17      your understanding of the fingerprint requirement for
            18      the HQL?
            19            A      Well, I have been fingerprinted before
            20      because I was a volunteer EMT and you have to be
            21      fingerprinted for that.            And the process was just we
            22      went to some government building and the sergeant at


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            1       my fire department accompanied me and performed the
            2       fingerprint scanning where you just (indicating),
            3       electronically print all 10 of your fingers, I think.
            4       But I'm pretty sure that there's a separate fee for
            5       that.     And you know, even though I went through that
            6       fingerprinting and passed all the checks, you know, in
            7       order to get the HQL I'll have to do another
            8       fingerprinting.
            9             Q      And have you done any research to determine
            10      how long that would take you?
            11            A      No.
            12            Q      Have you done any research to determine how
            13      much it would cost to get fingerprinted for the HQL?
            14            A      No.     I think it's like a 50-dollar fee.
            15            Q      And what's your source of that belief?
            16            A      Because my sister's boyfriend told me that
            17      when he signed up for the class, he paid a little
            18      extra so that he didn't have to go somewhere else to
            19      do the fingerprinting.            They did it all in-house.      So
            20      I think he told me that he paid like $50 extra to get
            21      that one.
            22            Q      Do you know where you would need to go to


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            1       get the fingerprints done for the HQL?
            2              A      No, I don't know where I would go to do
            3       that.
            4              Q      Have you done any research to determine
            5       where it's available?
            6              A      No.
            7              Q      Have you ever looked at the HQL application?
            8              A      I think I have, yes.             I'm pretty sure I
            9       have.
            10             Q      Did you do that online?
            11             A      Yeah, that would have been online.
            12             Q      On the Maryland State Police website?
            13             A      That must have been where I got it from.
            14      I'm pretty sure I've reviewed the document, yeah.
            15             Q      Have you ever started to fill one out?
            16             A      No, because I knew that without, you know, a
            17      certified training course and fingerprints, there's no
            18      use.
            19             Q      And do you know how much the fee is
            20      associated with the HQL application?
            21             A      I don't know.
            22             Q      It's my understanding that you contend that


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            1       you've been deterred from purchasing a handgun because
            2       of the HQL requirements; is that correct?
            3             A      Yes.
            4             Q      And what is it about the HQL requirements
            5       that you contend has deterred you from purchasing a
            6       handgun?
            7             A      I'm a busy guy and I don't like spending
            8       money on things that I feel are unnecessary or not a
            9       good value to me.         I know how to operate handguns
            10      safely.     I'm a law abiding citizen.                My job is to help
            11      people in need.        So I just feel it's mostly a matter
            12      of principle.        I don't want to, you know, waste my
            13      time and money.
            14                   But besides that, I'm very busy.                I mean, as
            15      I told you, I work, you know, 10-hour shifts and
            16      sometimes that leads to really long nights, and I'm
            17      also in school.        So for me to, you know, go through
            18      that, that's pretty much taking up my only day of the
            19      week off, which is already going towards running
            20      errands and, you know, doing other necessary tasks.
            21            Q      So aside from the inconvenience that you
            22      just described, is there anything else about the HQL


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                                          Transcript of Scott Thomas Miller
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            1       that has deterred you from purchasing a handgun?
            2             A      Well, thank you for mentioning the word
            3       inconvenience because I think that's the word I was
            4       searching for.
            5                    No, I wouldn't say so.              I'm not a fan of
            6       firearm registration.           However, I have no reason to
            7       believe that I'd be barred from owning one, so it's
            8       mostly the inconvenience.             But I don't -- I just don't
            9       feel that there's a need to be licensed to own a
            10      handgun when other types of firearms you can own
            11      without any type of licensure.
            12            Q      Assuming that you purchased a handgun, would
            13      you plan to carry it with you, or keep it in your
            14      home, or both?
            15            A      I would certainly keep it in my home.               I
            16      would not be carrying it with me because as you're
            17      probably aware, the Maryland State Police is very
            18      withholding of their conceal carry permits and they do
            19      not recognize conceal carry permits from other states.
            20      So I don't believe that there would be any way for me
            21      to legally carry a handgun with me.
            22            Q      So you don't have any plans to obtain a


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                                    EXHIBIT 24




                                          JA1582
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            1                    IN THE UNITED STATES DISTRICT COURT
            2                         FOR THE DISTRICT OF MARYLAND
            3      MARYLAND SHALL ISSUE, INC.,                :
            4      et al.                                     :
            5                                Plaintiffs,:
            6           v.                                    : Civil Case No.
            7      LAWRENCE HOGAN, et al.                     : 16-cv-3311-MJG
            8                                Defendants.:
            9                                -----------
            10               CONTAINS CONFIDENTIAL INFORMATION
            11                    Deposition of JOHN MATTHEW CLARK
            12                           Baltimore, Maryland
            13                          Tuesday, March 27, 2018
            14                                 9:05 a.m.
            15
            16
            17
            18
            19
            20     Job No.:      179483
            21     Pages:     1 - 33
            22     Reported By:        Dawn M. Hart, RPR/RMR/CRR




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                                                 CONFIDENTIAL
                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018              13


            1             A      Yes.
            2             Q      Do you own any firearms?
            3             A      Yes.
            4             Q      How many?
            5             A      One.
            6             Q      What type?
            7             A      Handgun.
            8             Q      What type of handgun?
            9             A      9-millimeter.
            10            Q      When did you get it?
            11            A      September 2013.
            12            Q      Does anybody else in the home own any
            13     firearms?
            14            A      No.
            15            Q      Do you have an HQ -- do you know what an HQL
            16     is?
            17            A      Yes.
            18            Q      Do you have one?
            19            A      No.
            20            Q      And the 9-millimeter gun that you have, how
            21     is that stored?
            22            A      A lockbox.


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                                                 CONFIDENTIAL
                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018              14


            1             Q      How often do you use it?
            2             A      Just occasionally, to punch holes in paper.
            3      Target practice.
            4             Q      Okay.     Got you.
            5                    Do you go to a range for that?
            6             A      Yes.
            7             Q      Which range?
            8             A      Hap Baker in Carroll County.
            9             Q      How far is that from your house?
            10            A      Maybe two miles.
            11            Q      Have you ever owned any other firearms?
            12            A      No.
            13            Q      How much did you pay for the gun?
            14            A      Maybe 400 and change.
            15            Q      Did you buy it new?
            16            A      Yes.
            17            Q      You have been identified in some discovery
            18     responses in this case as someone who has been
            19     deterred from purchasing a handgun by the requirements
            20     of obtaining an HQL.           Are you aware of that?
            21            A      Yes.
            22            Q      Okay.     What is your understanding of what


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                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018              15


            1      you would need to do to obtain an HQL?
            2             A      See if I can remember.             I'm exempt from the
            3      training because I previously owned a firearm, a
            4      handgun, if I remember right.                I would have to find
            5      some place to have fingerprints taken, and pay, I
            6      believe it's a 75-dollar fee to the State, and I think
            7      that's it.
            8             Q      And these requirements have deterred you
            9      from purchasing a handgun?
            10            A      Yes.
            11            Q      What other handgun do you want to buy?
            12            A      I want to get -- mine's a small conceal
            13     carry.     I wanted a larger, more comfortable to hold.
            14            Q      And why do you want this larger gun?
            15            A      Just more comfortable.
            16            Q      Do you have a particular type of handgun in
            17     mind that you want to purchase?
            18            A      Another 9-millimeter.
            19            Q      And have you shopped for that?
            20            A      No.
            21            Q      Do you know how much it would cost?
            22            A      Probably about the same, four to 500.


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                                                 CONFIDENTIAL
                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018              16


            1             Q      Have you done any research to determine
            2      where you could have your fingerprints taken if you
            3      decided to apply for an HQL?
            4             A      I did when it -- when the requirement first
            5      came out.      The place I would have used was Carroll
            6      County Sheriff's Office.             The new Sheriff dropped the
            7      program.
            8             Q      When you say you did the research when the
            9      requirement first came out, are you saying in 2013?
            10            A      Yes.
            11            Q      So that would have been what time of the
            12     year in 2013?         After you bought the gun that you have
            13     now, or before?
            14            A      After the law officially -- actually, it
            15     would have been 2014 because it was after it became
            16     law.
            17            Q      And was there anything in particular that
            18     prompted you to want to get this larger handgun at
            19     that time?
            20            A      When I bought the first one, I was beating
            21     the clock for all the laws that were being enacted and
            22     it was slim pickings so I didn't really have time to


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                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018              17


            1      really choose the one that I wanted.
            2             Q      And do you keep the gun for any other
            3      purpose other than target practice?
            4             A      Home defense.
            5             Q      Anything else?
            6             A      No.
            7             Q      You don't use it to hunt?
            8             A      No.
            9             Q      So other than -- well, when you found out
            10     that -- how did you find out that the Sheriff in
            11     Carroll County was no longer offering fingerprinting
            12     services?
            13            A      It was a bulletin on their website.
            14            Q      Have you ever been fingerprinted before?
            15            A      Yes.
            16            Q      For what purpose?
            17            A      Job at -- with the -- as a Defense
            18     contractor.
            19            Q      When was that?
            20            A      1996, 1997.
            21            Q      Is that the only time you've been
            22     fingerprinted?


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                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018                  18


            1             A      I was fingerprinted once as a kid with some,
            2      you know, I don't know what you call it.                     It was in a
            3      school, like with the child protection kidnaping
            4      thing.
            5             Q      Okay.     Any other times?
            6             A      No.
            7             Q      So once you found out that the Sheriff in
            8      Carroll County was no longer offering fingerprinting
            9      services, did you do any other research to determine
            10     where you could get your fingerprints taken for an
            11     HQL?
            12            A      Just some very light research.
            13            Q      What did you do?
            14            A      Checked the forum messages at
            15     Marylandshooters.com to see who else was looking in my
            16     area.
            17            Q      And did you -- is that a website?
            18            A      Yes.
            19            Q      And did you find out about any other
            20     fingerprinting services that you could use to get an
            21     HQL?
            22            A      There were some.          I don't recall finding any


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                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018                   19


            1      in Carroll County, but there were others around with
            2      varying fees.
            3             Q      What were the fees, do you remember?
            4             A      I think some were as high as 150.
            5             Q      What was the low?
            6             A      Seventy-five, I think.
            7             Q      Did any of these places that offered
            8      fingerprinting services for HQL licenses tell you that
            9      you had to do the fingerprinting only during business
            10     hours, Monday through Friday?
            11            A      No, I did not go that far.
            12            Q      So you don't know whether or not you could
            13     have it done on a weekend or in the evenings; is that
            14     correct?
            15            A      Correct.
            16            Q      Did you ever go on the Maryland State Police
            17     website to look -- to research additional places where
            18     you could have your fingerprints taken for an HQL
            19     application?
            20            A      I did once.
            21            Q      And what was the result of that?
            22            A      I honestly don't remember.                  Their website


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                                           Transcript of John Matthew Clark
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            1       was not the easiest to navigate.
            2              Q      And what year was it that you looked at the
            3       MSP website?
            4              A      2014.
            5              Q      Have you done any research since 2014 to
            6       find out where you could have your fingerprints taken
            7       for an HQL license?
            8              A      No.
            9              Q      What specifically about the HQL laws has
            10      deterred you from purchasing a handgun?
            11             A      Its existence.
            12             Q      What about -- I mean what -- when you say
            13      its existence, are there specific aspects of the law
            14      that have deterred you?
            15             A      I believe it to be unconstitutional.
            16             Q      I understand that.           I'm asking you what
            17      about the law has deterred you from purchasing a
            18      handgun.
            19                    MR. HANSEL:        Objection.        Asked and answered.
            20             A      I -- well, I can't purchase one without the
            21      HQL, and I have to go and spend extra money to get the
            22      HQL.


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                                                 CONFIDENTIAL
                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018               21


            1             Q      So it's the money that's deterred you, the
            2       cost?
            3                    MR. HANSEL:        Objection.
            4             A      And the principle.
            5             Q      When you say the principle, what do you
            6       mean?
            7             A      That I believe it to be unconstitutional.
            8             Q      All right.       So the fact that you believe
            9       it's unconstitutional has deterred you, the cost has
            10      deterred you.        Is there anything else that's deterred
            11      you from getting the HQL?
            12            A      No.
            13            Q      How did you learn that you needed an HQL to
            14      purchase a handgun in Maryland?
            15            A      The Marylandshooters.com website.
            16            Q      And what is your -- so you told me that the
            17      fingerprinting would cost, based on your research,
            18      between 75 and $150, right?
            19            A      Yes.
            20            Q      And you said you believed that the HQL fee
            21      that you have to pay to the State is $75, correct?
            22            A      Correct.


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                                                 CONFIDENTIAL
                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018               22


            1             Q      Are there any other costs associated -- that
            2       you believe are associated with obtaining an HQL?
            3             A      Only -- I believe there is a renewal fee
            4       every five years, I think.
            5             Q      And how much is that?
            6             A      I'm not sure.         I know it's less than -- I
            7       believe it's less than 75.
            8             Q      Are there any other costs that you believe
            9       you have to pay to get or keep an HQL other than the
            10      fingerprinting, the fee paid to the State and the
            11      renewal fee?
            12            A      For me personally, no.
            13            Q      And you believe you're exempt from the
            14      training requirement; is that right?
            15            A      Yes.
            16            Q      How did you learn that?
            17            A      It was one of the exemptions listed on the
            18      MSP website.
            19            Q      Have you ever called anybody at MSP and
            20      talked to them about an HQL application or the
            21      requirements for an HQL permit?
            22            A      No.


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                                                 CONFIDENTIAL
                                          Transcript of John Matthew Clark
                                           Conducted on March 27, 2018                  23


            1             Q      Have you ever begun an HQL application?
            2             A      No.
            3             Q      Have you done any research to determine how
            4       long it would take you to get your fingerprints done
            5       for an HQL application?
            6             A      No.
            7             Q      So sitting here today, you don't know how
            8       long that would take; is that correct?
            9             A      I mean I could guess that it would be --
            10                   MR. HANSEL:        Don't guess.         Just answer.
            11      He's asking if you know one way or the other.
            12            A      No, I do not know.
            13            Q      How often do you go to the shooting range
            14      for target practice?
            15            A      It varies.       Usually at least once a month.
            16            Q      Have you ever been the victim of criminal
            17      violence?
            18            A      No.
            19            Q      Has anybody in your family ever been the
            20      victim of criminal violence?
            21            A      Yes.
            22            Q      Who?


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                                    EXHIBIT 25




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            1                  IN THE UNITED STATES DISTRICT COURT
            2                         FOR THE DISTRICT OF MARYLAND
            3        - - - - - - - - - - - - - -x
            4      MARYLAND SHALL ISSUE,            :
            5      INC., et al.,                    :
            6                    Plaintiffs,        :     Civil Case No.
            7           v.                          :     16-cv-3311-MJG
            8      LAWRENCE HOGAN, et               :
            9      al.,                             :
            10                   Defendants.        :
            11       - - - - - - - - - - - - - -x
            12
            13                                 CONFIDENTIAL
            14                   Deposition of ATLANTIC GUNS, INC.
            15               By and through its Corporate Designee,
            16                            STEPHEN SCHNEIDER
            17                           Baltimore, Maryland
            18                          Tuesday, March 6, 2018
            19                                  10:00 a.m.
            20       Job No.:     178307
            21       Pages:    1 - 75
            22       Reported By:       Janet A. Hamilton, RDR




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                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                20


            1      question.
            2           A   Oh, I'm sorry.
            3           Q   Can you identify by name any of the
            4      customers who have told you that it took more than
            5      a month for them to get their HQL after the
            6      application was submitted?
            7           A   No, I cannot.
            8           Q   Let me show you what was previously marked
            9      in this case as Exhibit 2.               This is a copy of the
            10     Amended Complaint that's been filed in the case.
            11     On page 2, paragraph number 3, there is an
            12     allegation that Maryland's Handgun Qualification
            13     License is lengthy, expensive, and then
            14     parentheses, totaling hundreds of dollars in fees,
            15     costs and travel, not counting time off from work.
            16              Other than the costs that you've already
            17     identified are there any other costs that are
            18     included in that hundreds of dollars that is
            19     alleged in the complaint that it cost, allegedly
            20     costs to get an HQL?
            21          A   No, not that I can think of.
            22          Q   Let me direct your attention to paragraph


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                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                      21


            1      26 in the complaint which is Exhibit 2.                       Feel free
            2      to take as much time as you need to look at it.
            3           A   Sure.
            4           Q   I'm going to direct your attention to some
            5      specific statements in this paragraph.                     It says
            6      near the end of the paragraph, there's a sentence
            7      five lines from the bottom that starts "Atlantic
            8      Guns' customers routinely expressing interest in
            9      purchasing."         Do you see that sentence?
            10          A   Yes, I do.
            11          Q   It continues -- well, I'll start from the
            12     beginning.         "Atlantic Guns' customers routinely
            13     express an interest in purchasing handguns, but
            14     Atlantic Guns cannot sell them handguns because of
            15     the HQL requirement," and then the next sentence,
            16     "Many of these customers are deterred from
            17     completing the HQL application process because of
            18     the expense and inconvenience of the HQL
            19     application process and its constituents parts."
            20     As Atlantic Guns' designee can you identify any
            21     potential customers of Atlantic Guns that have
            22     been deterred from completing the HQL application


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                                                   CONFIDENTIAL
                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                22


            1      process because of the expense and inconvenience
            2      of the HQL requirements?
            3           A   Are you asking me can I identify them by
            4      specific name?
            5           Q   Correct.
            6           A   No, I cannot.
            7           Q   Going back up in the same paragraph it
            8      says that, this is about halfway down, it says,
            9      "Atlantic Guns has suffered and continues to
            10     suffer."      Do you see that?
            11          A   Mm-hmm.
            12          Q   Yes?
            13          A   Yes, I do.
            14          Q   "Atlantic Guns has suffered and continues
            15     to suffer a significant reduction in business in
            16     a" -- excuse me -- "a significant reduction in its
            17     business due to the HQL requirement."                     What
            18     evidence does Atlantic Guns have that it has
            19     suffered and continues to suffer a significant
            20     reduction in business as a result of the HQL
            21     requirement?
            22              MR. HANSEL:         Objection.        Form.


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                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                     23


            1           A   We -- the -- our handgun sales have
            2      suffered after the 2013 law went into effect.
            3      We -- the number of firearm, handguns specifically
            4      that we're selling has declined at both our
            5      locations due to the law.
            6           Q   And what evidence do you have that
            7      demonstrates those assertions?
            8               MR. SWEENEY:         Objection.
            9               MR. HANSEL:         Objection as to "evidence."
            10          A   Sales figures.          We have also -- we have a
            11     count of the number of firearms that we've sold,
            12     of handguns that we've sold that would also bear
            13     that out.
            14          Q   And we'll get into that in a second.                       Is
            15     there anything else other than the number of
            16     handguns sold at your stores that demonstrates
            17     that Atlantic Guns has suffered and continues to
            18     suffer significant reduction in business due to
            19     the HQL law?
            20          A   Not that I can think of.                That's the
            21     primary factor that we would use to judge that.
            22          Q   And does Atlantic Guns have any evidence


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                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                24


            1      that the reduction in handgun sales at your stores
            2      was caused exclusively by the HQL requirement and
            3      not by anything else?
            4                MR. HANSEL:        Objection.
            5            A   I don't have any factual basis for that,
            6      no.
            7            Q   Can you quantify the reduction in business
            8      that you contend Atlantic Guns has suffered as a
            9      result of the HQL law?
            10               MR. SWEENEY:        Objection.
            11           A   I can quantify it, and I believe it is in
            12     one of the exhibits that we have that shows both a
            13     revenue figure and a total number of handguns sold
            14     by specific years, I believe from 2010 through
            15     2017.
            16           Q   All right.       But -- and so you can't tell
            17     me without looking at the documents?
            18           A   I don't remember exactly in my head
            19     exactly.
            20           Q   All right.       Well, we'll look at those in a
            21     bit.      Right now I'm just trying to get what you
            22     can tell me without looking at the documents.


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                                                   CONFIDENTIAL
                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                    60


            1      discovery from your attorney.                 Can you tell me
            2      what this is?
            3           A   It is a document that we prepared,
            4      Atlantic Guns prepared to give to our customers
            5      that give information about the Handgun
            6      Qualification License, what is required to obtain
            7      a qualification, a Handgun Qualification License.
            8           Q   So this is something that you give out to
            9      potential customers when they make inquiry about
            10     what they need to do to get an HQL; is that right?
            11          A   That is correct.
            12          Q   And this was prepared -- who -- did you
            13     prepare this?
            14          A   I had a hand in preparing it.                  I can't say
            15     that I was the one that solely prepared it.                         I
            16     think it was we prepared this probably several
            17     years ago, maybe have updated it.                   Some of my
            18     employees may have also worked on it.                     That I
            19     cannot remember.
            20          Q   Other than providing the information on
            21     Exhibit 32 is there anything else that Atlantic
            22     Guns does to provide assistance to customers or


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                                                   CONFIDENTIAL
                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                61


            1      potential customers concerning the HQL process?
            2           A   Yes.      Of course it's in our best interest
            3      to qualify as many people or have qualified as
            4      many people as possible to enable them to purchase
            5      a handgun from us.           So, yes, we assist in any way
            6      we possibly can.          In fact at the bottom of this
            7      Exhibit 32 we note that if you're having trouble
            8      with this process, Atlantic Guns would be happy to
            9      help you at either one of our stores, and we do
            10     this frequently by helping customers to navigate
            11     the State Police's system explaining the process,
            12     going through the process.
            13              We have a number of elderly customers that
            14     can't navigate computers, that are not computer
            15     literate, and if we were not able to help them,
            16     they would not be able to purchase a handgun
            17     because they would not be able to get the HQL, and
            18     that is also true with the process for the 77R
            19     which is also automated as of 2017.
            20          Q   Can you identify by name any elderly
            21     customers that you contend would not be able to
            22     get an HQL because they're not computer literate


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                                                   CONFIDENTIAL
                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                62


            1       but for the assistance of Atlantic Gun?
            2            A   I cannot.
            3            Q   Has Atlantic Guns had any communications
            4       with, any verbal communications with the Maryland
            5       State Police concerning the HQL law?
            6            A   Since the law went into effect I'm sure
            7       that we have had some communication with them
            8       concerning the implementation of the law and how
            9       it affects us.        I can remember one instance in
            10      particular that I was involved in that pertained
            11      to a law enforcement officer that was not a
            12      Maryland -- that was a Maryland resident but was
            13      not an officer of a Maryland agency or a federal
            14      agency that wished to purchase a handgun as an
            15      off-duty weapon.         He was a DC police officer that
            16      lived in Maryland.          He did not own any personal
            17      firearms.     He did not have an HQL.               We submitted
            18      an application which was rejected because he was
            19      not, because he was not a Maryland officer or
            20      federal officer, and we were unaware at that time
            21      that the law specifically excluded any law
            22      enforcement officer that was not in those two


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                                                   CONFIDENTIAL
                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                   63


            1       jurisdictions, either federally or state.                      That
            2       was one instance where I contacted the State
            3       Police directly myself and asked them about that,
            4       and they responded that, yes, the officer did need
            5       an HQL, and in essence, to rub salt into the
            6       wound, the officer had to take a four-hour
            7       training course to get the HQL.
            8            Q   And who did you talk to at the State
            9       Police about this?
            10           A   I cannot remember at the time.                  It was
            11      three, two or three, four years ago that that
            12      happened.
            13           Q   And do you have any specific recollection
            14      of what this person that you spoke to at the
            15      Maryland State Police said other than what you've
            16      already told me?
            17           A   Just that it, that the law was,
            18      specifically stated that the only law enforcement
            19      officers that were exempt from having an HQL were
            20      ones that were an officer of a Maryland law
            21      enforcement agency or federal law enforcement
            22      agency.


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                                                   CONFIDENTIAL
                                 Transcript of Stephen Schneider, Corporate Designee
                                             Conducted on March 6, 2018                64


            1            Q   And can you identify by name this DC
            2       police officer who had to go get the HQL?
            3            A   I could.      It would take some time to do it
            4       because he ended up getting an HQL which he was
            5       very upset about.         I remember distinctly that it
            6       was an officer in DC that -- I mean this goes back
            7       three, four years.          He was attacked in his cruiser
            8       by a man wielding a hammer and was beaten pretty
            9       badly.    It made the news.           He came in the store to
            10      get an off-duty firearm because he was, you know,
            11      I guess afraid for himself and wanted an off-duty
            12      weapon to keep at home as a Maryland resident.
            13           Q   Right.      But my question is sitting here
            14      today can you identify this officer by name?
            15           A   I cannot.
            16           Q   Do you have any recollection -- as
            17      designee of Atlantic Guns, are you aware of any
            18      other verbal communications with the Maryland
            19      State Police concerning the HQL other than what
            20      you've already described?
            21           A   Myself personally, no, I cannot.
            22           Q   Well, I'm asking you also as a designee of


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            PLACEHOLDER FOR

         EXHIBIT 26
            FILED UNDER SEAL




                                          JA1607
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                                    EXHIBIT 27




                                          JA1608
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                                            JA1609
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                                            JA1610
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                                                 EXHIBIT 1


        Licensing Division   2017 2018 2019 2020             2017   2018 2019 2020       Current
        Weekly (52)          Totals Totals Totals Totals    Weekly Weekly Weekly Weekly Week Totals
        Report                                               Avg.   Avg.   Avg.   Avg.    (2020)
        12/25/2020
        through
        12/31/2020
        FRS Total Apps       51,851 53,544 53,726 104,440    997      1,030   1,033   2,009   1,799
        Received
        FRS Disapprovals      175    206    245      594      3.4      4       4.7    11.4     6


        HQL New              23,888 21,727 20,083 66,526     459      417.8   386.2   1,279   840
        HQL “New               0       0     0      1,226     0        0       0      23.6     15
        Resident” Apps
        HQL Disapprovals      566    641    769     2,118    10.9     12.3    14.8    40.7     46




        HQL Since 10/1/2013: 192,506




                                                     JA1611
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                               EXHIBIT 28




                                          JA1612
                                            Case 1:16-cv-03311-ELH Document 140-12 Filed 03/08/21 Page 2 of 2



                                             Maryland Automated Firearms Services System (MAFSS)
                                                         Yearly Count of Firearm Transfers By Gun Type
                                                                         ALL DEALERS
Pg: 190 of 449




                        YEAR                             GUN TYPES                                 TRANSFER COUNT        Handgun Transfers
                                  A             o              R            s           x
                         2000     19,258            2,r20       9,384            690    t,ot6               32,468             29,332
                         200L     1,4,320           1,289       7,204            720    t,r22               24,655             22,244
                         2002     13,382              980       5,849            477    1,088               2L,776             L9,708
                         2003     12,690            L,r72       5,717            120     1.,195             20,894             L8,527
Filed: 08/03/2022




                         2004     1L,640              850       5,496             97     r,427              19,510             L7,233
                         2005     13,429            1,017       5,653            1,42    1,630              2L,87t             t9,224
                         2AO6     14,782            1,333       5,665            152     1,914              23,846             20,599
                         2007     17,025            r,842       6,024            209     2,706              27,806             23,258
                         2008     20,125            2,r07       6,609            148     3,695              32,684             26,882
                         2009     24,346            1,718       7,752            107     5,757              39,680             32,205
                         2010     22,7 43           1.,394      7,075             53     4,508              35,773             29,87L
                         201,1    26,r42            l_,393      7,540            100     4,502              39,677             33,782
                         2012     37,707            2,775       9,368            273     8,110              58,233             47,348
Doc: 25-4




                         2013     74,677        18,818         14,680            733    25,351              L34,259            90,090
                         2014     18,674            3,574       4,965           5,L60    'J,,687            34,060             28,799
                         2015     2L,607            4,077       5,844           7,300       s00             39,328             34,75L
                          201,6   34,978            6,755       6,982           5,764       476             54,955             47,724
USCA4 Appeal: 21-2017




                          2017    43,55L            5,192       7,717            833        100              57,393            52,tOL



                                                                                                               EXHIBIT
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                                                                                                                                     MSP003207
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                                                                            JA1613
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                                    EXHIBIT 29




                                          JA1614
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                                                                                    Page 1
                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND
                        -------------------------------X
                        MARYLAND SHALL ISSUE, INC.,            :
                        et al.,                                :
                                                               :   Case No:
                                      Plaintiffs               :   16-cv-3311-MJG
                                                               :
                                          -vs-                 :   Pages 1 - 205
                                                               :
                        LAWRENCE HOGAN, in his                 :
                        capacity of Governor of                :
                        Maryland, et al.,                      :
                                                               :
                                      Defendants               :
                        -------------------------------X



                                  Deposition of James P. Russell, Jr.
                                            Baltimore, Maryland
                                           Monday, June 11, 2018




                        Reported by:     Kathleen M. Vaglica, RPR, RMR
                        Job No:   409351


                                           MAGNA LEGAL SERVICES
                                               (866) 624-6221




                                             JA1615
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                                                                                    Page 85
                1            A.       No, 'cause I get numerous requests, and it

                2       then it sends to my e-mail, which is Maryland.gov,

                3       and that's how I get responses.

                4            Q.       Now, as an HQL instructor, do you charge

                5       any money?

                6            A.       I do not.    No, sir.    I've never charged

                7       any money for any of my services that I provide,

                8       whether it be HQL, LEOSA, and/or qualification of

                9       sworn and civilian personnel.

               10            Q.       All right.   These 25 or 30 individuals

               11       that you have certified as instructed under the HQL,

               12       how did they come to you for instruction?              How did

               13       they find you?

               14            A.       Via e-mail, friends or family, you know,

               15       have contacted me in regards to it, associates of

               16       places, YMCA that I still continue to hang out, and

               17       they talk and know I'm a firearms instructor.

               18       Mostly it's just through contacts and acquaintances

               19       that I have in Cecil County.

               20            Q.       And where do you hold classes for HQL

               21       instruction?

               22            A.       Sure.   There's three different locations




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                                                                                    Page 86
                1       that I utilize, Elk Neck State Park, which is

                2       located on Eayrestown Road in Cecil County.            It's a

                3       state park there.

                4            Q.       And they have classroom facilities there

                5       for you to use?

                6            A.       Classroom facilities and/or a setting

                7       where we can actually, yes, teach and do the

                8       classroom portion of it.

                9            Q.       Okay.    Does that cost anything for you to

               10       rent?

               11            A.       No, sir.   It's a state park, and I'll say

               12       this.   Mondays the park is closed to the public, and

               13       they allow myself as a firearms instructor to use it

               14       on Mondays for those purposes.

               15            Q.       So --

               16            A.       Can I?   I didn't mean to interrupt.

               17       Additionally, I use Broad Creek Range, which is the

               18       Harford County Sheriff's Office range.

               19            Q.       Is that open to members of the public?

               20            A.       No, sir.   That's a closed range for the

               21       Harford County Sheriff's Office located on

               22       Flintville Road.




                                               JA1617
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                                    EXHIBIT 30




                                          JA1618
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            1
            2                 IN THE UNITED STATES DISTRICT COURT
            3                         FOR THE DISTRICT OF MARYLAND
            4       - - - - - - - - - - - - - - - - x
            5       MARYLAND SHALL ISSUE, INC.,                :
            6       et al.,                                    :
            7                               Plaintiffs,        :
            8                     v.                           : Civil Case No.
            9       LAWRENCE HOGAN, et al.,                    : 16-cv-3311-MJG
            10                              Defendants.        :
            11      - - - - - - - - - - - - - - - - x
            12              Deposition of CARLISLE EATON MOODY, JR.
            13                              Washington, D.C.
            14                          Wednesday, May 9, 2018
            15                                  10:09 a.m.
            16
            17
            18
            19
            20      Job No.: 188208
            21      Pages: 1 - 62
            22      Reported by:       Karen Young




                                             JA1619
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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                29


            1             A      I can't remember.            I presume so, but I --
            2             Q      All right.
            3             A      It's been a while.
            4             Q      Are you aware of any updated data for the
            5       period -- from September 2015 to the present on
            6       that point?
            7             A      No.
            8             Q      And what is the source for the data you
            9       use in your analysis of the firearm homicide rate
            10      in your report?
            11            A      The CDC.       I use the WONDER, CDC WONDER
            12      database, interactive.
            13            Q      Center -- what does CDC stand for?
            14            A      Center for Disease Control.
            15            Q      And this is publicly available?
            16            A      Yes, it's on line.
            17            Q      And you believe it's reliable?
            18            A      Yes.
            19            Q      Why?
            20            A      Because it's official.
            21            Q      Any other reasons?
            22            A      No.     Well, no.       That's why.


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                30


            1             Q      You also note on page 3 of your report
            2       that the firearm homicide data upon which you base
            3       your study includes justifiable homicides, which
            4       are not crimes, correct?
            5             A      Yes.
            6             Q      Is that a yes?
            7             A      Yes.
            8             Q      All right.        How many of the firearm
            9       homicides in 2010 in Maryland were justifiable?
            10            A      There's no way to know that I don't
            11      believe.
            12            Q      So you don't know.
            13            A      No.
            14            Q      And is that also true for 2011?
            15            A      Yes.
            16            Q      2012?
            17            A      Yes.
            18            Q      2013?
            19            A      Yes.
            20            Q      2014?
            21            A      Yes.
            22            Q      2015?


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                31


            1             A      Yes.
            2             Q      2016?
            3             A      Yes.
            4             Q      Does the firearm homicide data upon which
            5       you base your report include homicides committed
            6       with long guns?
            7             A      Yes.
            8             Q      How many of the firearm homicides in
            9       Maryland in 2010 were committed with long guns?
            10            A      I don't know.          I just use the total.
            11            Q      Do you know how many of the firearm
            12      homicides in Maryland in 2011 were committed with
            13      long guns?
            14            A      No.
            15            Q      2012?
            16            A      No.
            17            Q      '13?
            18            A      No.
            19            Q      '14?
            20            A      No.
            21            Q      '15?
            22            A      No.


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                32


            1             Q      '16?
            2             A      No.
            3             Q      Does the firearm homicide data upon which
            4       you base your study include homicides in the entire
            5       state of Maryland?
            6             A      Yes.
            7             Q      Do you know what percentage of those
            8       firearm homicides in 2010 occurred in Baltimore
            9       City as opposed to the rest of the state?
            10            A      No.
            11            Q      Do you know what percentage of the
            12      homicide -- firearm homicides in your study in 2011
            13      occurred in Baltimore City as opposed to some other
            14      part of the state?
            15            A      No.
            16            Q      2012?
            17            A      No.
            18            Q      '13?
            19            A      No.
            20            Q      '14?
            21            A      No.
            22            Q      '15?


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                33


            1             A      No.
            2             Q      '16?
            3             A      No.
            4             Q      Are you familiar with the term
            5       "historical confounder"?
            6             A      No.
            7             Q      Okay.     Are you familiar with the events
            8       involving Freddie Gray?
            9             A      Not very.
            10            Q      What do you know?
            11            A      I believe Freddie Gray was a suspect in a
            12      crime, arrested, put in the back of a police
            13      vehicle, from which his body was recovered.
            14            Q      And what's your understanding of when
            15      that took place?
            16            A      I do not know the exact date.
            17            Q      Do you know the year?
            18            A      Not -- 2015 I think, but I don't -- I'm
            19      not positive.
            20            Q      Are you aware of the civil unrest that
            21      occurred in the wake of Freddie Gray's death in
            22      Baltimore?


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                     34


            1             A      It was on the news, yes.
            2             Q      And what is your understanding of what
            3       took place?
            4             A      There were riots.
            5             Q      And what's your source for that
            6       information?        Just the news media?
            7             A      Yes.
            8             Q      Anything else?
            9             A      No.
            10            Q      Have you done any research into the
            11      unrest that followed Freddie Gray's death?
            12            A      No.
            13            Q      Are you aware of any empirical facts or
            14      data that show whether the number of firearm
            15      homicides increased in Baltimore as the result of
            16      the events that unfolded in the wake of Freddie
            17      Gray's death?
            18            A      Read that back to me please.
            19                   THE REPORTER:          Question:        "Are you aware
            20      of any empirical facts or data that show whether
            21      the number of firearm homicides increased in
            22      Baltimore as the result of the events that unfolded


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                35


            1       in the wake of Freddie Gray's death?"
            2                    THE WITNESS:         No.
            3                    MR. SWEENEY:         Objection.
            4       BY MR. SCOTT:
            5             Q      Did you make any attempt in your analysis
            6       for this case to account for the impact of the --
            7       of the unrest that followed Freddie Gray's death on
            8       the number of firearm homicides in Maryland?
            9                    MR. SWEENEY:         Objection.
            10            A      I attempted to control for the increase
            11      in firearms death that occurred nationwide as a
            12      result of the Ferguson effect, occurred a year
            13      earlier, and I presume that that was sufficient to
            14      control for the Freddie Gray incident, which
            15      occurred later.
            16            Q      So other than the attempt that you made
            17      to account for the Ferguson effect, you didn't do
            18      anything else to account for the events that
            19      occurred in the wake of Freddie Gray's death in
            20      Baltimore; is that correct?
            21            A      Correct.
            22            Q      You just referred to the Ferguson effect.


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                                       Transcript of Carlisle E. Moody, Jr.
                                           Conducted on May 9, 2018                36


            1     What is that?
            2           A      The Ferguson, Missouri incident with the
            3     -- at the start of the Black Lives Matter movement.
            4           Q      And what is the effect?                What's the
            5     phenomenon?
            6           A      The effect was a stepping back -- you
            7     know, a number of police killings, killings of
            8     suspects, for example, that was one that caught
            9     people's attention and caused both an increase in
            10    the number of ambush killings of policemen, and
            11    presumably some decline in the enthusiasm with
            12    which policemen do their job.
            13          Q      You -- you brought us a copy of the
            14    Wikipedia page for the Ferguson effect, which I'll
            15    have that marked please.
            16                 (Deposition Exhibit Number 112 was marked
            17    for identification.)
            18    BY MR. SCOTT:
            19          Q      This is Exhibit 112, and I believe you
            20    cite to that in your report, correct?
            21          A      Uh-huh, correct.
            22          Q      All right.        Did you read -- did you read


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                                        Transcript of Carlisle E. Moody, Jr.
                                            Conducted on May 9, 2018                    37


            1     any of the sources that are cited in that Wikipedia
            2     article?
            3            A      Not that I remember.
            4            Q      Have you ever relied on Wikipedia in any
            5     of your published articles?
            6            A      No.
            7            Q      Do you know who authored this Wikipedia
            8     article?
            9            A      No.
            10           Q      Do you know the last date on which it was
            11    updated?
            12           A      No.
            13           Q      Did you make any attempt to determine
            14    whether that Wikipedia page accurately described
            15    what the Ferguson effect is?
            16           A      Please read it back to me.
            17                  THE REPORTER:          Question:        "Did you make
            18    any attempt to determine whether that Wikipedia
            19    page accurately described what the Ferguson effect
            20    is?"
            21           A      No, I assumed it accurate -- it
            22    accurately described it.


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                                        Transcript of Carlisle E. Moody, Jr.
                                            Conducted on May 9, 2018                       38


            1            Q      Are you aware of any empirical facts or
            2     data that show whether the number of firearm
            3     homicides increased in Maryland as a result of the
            4     Ferguson effect?
            5            A      I do not know -- I know -- I cannot
            6     attribute it to the Ferguson effect.                         That was just
            7     a -- I don't know what the word is.                     Hunch on my
            8     part.
            9            Q      And what was your hunch?
            10           A      My hunch was that since firearm homicides
            11    -- homicides in general are going up, after going
            12    -- in the last two or three years, after going down
            13    for many years, had something to do with police
            14    killings and Black Lives Matter and the response.
            15           Q      But as far as empirical facts or data
            16    that show whether the number of firearm homicides
            17    increased in Maryland as a result of the Ferguson
            18    effect, you don't -- you're not able to identify
            19    any.
            20           A      Correct, cannot identify that.
            21           Q      On page 8 of your report, you cite to a
            22    number of states that adopted permit to purchase


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                                       Transcript of Carlisle E. Moody, Jr.
                                           Conducted on May 9, 2018                       53


            1                  MR. SWEENEY:         Objection.
            2           A      Yes, I agree to that.
            3           Q      You mentioned earlier when we were
            4     talking about the Freddie Gray situation, that you
            5     had made an attempt to account in your analysis for
            6     this case for the Ferguson effect?
            7           A      Correct.
            8           Q      Can you tell me how you did that?
            9           A      I looked at data outside of Maryland.
            10          Q      And how did you -- what data did you look
            11    at?
            12          A      All of the states outside of Maryland.
            13          Q      And how did you incorporate that data
            14    into your analysis?
            15          A      I believe it's on figure 2.                    Those are
            16    firearm homicide rates -- no, no, no, figure 2 on
            17    page 4.
            18          Q      Oh, I'm sorry.          You have table 2 and
            19    figure 2.
            20          A      Yeah, I do, I have, I have.
            21          Q      Trying to trick us up.               Okay.
            22          A      Yeah.


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                                       Transcript of Carlisle E. Moody, Jr.
                                           Conducted on May 9, 2018                54


            1           Q      Page 4, figure 2.            So this is national
            2     firearm homicide rates.
            3           A      Correct.
            4           Q      And according to this chart, they ticked
            5     up it looks like approximately 2014, 2013?
            6           A      2013 is the vertical line.
            7           Q      Okay, got you.
            8           A      So yeah, a little after that.
            9           Q      So -- and how did this data -- how did
            10    you account for this trend in the conclusions that
            11    you reach with respect to firearm homicides in
            12    Maryland?
            13          A      I compared it using a number of
            14    techniques, difference and differences, synthetic
            15    controls, just looking at means across different
            16    states.
            17          Q      And what is the significance of the
            18    up-tick in firearm homicide rates reflected on
            19    figure 2 in your report?
            20                 MR. SWEENEY:         Objection.
            21          A      Well, the theory is if you look at
            22    Maryland by itself before and after 2013, the


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                                       Transcript of Carlisle E. Moody, Jr.
                                           Conducted on May 9, 2018                55


            1     firearm homicide rate was higher than it was before
            2     -- just before 2013, and so did that fact mean that
            3     the HQL law failed and in fact, wound up with more
            4     homicides than there was before the law, and if you
            5     look at the data for all the U.S., you find that
            6     indeed, firearm homicide rates are up everywhere,
            7     and so that would mean that we need to look at what
            8     would have happened in Maryland controlling for the
            9     fact that firearm homicide rates are up everywhere.
            10          Q      And did you attempt to do that?
            11          A      Yes, I did.
            12          Q      And you did that through the synthetic
            13    firearm homicide rates that you came up for for
            14    Maryland?
            15          A      That, and if you notice just before that,
            16    I compared the firearm -- on page 5 in the second
            17    paragraph, I just compared the percent change in
            18    the homicide rate after 2013 for Maryland and for
            19    states that did not have permit to purchase laws,
            20    and found that the growth rate for Maryland was
            21    about twice as high as those states.
            22          Q      And did you identify the states in your


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                                       Transcript of Carlisle E. Moody, Jr.
                                           Conducted on May 9, 2018                     56


            1     report that you considered to be non-permit states?
            2           A      Well, in the -- in the -- there were --
            3     all the states other than the states that have had
            4     it for a long time, if you look -- if you look on
            5     page 5, first paragraph under synthetic controls
            6     method, they have the six states that changed the
            7     permit law and then one, two, three, four, five,
            8     six, seven, eight -- one, two, three, four, five,
            9     six, seven, eight -- eight law -- eight states that
            10    have had permit laws since before 1970, so they did
            11    not change the law.          They can't be -- no way to
            12    compare Maryland to those states, but nevertheless,
            13    those are the states that had the law.                      All the
            14    other ones do not have the law.
            15          Q      So you say here you've got 30 states that
            16    you use as the donor pool of control states.
            17          A      Yes, so they also include the -- the
            18    states Maine, New Hampshire, North Dakota, South
            19    Dakota, Vermont and Wyoming, which have missing
            20    data in the CDC WONDER database, so that gives you
            21    a grand total of 20 states.
            22          Q      Did you do any analysis of firearm


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                                       Transcript of Carlisle E. Moody, Jr.
                                           Conducted on May 9, 2018                 57


            1     homicide rates in urban areas where there have been
            2     publicized police killings of suspects during the
            3     study period?
            4           A      No.
            5           Q      Do you know Professor Kleck?
            6           A      By reputation.
            7           Q      Have you ever met him?
            8           A      He once reviewed a paper that I submitted
            9     at a conference, and so he was the referee after --
            10    after I gave my paper, he gave his.
            11          Q      Which paper was that?
            12          A      Oh, I can't remember.               None of these.
            13          Q      Well, what about on your -- is it listed
            14    on your C.V.?
            15          A      Yes, but not -- it's not a refereed
            16    publication.
            17          Q      Okay, I thought you said that he refereed
            18    it for you.
            19          A      Well, what happens in these conferences
            20    is that I give a paper, and then somebody comments
            21    on that paper.        That's what I meant by refereeing,
            22    so he commented on my paper.                That's --


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                                    EXHIBIT 31




                                          JA1635
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT COURT OF MARYLAND

      MARYLAND SHALL ISSUE, INC., et al., *

             Plaintiffs,                           *

             v.                                    *          Civil Case No. 16-cv-3311-ELH

      LAWRENCE HOGAN, et al.,                      *

             Defendants.                           *

      *      *      *       *      *   *   *    *   *   *   *                        *   *      *
                                DECLARATION OF MARY SCANLAN

             I, Angela Maggitti, under penalty of perjury, declare and state:

             1.     I am an executive associate in the Office of the Attorney General of

      Maryland. I am over the age of 18 and am competent to testify, upon personal knowledge,

      to the matters stated below.

             2.     Attached as Exhibit 28 to Defendants’ Reply Memorandum in Support of

      Motion for Summary Judgment and Response in Opposition to Plaintiffs’ Cross-Motion

      for Summary Judgment is a true and correct copy of Exhibit 92 to Captain Andy Johnson’s

      Deposition, Maryland Automated Firearms Services System (MAFSS) Yearly Count of

      Firearm Transfers by Gun Type.


      I declare and affirm under penalty of perjury that the foregoing is true and correct to the
      best of my knowledge, information, and belief.




              3/5/2021
      Date: ________________                    _____________________________________
                                                Mary Scanlan

                                                  JA1636
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                  Exhibit 1

                                          JA1637
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                                            Daniel Webster

                                                                                    Page 1
                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
                    -------------------------------X
                    MARYLAND SHALL ISSUE, INC.,               :
                    et al.,                                   :
                                                              :    Case No:
                                    Plaintiffs                :    16-cv-3311-MJG
                                                              :
                                         -vs-                 :    Pages 1 - 337
                                                              :
                    LAWRENCE HOGAN, in his                    :
                    capacity of Governor of                   :
                    Maryland, et al.,                         :
                                                              :
                                    Defendants                :
                    -------------------------------X




                               Deposition of Daniel Webster, Ph.D.
                                             Washington, D.C.
                                        Wednesday, June 13, 2018




                    Reported by:        Kathleen M. Vaglica, RPR, RMR
                    Job No:    409352


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                                               Daniel Webster

                                                                                       Page 43
               1                    They did something that Nebraska does,

               2    which is, if you are purchasing a regulated firearm

               3    from a licensed firearm dealer, that you do not have

               4    to produce a current valid permit or license for

               5    those, for those exchanges.                 So now there are nine

               6    states that have those.

               7            Q.      And what are those remaining nine states?

               8            A.      Those remaining -- and the District of

               9    Columbia as well has something that basically is the

              10    same thing as a license, but, so the current states

              11    that have these laws include Connecticut,

              12    Massachusetts, New York, New Jersey, Hawaii,

              13    Maryland, of course, Illinois, North Carolina, Iowa.

              14          Q.        That's a total of nine.

              15          A.        Okay.     I got the nine.         Okay.      Thank you.

              16          Q.        I didn't want you to struggle if you got

              17    them all.        I didn't want to cut anything off if you

              18    had more in mind.

              19          A.        No, that's the right number.

              20          Q.        Now, do you know Connecticut's

              21    requirements compared to Maryland?                  Are they the

              22    same?
                                               JA1639
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                                            Daniel Webster

                                                                                       Page 44
               1          A.        No, they are not the same.          So no, none of

               2    those states are exactly like Maryland.                   So one

               3    similarity between Connecticut and Maryland is that

               4    they both require, they both require safety training

               5    before you can get it.           They both require

               6    fingerprinting.        They both require, in addition to

               7    having a valid permit or license, that at a point of

               8    sale there is still an initial background check

               9    done.

              10                    Those are the things that I can recall

              11    right now that are similar between Connecticut

              12    and -- the issuance is different in that Connecticut

              13    you go directly to the law enforcement agency as

              14    opposed to Maryland.

              15          Q.        All right.    And do you know what the

              16    requirements for the training in Connecticut are

              17    compared to Maryland?

              18          A.        They are longer I know.         I know the course

              19    requirement is, like, an eight-hour course as

              20    opposed to a four-hour course.

              21          Q.        They require the basic NRA pistol course

              22    or equivalent; correct?
                                            JA1640
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                                              Daniel Webster

                                                                                  Page 177
               1    reapplication or a renewal of their license.                So

               2    very rarely that the State Police do anything.

               3                    I mean, yes, you had to have a license, a

               4    state license, but their ability to actually make

               5    sure that dealers were in compliance was minimal.

               6    So I think that was a significant enhancement that

               7    was necessary and important.

               8                    And then I think the firearms theft and

               9    loss reporting requirement is important as well

              10    based upon some studies we've done and others

              11    showing that these are correlated with, not having

              12    these measures are correlated with more firearm

              13    trafficking indicators.

              14                    So those provisions, I think, are

              15    important, in addition to what was mentioned in my

              16    testimony.

              17          Q.        And you said that the Handgun

              18    Qualification License you felt was the most

              19    important of these?

              20          A.        Yes.

              21          Q.        Why was that?

              22          A.        Basically, based upon the best data that
                                              JA1641
USCA4 Appeal: 21-2017   Doc: 25-4        Filed: 08/03/2022   Pg: 219 of 449

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                                            Daniel Webster

                                                                                  Page 178
               1    we had, the states with permit-to-purchase licensing

               2    had proportionally fewer of their guns used in

               3    crime, actually came from guns that they sold and

               4    were regulated under state law.              They had fewer

               5    number of guns that made their way very quickly from

               6    a retail sale to criminal involvement.

               7                    They generally had lower levels of firearm

               8    mortality and a growing body of evidence in what we

               9    had begun of our first iteration of the effect of

              10    Missouri's repeal of a handgun purchaser licensing

              11    system.     At that time, again, the evidence was

              12    indicating that the purchaser licensing was

              13    protective both against diversions of guns from

              14    criminal use and against homicide rights, preventive

              15    against homicide.

              16                    We now have additional research that makes

              17    me feel even stronger that this is a type of policy

              18    that is among our most effective at curtailing gun

              19    violence.

              20          Q.        So what did Missouri's permit-to-purchase

              21    plan have in common with Maryland's HQL requirement?

              22          A.        Well, first and foremost, if you were
                                            JA1642
USCA4 Appeal: 21-2017   Doc: 25-4          Filed: 08/03/2022   Pg: 220 of 449

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                                              Daniel Webster

                                                                                      Page 179
               1    going to purchase a handgun, you needed to get a

               2    permit.    And that was always step one.                    I think

               3    that's the most important.

               4          Q.        And that was a permit that you had to

               5    apply directly to a law enforcement agency in

               6    Missouri to get; correct?

               7          A.        Yes.

               8          Q.        Unlike Maryland?

               9                    MR. SCOTT:      Objection.

              10                    THE WITNESS:       Correct.

              11    BY MR. SWEENEY:

              12          Q.        And Missouri didn't require fingerprinting

              13    like Maryland requires fingerprinting, did it?

              14          A.        That's right.

              15          Q.        And it didn't require training either;

              16    correct?

              17          A.        That's correct.

              18          Q.        So, if we're looking for a common

              19    denominator, there's only one common denominator

              20    between the Missouri PTP law and the HQL, and that's

              21    the requirement of a permit in order to purchase; am

              22    I correct?
                                              JA1643
USCA4 Appeal: 21-2017   Doc: 25-4          Filed: 08/03/2022   Pg: 221 of 449

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                                              Daniel Webster

                                                                                   Page 180
               1          A.        Yes.

               2            Q.      Do any of the components of the Firearms

               3    Safety Act, other than the HQL, not have any effect

               4    on firearms violence?

               5            A.      I have to go through all of these

               6    provisions.

               7            Q.      Just the ones you talked about.             Would

               8    they not have any effect at all or do you think

               9    they'd have some effect on preventing firearms?

              10          A.        I think some effects.          Some of them would

              11    be more gradual than others.               So, for example, like

              12    an enhanced regulatory capacity for State Police

              13    with respect to licensed gun dealers, it may be that

              14    is a more gradual effect as compliance increases and

              15    the degree to which the State Police demonstrate

              16    that there are consequences to not following the

              17    laws.

              18                    So that is sort of a question mark of how

              19    quickly that might impact laws.                The data we have

              20    about licensing suggests that, when you have a new

              21    law, there's generally some impact that grows a

              22    little bit over time, but that's my own opinion is
                                              JA1644
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

      MARYLAND SHALL ISSUE, INC., et al., *

                   Plaintiffs,                    *

            v.                                    *          No. 1:16-cv-03311-ELH

      LAWRENCE HOGAN, et al.                      *

                   Defendants.                    *

      *     *   *    *    *   *    *   *    *    *    *   *     *
            DEFENDANTS’ MOTION TO STRIKE OPINIONS OF PLAINTIFFS’
                       LAY WITNESS MARK PENNAK AND
                  EXPERTS GARY KLECK AND CARLISLE MOODY

            Defendants Governor Lawrence J. Hogan, Jr. and Superintendent of Maryland State

      Police Colonel Woodrow W. Jones, III,, both sued in their official capacities, hereby move

      to strike the opinions of the plaintiffs’ lay witness Mark Pennak and experts Gary Kleck

      and Carlisle Moody, pursuant to Local Rule 105. The grounds for this motion are set forth

      in the Memorandum of Law filed herewith and incorporated by reference herein.

            WHEREFORE, for the reasons stated herein, defendants respectfully request that

      the Court enter an order striking paragraphs 8-10, 13, 15-17, 18-19 and 21-23 of Mark

      Pennak’s declaration (ECF 135-3) and strike the declarations of Carlisle Moody (ECF 135-

      24) and Gary A. Kleck (ECF 135-25 and ECF 135-29).




                                                JA1645
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                                             Respectfully Submitted,

                                             BRIAN E. FROSH
                                             Attorney General

                                               /s/ Robert A. Scott
                                             ROBERT A. SCOTT (Fed. Bar #24613)
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          Dated: March 8, 2021               Attorneys for Defendants




                                                2

                                          JA1646
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                               EXHIBIT 1




                                          JA1647
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND


         MARYLAND SHALL ISSUE, INC., et                 )
                    al.,                                )
                                                        )
                             Plaintiffs,                )
                                                        )
                             v.                         ) Case No. 16-cv-3311-MJG
                                                        )
       LAWRENCE HOGAN, in his capacity of               )
       GOVERNOR OF MARYLAND, et al.,                    )
                                                        )
                           Defendants.                  )


               PLAINTIFF ATLANTIC GUNS, INC.’S RULE 26(A)(2) DISCLOSURES


             Plaintiff, Atlantic Guns, Inc., by and through undersigned counsel and pursuant to Federal

      Rule of Civil Procedure 26(a)(2), hereby serves the attached reports of Professors Gary Kleck and

      Carlisle Moody as its initial expert disclosure to Defendants. Plaintiff makes this initial disclosure

      without waiver of any privilege, assertion of confidentiality, or ground for objection, and without

      waiver of Plaintiff’s rights to supplement and/ or amend this initial disclosure at any time when

      additional information becomes available.

                                                     /s/ John Parker Sweeney_
                                                     John Parker Sweeney (Bar No. 08761)
                                                     T. Sky Woodward (Bar No. 10823)
                                                     James W. Porter, III (Bar No. 19416)
                                                     Marc A. Nardone (Bar No. 18811)
                                                     BRADLEY ARANT BOULT CUMMINGS LLP
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                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 16th day of April, 2018, a copy of the foregoing Plaintiff

      Atlantic Guns, Inc.’s Rule 26(A)(2) Disclosures and accompanying reports of Professors Gary

      Kleck and Carlisle Moody were sent via electronic mail to:


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                               EXHIBIT 2




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            1
            2                 IN THE UNITED STATES DISTRICT COURT
            3                         FOR THE DISTRICT OF MARYLAND
            4      - - - - - - - - - - - - - - - - x
            5      MARYLAND SHALL ISSUE, INC.,                 :
            6      et al.,                                     :
            7                               Plaintiffs,        :
            8                     v.                           : Civil Case No.
            9      LAWRENCE HOGAN, et al.,                     : 16-cv-3311-MJG
            10                              Defendants.        :
            11     - - - - - - - - - - - - - - - - x
            12             Deposition of CARLISLE EATON MOODY, JR.
            13                              Washington, D.C.
            14                          Wednesday, May 9, 2018
            15                                  10:09 a.m.
            16
            17
            18
            19
            20     Job No.: 188208
            21     Pages: 1 - 62
            22     Reported by:        Karen Young




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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018               29


            1             A      I can't remember.            I presume so, but I --
            2             Q      All right.
            3             A      It's been a while.
            4             Q      Are you aware of any updated data for the
            5      period -- from September 2015 to the present on
            6      that point?
            7             A      No.
            8             Q      And what is the source for the data you
            9      use in your analysis of the firearm homicide rate
            10     in your report?
            11            A      The CDC.       I use the WONDER, CDC WONDER
            12     database, interactive.
            13            Q      Center -- what does CDC stand for?
            14            A      Center for Disease Control.
            15            Q      And this is publicly available?
            16            A      Yes, it's on line.
            17            Q      And you believe it's reliable?
            18            A      Yes.
            19            Q      Why?
            20            A      Because it's official.
            21            Q      Any other reasons?
            22            A      No.     Well, no.       That's why.


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018               30


            1             Q      You also note on page 3 of your report
            2      that the firearm homicide data upon which you base
            3      your study includes justifiable homicides, which
            4      are not crimes, correct?
            5             A      Yes.
            6             Q      Is that a yes?
            7             A      Yes.
            8             Q      All right.        How many of the firearm
            9      homicides in 2010 in Maryland were justifiable?
            10            A      There's no way to know that I don't
            11     believe.
            12            Q      So you don't know.
            13            A      No.
            14            Q      And is that also true for 2011?
            15            A      Yes.
            16            Q      2012?
            17            A      Yes.
            18            Q      2013?
            19            A      Yes.
            20            Q      2014?
            21            A      Yes.
            22            Q      2015?


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018               31


            1             A      Yes.
            2             Q      2016?
            3             A      Yes.
            4             Q      Does the firearm homicide data upon which
            5      you base your report include homicides committed
            6      with long guns?
            7             A      Yes.
            8             Q      How many of the firearm homicides in
            9      Maryland in 2010 were committed with long guns?
            10            A      I don't know.          I just use the total.
            11            Q      Do you know how many of the firearm
            12     homicides in Maryland in 2011 were committed with
            13     long guns?
            14            A      No.
            15            Q      2012?
            16            A      No.
            17            Q      '13?
            18            A      No.
            19            Q      '14?
            20            A      No.
            21            Q      '15?
            22            A      No.


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018               32


            1             Q      '16?
            2             A      No.
            3             Q      Does the firearm homicide data upon which
            4      you base your study include homicides in the entire
            5      state of Maryland?
            6             A      Yes.
            7             Q      Do you know what percentage of those
            8      firearm homicides in 2010 occurred in Baltimore
            9      City as opposed to the rest of the state?
            10            A      No.
            11            Q      Do you know what percentage of the
            12     homicide -- firearm homicides in your study in 2011
            13     occurred in Baltimore City as opposed to some other
            14     part of the state?
            15            A      No.
            16            Q      2012?
            17            A      No.
            18            Q      '13?
            19            A      No.
            20            Q      '14?
            21            A      No.
            22            Q      '15?


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018               33


            1             A      No.
            2             Q      '16?
            3             A      No.
            4             Q      Are you familiar with the term
            5      "historical confounder"?
            6             A      No.
            7             Q      Okay.     Are you familiar with the events
            8      involving Freddie Gray?
            9             A      Not very.
            10            Q      What do you know?
            11            A      I believe Freddie Gray was a suspect in a
            12     crime, arrested, put in the back of a police
            13     vehicle, from which his body was recovered.
            14            Q      And what's your understanding of when
            15     that took place?
            16            A      I do not know the exact date.
            17            Q      Do you know the year?
            18            A      Not -- 2015 I think, but I don't -- I'm
            19     not positive.
            20            Q      Are you aware of the civil unrest that
            21     occurred in the wake of Freddie Gray's death in
            22     Baltimore?


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                     34


            1             A      It was on the news, yes.
            2             Q      And what is your understanding of what
            3      took place?
            4             A      There were riots.
            5             Q      And what's your source for that
            6      information?         Just the news media?
            7             A      Yes.
            8             Q      Anything else?
            9             A      No.
            10            Q      Have you done any research into the
            11     unrest that followed Freddie Gray's death?
            12            A      No.
            13            Q      Are you aware of any empirical facts or
            14     data that show whether the number of firearm
            15     homicides increased in Baltimore as the result of
            16     the events that unfolded in the wake of Freddie
            17     Gray's death?
            18            A      Read that back to me please.
            19                   THE REPORTER:          Question:        "Are you aware
            20     of any empirical facts or data that show whether
            21     the number of firearm homicides increased in
            22     Baltimore as the result of the events that unfolded


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018               35


            1      in the wake of Freddie Gray's death?"
            2                    THE WITNESS:         No.
            3                    MR. SWEENEY:         Objection.
            4      BY MR. SCOTT:
            5             Q      Did you make any attempt in your analysis
            6      for this case to account for the impact of the --
            7      of the unrest that followed Freddie Gray's death on
            8      the number of firearm homicides in Maryland?
            9                    MR. SWEENEY:         Objection.
            10            A      I attempted to control for the increase
            11     in firearms death that occurred nationwide as a
            12     result of the Ferguson effect, occurred a year
            13     earlier, and I presume that that was sufficient to
            14     control for the Freddie Gray incident, which
            15     occurred later.
            16            Q      So other than the attempt that you made
            17     to account for the Ferguson effect, you didn't do
            18     anything else to account for the events that
            19     occurred in the wake of Freddie Gray's death in
            20     Baltimore; is that correct?
            21            A      Correct.
            22            Q      You just referred to the Ferguson effect.


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                36


            1       What is that?
            2             A      The Ferguson, Missouri incident with the
            3       -- at the start of the Black Lives Matter movement.
            4             Q      And what is the effect?                What's the
            5       phenomenon?
            6             A      The effect was a stepping back -- you
            7       know, a number of police killings, killings of
            8       suspects, for example, that was one that caught
            9       people's attention and caused both an increase in
            10      the number of ambush killings of policemen, and
            11      presumably some decline in the enthusiasm with
            12      which policemen do their job.
            13            Q      You -- you brought us a copy of the
            14      Wikipedia page for the Ferguson effect, which I'll
            15      have that marked please.
            16                   (Deposition Exhibit Number 112 was marked
            17      for identification.)
            18      BY MR. SCOTT:
            19            Q      This is Exhibit 112, and I believe you
            20      cite to that in your report, correct?
            21            A      Uh-huh, correct.
            22            Q      All right.        Did you read -- did you read


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                                          Transcript of Carlisle E. Moody, Jr.
                                              Conducted on May 9, 2018                    37


            1       any of the sources that are cited in that Wikipedia
            2       article?
            3              A      Not that I remember.
            4              Q      Have you ever relied on Wikipedia in any
            5       of your published articles?
            6              A      No.
            7              Q      Do you know who authored this Wikipedia
            8       article?
            9              A      No.
            10             Q      Do you know the last date on which it was
            11      updated?
            12             A      No.
            13             Q      Did you make any attempt to determine
            14      whether that Wikipedia page accurately described
            15      what the Ferguson effect is?
            16             A      Please read it back to me.
            17                    THE REPORTER:          Question:        "Did you make
            18      any attempt to determine whether that Wikipedia
            19      page accurately described what the Ferguson effect
            20      is?"
            21             A      No, I assumed it accurate -- it
            22      accurately described it.


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                                          Transcript of Carlisle E. Moody, Jr.
                                              Conducted on May 9, 2018                       38


            1              Q      Are you aware of any empirical facts or
            2       data that show whether the number of firearm
            3       homicides increased in Maryland as a result of the
            4       Ferguson effect?
            5              A      I do not know -- I know -- I cannot
            6       attribute it to the Ferguson effect.                         That was just
            7       a -- I don't know what the word is.                     Hunch on my
            8       part.
            9              Q      And what was your hunch?
            10             A      My hunch was that since firearm homicides
            11      -- homicides in general are going up, after going
            12      -- in the last two or three years, after going down
            13      for many years, had something to do with police
            14      killings and Black Lives Matter and the response.
            15             Q      But as far as empirical facts or data
            16      that show whether the number of firearm homicides
            17      increased in Maryland as a result of the Ferguson
            18      effect, you don't -- you're not able to identify
            19      any.
            20             A      Correct, cannot identify that.
            21             Q      On page 8 of your report, you cite to a
            22      number of states that adopted permit to purchase


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                       53


            1                    MR. SWEENEY:         Objection.
            2             A      Yes, I agree to that.
            3             Q      You mentioned earlier when we were
            4       talking about the Freddie Gray situation, that you
            5       had made an attempt to account in your analysis for
            6       this case for the Ferguson effect?
            7             A      Correct.
            8             Q      Can you tell me how you did that?
            9             A      I looked at data outside of Maryland.
            10            Q      And how did you -- what data did you look
            11      at?
            12            A      All of the states outside of Maryland.
            13            Q      And how did you incorporate that data
            14      into your analysis?
            15            A      I believe it's on figure 2.                    Those are
            16      firearm homicide rates -- no, no, no, figure 2 on
            17      page 4.
            18            Q      Oh, I'm sorry.          You have table 2 and
            19      figure 2.
            20            A      Yeah, I do, I have, I have.
            21            Q      Trying to trick us up.               Okay.
            22            A      Yeah.


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                54


            1             Q      Page 4, figure 2.            So this is national
            2       firearm homicide rates.
            3             A      Correct.
            4             Q      And according to this chart, they ticked
            5       up it looks like approximately 2014, 2013?
            6             A      2013 is the vertical line.
            7             Q      Okay, got you.
            8             A      So yeah, a little after that.
            9             Q      So -- and how did this data -- how did
            10      you account for this trend in the conclusions that
            11      you reach with respect to firearm homicides in
            12      Maryland?
            13            A      I compared it using a number of
            14      techniques, difference and differences, synthetic
            15      controls, just looking at means across different
            16      states.
            17            Q      And what is the significance of the
            18      up-tick in firearm homicide rates reflected on
            19      figure 2 in your report?
            20                   MR. SWEENEY:         Objection.
            21            A      Well, the theory is if you look at
            22      Maryland by itself before and after 2013, the


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                55


            1       firearm homicide rate was higher than it was before
            2       -- just before 2013, and so did that fact mean that
            3       the HQL law failed and in fact, wound up with more
            4       homicides than there was before the law, and if you
            5       look at the data for all the U.S., you find that
            6       indeed, firearm homicide rates are up everywhere,
            7       and so that would mean that we need to look at what
            8       would have happened in Maryland controlling for the
            9       fact that firearm homicide rates are up everywhere.
            10            Q      And did you attempt to do that?
            11            A      Yes, I did.
            12            Q      And you did that through the synthetic
            13      firearm homicide rates that you came up for for
            14      Maryland?
            15            A      That, and if you notice just before that,
            16      I compared the firearm -- on page 5 in the second
            17      paragraph, I just compared the percent change in
            18      the homicide rate after 2013 for Maryland and for
            19      states that did not have permit to purchase laws,
            20      and found that the growth rate for Maryland was
            21      about twice as high as those states.
            22            Q      And did you identify the states in your


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                     56


            1       report that you considered to be non-permit states?
            2             A      Well, in the -- in the -- there were --
            3       all the states other than the states that have had
            4       it for a long time, if you look -- if you look on
            5       page 5, first paragraph under synthetic controls
            6       method, they have the six states that changed the
            7       permit law and then one, two, three, four, five,
            8       six, seven, eight -- one, two, three, four, five,
            9       six, seven, eight -- eight law -- eight states that
            10      have had permit laws since before 1970, so they did
            11      not change the law.          They can't be -- no way to
            12      compare Maryland to those states, but nevertheless,
            13      those are the states that had the law.                      All the
            14      other ones do not have the law.
            15            Q      So you say here you've got 30 states that
            16      you use as the donor pool of control states.
            17            A      Yes, so they also include the -- the
            18      states Maine, New Hampshire, North Dakota, South
            19      Dakota, Vermont and Wyoming, which have missing
            20      data in the CDC WONDER database, so that gives you
            21      a grand total of 20 states.
            22            Q      Did you do any analysis of firearm


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                                         Transcript of Carlisle E. Moody, Jr.
                                             Conducted on May 9, 2018                 57


            1       homicide rates in urban areas where there have been
            2       publicized police killings of suspects during the
            3       study period?
            4             A      No.
            5             Q      Do you know Professor Kleck?
            6             A      By reputation.
            7             Q      Have you ever met him?
            8             A      He once reviewed a paper that I submitted
            9       at a conference, and so he was the referee after --
            10      after I gave my paper, he gave his.
            11            Q      Which paper was that?
            12            A      Oh, I can't remember.               None of these.
            13            Q      Well, what about on your -- is it listed
            14      on your C.V.?
            15            A      Yes, but not -- it's not a refereed
            16      publication.
            17            Q      Okay, I thought you said that he refereed
            18      it for you.
            19            A      Well, what happens in these conferences
            20      is that I give a paper, and then somebody comments
            21      on that paper.        That's what I meant by refereeing,
            22      so he commented on my paper.                That's --


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                               EXHIBIT 3




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            1                   IN THE UNITED STATES DISTRICT COURT
            2                         FOR THE DISTRICT OF MARYLAND
            3
            4      ------------------------------x
                   MARYLAND SHALL ISSUE, INC.,
            5
                   et al.,
            6
                                      Plaintiffs,
            7
                    v.                                              Civil Case No.
            8
                   LAWRENCE HOGAN, et al.,                          16-cv-3311-MJG
            9
                                     Defendants.
            10     -----------------------------x
            11
            12
            13                         Deposition of GARY KLECK
            14                            Baltimore, Maryland
            15                                 May 18, 2018
            16                                   10:02 a.m.
            17
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            19
            20     Job No.:       190812
            21     Pages:      1 - 52
            22     Transcribed by:          Bobbi J. Fisher, RPR




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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018               20


            1             Q.     Have you done any study or analysis to
            2      determine if the training required by the Maryland
            3      HQL law has reduced the number of accidental
            4      shootings in Maryland?
            5             A.     No.
            6             Q.     Are you aware of any such studies?
            7             A.     No.
            8             Q.     Are you aware of any empirical facts or
            9      data that show whether the training required by the
            10     Maryland HQL law has reduced the number of
            11     accidental shootings in Maryland?
            12            A.     No.
            13            Q.     So in light of that testimony, you would
            14     agree that you don't know one way or the other
            15     whether the training required by Maryland's HQL law
            16     has reduced accidental shootings in Maryland?
            17                   MR. SWEENEY:       Objection.
            18            A.     That's correct.         I don't know one way or
            19     the other.
            20            Q.     Do you have an understanding of whether a
            21     background check was required under Maryland and/or
            22     federal law prior to the enactment of the HQL law?


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                 21


            1             A.     Yes.     My understanding was that it was
            2      such a requirement.
            3             Q.     And do you know what the prior background
            4      check consisted of?
            5             A.     I'm not sure I understand.             What do you
            6      mean "consisted of"?           You mean who was prohibited
            7      or --
            8             Q.     No, no, no.
            9                    What background check was conducted?
            10            A.     Well, the federal procedure that
            11     prevailed before the HQL was implemented was that
            12     you would go to the seller and identify yourself
            13     and provide suitable identification and they would,
            14     in turn, contact a law enforcement database and a
            15     background check would be performed, and if you
            16     passed, the sale would go through, and if you were
            17     denied, it would, at least for a time, the sale
            18     would not go through.
            19            Q.     Do you have any understanding of whether
            20     there is a difference between the background check
            21     that was conducted prior -- in Maryland -- prior to
            22     the HQL law and the background check that's


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018               22


            1      required under the HQL law?
            2             A.     I'm not aware of any difference.
            3             Q.     Did the background check that was in
            4      effect prior to the HQL require that the --
            5             A.     Hold on; can I revise that answer?
            6             Q.     Yes.
            7             A.     My understanding is that, under the HQL,
            8      the background check also applies to private
            9      transfers of firearms; in other words, non-dealer
            10     transfers, whereas, at least the federal background
            11     check that prevailed before the HQL only covered
            12     dealer transfers.
            13            Q.     Do you have an understanding of whether
            14     the -- whether Maryland law required a background
            15     check or private sales of handguns prior to the HQL
            16     law?
            17            A.     I don't think it did, but I'm not certain
            18     about that.
            19            Q.     Did the background check that was
            20     required by Maryland law prior to the HQL law
            21     require that the applicant be fingerprinted?
            22            A.     I don't know.


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018               23


            1             Q.     You would agree that the purpose of
            2      requiring a background check prior to the purchase
            3      of a handgun is to prevent certain individuals who
            4      were not qualified to own handguns from acquiring
            5      them; is that correct?
            6                    MR. SWEENEY:       Objection.
            7             A.     Yes.
            8             Q.     And you would agree that, under federal
            9      law and Maryland law, that certain persons are
            10     prohibited from purchasing a handgun; correct?
            11            A.     Yes.
            12            Q.     And that includes convicted felons;
            13     correct?
            14            A.     Yes.
            15            Q.     And includes individuals convicted of
            16     certain misdemeanors involving violence; correct?
            17            A.     Yes.
            18            Q.     And it includes persons who have been
            19     adjudicated mentally defective or who have been
            20     committed to a mental institution; correct?
            21            A.     Yes.
            22            Q.     And it includes persons who are habitual


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018               24


            1      drunkards or alcoholics; correct?
            2             A.     Yes.
            3             Q.     Have you done any study or analysis to
            4      determine if the requirement under Maryland's HQL
            5      law, that an applicant be fingerprinted, has
            6      reduced the number of handguns possessed by
            7      convicted felons in Maryland?
            8             A.     No.
            9             Q.     Are you aware of any such study?
            10            A.     No.
            11            Q.     Are you aware of any empirical facts or
            12     data that show whether the requirement under
            13     Maryland's HQL law, that an applicant be
            14     fingerprinted, has reduced the number of handguns
            15     possessed by convicted felons in Maryland?
            16            A.     No.
            17            Q.     So in light of that testimony, you would
            18     agree that you don't know one way or the other
            19     whether the requirement under Maryland's HQL law,
            20     that an applicant be fingerprinted, has reduced the
            21     number of handguns possessed by convicted felons in
            22     Maryland?


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018               25


            1                    MR. SWEENEY:       Objection.
            2             A.     Yes.
            3             Q.     Have you done any study or analysis to
            4      determine if the requirement under Maryland's HQL,
            5      that an applicant be fingerprinted, has reduced the
            6      number of handguns possessed by persons in Maryland
            7      who are not qualified to possess handguns under
            8      federal or state law?
            9             A.     No, I have not done such study, and I
            10     don't know of anyone else who has.
            11            Q.     Are you aware of any empirical facts or
            12     data that show whether the requirement under
            13     Maryland's HQL law, that an applicant be
            14     fingerprinted, has reduced the number of handguns
            15     possessed by persons in Maryland who are not
            16     qualified to possess handguns under federal or
            17     state law?
            18            A.     No.
            19            Q.     In light of that testimony, you would
            20     agree that you don't know one way or the other
            21     whether the requirement under Maryland's HQL law,
            22     that an applicant be fingerprinted, has reduced the


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018               26


            1      number of handguns possessed by persons in Maryland
            2      who are not qualified to possess handguns under
            3      federal or state law?
            4                    MR. SWEENEY:       Objection.
            5             A.     Yes.
            6             Q.     Are you familiar with the term "straw
            7      purchaser" of a handgun?
            8             A.     Yes.
            9             Q.     Have you done any study or analysis to
            10     determine -- well, strike that.
            11                   What does that term mean to you?
            12            A.     A straw purchaser is a person who is
            13     legally eligible to buy a gun, and they represent
            14     themselves to the seller as if they were the true
            15     purchaser when, in fact, they are fronting for
            16     someone else who is providing the money for the
            17     purchase and who is presumably not qualified;
            18     otherwise, they'd have no motive for doing it,
            19     although that's not technically part of the
            20     definition.
            21            Q.     Have you done any study or analysis to
            22     determine if the requirement under Maryland's HQL


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                27


            1       law, that an applicant be fingerprinted, has
            2       reduced the number of straw purchases of handguns
            3       in Maryland?
            4             A.     No.
            5             Q.     Are you aware of any empirical facts or
            6       data that show whether the requirement under
            7       Maryland's HQL law, that an applicant be
            8       fingerprinted, has reduced the number of straw
            9       purchases of handguns in Maryland?
            10            A.     No.
            11            Q.     In light of that testimony, you would
            12      agree that you don't know one way or the other
            13      whether the requirement under Maryland's HQL law,
            14      that an applicant be fingerprinted, has reduced the
            15      number of straw purchases of handguns in Maryland?
            16                   MR. SWEENEY:       Objection.
            17            A.     Yes.
            18            Q.     Have you done any study or analysis to
            19      determine if the training required by Maryland's
            20      HQL law has had any effect on compliance with
            21      Maryland law regulating the storage of handguns in
            22      the home?


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                28


            1             A.     No.
            2             Q.     Are you aware of any empirical facts or
            3       data that show whether the training required by
            4       Maryland's HQL law has had any effect on compliance
            5       with Maryland law regulating the storage of
            6       handguns in the home?
            7             A.     No.
            8             Q.     In light of your testimony, you would
            9       agree that you don't know one way or the other
            10      whether the training required by Maryland's HQL has
            11      enhanced compliance with Maryland law, regulating
            12      the storage of handguns in the home?
            13                   MR. SWEENEY:       Objection.
            14            A.     Yes.
            15            Q.     Have you done any study or analysis to
            16      determine if the enactment of Maryland's HQL law
            17      has reduced the amount of gun crime in Maryland?
            18            A.     Could you repeat that question, please?
            19                   MR. SCOTT:       Could you read it back,
            20      please?
            21                   COURT REPORTER:         I cannot.
            22                   MR. SCOTT:       Oh, okay.


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                29


            1       BY MR. SCOTT:
            2             Q.     Have you done any study or analysis to
            3       determine if the enactment of Maryland's HQL law
            4       has reduced the amount of gun crime in Maryland?
            5             A.     No.
            6             Q.     Are you aware of any such studies?
            7             A.     I'm aware of Professor Webster's studies
            8       where he attempted to do that, but I don't think
            9       there's any reliable findings yielded by that
            10      research.
            11            Q.     Are you aware of any other such studies?
            12            A.     No.
            13            Q.     Are you aware of any empirical facts or
            14      data that show whether the enactment of Maryland's
            15      HQL law has reduced the amount of gun crime in
            16      Maryland?
            17            A.     Again, the answer would be the same,
            18      given that homicide is one kind of crime, and so,
            19      yes, I mean, Webster's attempted to evaluate that,
            20      and I don't think it yielded any reliable
            21      information.
            22            Q.     All right.       So other than Professor


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                30


            1       Webster's study, you're not aware of any empirical
            2       facts or data that show whether the enactment of
            3       Maryland's HQL law has reduced the amount of gun
            4       crime in Maryland?
            5             A.     When I refer to Professor Webster's
            6       research, I'm referring to three studies, not just
            7       one study, and I would include, for example, the
            8       Kerfazi (ph), et al., the "et al." including
            9       Webster has one of the authors.
            10            Q.     All right.       So other than those -- the
            11      three studies involving Professor Webster, you're
            12      not aware of any empirical facts or data that show
            13      whether the enactment of Maryland's HQL law has
            14      reduced gun crime in Maryland?
            15                   MR. SWEENEY:       Objection.
            16            A.     Yes.
            17            Q.     And in light of your testimony, you would
            18      you don't know one way or the other whether the
            19      enactment of Maryland's HQL law has reduced the
            20      amount of gun crime in Maryland; correct?
            21                   MR. SWEENEY:       Objection.
            22            A.     Yes.


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                31


            1             Q.     Have you done any study or analysis to
            2       determine if the enactment of Maryland's HQL law
            3       has reduced the number of suicides by handguns in
            4       Maryland?
            5             A.     No.
            6             Q.     Are you aware of any such studies?
            7             A.     No.
            8             Q.     Are you aware of any empirical facts or
            9       data that show whether the enactment of Maryland's
            10      HQL law has reduced the number of suicides by
            11      handguns in Maryland?
            12            A.     No.
            13            Q.     And in light of that testimony, you would
            14      agree that you don't know one way or the other
            15      whether the enactment of Maryland's HQL law has
            16      reduced the number of suicides by handguns in
            17      Maryland?
            18                   MR. SWEENEY:       Objection.
            19            Q.     Is that correct?
            20            A.     Yes.
            21            Q.     All right.       In your report, which is
            22      Exhibit 118, you discuss Professor Webster's


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                  35


            1       don't know what it indicates.
            2             Q.     Are you -- do you have any legal
            3       training?
            4             A.     No.
            5             Q.     Let's refer to your C.V., which is
            6       included in the report.           It was previously marked
            7       as Exhibit 118.        I believe your C.V. begins on page
            8       46.
            9                    I notice that you have a separate section
            10      under publications under C.V. for articles in
            11      peer-reviewed journals.           That starts on page 49.
            12      Is that correct?
            13            A.     Yes.
            14            Q.     And what is the significance of an
            15      article being peer reviewed?
            16            A.     When an author submits an article to a
            17      professional journal, the journal will send it out
            18      to people who are hopefully experts on the same
            19      topic, and they'll make an evaluation and a
            20      recommendation as to whether or not it ought to be
            21      published.
            22                   So it serves as a screening purpose.                The


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                     36


            1       purpose is, at least theoretically, to preclude the
            2       worst research from being published.
            3             Q.     Are peer-reviewed articles likely -- are
            4       peer-reviewed articles more likely to be accepted
            5       as valid by a researcher's colleagues than
            6       non-peer-reviewed articles?
            7             A.     Yes.     Rightly or wrongly, that's true.
            8             Q.     Your report references an article that
            9       you published in 2009 called "The Myth of Big-time
            10      Gun Trafficking" in the "UCLA Law Review" with
            11      Shun-Yung Wang; is that correct?
            12            A.     Yes.
            13            Q.     Was that article peer reviewed?
            14            A.     I'm not sure.        Law reviews typically
            15      don't have peer review, but on occasion, they do,
            16      and it's possible they did in that case.                   I really
            17      don't remember.
            18            Q.     But you would agree that articles in law
            19      reviews are typically not peer reviewed?
            20            A.     That is correct.
            21            Q.     You also list a 2013 article in your C.V.
            22      that was published in the Fordham Urban Law


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                                             Transcript of Gary Kleck
                                            Conducted on May 18, 2018                37


            1       Journal.     Was that article peer reviewed?
            2             A.     No.     I mean, it's misplaced and it
            3       probably should have been in the other articles
            4       section.
            5             Q.     What about the 1999 article in the
            6       St. Louis University Law Review?              Was that peer
            7       reviewed?
            8             A.     I'm not sure about that one.
            9             Q.     When were you first contacted about this
            10      case?
            11            A.     Oh, I couldn't really tell you for sure
            12      but sometime in the past year or so.
            13            Q.     And who contacted you initially?
            14            A.     I think it might have been Jay -- Jay --
            15      it's John's law firm, but I forget the guy's last
            16      name.
            17            Q.     So it was somebody at Mr. Sweeney's firm?
            18            A.     It was.
            19            Q.     Other than the documents that you
            20      provided in response to the subpoena today, were
            21      you provided with any factual information about
            22      this case from anybody in Mr. Sweeney's firm?


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         From: "Scott, Robert" <rscott@oag.state.md.us>
         Date: February 26, 2021 at 10:50:49 AM EST
         To: "Sweeney, John P." <JSweeney@bradley.com>
         Cc: "Dietrich, Ryan" <rdietrich@oag.state.md.us>
         Subject: Licensing Division FRS/HQL statistical data 2018-present


         [External Email]


         Here is the data according to MSP’s service provider, as of Jan. 15, 2021:


         Total number of Applications started but not submitted from 2018-2020
         2018 - 10561
         2019 - 9346
         2020 - 24135

         Total number of Users who started an application but never submitted from 2018-2020
         2018 - 9640
         2019 - 8553
         2020 - 22631

         These numbers change on a daily basis as new application are submitted.

         Robert A. Scott
         Assistant Attorney General
         Deputy Chief of Litigation
         Civil Division
         Office of the Attorney General
         200 St. Paul Place, 20th Floor
         Baltimore, MD 21202
         410-576-7055
         rscott@oag.state.md.us




         From: Sweeney, John P. <JSweeney@bradley.com>
         Sent: Thursday, February 25, 2021 4:55 PM
         To: Scott, Robert <rscott@oag.state.md.us>
         Subject: Fwd: Licensing Division FRS/HQL statistical data 2018-present


         Please forgive my last email, Rob. Please advise has MSP pulled together the number of users who initiated but did not
         submit completed applications?

         Thank you.

         John Parker Sweeney
         Cell: 410-458-5653ec



         Begin forwarded message:

                From: "Scott, Robert" <rscott@oag.state.md.us>
                Date: February 25, 2021 at 12:31:25 PM EST
                To: "Sweeney, John P." <JSweeney@bradley.com>
                Cc: "Dietrich, Ryan" <rdietrich@oag.state.md.us>
                Subject: RE: Licensing Division FRS/HQL statistical data 2018-present

                [External Email]

                John -- I am writing to follow up on this. Can you kindly advise as to your position on the stipulation I proposed below?



                                                                                                                                            EXHIBIT 1
                                                                               JA1684
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               Kind regards,

               Rob


               Robert A. Scott
               Assistant Attorney General
               Deputy Chief of Litigation
               Civil Division
               Office of the Attorney General
               200 St. Paul Place, 20th Floor
               Baltimore, MD 21202
               410-576-7055
               rscott@oag.state.md.us




               -----Original Message-----
               From: Scott, Robert
               Sent: Friday, February 19, 2021 10:21 AM
               To: Sweeney, John P. <JSweeney@bradley.com>
               Cc: Dietrich, Ryan <rdietrich@oag.state.md.us>
               Subject: RE: Licensing Division FRS/HQL statistical data 2018-present

               John -- We propose to stipulate to the following:

               1 - The MSP portal reflects the following 77R transfers for Atlantic Guns for 2018 to 2020:



                     2018 – 2143
                     2019 – 2093
                     2020 – 3724


               2 - That the data in the attached chart, which you attached to your brief, accurately reflects the number of Maryland
               handgun transfer applications submitted to MSP and disapproved by MSP, as well as HQLs issued and HQLs denied by
               MSP for the years on the chart.

               We agree that item no. 1 can be deemed confidential.

               Please confirm you are agreeable to this.

               Rob


               Robert A. Scott
               Assistant Attorney General
               Deputy Chief of Litigation
               Civil Division
               Office of the Attorney General
               200 St. Paul Place, 20th Floor
               Baltimore, MD 21202
               410-576-7055
               rscott@oag.state.md.us




               -----Original Message-----
               From: Sweeney, John P. <JSweeney@bradley.com>
               Sent: Saturday, February 6, 2021 10:53 AM
               To: Scott, Robert <rscott@oag.state.md.us>
               Cc: Dietrich, Ryan <rdietrich@oag.state.md.us>
               Subject: Re: Licensing Division FRS/HQL statistical data 2018-present



                                                                     JA1685
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               Rob,

               If you wish to use the summary data on a confidential basis we can reach a confidential stipulation as to what the MSP
               records say.

               Atlantic Guns objects to your filing even under seal with the Court the records containing the detailed information
               regarding its customers. If that is your intent, please advise us promptly so we can seek relief in advance from the Court.

               With best regards,

               John Parker Sweeney
               Cell: 410-458-5653




                      On Feb 5, 2021, at 9:12 AM, Scott, Robert <rscott@oag.state.md.us> wrote:


                      [External Email]


                      ________________________________
                      John – Please see attached records reflecting Atlantic Guns 77R transfers for 2018-2020.


                      It is possible that we will use this information in our upcoming brief. Please advise if you wish the
                      information to be deemed confidential.


                      Rob




                      Robert A. Scott
                      Assistant Attorney General
                      Deputy Chief of Litigation
                      Civil Division
                      Office of the Attorney General
                      200 St. Paul Place, 20th Floor
                      Baltimore, MD 21202
                      410-576-7055
                      rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>




                      From: Sweeney, John P. <JSweeney@bradley.com>
                      Sent: Thursday, February 4, 2021 1:47 PM
                      To: Scott, Robert <rscott@oag.state.md.us>
                      Subject: Re: Licensing Division FRS/HQL statistical data 2018-present


                      Thank you, Robb
                      John Parker Sweeney
                      Cell: 410-458-5653




                      On Feb 3, 2021, at 11:31 AM, Scott, Robert <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                      wrote:




                                                                       JA1686
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                  [External Email]
                  ________________________________
                  John – I have confirmed that the numbers you provided below are consistent with the information in MSP
                  Licensing Portal. I do not have an answer for why the MAFSS data is different, but MSP believes the licensing
                  portal data is accurate.


                  The MSP portal reflects the following 77R transfers for Atlantic Guns for 2018 to 2020:


                  2018 – 2143
                  2018 – 2093
                  2020 – 3724


                  I have the records that were pulled and reflect this information. I will provide them to you once they have
                  been processed and bates stamped.


                  Rob




                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>




                  From: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com>>
                  Sent: Thursday, January 28, 2021 4:20 PM
                  To: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Subject: Re: Licensing Division FRS/HQL statistical data 2018-present


                  Thank you, Rob. This is truly baffling.


                  Atlantic Guns Inc. opened a new location in Rockville in September 2020 under new license 103715. It closed
                  its former Rockville (license 007515) and Silver Spring (license 007615) locations. Steven Schneider advises
                  me that he logged into the MSP database into which he enters his transfer data and received the following
                  information today:




                  Handguns and lower receivers transferred in 2020 by Atlantic Guns




                  1187 transfers at New Rockville (103715) 9-12/2020


                  1546 transfers at Old Rockville (007515) 1-12/2020



                                                                 JA1687
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                  991 transfers at Silver Spring (007615) 1-12/2020


                  Total 3724 handguns and lowers 2020




                  John Parker Sweeney
                  Cell: 410-458-5653




                  On Jan 28, 2021, at 9:28 AM, Scott, Robert <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  wrote:


                  [External Email]
                  ________________________________
                  John – DPSCS has double checked the numbers and confirmed they are correct:


                  Atlantic Guns has two locations (7515 and 7615).
                  Confirmed these are just for handguns.


                  The numbers below:


                  Total Transfer Count            Year


                                 9264         2018
                                 8511         2019
                                10715         2020


                  The numbers below are for just one location (7515):


                  Total Transfer Count          Year
                  ---------+---------+---------+--------
                                4364        2018
                                3716        2019
                                5080        2020


                  Rob




                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>



                                                                 JA1688
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                  From: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com>>
                  Sent: Wednesday, January 27, 2021 9:02 AM
                  To: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Subject: Re: Licensing Division FRS/HQL statistical data 2018-present


                  Thank you.
                  John Parker Sweeney
                  Cell: 410-458-5653




                  On Jan 27, 2021, at 8:47 AM, Scott, Robert <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  wrote:


                  [External Email]
                  ________________________________
                  I have asked DPSCS to double check the numbers.




                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>




                  From: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com>>
                  Sent: Wednesday, January 27, 2021 8:45 AM
                  To: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Subject: RE: Licensing Division FRS/HQL statistical data 2018-present


                  Thank you, Rob. Atlantic Guns does not keep records totaling handgun
                  sales or from which totals may be easily obtained. It can estimate


                  John Parker Sweeney
                  Partner | Bradley<http://www.bradley.com>
                  jsweeney@bradley.com<mailto:jsweeney@bradley.com>
                  202.719.8216



                                                                 JA1689
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                  From: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Sent: Tuesday, January 26, 2021 7:09 PM
                  To: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com>>
                  Subject: RE: Licensing Division FRS/HQL statistical data 2018-present


                  [External Email]
                  ________________________________
                  John – MSP cannot verify these numbers. The MAFSS data is in the possession of the Department of Public
                  Safety and Correctional Services. I obtained this data from DPSCS. I will ask them to double check, but I do
                  not know how long that may take.


                  Does your client not already have records reflecting the number handgun transfers it made during these
                  years?




                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>




                  From: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com>>
                  Sent: Tuesday, January 26, 2021 4:18 PM
                  To: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Subject: Re: Licensing Division FRS/HQL statistical data 2018-present


                  Thank you, Robb. These numbers appear much too high - more than double AGI’s prior best sales years and
                  4-5 times it’s more typical annual sales. Can you kindly ask MSP to verify these?
                  John Parker Sweeney
                  Cell: 410-458-5653




                  On Jan 26, 2021, at 8:12 AM, Scott, Robert <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  wrote:


                  [External Email]
                  ________________________________
                  John –


                  Yearly Count of Handgun Transfers by Atlantic Guns, Inc. for the years, 2018, 2019 and 2020 from the
                  Maryland Automated Firearms Services System (MAFSS):



                                                                 JA1690
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                  The number of handguns transferred by Atlantic Guns, per year is below


                  TOT_TRANSFER_COUNT               YEAR


                         9264         2018
                         8511         2019
                        10715         2020




                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>




                  From: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com>>
                  Sent: Monday, January 25, 2021 1:30 PM
                  To: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Subject: Re: Licensing Division FRS/HQL statistical data 2018-present


                  Thanks, Rob. Please keep me updated on MSP’s progress in obtaining the number of users who initiated but
                  never submitted an HQL application in each year from 2018-present. It is understandable that MSP is busy,
                  but in 2018 it provided this information within two weeks of the Court’s order on Atlantic Guns’ motion to
                  compel. Please also keep me updated on MSP’s progress in obtaining the MAFSS data.


                  I do not believe we will need to modify the briefing schedule, so long as you do not object to us providing
                  this information to the Court for the first time in our reply brief.


                  Thank you.


                  John Parker Sweeney
                  Cell: 410-458-5653




                  On Jan 25, 2021, at 8:10 AM, Scott, Robert <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  wrote:
                  [External Email]


                  John -- Good morning.


                  We have already provided the updated firearms transfer data, and the updated number of HQL applications
                  submitted and denied for the years you requested. We also have provided the number of HQL applications
                  initiated but not completed. All of this information was provided to you in October.


                                                                  JA1691
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                  On January 6, 2021, you requested updated administrative logs, which we provided on January 15.


                  On January 6, you also requested, for the first time, "the number of users who initiated but never submitted
                  any type of HQL application in each year from 2018-present." I have asked MSP to pull this information, but
                  I am told the process is cumbersome and difficult. Your assertion that this information was subject to the
                  Court's April 20, 2018 order compelling discovery is incorrect. That motion resolved a dispute over plaintiff's
                  interrogatory no. 5, which asked for “the number of HQL applications not completed each year from 2013
                  through 2017." It did not seek the number of individual users. Although MSP's May 4, 2018 supplemental
                  answer to interrogatory no. 5 provided the number of users in addition to the number of not completed
                  applications, that information was provided voluntarily to provide additional context. We are willing to
                  provide the information on the number of users for the years you have requested, provided that it can be
                  obtained without undue burden. MSP is still working on it. I will follow up again. As I am sure you can
                  understand, the ongoing pandemic has placed significant addition burdens on the MSP. They are doing the
                  best they can to accommodate your requests.


                  With respect to the Maryland Automated Firearms Services System (MAFSS) Yearly Count of Handgun
                  Transfers by Atlantic Guns, Inc., which you also requested on January 6, 2021, that information is in the
                  possession of the Department of Public Safety and Correctional Services, not MSP. MSP has requested the
                  data from DPSCS but as of last week, had not yet received it. I will follow up again.


                  Finally, to the extent that you believe you require additional time to prepare your motion in light of the
                  foregoing, we would be agreeable to a reasonable adjustment of the briefing schedule.


                  Thanks.


                  Rob




                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>




                  -----Original Message-----
                  From: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com>>
                  Sent: Saturday, January 23, 2021 12:00 PM
                  To: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Subject: Re: Licensing Division FRS/HQL statistical data 2018-present


                  Rob,




                                                                  JA1692
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                  Please advise when I can receive this information. Our brief is due Wednesday. As you know, an order
                  compelling production was entered and defendant has a duty to update upon request.


                  John Parker Sweeney
                  Cell: 410-458-5653




                  On Jan 15, 2021, at 4:31 PM, Scott, Robert <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  wrote:


                  [External Email]


                  ________________________________
                  John – Please see attached supplemental production with some of the information you requested,
                  specifically the updated administrative disapproval log and the administrative denial ledger updated through
                  4/18/2019. MSP stopped updating the ledger at that time.


                  I’m still waiting to received the other information you requested.


                  Rob




                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us<mailto:rscott@oag
                  .state.md.us%3cmailto:rscott@oag.state.md.us>>




                  From: Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com<mailto:JSweeney@brad
                  ley.com%3cmailto:JSweeney@bradley.com>>>
                  Sent: Thursday, January 7, 2021 10:10 AM
                  To: Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us>>
                  Subject: Re: Licensing Division FRS/HQL statistical data 2018-present


                  Rob,


                  Please forgive this follow on but could you also update the administrative denial ledger (MSP001218)?
                  Thank you,


                                                                  JA1693
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                  John Parker Sweeney




                  On Jan 6, 2021, at 3:31 PM, Sweeney, John P.
                  <JSweeney@bradley.com<mailto:JSweeney@bradley.com<mailto:JSweeney@bradley.com%3cmailto:JSweeney@bradley.com>>>
                  wrote:




                  Rob, Happy New Year!


                  Thank you for your previous response.


                  Please provide the number of users who initiated but never submitted any type of HQL application in each
                  year from 2018-present. Defendants previously provided this information for years 2013-2017. See Col.
                  Pallozzi’s Third Supp. Rog. Resp., No. 5. Defendants provided this information in response to the Court’s April
                  20, 2018 order (attached).


                  Please also supplement the Maryland Automated Firearms Services System (MAFSS) Yearly Count of
                  Handgun Transfers by Atlantic Guns, Inc. to include each year from 2018-present.


                  Please also supplement the “administrative log” (attached) to include information from 2018-present.


                  Thank you.


                  Best regards,




                  John Parker Sweeney
                  Cell: 410-458-5653




                  On Oct 27, 2020, at 10:27 AM, Scott, Robert
                  <rscott@oag.state.md.us<mailto:rscott@oag.state.md.us<mailto:rscott@oag.state.md.us%3cmailto:rscott@oag.state.md.us>>>
                  wrote:


                  [External Email]
                  ________________________________
                  John – Pursuant to your request, please see below firearms transfer data from the State Police. I am still
                  working on the other information you requested.


                  Rob


                  Robert A. Scott
                  Assistant Attorney General
                  Deputy Chief of Litigation
                  Civil Division
                  Office of the Attorney General
                  200 St. Paul Place, 20th Floor
                  Baltimore, MD 21202
                  410-576-7055
                  rscott@oag.state.md.us<mailto:rscott@oag.state.md.us<mailto:rscott@oag


                                                                   JA1694
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                  .state.md.us%3cmailto:rscott@oag.state.md.us>>




                  Licensing Division
                  Weekly (39) Report
                  09/25/2020 through
                  10/1/2020
                  2017
                  Totals
                  2018
                  Totals
                  2019
                  Totals
                  2020
                  Totals
                  2017 Weekly
                  Avg.
                  2018
                  Weekly
                  Avg.
                  2019
                  Weekly
                  Avg.


                  2020
                  Weekly
                  Avg.


                  Current Week Totals
                  (2020)
                  FRS Total Apps Received
                  51,851
                  53,544
                  53,726
                  71,548
                  997
                  1,030
                  1,033
                  1,835
                  2,455
                  FRS Disapprovals
                  175
                  206
                  245
                  424
                  3.4
                  4
                  4.7
                  10.9


                                                             JA1695
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                     19


                     HQL New
                     23,888
                     21,727
                     20,083
                     46,903
                     459
                     417.8
                     386.2
                     1,203
                     1,854
                     HQL “New Resident” Apps
                     0
                     0
                     0
                     890
                     0
                     0
                     0
                     22.8
                     19
                     HQL Disapprovals
                     566
                     641
                     769
                     1,413
                     10.9
                     12.3
                     14.8
                     36.2
                     54




                     ________________________________


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               from your computer.




                                                                       JA1696
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                                                                                    EXHIBIT 2


                                            JA1697
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                                            JA1698
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                                            JA1699
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                                            JA1700
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                                            JA1701
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                                            JA1702
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                                            JA1703
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                                            JA1704
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                                            JA1705
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                                            JA1706
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                                            JA1707
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                                                                              EXHIBIT 3

                                            JA1708
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                                            JA1709
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                                            JA1710
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                                            JA1711
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                                            JA1712
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                                            JA1713
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                                            JA1714
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                                            JA1715
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                                                                                    Page 1
                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND
                        -------------------------------X
                        MARYLAND SHALL ISSUE, INC.,            :
                        et al.,                                :
                                                               :   Case No:
                                      Plaintiffs               :   16-cv-3311-MJG
                                                               :
                                          -vs-                 :   Pages 1 - 109
                                                               :
                        LAWRENCE HOGAN, in his                 :
                        capacity of Governor of                :
                        Maryland, et al.,                      :
                                                               :
                                      Defendants               :
                        -------------------------------X



                                        Deposition of James Johnson
                                            Baltimore, Maryland
                                          Tuesday, March 13, 2018




                        Reported by:     Kathleen M. Vaglica, RPR, RMR
                        Job No:   390081


                                           MAGNA LEGAL SERVICES
                                               (866) 624-6221




                                                                               EXHIBIT 4

                                             JA1716
USCA4 Appeal: 21-2017     Doc: 25-4          Filed: 08/03/2022   Pg: 294 of 449

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                                                                                   Page 106
                1       situation where there had been an accidental

                2       discharge of a handgun?

                3            A.       I'd have to say just numerous cases of

                4       both police officer and private citizen.

                5            Q.       Okay.    Do you recall being asked about the

                6       live fire component of the training requirement?

                7            A.       Yes.

                8            Q.       And do you recall mentioning the

                9       importance of the training having experience of

               10       chambering a round?

               11            A.       It's a credible component given the

               12       technology of the current state-of-the-art weapons,

               13       and what caused all of the accidental discharges in

               14       Baltimore County were failure to recall, remember

               15       that there was a round previously chambered, and

               16       unfortunately, the person pulled the trigger unaware

               17       that there was a round in the chamber thinking

               18       ejection of the magazine was sufficient to safe the

               19       weapon.

               20            Q.       And how might the live fire component of

               21       the training prevent that situation?

               22            A.       I think it causes an individual to become




                                                JA1717
USCA4 Appeal: 21-2017     Doc: 25-4       Filed: 08/03/2022     Pg: 295 of 449

                Case 1:16-cv-03311-ELH Document 150-4 Filed 04/14/21 Page 3 of 4

                                                                                   Page 107
                1       accustom to the mechanism, the operation of the

                2       weapon, and then just your muscle memory or

                3       training, again, and repeat a process of clearing

                4       the weapon before they determine, in fact, it's

                5       safe.

                6                     MS. KATZ:   Okay.       I don't have any other

                7       questions.

                8                     MR. SWEENEY:     I have no other questions.

                9                     (Whereupon, signature not having been

               10       waived, the taking of the deposition concluded at

               11       1:19 p.m.)

               12                                  *     *     *

               13

               14

               15

               16

               17

               18

               19

               20

               21

               22




                                             JA1718
USCA4 Appeal: 21-2017     Doc: 25-4       Filed: 08/03/2022   Pg: 296 of 449

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                                                                                   Page 109
                1                      CERTIFICATE OF NOTARY PUBLIC

                2                     I, Kathleen M. Vaglica, the officer before

                3       whom the foregoing deposition was taken, do hereby

                4       certify that the witness whose testimony appears in

                5       the foregoing deposition was duly sworn by me; that

                6       the testimony of said witness was taken by me in

                7       stenotype and thereafter reduced to typewriting

                8       under my direction; that said deposition is a true

                9       record of the testimony given by said witness; that

               10       I am neither counsel for, related to, nor employed

               11       by any of the parties to the action in which this

               12       deposition was taken; and, further, that I am not a

               13       relative or employee of any attorney or counsel

               14       employed by the parties hereto, nor financially or

               15       otherwise interested in the outcome of the action.

               16

               17

               18                                    Notary Public in and for

               19                                    State of Maryland

               20

               21       My Commission Expires:

               22       January 10, 2019




                                             JA1719
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                                                                             EXHIBIT 1


                                            JA1720
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                                            JA1721
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                                            JA1722
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                                            JA1723
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                                            JA1724
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                                            JA1725
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                                            JA1726
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                                            JA1727
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           ê.ě B ěě1Iě Pě)Tě ěěě%ě¹ ěěěěě
            )} õ ęě  Iě'ě!"ěi ěě|ěě ěěÆ+ě Ěěě
         Ä ěě ě&ě%ěěRě! ě%ěÉ4@ě něRě?Đ;)ěě
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         rě íěěô ě ěě ü ěÚ 3ěěě ě ěěěSvě&#ě
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           Ā +ěDZ ě ě ěYCZě ě6ěÀ ě( ě ě   ě ě ěě ě
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          9[; ĝĝĝ/  ~ĝ.\jĝ[; #ĝĝĝ <ĝ & ĝ ĝFĝ.ĝĝ
         ĝU ĝĝĝ / !Cĝ & ĝĝVĝ ZU<ĝ ºĝ" Fĝĝ ĝ"ĝ,3ĝ
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         KAÀĝ Aĝ6ĝ  4ĝ ĝ:Ċá ĝ/ ē ĝĝ ĝw¸ĝS'ĝ, ĝ *ĝĕ  ĝkĝ
         @ 2I3)ĝN5ĝ ĝ ĝÔĝĝĝÄm  ĝ.ĝ)ĝĝ ĝ7 ĝĝ  )ĝĘĝ
         H <ĝ & ĝSH ĝĝĝĝÅęĝ 2ĝĝ ĝĝĝĝ  Fĝ)ĝĝ7 ĝ ĝĈĝ
         ĝ  ĝ2ĝĝK ĝnĝąĝĝ¶ĝ;4ĝ' ĝĝĝm} _ĝ& ĝ =ĝ
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         JE ĝĝĝJ ĝ / Xĝĝ  f.h)ĝNª6%=§*ĝ:ĝGĝÈĝ

         &  ĝĝĝ ĝ  ĝZ ĝ ĝ / 84ĝ ĝ yj  ĝ 4ĝĝ OH ĝ
         oĝ ČYUĝ4 åýĝĝíĝĝÉĝËĝĐ ĝĝ"ĝRI5ĝĝ[;ĝ
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         RIIĝ(ĝĝ 3ĝ  ĝ ĝZ ĝ  ĝĝ   5ĝ  ĝ  oĝĝ
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         'ú ĝ ĝ ĝT ĝ, ĝ+  ĝĝk ĝ`ā ĝRIĝĝĆċĝĝô {3ĝĝ
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         ì  ßĝĝ ĝĝ ĝAĝ éc ĝ!8à ĝyjĝ Sĝ$6ĝÍ ĝĝ  ĝ ¼ ĝ
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         a5ĝ ĝ f 9ĝĝĝ ĝLĝĝöĝ 3)ĝ  hĝĝ8ĝDÏ3ĝ
          ¡ĝ ´ĝDV ^ĝ  ĝ! ĝĝ 9;ĝĝ(E ïĝ#ĝh ĝX/ '!ĝĝ@FYĝ
         7 ĝĝQOĝ½'ĝ ĝĝĝWãLĝ Wĝĝ ĝ ĝ,3ĝĝ- ĝĝ>þĝ
         Ā{Cĝvĝ+*ĝ,  ĝ"-*Mĝ%_ĝ Zcĝĝ?!)ĝ / 84ĝ ĝ A E ĝĝ
          ĝĝG: ĝm4¢ĝ vĝ+ĝ,  ĝ -K*Mĝ%6<ĝ D! ĝÁAĝ:õ :ĝ
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         ,  ĝ |ĝR JH 5ĝMĝ%r¨$`=ĝ DV3ĝ@÷ ÿĝ ĝĝL  ĝĝĝ  ĝ ĝ1ĝĝ
         Ě£ĝ bTĝ+]ĝ,čz ĝ"EØK]ĝMĝ%O©$6sĝ K Ðĝn ĝVĝ ĝÆĝ 9 ĝ"ĝPĝ
         bTĝ+ĝ,  ĝ"-^ĝ %1­¤ĝ & ĝ Ĕ 2ĝÛgĝ ĝ(û#ĝĝ
           ĝěĝĝ ĝ =ĝ ²ĝ(r Ē #ĝ ĝ(lĝ   #ĝĝ!ĝĝuĝĝ
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         ěÍ ěáě  ěěÿě $   ěLě ě{ě 0 ě çěěJě  ě ěě
         @`Jě ë ě j ě!ěěě=*Þ  ěěě  $N ěÇěRB*1y_ětě
         þ ě  ě ě"++"/: yě  ě ě%ěC ě)Ü běě ěÎěSvě ě ±4 #ě ě
         )$ ěĕM ě)ěě.ě!-*ěě  ě ě  ě  ùěAě3Č ě 0L ě
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         Øł$ł3-ł$-o1ł)ł O łgO_ OAëłłnł,łł łGłļKłAł
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          ÚĘS łł  ł& łpłłłķłlłw  łÛĮłñł  4ł Î ł#ł
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          3łł łĈ ł  łółZ*7ł )1łK?ł, ł Kł, ła ł
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         [ 3  uþGþ  þþ þ þ þAþ   þ'þ/%þþË"*þ&*þ
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          [  ǗǗUo=ǗYǗ}7ǗǗƾǗ$ǗǗǗ!::ǗÚǗ:Ǘŉ *Ǘ± :8PǗ2 !½~Ǘ
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          Š7ǗŮJǗ1 / H ǃǗ"h ǗÈǗÌ'.ğ 'Ǘį--BQBƓQǗFǗ{Ǘ; ǗÚǗ¶#S&ēǗàÒ'Ǘ . ǗĦÈǗ
          ÌĠ' ġǗd-ħ Q-CµB^ ǗúǗǊ b2ǗĄǗűÙǗƆǗǗ®M4ǗFǗ Ǘª8¨Ǘñ4 ö µ'Ǘ
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          1ƖǗ^Jœ)ǗųZǗ #SĈ)ǗlsŽZǗ$4čǗ&ƽ_?Ǘ+© 6Ǘ( Ǘ$Ǘ!Y¤'Ǘ
          ŀ VǗVÜǗ.š Ǘd--ŻQǗ4LǗŊxǗ¬Ɨ§ /%ǗÔ&ǗêW4õƷǗŭǗ"WǗǗß,EǗČ9ŒǗ@bǗůh6Ǘ
           ǌĢǗ fl%]Ǘ9ǐ«>ðǗŏÖ(5ǗAƞ"qǗ$çǗŷǗǗÞńo"Ǘ<ǗXm<EƨǗÙ®5ǗmUǗ<å+L>ǗÖx%LǗƌǗYſǗ
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          j Ħ Ħ ËbĦ Ħ Ħ Ħ Ħ  Ħ Ħ Ħ EĄ ĦĦ <ČĦ(+6Ħ
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          oÕĦÁĦ8)'¯Ħ ;Ħ Ħ Ħ Ħ ĦĆĦ ĦRĦĦěĦĖĦ ĦÃ5e!ÚĦ
          ú ġĦ O Ħ Ħ   Ħ#Ħ @Ħ9"Ħ - Ħ2ĦĦ ĦĦĦ Ħ 2Ħ Ħ
          tqHĦ Ħ£Ħ ÀĦĦ ÏĦĦ 2+ĦĦoĦ$Ħ%)$KĦĦ < Ħ ĦĦ
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          Ħ Ħ|ĦĦàĦĦaĦG¤Ħ4 Ħ1Ħ EĦĦ+Ħ  fĦA Ħ +û~CĦ
          #ĦQĦyĦ!Ħ ĦėĦĦ+P  Ħtq#`Ħ Ħ Ħ @+6ĦĦ®)ĦI¥Ħ p ĦĦĦ
          E ĦĦ Ħ|DĦÖĦ+ĦWCĦCĦ  \QęĦ!Ħ# ĦĦĦ- ;Ħ ĦRĦ
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          4 Ħ9Ħ  Ħ Ħ /C}gĦ=Ħ  }gĦ Ħ5öĦĦĦ   /ĦĦ Ħ
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          Ħ1,  Ħ[ùĦ  ĦxĦ <Ħ"8%KĦ*GĦUĦ É ĦĦ Ċ ĦĎ BĦĦL*('?Ħ
          òĦdbGĦ] ] ĦêĦĦÆĦXý^Ħ'°Ħ*5 ĦY^.>Ħð/ ĦĦĦĦ Ai#   Ħ
          .Ħ < ĦN ĦĦ¦%%KĦ*1 Ħ6"Ħ ÇĦL*,'?Ħ ĦĦMĦ Ħ Ħ*ĦĦ ©Ħ -Ħ
          XjĦ¼ĦÄ Ħ-Þ ĢĥĦ?,')'7_37%3"Ħ 4 ĦLY('?Ħ ĦS Ħ] ĦĦ!ĦĦ*Ħ
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          c;F ºĦ 9 #ĦĦ»,$²Ħ0 Ħ I&Ħ 4@Ħ  ĦĦ    Ħw  Ħ= ĦçĦ
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          (ē,z(!(B  ,! "Ħ m  ehĦĦĦNĦĦĦì= ĦĦñĦ ÑĦ5
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          Ħä5ĦĦÍU

          4 ĦØ1Pf ĦĦ  f Ħ ĦĦ ZĦ Ħ#!Ħ=Ħ ĦĦĦu Ħ Ā2ĦĦ Ħ
          ¾9:Ħ Ħ. ĦĦ!Ħ IĦĦ\.3ĦÐĦ Ħ Ħ0ĦĦ ĦĦ# Ħ/=Ħ ĕĦ ĉ"Ħ :Ħ
          X`I!ĦĦ%)$$Ħ ĦĦ Ħ%´%ĦÔĦ;ďĦPĦ Ħ783ĦĦ Ħ ÛĦĦĦ[øĦĦ
          MĦ ģ_JĦ L ĦQĦQ Ħ¿Wl>ĦnÓ! ĦĦĦ=Ħ$³Ħ DĦĦ0Ħ Ħ/ĦëĦ
          TĦ hĦ7ås3Ħ7K±Ħ 3Ħ ĦĦ0/ĦĦĦ/.&Ħ -Ħ
            G_¸ «&ß& #b, õ   ć((Ę§ 8)ĦĦ' ô ¡ ¢#& U,%)$'¬  ×B,%Ħ
          )" :>Ħ Ħ$µĦ ĦT Ħ!ĦvĦ Ħ  ĦĦ Ħ{FĦ  Ħ Ħ!Ħ ĦE
          2.&Ħ 7:J3"Ħ :ĦĦĦ Ħ ĦHDĦ Ħ ĦÌĦO N  ĦéaĦa+Ħ 
            ĦĦ Ħ.Ħ DăĦ"Ħ ÅĦĦ ĦrĦR(6>Ħ2ÙčĦ
          Ħ  ĦA Ħ 1~"

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          »`{§§%ä/âwäÚ§Öbä]dä\dÊÂdªäËJäÈ{dä`Ød¾ä¨§`Ýä§fäsedägªdäã§d»ä 8iä¾{dä>¾J¾eä»»Â»ä
          §äb»Wwäªd»©§¢»_eäaÙbÖD»ääyÖäteeäã§e»ä¾~eä¾{eä»¾GÃeä{D»äOäNJÆÙeä
          §]xE¾§ä¾§ä¨ª§ÙbdäpªäVebäwÖL­a»äqªäwÖäteeäã§e»!ä C§Öä»©Ýä`P§¾ä{DÙeä¾ä\§¾{ä
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                   (&7!#75 2+5&.&0! 7#"! ;#) 2&32!7 "2#' &" ;#) 6!(+7!
                    G9)" 6!(+7!   #'0 )+ 0&0 "2#" (#." 5!#' "2#"
                   "2! > $#; (#&$!0 #'0 &' (#." ;+9'0 91 ;&"2 5+7!
                   2+5&.&0!) "2#' "2!7! ;#) 6!(+7! "2! $#; #'0 &( 4+9
                   $++A #" "2! 0#"# (+7 #$$ "2!  4+9 (&'0 "2#"
                   &'0!!0 (&7!#75 2+5&.&0! 7#"!) #7! 91 !*!74;2!7!
                   #'0 )+ "2#" ;+9$0 5!#' "2#" ;! '!!0 "+ $++A #" ;2#"
                   ;+9$0 2#*! 2#11!'!0 &' #74$#'0 .+'"7+$$&'3 (+7 "2!
                    (#." "2#" (&7!#75 2+5&.&0! 7#"!) #7! 91 !*!74;2!7!
                         >      '0 0&0 4+9 #""!51" "+ 0+ "2#"D
                              !)      0&0
                        >      '0 4+9 0&0 "2#" "27+932 "2! )4'"2!"&.
                  (&7!#75 2+5&.&0! 7#"!) "2#" 4+9 .#5! 91 (+7 (+7
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                    .+51#7!0 "2! (&7!#75  +' 1#3!  &' "2! )!.+'0
                  1#7#37#12        G9)" .+51#7!0 "2! 1!7.!'" .2#'3! &'
                  "2! 2+5&.&0! 7#"! #("!7   (+7 #74$#'0 #'0 (+7
                   )"#"!) "2#" 0&0 '+" 2#*! 1!75&" "+ 197.2#)! $#;)
                   #'0 (+9'0 "2#" "2! 37+;"2 7#"! (+7 #74$#'0 ;#)
                  #6+9" ";&.! #) 2&32 #) "2+)! )"#"!)
                        >      '0 0&0 4+9 &0!'"&(4 "2! )"#"!) &' 4+97


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                                              JA1749
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                   7!1+7" "2#" 4+9 .+')&0!7!0 "+ 6! '+'1!75&" )"#"!)D
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                   &" (+7 # $+'3 "&5! &( 4+9 $++A  &( 4+9 $++A +'
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                   )& )!*!' !&32"  +'! ";+ "27!! (+97 (&*!
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                  .+51#7! #74$#'0 "+ "2+)! )"#"!) 69" '!*!7"2!$!))
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                   #A+"# C!75+'" #'0 ,4+5&'3 ;2&.2 2#*! 5&))&'3
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                   2+5&.&0! 7#"!) &' 976#' #7!#) ;2!7! "2!7! 2#*! 6!!'
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                   #("!7     3#*! 54 1#1!7 2! 3#*! 2&)
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                  &" (+7 4+9
                               ,!$$ ;2#" 2#11!') &' "2!)! .+'(!7!'.!)
                   &) "2#"      3&*! # 1#1!7 #'0 "2!' )+5!6+04 .+55!'")
                  +' "2#" 1#1!7        2#"E) ;2#"         5!#'" 64 7!(!7!!&'3
                  )+ 2! .+55!'"!0 +' 54 1#1!7              2#"E) 


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                   .!7"&(4 "2#" "2! (+7!3+&'3 "7#').7&1" &) # "79! #'0
                   .+77!." 7!.+70 +( "2! "!)"&5+'4 3&*!'H "2#" )#&0
                   "!)"&5+'4 ;#) "#A!' 64 5! )"!'+37#12&.#$$4 #'0
                   "2!7!#("!7 7!09.!0 "+ "41!;7&"&'3 9'0!7 54
                   0&7!."&+'H "2#" 7!#0&'3 #'0 )&3'&'3 ;#) '+"
                    7!F9!)"!0 #'0 "2#"           #5 '!&"2!7 .+9')!$ (+7 +7
                   7!$#"!0 "+ '+7 !51$+4!0 64 #'4 +( "2! 1#7"&!) "+
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                                              JA1752
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   2?ÿÿ                                                                                      EXHIBIT 4
                                                       JA1753
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           3456789 9ÿ9ÿ99ÿ8ÿ0ÿ47 58ÿ8ÿ885ÿ38549ÿ                           01ÿ
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            94ÿ4ÿ$1&ÿÿ968ÿ8ÿ47 8ÿ9ÿ67 8ÿ568ÿ4"ÿ45ÿ
           598ÿ9ÿ/0ÿ4758ÿ8ÿ'47 8ÿ568ÿ8"8ÿ4ÿ549 49ÿ ÿ57944 ÿ
            5ÿ49ÿ4ÿÿÿ"54ÿ"4ÿ#48958ÿ$8 .ÿ8549475ÿ#9 8.ÿ"87ÿ
           59.ÿ6ÿ9ÿ544ÿ68&ÿ/7 8ÿ568ÿ8ÿ8ÿ748ÿ4ÿ8ÿ88ÿ46ÿ
           88"ÿ ÿ4#89789ÿ9ÿ8ÿ8 ÿ87ÿ8ÿ8 7 8ÿ9ÿ4ÿ4"ÿ885.ÿ9ÿ
             ÿ4#89789ÿ4""5 ÿ59ÿ8ÿ68ÿ189ÿ8ÿ858#8ÿ8 7 5ÿ4"ÿ4#89789ÿ
            9ÿ6ÿ9ÿ4""5 ÿ848.ÿ5549ÿ4ÿ4.ÿ4758ÿ8ÿ9588ÿ065ÿ45ÿ
           84ÿ9568ÿ8ÿ8ÿ778 8ÿ8589ÿ8ÿ%7859ÿ8#4649ÿ9ÿ8ÿ2#ÿ
           1 ÿ+4ÿ4ÿ$1&ÿ9ÿ3 ÿ4588ÿ$011,&ÿ#8ÿ 68ÿ8ÿ8ÿ9ÿ4758ÿ
           69ÿ8ÿ016ÿ9ÿ017ÿ4ÿ8ÿ8599ÿ8 7 5ÿ4"ÿ/0ÿ4 5ÿ9 649ÿ
           88ÿ458ÿ8ÿ8ÿ"49ÿ98ÿ4"ÿ4#89789ÿ9ÿ#9 8ÿ69ÿ547769 8ÿ
           5449ÿ4ÿ$1&.ÿ8ÿ67 8ÿ568ÿ4"ÿ#48958ÿ9ÿ88ÿ547769 8ÿÿ5ÿ4"ÿ
           549"8958ÿ9ÿ8ÿ458ÿ189ÿ8ÿ458ÿ8ÿ58ÿ4ÿ849ÿ4ÿÿ578.ÿ8ÿ#8ÿÿ
            8ÿ5898ÿ8ÿ4ÿ94ÿÿÿ88ÿ4ÿ94ÿ"44ÿ6ÿ ÿ# 446ÿ9ÿ446ÿ
            9#8 49.ÿ8#89ÿ4"ÿ8ÿ74ÿ846ÿ578ÿ$484#ÿ0&ÿ88ÿÿ994589ÿ46ÿ
           %9.ÿ44ÿ4"89.ÿ8ÿ68ÿ"458ÿ699858ÿ9ÿ9579 8ÿ1 ÿ7 8ÿÿ94ÿ8ÿ
           "56ÿ5565ÿ4"ÿ88ÿ88"ÿ9ÿ8#8ÿ9 9589ÿ ÿ7 8ÿÿ ÿ8ÿ59ÿ
           78  :8ÿ94ÿÿ4946958ÿ(8 ÿ5957.*ÿ885 ÿ9ÿ#9 8ÿ%"59)
           %7859ÿ547769 8ÿ$0749ÿ9ÿ+ 65ÿ011,&ÿ189ÿ848ÿ88#8ÿ8ÿ
           45868ÿ4"ÿ"47 ÿ45 ÿ5494ÿ8ÿ69;6.ÿ8ÿ8ÿ8ÿ8ÿ4ÿ48ÿ8ÿÿ$88ÿ
           6&ÿ
           !"ÿÿ5478ÿ4"ÿ("889ÿ9ÿ88".*ÿ9ÿ4<ÿ$1&ÿ87.ÿÿ8ÿ67 8ÿ568ÿ4"ÿ
           85 49ÿ9ÿ4758.ÿ8ÿ748ÿ47 8ÿ568ÿ546ÿ8ÿ8ÿ65:8ÿ9589ÿ
           4"ÿ458ÿ68ÿ4"ÿ"458ÿ ÿ887ÿ4ÿ549"7ÿ8ÿ#ÿ4"ÿ8ÿ6989ÿ88"ÿ87ÿ
           45ÿ4"ÿ549"8958ÿ9ÿ8ÿ458ÿ749ÿ%"59)%7859ÿ8 8ÿ8ÿ8589ÿ458ÿ
           9ÿ9ÿ58649.ÿ28#89.ÿ=8ÿ>4ÿ9ÿ8888ÿ+6ÿÿÿ8ÿ4ÿ8ÿ5# 8ÿ
           ÿ65ÿ9589.ÿ9"479ÿ49 99ÿ89ÿ8#958ÿ94ÿ9ÿ568ÿ8 7 5ÿ
           5ÿ!"ÿ ÿ8ÿ4ÿ8ÿ0ÿ4758ÿ9588.ÿ8ÿ46ÿ885ÿÿ8ÿ"46ÿ875ÿ
           549 49ÿ4ÿ4ÿ$0&ÿ8ÿ9588ÿ46ÿ8ÿ5495898ÿ9ÿ5 8ÿ ÿ8ÿ%"59)
           %7859ÿ46 49.ÿ$&ÿ8ÿ79ÿ4"ÿ8ÿ9588ÿ46ÿ54849ÿ548ÿ4ÿ
           5494#8 ÿ9589ÿ4"ÿ458ÿ68ÿ4"ÿ"458ÿ 9ÿ%"59)%7859.ÿ$-&ÿ549"8958ÿ
            9ÿ8ÿ458ÿ46ÿ8ÿ6 9 ÿ48ÿ749ÿ%"59)%7859ÿ9ÿ48ÿ46ÿ
            9ÿ$?&ÿ8ÿ4758ÿ9588ÿ46ÿ8ÿ8 8ÿ749ÿ%"59)%7859ÿ9ÿ48ÿ
             46ÿ
           88ÿ# 8ÿ8#8958ÿ64ÿ8ÿ"ÿ4ÿ885 49ÿ18ÿ#8ÿ889ÿ ÿ0ÿ5 8ÿ
            ÿ8 #8ÿ8ÿ%"59)%7859ÿ46 49ÿ554698ÿ"4ÿ4)ÿ4"ÿ8ÿ
                                               JA1755
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           3456789 9ÿ9ÿ99ÿ8ÿ01ÿ47 58ÿ8ÿ885ÿ38549ÿ                                       01ÿ
                                     5ÿ4758ÿ9588ÿ9ÿ01ÿ88ÿ8ÿÿ9ÿ 68ÿ
                                    !"#ÿ68$ÿ8ÿ4758ÿ9588ÿ45568ÿ9ÿ8ÿ778 8ÿ
                                     %87 ÿ4%ÿ5494&8 ÿ458ÿ684%%458ÿ9589#ÿ8ÿ
                                      79ÿ4%ÿ8ÿ9588ÿ4&8ÿ498ÿ64ÿ%4ÿ8ÿ
                                      8649ÿ8%%85ÿ89 49$ÿ9ÿ88ÿ4%ÿÿ&849$ÿ9ÿ
                                    %4ÿ89 49ÿ 69ÿ8ÿ4758ÿ8ÿ4ÿ899ÿ
                                    6ÿ7 '8ÿ4ÿ8599ÿ749789#ÿ(88ÿ48ÿ
                                    59ÿ8ÿ55469ÿ%4ÿ8ÿ88ÿ698ÿ4%ÿ8ÿ9588ÿ9ÿ
                                    01ÿ4$ÿ9ÿ8ÿ58ÿ4%ÿ8ÿ6ÿ7 '8ÿ89 49$ÿ%4ÿ)ÿ
                                    4758ÿ8ÿÿ94ÿ8 9ÿ4ÿ8ÿ8&8ÿ8ÿ88#ÿ*ÿ
                                     8ÿ78ÿ78$ÿ8858ÿ76ÿ8ÿ489ÿ4ÿ8ÿ4ÿ
                                      ÿ8ÿ4758ÿ9588ÿ8 8ÿ8ÿ8649ÿ8&89$ÿÿ
                                    8ÿ9ÿ478ÿ5 8ÿ489%8ÿ01"#ÿ
                                    88ÿÿ78ÿ8&8958ÿ9ÿ64ÿ4%ÿ8ÿÿ885 49ÿ
                                    8 9ÿ*%59*7859+ÿ5'ÿ4%ÿ549%8958ÿ9ÿ8ÿ
                                    458#ÿ*ÿ4)9ÿ9ÿ 68ÿ,$ÿ-6ÿ!.ÿ8589ÿ4%ÿ5'ÿ
                                    5478ÿ) ÿ/ÿ8589ÿ4%ÿ)8ÿ888ÿ0ÿ8 ÿ81ÿ
                                    4ÿ0268ÿÿ41ÿ4%ÿ549%8958ÿ9ÿ8ÿ5ÿ458ÿ9ÿ3 6ÿ6&8ÿ
                                    549658ÿ8)889ÿ01ÿ9ÿ014# 8ÿ68ÿ5 ÿ ÿ
                                     9ÿ 68ÿ4) ÿ8ÿ458ÿÿ94ÿ8ÿ86ÿ4%ÿ8649ÿ4ÿ
                                    48ÿ8589ÿ8&89#ÿ4ÿ878$ÿ9ÿ//.$ÿ51ÿ8589ÿ4%ÿ
                                    5'ÿ5478ÿ) ÿ!1ÿ8589ÿ4%ÿ)8ÿ9)88ÿ081ÿ
                                    )89ÿ'8ÿ9ÿ3 6ÿ6&8ÿ)88ÿ8ÿ458ÿ8 ÿ
                                    5'ÿ8ÿ%ÿ9ÿ)8$ÿÿ4)9ÿ9ÿ 68ÿ/ÿ88ÿ
                                     8ÿ0"#ÿ8ÿ5 ÿ%%88958ÿ9ÿ8498ÿ4ÿÿ87ÿ
                                     9588ÿ4&8ÿ8ÿ98ÿ1ÿ8#ÿ79889$ÿ8ÿ5 ÿ ÿ
           ÿ94ÿ598ÿ85 ÿ8)889ÿ011.ÿ9ÿ01$ÿ8ÿ8ÿ%8ÿ8ÿ8649ÿ9589ÿ
            9ÿ48ÿ5494&8 ÿ848ÿ4%ÿ458ÿ68ÿ4%ÿ8ÿ%458ÿ 9ÿ*%59*7859#ÿ
             9$ÿ8ÿ%%88958ÿ8)889ÿ5'ÿ9ÿ)8ÿ9ÿ 68ÿ4) ÿ8ÿ458ÿ889ÿ4ÿ
            8ÿ-658ÿ87ÿÿÿ)48$ÿÿ4)9ÿ9ÿ 68ÿ1ÿ88ÿ 8ÿ00"#ÿ6ÿ)4ÿ4%ÿ
           5'ÿ84989ÿ9ÿ-6ÿÿ268ÿ4%ÿ)8ÿ4ÿ3 6ÿ9ÿ01!ÿ8ÿ88&8ÿ8ÿ-658ÿ
           87ÿÿ 8ÿ 9ÿ5'#ÿ*%8ÿ8649ÿ9ÿ01$ÿ8ÿ8589 8ÿ4%ÿ5'ÿ)4ÿ
           88&8ÿ8ÿ-658ÿ87ÿÿ 8ÿ9588ÿ4ÿ.4ÿ8589$ÿ46ÿ8ÿ5478ÿ
            9588ÿ749ÿ)8ÿ) ÿ8$ÿ9ÿ4ÿ40ÿ8589#ÿ




           5ÿ   4ÿ4658ÿ ÿ%4ÿ 68ÿ,1$ÿ88ÿ 88)))# 6#547848.1,,8 68&8)5') 8
                 684) 458##ÿ
                                                       JA1756
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           3456789 9ÿ9ÿ99ÿ8ÿ01ÿ47 58ÿ8ÿ885ÿ38549ÿ              01ÿ
                                                              88ÿÿ 8ÿ6849ÿ ÿ
                                                              5ÿ9ÿ8ÿ 8ÿ
                                                               8 !ÿ9ÿ8ÿ549 8958ÿ
                                                               9ÿ8ÿ458"ÿ88ÿ ÿ8ÿ
                                                              458ÿ8 ÿ5ÿ8ÿ
                                                                 !ÿ9ÿ8"ÿ9ÿ
                                                              88ÿ ÿ8ÿ#658ÿ
                                                              !87ÿÿ5 !ÿ 8$ÿ
                                                              8ÿ5 ÿ ÿ9ÿ 68ÿ
                                                               4 ÿ8ÿ458ÿÿ94ÿÿ
                                                              8589ÿ8%84789$ÿ
                                                              8949ÿ8889ÿ8ÿ458ÿ
                                                               9ÿ8ÿ5ÿ547769!ÿ
                                                                88ÿ8ÿ69ÿ5%ÿ
                                                              48ÿ4ÿ8ÿ1&'ÿ
                                                              (84ÿ4ÿ8ÿ) 49ÿ
                                                              *47749ÿ49ÿ*%ÿ
                                                              348ÿ1&'+,$ÿ-5ÿ4ÿ
                                                              549 8958ÿ9ÿ8ÿ458ÿ
                                                              8889ÿÿ7489ÿ
                                                              88%4ÿ4ÿ54989ÿ
                                                               749ÿ.59/.7859ÿ
                                                                ÿÿ98ÿ!ÿ8%!ÿ
                                                              6508ÿ848ÿ4ÿ
                                                              458ÿ68ÿ4ÿ458ÿ1ÿ8ÿ
           67 8ÿ9ÿ47 8ÿ568"ÿ885%8!"ÿ4ÿ8ÿ85 49ÿ4ÿ%48958$ÿÿ
           !48ÿ8 9ÿ8ÿ8589ÿ4758ÿ8ÿ78ÿ548ÿ569!ÿ!ÿ8858"ÿ49ÿ
            ÿ8ÿ89 %8ÿ%849ÿ4ÿ8ÿ28649ÿ8 85ÿ ÿ 68ÿ8ÿ4758ÿ9588ÿ4ÿ
           8/459$ÿ29!"ÿÿ8ÿ8 7 5!ÿ5ÿ89 49ÿÿ5485"ÿ8ÿ46ÿ48%8ÿ
           8ÿ9588ÿ9ÿ4758ÿ749ÿ.59/.7859ÿ9ÿ8ÿ4ÿ48ÿ46$ÿ
           268"ÿ8ÿ9588ÿ46ÿ8ÿ5495898ÿ9ÿ8ÿ%9 8ÿ5ÿ547769 8ÿ4ÿ
           8ÿ5 8ÿ88ÿ8 ÿ5!957ÿÿ74ÿ4946958ÿ(3749ÿ9ÿ4 65ÿ1&&+,$ÿ
           5ÿÿ8ÿ88ÿ4ÿ875!ÿ8%6 8ÿ8ÿ8/459ÿ!48ÿ9ÿ8ÿ8 7 5!ÿ
           5ÿ89 49ÿ4ÿ8ÿ01ÿ4758ÿ9588$ÿ5ÿ8/459ÿ ÿ8ÿ48 %8ÿ
           78597"ÿ8ÿ46ÿ48%8ÿ8ÿ4ÿ9ÿ8ÿ9ÿ48ÿ8/9 8ÿ458ÿ
            5% 8ÿ9ÿ5 8ÿ ÿ888958ÿ8ÿ8 8ÿ4758ÿ9588$ÿ8ÿ8ÿ ÿ8ÿ
           8!ÿ% 8ÿ47ÿ8ÿ6*"ÿ4ÿÿ8ÿ89ÿ8ÿ01ÿ6*ÿ ÿ8ÿ888ÿ9ÿ8ÿ
             ÿ4ÿ01'$ÿ3 ÿ49ÿ889ÿ9ÿ 5ÿ4"ÿ69ÿ585"ÿ9ÿ48ÿ8/9 8ÿ
           458ÿ5%!ÿÿ%8ÿ4ÿ8ÿ4 98ÿ47ÿ45ÿ458ÿ8789$ÿ5ÿ46ÿ8ÿ948"ÿ
           48%8"ÿ ÿ8ÿ8/459ÿ!48ÿ8648ÿÿ%8!ÿ8ÿ8 85ÿ4ÿ459ÿ49ÿ
           578"ÿ8ÿ8946ÿ4ÿ89ÿ4758ÿ9588ÿ47ÿ8/459ÿ4ÿÿ8589ÿ4ÿ748ÿ
            9ÿ478ÿ5 8$ÿ 85ÿ08ÿ4ÿ ÿ7 968ÿÿ6ÿ48ÿ8%88ÿ9ÿ885ÿ49ÿ8ÿ
           74ÿ8 85%8ÿ459ÿ8 8ÿ4ÿ8%89ÿ578ÿ(4 "ÿ754"ÿ9ÿ686ÿ
           018,$ÿ
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           234567898ÿ8ÿ88ÿ97ÿ0ÿ36 4 7ÿ7ÿ774ÿ274938ÿ                   00ÿ
                                                        798ÿ97ÿ397ÿ99ÿÿ347ÿ
                                                        7 96 4ÿ4ÿ457ÿ97ÿ364 7ÿ
                                                         8477ÿÿ7ÿ637ÿ459ÿ7ÿ35ÿ
                                                        764ÿ7749938ÿ457ÿ3!7ÿ
                                                         7ÿ8747ÿ59ÿ839ÿ54789ÿ
                                                        438 938ÿ93ÿ57ÿ359ÿ397ÿ78938ÿ
                                                        7ÿ"7ÿ#57938ÿ99ÿ659ÿ7ÿ877ÿ
                                                        438478ÿ97ÿ67486ÿ99ÿ9897ÿ
                                                        4366589ÿ4389789ÿ9ÿ97ÿ347ÿ
                                                         893ÿ7498ÿ7!7ÿ3ÿ!37847ÿ$7ÿ
                                                        997ÿÿ"838ÿ359ÿ9ÿ397%7ÿ
                                                        7938ÿ237ÿ 77 ÿ4389789ÿ
                                                        7 ÿ3787ÿ93ÿ77!7ÿ97ÿ48ÿ43669ÿ
                                                        467ÿ9ÿ6589&ÿ9ÿ776ÿ93ÿ7ÿ
                                                        9ÿ97ÿ'9ÿ(35ÿ347ÿ47ÿ6789ÿ
                                                        78ÿ7ÿ ÿ468ÿ7467ÿ
                                                        )76377*ÿÿ97ÿ+7538ÿ7!789ÿ,ÿ
                                                        4366589ÿ4389789ÿ9ÿ97ÿ347ÿ
                                                        797ÿ3ÿ3ÿ)93ÿ8948*ÿ
                                                        46 8&ÿ!78ÿ637ÿ4ÿ
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                                                        - ÿ97ÿ364 7ÿ8477ÿ577ÿ
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                                     EXHIBIT 4




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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


       MARYLAND SHALL ISSUE, INC., et                 )
                  al.,                                )
                                                      )
                            Plaintiffs,               )
                                                      ) Case No. 16-cv-3311-MJG
                            v.                        )
                                                      )
      LAWRENCE HOGAN, in his capacity                 )
      of GOVERNOR OF MARYLAND, et                     )
      al.,                                            )

                           Defendants.


                 PLAINTIFFS’ AMENDED RULE 26(a)(1)(A) DISCLOSURES

            COME NOW the Plaintiffs Maryland Shall Issue, Inc., Atlantic Guns, Inc.,

      Deborah Kay Miller, and Susan Brancato Vizas, (“Plaintiffs”), and provide required

      amended    initial    disclosures   pursuant    to   Federal   Rule   of   Civil   Procedure

      26(a)(1)(A)(“Amended Initial Disclosures”):

            In accordance with Federal Rule of Civil Procedure 26(a)(1)(E), Plaintiffs are

      making their Amended Initial Disclosures based on information reasonably available to

      them at this time. These Amended Initial Disclosures reflect only the current state of

      Plaintiffs’ knowledge, understanding, and belief regarding these subjects. Plaintiffs and

      counsel have not completed their investigation into the facts of this case. By making

      these Amended Initial Disclosures, Plaintiffs do not represent that they are identifying

      every document, tangible thing, or witness possibly relevant to this action. Plaintiffs’

      Amended Initial Disclosures represent a good faith effort to identify their claims or

                                                     JA1761
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      defenses pursuant to Federal Rule of Civil Procedure 26(a)(1). Further discovery and

      developments in the case may dictate the need to identify additional persons with

      discoverable information, relevant documents, and tangible objects that Plaintiffs may

      use to support their claims or defenses.     In accordance with Federal Rule of Civil

      Procedure 26(e)(1)(A), Plaintiffs reserve the right to supplement their Amended Initial

      Disclosures if and when they identify additional persons, documents, and tangible objects

      that may be used to support their claims and defenses.

            These Amended Initial Disclosures are made solely for the purpose of this action.

      These Amended Initial Disclosures are made subject to all objections as to competence,

      materiality, relevance, or other objection as to admissibility that may apply in the event

      that any such response, or the information it contains, is sought to be used in court.

      Plaintiffs expressly reserve all such objections. Pursuant to Federal Rule of Civil

      Procedure 26(b), Plaintiffs object to disclosure or production of documents and materials

      generated during the course of this litigation that constitute protected attorney work

      product or that contain privileged attorney-client communications, or confidential

      personal or proprietary information. These Amended Initial Disclosures are not a waiver

      of any protected attorney work product, privileged attorney-client communications, or

      confidential personal or proprietary information relating to the witnesses or documents

      described.

            Plaintiffs have attempted to identify all persons, documents, and other materials

      within their knowledge, possession, custody, or control that may be used to support their



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      claims or defenses in this case. Counsel will provide copies of any identified document

      upon request.

             Rule 26(a)(1)(A)(i). The name and, if known, the address and telephone number

      of each individual likely to have discoverable information—along with the subjects of

      that information—that the disclosing party may use to support its claims or defenses,

      unless the use would be solely for impeachment.

             Response: Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(i), Plaintiffs

      identify the following individuals who may have discoverable information with respect to

      Plaintiffs’ claims or defenses:

             1.       Plaintiff Maryland Shall Issue, Inc. (“MSI”), for itself and its members

                      1332 Cape St. Claire Road, Unit 342
                      Annapolis, MD 21409
                      (410) 849-9197
                      Contact through undersigned counsel
                      Subjects of discoverable information include but are not limited to: (1) the

                      membership of MSI, which includes individuals who do not possess an

                      HQL, desire to possess a handgun, and who are subject to the HQL

                      requirements; (2) individual members of MSI who, due to the expense and

                      inconvenience of the HQL requirements, have been deterred from

                      purchasing a handgun; (3) individual members of MSI who have an urgent

                      need for a handgun, but who, due to the expense and inconvenience of the

                      HQL requirements, have been deterred from purchasing a handgun; (4)

                      individual members of MSI who hunt for food and are in need of a

                      handgun, but who, due to the expense and inconvenience of the HQL

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                                                   JA1763
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               requirements, have been deterred from purchasing a handgun; (5)

               individual members of MSI who live in an urban area with no access to

               Maryland State Police (“MSP”) certified handgun trainers and/or a shooting

               range and are in need of handgun, but who, due to the expense and

               inconvenience of the HQL live-fire requirement, have been deterred from

               purchasing a handgun; (6) individual members of MSI who live in an area

               with no access to MSP approved fingerprint vendors and are in need of a

               handgun, but who, due to the expense and inconvenience of the HQL live-

               scan fingerprinting requirements, have been deterred from purchasing a

               handgun.

         2.    Plaintiff Atlantic Guns, Inc.

               944 Bonifant Street
               Silver Spring, MD 20910
               (301) 585-4448
               Contact through undersigned counsel

               Subjects of discoverable information include but are not limited to: (1)

               Atlantic Guns’ ownership and good standing of a business lawfully and

               responsibly selling firearms throughout the state as a federally-licensed

               firearms dealer and Maryland Regulated Firearms Dealer; (2) Atlantic

               Guns’ loss of business due to the burdensome requirements of the HQL,

               which has deterred potential customers from purchasing handguns at

               Atlantic Guns; (3) individual potential customers of Atlantic Guns who are




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                                                     JA1764
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               in need of a handgun, but who, due to the expense and inconvenience of the

               HQL requirements, have been deterred from purchasing a handgun.

         3.    Plaintiff Deborah Kay Miller

               297 Aston Forest Lane
               Crownsville, MD 21032-1605
               Contact through undersigned counsel

               Subjects of discoverable information include but are not limited to: (1) Ms.

               Miller’s need for a handgun due to her employment as a Department of

               Defense federal contractor and victim of a data breach which sacrificed the

               security of her detailed personal information; (2) Ms. Miller’s intent to

               purchase a handgun for self-defense in the home, target practice, and other

               lawful purposes; (3) Ms. Miller’s inability to fulfill the burdensome

               requirements of the HQL due to her inability to take time off from work;

               (4) Ms. Miller’s inability to fulfill the unnecessary four-hour training

               requirement of the HQL due to health issues resulting from multiple

               surgeries; (5) Ms. Miller being deterred from purchasing a handgun for the

               aforementioned reasons; (6) Ms. Miller’s confusion as to “receive” and

               “receipt” pursuant to the HQL statutory language.

         4.    Plaintiff Susan Brancato Vizas

               8002 Bull Rush Court
               Frederick, MD 21701-1508
               Contact through undersigned counsel

               Subjects of discoverable information include but are not limited to: (1) Ms.

               Vizas’ successful fulfillment of Hunter Safety Training; (2) Ms. Vizas’
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                                                  JA1765
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               intent to purchase a handgun for self-defense in the home, target practice,

               and other lawful purposes; (3) Ms. Vizas being deterred from purchasing a

               handgun due to the expense and inconvenience of the additional HQL

               requirements.

          5.   John Matthew Clark

               1240 Arnold Road
               Westminster, MD 21157
               Contact through undersigned counsel

               Deterred by the cost of the HQL itself, training, the cost of 3rd party

               fingerprinting, and the hassle of finding an “approved” fingerprint service

               provider. Mr. Clark works as a computer/web server technician and is 47

               years old. He would have to take a day off work and use vacation time to

               have fingerprinting done. Mr. Clark reported that his county sheriff refuses

               to cooperate with HQL applicants.

          6.   Dana Hoffman

               7051 Carroll Avenue, Apt. 915
               Takoma Park, MD 2091?
               Contact through undersigned counsel

               Deterred by the HQL requirements, especially the live fire and training

               requirements. Ms. Hoffman is 74 years old and is confined to a wheelchair.

               She has a medical condition that makes it impossible for her to obtain

               training, including the MSP live fire requirement. Ms. Hoffman does not

               own any guns but wishes to purchase a handgun for self-defense in her

               home.

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                                                   JA1766
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           7.   Scott Miller

                1004 Murdoch Court
                Crofton, MD 21114
                Contact through undersigned counsel

                Deterred by the cost and time requirement. Mr. Miller is a 27-year-old

                Emergency Medical Technician. Mr. Miller’s ambulance was recently

                caught in a firefight in D.C., and was hit by 7 bullet rounds. Although he

                could not carry while on the job, Mr. Miller still wants to protect himself.

                Mr. Miller currently does not own any handguns or have any permit, as his

                lifelong residency in Maryland has effectively discourages any such

                acquisitions.

          8.    Any person identified in Defendants’ Rule 26 Disclosure Statements.

          9.    Any person necessary to authenticate documents.

          10.   Any person identified in any deposition, answer to interrogatory, response

                to non-party production, request for production, or other document

                produced in this case.

          11.   Defendant William M. Pallozzi, in his capacity of Superintendent, MSP

                1201 Reisterstown Road
                Pikesville, MD 21208
                (410) 486-3101

                Subjects of discoverable information include but are not limited to: (1) the

                operations of MSP in developing regulations and requirements to enforce

                Md. Code Ann., Public Safety, § 5-117.1, and all persons involved in those

                operations; (2) the deterrent effect of the HQL on handgun transfers in

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                                                   JA1767
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                    Maryland; (3) the requests of citizens to be relieved of some or all of the

                    excess cost and burden of the HQL requirements; (4) the timeline for

                    processing and approving the HQL application; (5) the locations and

                    availability of vendors necessary to fulfill the HQL requirements; (6) the

                    MSP use of fingerprints submitted pursuant to the HQL application; (7) the

                    requests of citizens or citizen-members groups to define and/or clarify

                    “receive” or “receipt.”

              12.   Any person or persons involved in the MSP decision to establish the HQL

                    application fee at $50.

              13.   Any person or persons involved in the MSP decision to establish the HQL

                    application “live fire” requirement.

              14.   Any person with current licensing authority for the HQL.

              Rule 26(a)(1)(A)(ii). A copy—or a description by category and location—of all

      documents, electronically stored information, and tangible things that the disclosing party

      has in its possession, custody, or control and may use to support its claims or defenses,

      unless the use would be solely for impeachment.

              Response: Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(ii), Plaintiffs

      identify the following documents, electronically stored information, and tangible things

      that Plaintiffs have in their possession, custody or control that may be used to support

      their claims or defenses:

         1.    Md. Code Ann., Public Safety, § 5-117.1.

         2.    Legislative History of Md. Code Ann., Public Safety, § 5-117.1.

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        3.     Legislative History of Maryland Senate Bill 281.

        4.     2013 Laws of Maryland Chapter 427.

        5.     General Assembly of Maryland, 2013 Regular Session Proceedings – House

               Audio, April 2, 2013, Session 2, at 19:05 (April 2, 2013) available at

               http://mgaleg.maryland.gov/webmga/frmlegislation.aspx?id=2013rs_house_audi

               o&stab=02&pid=legisnlist&tab=subject3&ys=2013rs

        6.     MD COMAR ADC 29.03.01.01, et seq.

        7.     MSP Standard Operating Procedure Index # 29-1403.

        8.     Md. Code Ann., Public Safety, § 5-118.

        9.     Md. Code Ann., Public Safety, § 5-122.

        10. Md. Code Ann., Public Safety, § 5-123.

        11. Md. Code Ann., Public Safety, § 5-124.

        12. Md. Code Ann., Public Safety § 5-144.

        13. Md. Code Ann., State Government, § 10-125(d).

        14. Md. Code Ann., State Government, § 10-222(h)(3)(vii).

        15. Maryland Constitution Art. V, § 7.

        16. 2013 MD REG TEXT 338193 (NS) (Dec. 13, 2013).

        17. Maryland Attorney General J. Joseph Curran, A Farewell to Arms The Solution

               to Gun Violence in America (Oct. 20, 1999) available at

               http://rkba.org/research/curran/guns.pdf

        18. MSP Handgun Qualification License FAQ (last accessed Sept. 25, 2017)

               available at

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             http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/Lice

             nsingDivision/FAQs.aspx.

        19. Maryland State Police, Fingerprinting (last accessed Sept. 25, 2017) available at

             http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/Lice

             nsingDivision/Fingerprinting.aspx.

        20. NSSF Report 2017 Edition, Firearms Retailer Survey Report: Trend Data 2008-

             2016.

        21. NSSF Report, More Guns - Fewer Crimes: Favorable Trends.

        22. NSSF Report, Sport Shooting Participation in the United States in 2016.

        23. FBI Uniform Crime Reports for Maryland.

        24. March 1, 2013 Prepared Testimony of Mark W. Pennak In Opposition to HB

             294.

        25. February 21, 2017 Written Testimony of Mark Pennak, President of MSI, before

             the Maryland Handgun Permit Review Board.

        26. March 14, 2017 Written Testimony of Mark Pennak, President of MSI, in

             support of HB 875.

        27. March 14, 2017 Written Testimony of Mark Pennak, President of MSI, in

             support of HB 905.

        28. NRA’s Basics of Pistol Shooting: Instructor Led Training. Lesson Plans &

             Shooting Qualifications.

        29. NRA’s Defensive Pistol Module: Course Outline & Lesson Plans.

        30. Mark Pennak’s NRA Instructor Certification & 2018 HQL certificate.

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        31. Deborah K. Miller’s 2013 1040 form, 2013 502/ 502B forms, 2014 1040 form,

             2014 502/ 502B forms, 2015 1040 form, 2015 502 form, 2016 1040 form, 2016

             502 form.

        32. Deborah K. Miller’s 2010 W-2 form, 2010 W-2 and Earnings Summary,

             December 2017 Leave and Earnings Statement, April 2017 Leave and Earnings

             Statement, March 2012 Leave and Earnings Statement.

        33. Deborah K. Miller’s Quitclaim deed for road abandonment for a trail in Herald

             Harbor, 2001 deed for six lots in Herald Harbor on the Severn, affidavit that they

             will reside at the property in Crownsville, State of MD Land Instrument Intake

             Sheet for deed and deed of trust.

        34. Deborah K. Miller’s MD Certificates of Title for automobiles.

        35. Deborah K. Miller’s itemized bill from Ortho and Sports Medicine Center,

             doctor’s note from Orthopaedics & Spine Care, MVA Parking placard/ license

             plates for individuals with a disability application.

        36. Susan B. Vizas’s PNC Bank Performance checking statements for January,

             February, March, May, June, July, August, September, October, November, and

             December 2016 as well as January, February, March, April, May, June, July,

             August, September, October, November 2017.

        37. Susan B. Vizas’s SAFE Federal Credit Union statements from every month in

             2016 and January-November 2017.

        38. Susan B. Vizas’s 2016 1040 form, 2015 1040 form, 2014 1040 form, and 2013

             1040 form.

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        39. Susan B. Vizas’s Notary certified, signed document confirming they are first-

             time Maryland home buyers purchasing property.

        40. Susan B. Vizas’s MD Certificates of Title for automobiles.

        41. Susan B. Vizas’s Edward Jones Portfolio Summary for January, February,

             March, May, June, August, October, November, and December 2016 as well as

             January, February, March, April, May, June, July, August, September, October,

             and November 2017.

        42. Colonel Thomas E. Hutchins, Maryland State Police Superintendent, Crime in

             Maryland: 2004 Uniform Crime Report.

        43. Colonel Thomas E. Hutchins, Maryland State Police Superintendent, Crime in

             Maryland: 2005 Uniform Crime Report.

        44. Colonel Thomas E. Hutchins, Maryland State Police Superintendent, Crime in

             Maryland: 2006 Uniform Crime Report.

        45. Colonel Terrence B. Sheridan, Maryland State Police Superintendent, Crime in

             Maryland: 2007 Uniform Crime Report.

        46. Colonel Terrence B. Sheridan, Maryland State Police Superintendent, Crime in

             Maryland: 2008 Uniform Crime Report.

        47. Colonel Terrence B. Sheridan, Maryland State Police Superintendent, Crime in

             Maryland: 2009 Uniform Crime Report.

        48. Colonel Terrence B. Sheridan, Maryland State Police Superintendent, Crime in

             Maryland: 2010 Uniform Crime Report.



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        49. Colonel Marcus L. Brown, Maryland State Police Superintendent, Crime in

             Maryland: 2011 Uniform Crime Report.

        50. Colonel Marcus L. Brown, Maryland State Police Superintendent, Crime in

             Maryland: 2012 Uniform Crime Report.

        51. Colonel Marcus L. Brown, Maryland State Police Superintendent, Crime in

             Maryland: 2013 Uniform Crime Report.

        52. Colonel William M. Pallozzi, Maryland State Police Superintendent, Crime in

             Maryland: 2014 Uniform Crime Report.

        53. Colonel William M. Pallozzi, Maryland State Police Superintendent, Crime in

             Maryland: 2015 Uniform Crime Report.

        54. Colonel William M. Pallozzi, Maryland State Police Superintendent, Crime in

             Maryland: 2016 Uniform Crime Report.

        55. Colonel William M. Pallozzi, Maryland State Police Superintendent, Crime in

             Maryland: 2017 Uniform Crime Report.

        56. Justin Fenton, ‘Over the top,’ witness says: Bail bondsman tells of getting bags

             of   stolen   drugs   from   Sgt.    Jenkins,   The   Baltimore   Sun    (2018),

             http://digitaledition.baltimoresun.com/infinity/article_share.aspx?guid=cf98cdcb

             -7216-4a98-9565-a4c99d4037d1 (last accessed Feb. 6, 2018).

        57. Maryland Automated Firearms Services System (MAFSS) Yearly Count of

             Firearm Transfers by Gun Type (Case 1:13-cv-02841-CCB, Document 62-5,

             Filed 04/11/14).



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        58. Daniel W. Webster, ScD, MPH, Shani A.L. Buggs, MPH, and Cassandra K.

            Crifasi, PhD, MPH, Estimating the Effects of Law Enforcement and Public

            Health Interventions Intended to Reduce Gun Violence in Baltimore (January 11,

            2018) available at https://www.jhsph.edu/research/centers-and-institutes/johns-

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        59. Cassandra K. Crifasi, Molly Merrill-Francis, Daniel W Webster, Garen J

            Wintemute, Jon S. Vernick, Changes in the legal environment and enforcement

            of firearm transfer laws in Pennsylvania and Maryland. Injury Prevention.

            Published Online First: January 13, 2018.

        60. SFS Training, Flyer on Firearms Training Requirement.

        61. Letter from Sgt. James J. Kozlowski, Handgun Permit Unit Supervisor, to

            enclose new guidelines for the Firearm’s Qualification for the H.Q.L. and

            Handgun Wear/Carry Permit, as well as the revised Qualification Form which

            should be utilized effective October 1, 2013 (September 16, 2013).

        62. Frederick Chapter of the Izaak Walton League of America, Information on 2016

            Courses.

        63. Maryland State Police Licensing Division Weekly Reports dated September 29,

            2017 through November 2, 2017.

        64. Maryland State Police Advisory LD-HQL-17-003, Interpretation of “Receive”

            in PS §5-117.1 (November 17, 2017).



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        65. Maryland Shooters Blog, Number of active W&C/HQL as of August 2017

            (September 19, 2017).

        66. U.S. Gov’t Accountability Off., GAO-01-427, Firearms Purchased from

            Federal Firearm Licensees Using Bogus Identification (March 2001).

        67. Atlantic Guns e-mail communications with customers regarding the HQL.

        68. Maryland State Police Advisory LD-HQL-Advisory-16-001, Maryland Licensed

            Firearms Dealers – Removal of Handgun Qualification License (HQL) Card

            Photo (June 21, 2016).

        69. Maryland State Police Advisory LD-HQL-17-004, Alternative Ammunition for

            Handgun Qualification License (HQL) Live Fire Training Component

            (November 17, 2017).

        70. Atlantic Guns’ Handgun Qualification License (HQL) Information Sheet.

        71. Atlantic Guns’ website printouts reflecting the make and model and price of

            handguns in Plaintiff’s inventory (last accessed Feb. 6, 2018).

        72. Alison Knezevich, Baltimore County residents concerned over rise in violent

            crime, The Baltimore Sun (March 19, 2018), available at

            http://www.baltimoresun.com/news/maryland/crime/bs-md-co-county-crime-

            20180315-story.html (last accessed March 22, 2018).

        73. Atlantic Guns Handgun Sales Gross Revenue and Number of Handguns Sold By

            Year.

        74. 77R handgun training video used prior to the HQL implementation to satisfy the

            then-existent training requirement.

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        75. Maryland Automated Firearms Services System (MAFSS), Yearly Count of

            Handgun Transfers by Atlantic Guns, Inc., 2000 through 2017.

        76. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

            Explosives, Office of Strategic Intelligence and Information, Maryland Firearms

            Tracing System Data Report for January 1, 2017 – December 31, 2017

        77. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

            Explosives, Office of Strategic Intelligence and Information, Maryland Firearms

            Tracing System Data Report for January 1, 2016 – December 31, 2016, available

            at https://www.atf.gov/firearms/docs/undefined/2016tracestatsmarylandpdf/

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        78. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

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        79. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

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            Tracing System Data Report for January 1, 2014 – December 31, 2014, available

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        80. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

            Explosives, Office of Strategic Intelligence and Information, Maryland Firearms

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             mdatfwebsite13pdf/download.

        81. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

             Explosives, Office of Strategic Intelligence and Information, United States

             Federal Firearms Licensee Thefts/Losses Firearms Tracing System Data Report

             for January 1, 2017 – December 31, 2017, available at

             https://www.atf.gov/resource-center/docs/report/theftdatausa2017pdf/download.

        82. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

             Explosives, Office of Strategic Intelligence and Information, United States

             Federal Firearms Licensee Thefts/Losses Firearms Tracing System Data Report

             for January 1, 2016 – December 31, 2016, available at

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             lossescy16pdf/download.

        83. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

             Explosives, Office of Strategic Intelligence and Information, United States

             Federal Firearms Licensee Thefts/Losses Firearms Tracing System Data Report

             for January 1, 2015 – December 31, 2015, available at

             https://www.atf.gov/firearms/docs/report/2015-summary-firearms-reported-lost-

             and-stolen/download.

        84. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

             Explosives, Office of Strategic Intelligence and Information, United States

             Federal Firearms Licensee Thefts/Losses Firearms Tracing System Data Report

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             for January 1, 2014 – December 31, 2014, available at

             https://www.atf.gov/resource-center/docs/2014-summary-firearms-reported-lost-

             and-stolenpdf/download.

        85. U.S. Department of Justice Bureau of Alcohol, Tobacco, Firearms, and

             Explosives, Office of Strategic Intelligence and Information, United States

             Federal Firearms Licensee Thefts/Losses Firearms Tracing System Data Report

             for January 1, 2013 – December 31, 2013, available at

             https://www.atf.gov/resource-center/docs/2013summary-

             firearmsreportedlostandstolenpdf/download.

        86. Maryland Coordination and Analysis Center Data, Homicides per Month per

             Jurisdiction by Type of Weapon for the period of October 1, 2012 through

             December 31, 2017.

        87. Maryland Coordination and Analysis Center Data, Non-Fatal Shootings per

             Month per Jurisdiction for the period of October 1, 2012 through December 31,

             2017.

        88. 2A Maryland, Maryland Homicides by Month and Modality for the period of

             October 1, 2012 through December 31, 2017.

        89. 2A Maryland, Maryland Homicides & Shootings: Total Homicides, Firearm

             Homicides & Non-Fatal Shootings for the period of October 1, 2012 through

             December 31, 2017.

        90. 2A Maryland, Maryland Homicides, Average Temperatures, Precipitation by

             Month for the period of October 1, 2012 through December 31, 2017.

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        91. 2A Maryland, Homicides in Maryland by Jurisdiction for the period of October

             1, 2012 through September 30, 2017.

        92. FBI NICS Data Related to Handgun Background Checks for 2006 through 2017.

        93. Declaration of Delaine Brady submitted in Kolbe v. O’Malley (Case 1:13-cv-

             02841-CCB, Document 44-10, Filed 02/14/14) and any attachments thereto.

        94. Declaration of Delaine Brady submitted in Kolbe v. O’Malley (Case 1:13-cv-

             02841-CCB, Document 62-5, Filed 04/11/14) and any attachments thereto.

        95. United States of America v. Police Department of Baltimore City, et. al. (Case

             1:17-cv-00099-JKB, Document 2-2, Filed 01/12/17), Consent Decree, available

             at https://www.justice.gov/opa/file/925056/download

        96. Maryland State Police Licensing Division Firearms Services Section, 2015

             Maryland Firearms Dealer Seminar PowerPoint, available at

             http://mdsp.maryland.gov/Organization/Licensing%20Division%20Documents/

             Dealer%20Seminar%202015%20Final.pdf

        97. Maryland State Police Licensing Division Firearms Services Section, 2014

             Maryland Firearms Dealer Seminar PowerPoint, available at

             http://mdsp.maryland.gov/Organization/Licensing%20Division%20Documents/

             Dealer_Presentation_CW2.pdf

        98. Maryland State Police Licensing Division Firearms Registration Section, 2013

             Maryland Firearms Dealer Seminar PowerPoint, available at

             http://mdsp.maryland.gov/Organization/Licensing%20Division%20Documents/

             DealerPPT.pdf

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         99. Plaintiffs’ Expert Reports and references therein.

         100. Defendants’ Expert Reports and references therein.

         101. All documents exchanged during discovery.

         102. All documents referenced in discovery responses.

         103. All documents used as exhibits in any deposition in this case.

             Rule 26(a)(1)(A)(iii). A computation of each category of damages claimed by the

      disclosing party—who must also make available for inspection and copying as under

      Rule 34 the documents or other evidentiary material, unless privileged or protected from

      disclosure, on which each computation is based, including materials bearing on the nature

      and extent of injuries suffered.

             Response: Plaintiffs have not asserted a claim for damages in this action, but

      reserve the right to supplement their response and reserve the right to seek and recover

      damages equal to the costs incurred in pursuing this action, including attorney’s fees

      under 42 U.S.C. § 1988(b).

             Rule 26(a)(1)(A)(iv). For inspection and copying as under Rule 34, any insurance

      agreement under which an insurance business may be liable to satisfy all or part of a

      possible judgment in the action or to indemnify or reimburse for payments made to

      satisfy the judgment.

             Response: Not applicable.




                                          Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 13th day of April, 2018, a copy of the foregoing

      Rule 26(a)(1)(A) Amended Disclosures of Plaintiffs was sent via electronic mail to:


                                        Jennifer S. Katz
                                        Robert A. Scott
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                                        Maryland Office of the Attorney General
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                                        /s/ John Parker Sweeney____
                                        John Parker Sweeney (Bar No. 08761)




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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

                                                          *
      MARYLAND SHALL ISSUE, INC., et al.                  *
                                                          *
                        v.                                *           Civil Case No. ELH-16-3311
                                                          *
      LAWRENCE HOGAN, Jr. et al.                          *
                                                          *
                                                      *********

                                          MEMORANDUM OPINION

             This litigation involves a challenge to the constitutionality of Maryland’s handgun

      licensing requirement, embodied in Maryland’s Firearm Safety Act of 2013 (the “FSA” or the

      “Act”), Md. Code (2018 Repl. Vol.), § 5-117.1 of the Public Safety Article (“P.S.”). Plaintiffs

      Maryland Shall Issue, Inc. (“MSI”); Atlantic Guns, Inc. (“Atlantic Guns”); Deborah Kay Miller;

      and Susan Vizas have filed suit against defendant Lawrence Hogan, Jr., in his capacity as Governor

      of Maryland, and defendant William M. Pallozzi, in his capacity as Secretary and Superintendent

      of the Maryland State Police. The suit concerns the provision of the FSA that requires a

      prospective handgun buyer to obtain a Handgun Qualification License (“HQL”) as a condition for

      purchasing a handgun.        See P.S. § 5-117.1; ECF 1 (“Complaint”); ECF 14 (“First Amended

      Complaint”). 1 In plaintiffs’ view, the HQL requirement violates their rights under the Second

      Amendment to the Constitution.

             Cross-motions for summary judgment are pending. See ECF 125; ECF 135. But, this

      Memorandum Opinion addresses only the parties’ respective motions to strike certain opinions of

      the opposing side’s witnesses. ECF 133 (Plaintiffs’ Motion); ECF 145 (Defendants’ Motion). The

      declarations of the relevant witnesses are attached as exhibits to the motions for summary



             1
                 I shall refer to the defendants collectively as the “State.”

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       judgment. See ECF 125-11; ECF 125-12; ECF 125-14; ECF 125-15; ECF 135-3; ECF 135-24;

       ECF 135-25.

               Plaintiffs have moved to strike the opinions of defendants’ three expert witnesses under

       Rule 702 of the Federal Rules of Evidence (“F.R.E.”): Daniel Webster; Captain James P. Russell

       of the Maryland State Police (“MSP”); and James Johnson, former Chief of the Baltimore County

       Police Department (“BCPD”). ECF 133. Defendants oppose Plaintiffs’ Motion. ECF 142. And,

       plaintiffs have replied. ECF 152.

               Defendants have moved to exclude part of the testimony of plaintiffs’ two expert witnesses,

       also under Rule 702. They are Gary Kleck, Ph.D. and Carlisle Moody, Ph.D. In addition, under

       F.R.E. 701, they seek to exclude the opinion testimony of a lay witness, MSI President Mark

       Pennak. ECF 145. The motion is supported by a memorandum. ECF 145-1 (collectively, the

       “Defendants’ Motion”). Plaintiffs oppose Defendants’ Motion (ECF 151), and defendants have

       replied. ECF 155.

               No hearing is necessary to resolve the pending motions. See Local Rule 105(6). For the

       reasons that follow, I shall grant the Defendants’ Motion in part and deny it in part, and I shall

       deny Plaintiffs’ Motion. 2

                                                     I.        The FSA

               In 2013, the Maryland General Assembly enacted the FSA. In relevant part, the FSA

       provides: “A dealer or any other person may not sell, rent, or transfer a handgun to a purchaser,

       lessee, or transferee unless the purchaser, lessee, or transferee presents to the dealer or other person




               2
                   I incorporate the facts set forth in my Memorandum Opinion of March 31, 2019. ECF
       98.
                                                           2

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       a valid handgun qualification license issued to the purchaser, lessee, or transferee by the Secretary

       [of the Maryland State Police.]” P.S. § 5-117.1(b).

               To obtain an HQL, a person must satisfy a handful of conditions. Of relevance here, an

       applicant must “complete a minimum of 4 hours of firearms safety training within the prior three

       years” and, “based on an investigation,” the individual may not be “prohibited by federal or State

       law from purchasing or possessing a handgun.” Id. § 5-117.1(d). The safety training, which is

       undertaken at the applicant’s expense, must cover classroom instruction on “State firearm law[,]

       home firearm safety[,] and handgun mechanisms and operation,” along with a live-fire “firearms

       orientation component that demonstrates the person’s safe operation and handling of a firearm.”

       Id. § 5-117.1(d)(3). In addition, an applicant must complete a written application and pay a non-

       refundable application fee in an amount not to exceed $50. Id. § 5-117.1(g). Moreover, the

       application must include “a complete set of the applicant’s legible fingerprints taken in a format

       approved by” the Maryland Department of Public Safety and Correctional Services (“DPSCS”).

       Id. § 5-117.1(f)(3)(i).

               Once the HQL application is received, the Secretary shall apply to the Criminal Justice

       Information System Central Repository of the DPSCS and “for a State and national criminal

       history records check for each applicant[.]” Id. § 5-117.1(f)(2). The Secretary “shall issue” a

       decision to the applicant “[w]ithin 30 days after receiving a properly completed application.” Id.

       § 5-117.1(h)(1).

                                                II.     Legal Standard

                                                        A.

               The parties have styled their motions as motions “to strike” opinion testimony. See ECF

       133; ECF 145.       Pursuant to F.R.E. Rule 104(a), the court is responsible for determining



                                                        3

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       “preliminary questions concerning the qualification of a person to be a witness” and “the

       admissibility of evidence.” This includes the admissibility of expert testimony under Rule 702 of

       the Federal Rules of Evidence (“F.R.E.”) and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579,

       597 (1993).

              In Daubert, the Supreme Court made clear that scientific evidence is admissible under

       F.R.E. 702 if “it rests on a reliable foundation and is relevant.” Thereafter, in Kumho Tire Co.,

       Ltd. v. Carmichael, 526 U.S. 137, 141 (1999), the Supreme Court extended the principles

       pertaining to scientific expert testimony to all expert testimony requiring technical or specialized

       knowledge.

              F.R.E. 702 governs expert testimony. It provides:

              A witness who is qualified as an expert by knowledge, skill, experience, training,
              or education may testify in the form of an opinion or otherwise if:

                      (a) the expert’s scientific, technical, or other specialized knowledge will
                      help the trier of fact to understand the evidence or to determine a fact in
                      issue;
                      (b) the testimony is based on sufficient facts or data;
                      (c) the testimony is the product of reliable principles and methods; and
                      (d) the expert has reliably applied the principles and methods to the facts of
                      the case.

              Pursuant to Rule 702, a properly qualified expert witness may testify regarding technical,

       scientific, or other specialized knowledge in a given field if the testimony would assist the trier of

       fact in understanding the evidence or to determine a fact in issue, and the testimony is both reliable

       and relevant. See United States v. Smith, 919 F.3d 825, 835 (4th Cir. 2019); United States v. Young,

       916 F.3d 368, 379 (4th Cir. 2019). The rule “was intended to liberalize the introduction of relevant

       expert evidence.” Westberry v. Gislaved Gummi AB, 178 F. 3d 257, 261 (4th Cir. 1999).

              To be admissible, “‘the proffered expert opinion must be based on scientific, technical, or

       other specialized knowledge and not on belief or speculation . . . .” United States v. Landersman,


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       886 F.3d 393, 412 (4th Cir. 2018) (citation omitted). And, the party seeking to present expert

       testimony has the burden to establish its admissibility by a preponderance of the evidence. See

       Cady v. Ride-Away Handicap Equipment Corp., 702 Fed. App’x 120, 124 (4th Cir. 2017) (citing

       Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001)); Maryland Casualty Co. v.

       Therm-O-Disc., Inc., 137 F.3d 780, 783 (4th Cir. 1998); Fireman’s Fund Ins. Co. v. Tecumseh

       Prods. Co., 767 F. Supp. 2d 549, 553 (D. Md. 2011); Casey v. Geek Squad ® Subsidiary Best Buy

       Stores, L.P., 823 F. Supp. 2d 334, 340 (D. Md. 2011).

              The trial court serves a “gatekeeping role” by making pretrial determinations “of whether

       the reasoning or methodology underlying the testimony is scientifically valid and of whether that

       reasoning or methodology properly can be applied to the facts in issue.” Daubert, 509 U.S. at

       592–93. This gatekeeper role helps to ensure that the expert’s testimony “rests on a reliable

       foundation and is relevant to the task at hand.” Id. at 597; see Landersman, 886 F.3d at 412; Lord

       & Taylor, LLC v. White Flint, L.P., 849 F.3d 567, 577 (4th Cir. 2017).

              However, the Supreme Court did not intend the gatekeeper role to “supplant the adversary

       system or the role of the jury: ‘[v]igorous cross-examination, presentation of contrary evidence,

       and careful instruction on the burden of proof are the traditional and appropriate means of attacking

       shaky but admissible evidence.’” Allison v. McGhan Medical Corp., 184 F.3d 1300, 1311–12

       (11th Cir. 1999) (quoting Daubert, 509 U.S. at 596); see United States v. Moreland, 437 F. 3d 424,

       431 (4th Cir. 2006) (recognizing that “expert testimony is subject to testing by vigorous cross-

       examination, presentation of contrary evidence, and careful instruction on the burden of proof”).

       Because the district court “is not intended to serve as a replacement for the adversary

       system . . . the rejection of expert testimony is the exception rather then the rule.” In re Lipitor




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       (Atorvastatin Calcium) Mktg., Sales Practices & Production Liab. Litig. (No. II), 892 F.3d 624,

       631 (4th Cir. 2018) (citation and quotation marks omitted).

               As noted, to be admissible, scientific evidence must be both reliable and relevant. Daubert,

       509 U.S. at 597. To be reliable, the testimony must be grounded “in the methods and procedures

       of science,” and it must be something more than subjective belief or unsupported assumptions. Id.

       at 589–90; see Belville v. Ford Motor Co., 919 F.3d 224, 232 (4th Cir. 2019); Oglesby v. Gen.

       Motors Corp., 190 F.3d 244, 250 (4th Cir. 1999). An expert’s testimony is relevant if it has “‘a

       valid scientific connection to the pertinent inquiry.’” Belville, 919 F.3d at 232 (citation omitted).

       Put another way, the evidence or testimony is relevant if it will “assist the trier of fact to understand

       the evidence or to determine a fact in issue.” Daubert 509 U.S. at 591; see also In re Lipitor, 892

       F.3d at 631; United States v. Wolf, 860 F.3d 175, 194 (4th Cir. 2017); Nease v. Ford Motor Co.,

       848 F.3d 219, 229 (4th Cir. 2017); United States v. Forrest, 429 F.3d 73, 80–81 (4th Cir. 2005).

               Helpfulness to the trier of fact is “the ‘touchstone’” under Rule 702. Kopf v. Skyrm, 993

       F.2d 374, 377 (4th Cir. 1993) (citation omitted). And, “‘[d]oubt regarding whether an expert’s

       testimony will be useful should generally be resolved in favor of admissibility.’” Mack v.

       Amerisource Bergen Drug Corp., 671 F. Supp. 2d 706, 709 (D. Md. 2009) (citation omitted). In

       effect, a tie goes to the proponent of the expert evidence.

               With regard to an expert’s qualifications, the Advisory Committee’s notes to Rule 702

       provide that experience alone, or in conjunction with “other knowledge, skill, training or

       education,” can provide sufficient foundation for expert testimony. See Kumho Tire Co., 526 U.S.

       at 156 (stating that “no one denies that an expert might draw a conclusion from a set of observations

       based on extensive and specialized experience”). On the other hand, an expert witness may not

       offer an opinion where the subject matter goes beyond the witness’s area of expertise. See Berry



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       v. City of Detroit, 25 F.3d 1342, 1351 (6th Cir. 1994); see also Smith v. Central Admixture Pharm.

       Servs., Inc., AW–07–3196, 2010 WL 1137507, at *3 (D. Md. Mar. 19, 2010) (“It is well

       established that ‘general expertise is not sufficient to qualify [an expert] to testify on a matter that

       requires particularized knowledge, training, education, or experience.’” (quoting Fitzgerald v.

       Smith & Nephew Richards, Inc., JFM-95-3870, 1999 WL 1489199, at *3 (D. Md. Dec. 30, 1999),

       aff'd sub nom. Fitzgerald v. Smith & Nephew, Inc., 11 F. App’x 335 (4th Cir. 2001)).

               Daubert articulated five non-exhaustive factors that the trial court should consider in

       evaluating the reliability of an expert’s reasoning or methodology: (1) whether the particular

       scientific theory has been or can be tested; (2) whether the theory has been subjected to peer review

       and publication; (3) the known or potential rate of error; (4) whether there are standards controlling

       the method; and (5) whether the technique has gained general acceptance in the relevant scientific

       community. Daubert, 509 U.S. at 593–94; see also United States ex rel. Lutz v. Mallory, 988 F.3d

       730, 741 (4th Cir. 2021); Belville, 919 F.3d at 233; United States v. Crisp, 324 F.3d 261, 265–66

       (4th Cir. 2003).

               Notably, the factors are “‘not exhaustive.’” Belville, 919 F.3d at 233 (citation omitted).

       Moreover, the evaluation “is always a flexible one . . . .” Oglesby, 190 F.3d at 250. As a whole,

       the factors are meant to ensure that “an expert, whether basing his testimony upon professional

       studies or personal experience, employs in the courtroom the same level of intellectual rigor that

       characterizes the practice of an expert in the relevant field.” Kumho Tire Co., 526 U.S. at 152.

       Thus, the factors are meant to be “helpful, not definitive,” and not all factors necessarily apply in

       a given case. Id. at 151; see Nease, 848 F.3d at 229. Indeed, the Supreme Court has said that the

       factors are not a “checklist.” Kumho Tire Co., 526 U.S. at 150.




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              The trial court “should meticulously focus on the expert’s principles and methodology, and

       not on the conclusions that they generate.” McDowell v. Brown, 392 F.3d 1283, 1298 (11th Cir.

       2004); see Bresler v. Wilmington Trust Co., 855 F.3d 178, 195 (4th Cir. 2017). But, expert

       testimony need not be “‘irrefutable or certainly correct’” in order to be admissible. Moreland, 437

       F. 3d at 431 (citation omitted); see Daubert, 509 U.S. at 596; Bresler, 855 F.3d at 195; Westberry,

       178 F.3d at 261. Therefore, “‘questions regarding the factual underpinnings of the [expert

       witness’s] opinion affect the weight and credibility’ of the witness’ assessment, ‘not its

       admissibility.” Bresler, 855 F.3d at 195 (citation omitted).

              On the other hand, a court should exclude testimony based on “belief or speculation,”

       Oglesby, 190 F.3d at 250, or when not supported by the record. See Bryte ex rel. Bryte v. Am.

       Household, Inc., 429 F.3d 469, 477 (4th Cir. 2005); Tyger Const. Co. v. Pensacola Const. Co., 29

       F.3d 137, 142 (4th Cir. 1994); Casey, 823 F. Supp. 2d at 340. Moreover, “nothing in either

       Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence that

       is connected to existing data only by the ipse dixit of the expert.” Gen. Elec. Co. v. Joiner, 522

       U.S. 136, 146 (1997). Similarly, a court may exercise its “discretion to find that there is ‘simply

       too great an analytical gap between the data and the opinion proffered.’” Pugh v. Louisville

       Ladder, Inc., 361 F. App’x 448, 454 n.4 (4th Cir. 2010) (quoting Joiner, 522 U.S. at 146).

              Further, proposed testimony that concerns matters within the common knowledge and

       experience of a lay juror does not pass muster. United States v. Dorsey, 45 F.3d 809, 814 (4th Cir.

       1995); Kopf, 993 F.2d at 377. “While the fit between an expert’s specialized knowledge and

       experience and the issues before the court need not be exact . . . an expert’s opinion is helpful to

       the trier of fact, and therefore relevant under Rule 702, ‘only to the extent the expert draws on

       some special skill, knowledge or experience to formulate that opinion.’” Shreve v. Sears, Roebuck



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       & Co., 166 F. Supp. 2d 378, 392–393 (D. Md. 2001) (quoting Ancho v. Pentek Corp., 157 F.3d

       512, 518 (7th Cir. 1998)).

              In contrast to the common law, F.R.E. 704(a) permits expert testimony that “embraces an

       ultimate issue to be decided by the trier of fact.” United States v. Campbell, 963 F.3d 309, 313

       (4th Cir. 2020), cert. denied sub nom. Washington v. United States, ___ U.S. ___, 141 S. Ct. 927

       (2020); see United States v. McIver, 470 F.3d 550, 561 (4th Cir. 2006); United States v. Barile,

       286 F.3d 749, 759 (4th Cir. 2002). As the Campbell Court observed, the decision whether to

       permit such testimony turns on an analysis of Rule 702. Campbell, 963 F.3d at 314.

              In any event, under Rule 702 the party who seeks admission of evidence is not relieved of

       the burden of meeting the requirements of other applicable federal rules. This includes Rule 401,

       concerning relevance, and Rule 403’s instruction that evidence may be excluded for undue

       prejudice, confusion of the issues, or a potential to mislead the jury. Casey, 823 F. Supp. 2d at

       341; see Westberry, 178 F.3d at 261 (“[G]iven the potential persuasiveness of expert testimony,

       proffered evidence that has a greater potential to mislead than to enlighten should be excluded.”).

                                                        B.

              Rule 701 of the F.R.E. governs lay witness testimony. It provides:

                      If a witness is not testifying as an expert, testimony in the form of an opinion
                      is limited to one that is:
                      (a) rationally based on the witness’s perception;
                      (b) helpful to clearly understanding the witness’s testimony or to
                      determining a fact in issue; and
                      (c) not based on scientific, technical, or other specialized knowledge within
                      the scope of Rule 702

       Thus, in accordance with Rule 701, a lay witness may offer an opinion only if it is “rationally

       based on [his] perception.” United States v. Smith, 962 F.3d 755, 766 (4th Cir. 2020) (internal




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       quotations omitted), reh'g denied (July 14, 2020), cert. denied, ___ U.S. ___, 141 S. Ct. 930

       (2020).

                 Rule 701 was amended in 2000, adding subsection (c), in order “to prohibit the

       inappropriate admission of expert opinion under Rule 701.” United States v. Perkins, 470 F.3d

       150, 155 n.8 (4th Cir. 2006) (quoting United States v. Garcia, 291 F. 3d 127, 139 n.8 (2d Cir.

       2002)) (internal quotations omitted). This amendment “ensures that a party will not evade the

       expert witness disclosure requirements set forth in Fed. R. Civ. P. 26 and Fed. R. Cim. P. 16 by

       simply calling an expert witness in the guise of a layperson.” Fed. R. Evid. 701 advisory committee

       note to 2000 amendment. Put differently, “Rule 701 forbids the admission of expert testimony

       dressed in lay witness clothing.” United States v. Johnson, 617 F.3d 286, 293 (4th Cir. 2010)

       (quoting Perkins, 470 F.3d at 156). Thus, for a witness to provide an opinion that is “based on

       scientific, technical, or other specialized knowledge[,]” the witness must be presented as an expert

       pursuant to Rule 702. Smith, 962 F.3d at 766.


                                               III.    Plaintiffs’ Motion

                        A. Law Enforcement Officers James Johnson and James Russell

                 Plaintiffs have moved to exclude paragraphs 7-15 and 17-18 of Johnson’s Declaration

       (ECF 125-14) and paragraphs 13 and 17-25 of Russell’s Declaration (ECF 125-13). ECF 133 at 4.

       In the paragraphs at issue, Johnson opines on the value of firearm safety training and identification

       requirements in relation to public safety. ECF 125-14, ¶¶ 7-15, 17-18. And, Russell discusses the

       public benefits of firearm safety training, such as reducing accidental discharges, promoting

       responsible gun storage, reducing firearm access by criminals, and encouraging responsible gun

       ownership. ECF 125-13, ¶¶ 13, 17-25.




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              Plaintiffs argue that these opinions are “not based on sufficient data and are therefore

       inadmissible under Federal Rule of Evidence 702(b).” Id. Although plaintiffs concede that Johnson

       has “‘an extensive amount of knowledge of local and national gun law,’” they argue that “his

       deposition testimony revealed numerous gaps in relevant knowledge and a dearth of statistical or

       empirical evidence in support of his positions.” Id. As to Russell, plaintiffs assert: “Aside from his

       ‘13 years of being on a live firing range,’ . . . Russell possesses little empirical knowledge to

       support his opinions . . . .” Id. at 7-8 (citing ECF 125-13, ¶ 10).

              The State counters that the “text of Rule 702 ‘expressly contemplates that an expert may

       be qualified on the basis of experience.’” ECF 142 at 2 (citing Fed. R. Evid. 702 advisory

       committee note to 2000 amendment); see Kumho Tire, 526 U.S. at 156 (noting that “no one denies

       that an expert might draw a conclusion from a set of observations based on extensive and

       specialized experience”). It argues: “Chief Johnson and Captain Russell both opined about the

       potential public safety benefits of the Handgun Qualification License (‘HQL’) requirement based

       on their extensive experience as law enforcement officers and their knowledge, training, and

       observations during their law enforcement careers.” ECF 142 at 2-3.

              Plaintiffs rely principally upon Higginbotham v. KCS Int’l, Inc., 85 F. App’x 911 (4th Cir.

       2004), to support their argument. ECF 133 at 4. In Higginbotham, the Fourth Circuit affirmed the

       exclusion of expert testimony regarding the design of a ladder in a products liability case when the

       expert had “no training in metallurgy nor . . . in ladder design.” Higginbotham, 85 F. App’x at 917.

              In contrast, Johnson has thirty-nine years of experience with firearm safety in the context

       of law enforcement. ECF 125-14, ¶ 2. Johnson joined the BCPD in January 1979, and he served

       as its Chief of Police from 2007 until his retirement in 2017. Id. Moreover, Johnson has “conducted

       hundreds of presentations on firearm safety, including trainings on the safe handling, cleaning,



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       unlocking, securing, transporting, storing, and firing of firearms.” Id. ¶ 3. More recently, he

       “provided in-service training on how to reduce accidental discharges and how to properly

       safeguard a service weapon.” Id.

               Similarly, Russell has twenty-one years of experience with law enforcement. ECF 125-13,

       ¶ 2. He joined the MSP in 1997 and has served in several units, including routine patrol, criminal

       investigations, domestic violence, firearms training, recruiting, and field operations. Id. He also

       holds a “certification as a firearms instructor from the Maryland Police Training Commission” and

       previously “provided firearms training to more than 300 trooper candidates” at the MSP Academy.

       Id. ¶¶ 3, 4. After leaving the Academy, he continued to provide firearm training to officers, retired

       officers, and citizens. Id. ¶¶ 6, 8, 9. In 2013, he was “certified to teach the four-hour safety training

       required under Maryland law to obtain a Handgun Qualification License.” Id. ¶ 12.

               Furthermore, despite plaintiffs’ argument that this testimony “is not based on sufficient

       facts or data,” the Daubert factors are explicitly flexible. ECF 133 at 4; Kumho Tire, 526 U.S. at

       150 (“Daubert makes clear that the factors it mentions do not constitute a ‘definitive checklist or

       test.’”) (citation omitted). As discussed, the court has “‘broad discretion’ in choosing which

       Daubert factors to apply and how to consider them.” Belville, 919 F.3d at 233 (quoting Oglesby,

       190 F.3d at 250). And, the Fourth Circuit has upheld the admission of expert experiential testimony

       from members of law enforcement.

               For example, in the context of narcotics cases, the Fourth Circuit has explained that

       “‘experiential expert testimony’ [is] different from scientific testimony and [is] allowable from

       ‘law enforcement officers with extensive drug experience.’” United States v. Campbell, 851 F.

       App’x 370, 373 (4th Cir. 2021) (quoting United States v. Wilson, 484 F.3d 267, 274-75 (4th Cir.

       2007)). In assessing the foundation of such testimony, the Fourth Circuit has said that there are



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       “meaningful differences in how reliability must be examined with respect to expert testimony that

       is primarily experiential in nature as opposed to scientific.” Wilson, 484 F.3d at 274. In Wilson,

       for example, the Court said that an officer could testify as to the meaning of coded words in drug

       trafficking, so long as he could “explain” the basis for his opinion. Id. at 276 (internal quotation

       and citation omitted). In this regard, the Fourth Circuit emphasized the officer’s extensive

       experience in law enforcement. See id. (“[The officer] was a nine-year veteran of the Baltimore

       County Police Department. He spent most of his career investigating narcotics traffickers and had

       participated in hundreds of drug investigations and arrests.”).

               And, in another Maryland case challenging the FSA, Judge Blake admitted the testimony

       of three law enforcement officers, despite the objection that their opinions were “outside the scope

       of [the officers’] expertise.” Kolbe v. O’Malley, 42 F. Supp. 3d 768, 780 (D. Md. 2014), aff'd in

       part, vacated in part, 813 F.3d 160 (4th Cir. 2016), aff’d on reh'g en banc, 849 F.3d 114 (4th Cir.

       2017). Judge Blake noted that the testimony at issue was not about expert ballistics but instead

       “based on [the officers’] personal knowledge and experiences” with shotguns and other assault

       rifles. Kolbe, 42 F. Supp. 3d at 781.

              As indicated, in the paragraphs at issue with respect to Johnson (ECF 125-14, ¶¶ 7-15, 17-

       18), Johnson opines on the value of firearm safety training and identification requirements in

       relation to public safety. See id. In particular, he asserts that certain HQL requirements will help

       reduce access to handguns by criminals, accidental discharges, and straw purchases, while also

       promoting responsible gun ownership, among other things. See id.

              Johnson’s opinions regarding the effectiveness of specific HQL requirements do not rest

       on empirical data or statistics. See ECF 133-2 at 6, 7, 10, 13, Tr. 23, 25, 35, 51. Rather, his opinions

       regarding the value of training and identification checks are predicated on his experience with the



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       BCPD, as well as “hundreds of hours of research into issues related to gun violence, attendance at

       law enforcement meetings and conferences, and hundreds of conversations with other law

       enforcement officers regarding their experience.” ECF 125-14, ¶ 4. Such experiential testimony is

       admissible to the extent it supports the claim that firearm safety training generally promotes public

       safety.

                 The case for the admission of Russell’s testimony is equally clear. In the paragraphs at

       issue (ECF 125-13, ¶¶ 13, 17-25), Russell discusses the public safety benefits of firearm safety

       training, such as reducing accidental discharges, promoting responsible gun storage, reducing

       firearm access by criminals, and encouraging responsible gun ownership. Russell’s comments are

       based upon “thousands of hours over the last 13 years teaching firearms safety training to hundreds

       of police candidates, sworn officers, retired officers, and others.” Id. ¶ 10. Moreover, Russell was

       certified in the “four-hour firearms safety training required under Maryland law to obtain a

       Handgun Qualifying License.” Id. ¶ 12.

                 Russell’s opinions are based on his extensive experience. He has observed the efficacy of

       the training prior to and after the implementation of the HQL and drew conclusions based on this

       comparison. To the extent that Russell opines on the value of firearm safety training, his testimony

       is admissible.

                                            B. Professor Daniel Webster

                 Plaintiffs seek to exclude portions of Webster’s declarations. ECF 133. Webster holds

       several professional positions, as follows: “Professor of Health Policy and Management, Director

       of Health and Public Policy Ph.D. Program, Deputy Director for Research at the Center for the

       Prevention of Youth Violence, and Director of the Johns Hopkins Center for Gun Policy and

       Research at the Johns Hopkins Bloomberg School of Public Health.” ECF 125-11, ¶ 1. Webster’s


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       research focuses primarily on gun-related injuries and violence; he has directed numerous studies

       related to gun violence and its prevention, and he has published over 100 peer-reviewed articles.

       Id. ¶ 4. During the legislative hearings in 2013 concerning the FSA, the Maryland General

       Assembly heard testimony from various public policy and law enforcement experts with regard to

       the HQL, and Webster was one of them. See ECF 125-3.

               In his declarations and expert report, Webster discusses why he believes that laws that

       require citizens to obtain a permit to purchase a firearm, including Maryland’s HQL, promote

       public safety and reduce firearm violence. See ECF 125-11; ECF 125-12. Plaintiffs argue that

       paragraphs 8-20 of Webster’s Declaration (ECF 125-11) and paragraphs 5-8 of Webster’s

       Supplemental Declaration (ECF 125-12) should be excluded because Webster’s opinions do not

       fit the facts of this case. ECF 133 at 8.

               In particular, plaintiffs posit that the “studies relied upon by Professor Webster are factually

       distinguishable, clearly the result of data dredging, and all ignore the actual effect of the HQL

       requirement during the relevant time period in Maryland,” so they “tell us nothing about the

       potential effects of the HQL requirement.” Id. at 12. According to plaintiffs, Webster’s reliance on

       the studies of permit-to-purchase laws in Missouri and Connecticut is misplaced because there are

       “numerous and substantive” differences between the laws of Missouri, Connecticut, and Maryland.

       ECF 152 at 8.

               In response, defendants tout Webster’s qualifications and assert that “plaintiffs simply

       misunderstand the nature of Professor Webster’s testimony.” ECF 142 at 6. According to

       defendants, Webster relied on the studies of permit-to-purchase laws “in other states to opine on

       the effect of such laws generally and what impact Maryland’s similar law might have on reducing

       the negative effects of gun violence.” Id. at 6-7.



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              As noted, the evidence or testimony of an expert witness must be relevant to the extent that

       it will “assist the trier of fact to understand the evidence or to determine a fact in issue.” Daubert,

       509 U.S. at 591; see also In re Lipitor, 892 F.3d at 631; Nease, 848 F.3d at 229; Forrest, 429 F.3d

       at 80–81. And, an expert’s testimony is relevant if it has “‘a valid scientific connection to the

       pertinent inquiry.’” Belville, 919 F.3d at 232 (citation omitted).

              As plaintiffs point out, there are significant differences between the permit laws in

       Connecticut, Missouri, and Maryland. In Missouri, for example, the permit law did not require

       fingerprinting or safety training. And, the law in Connecticut requires an eight-hour training

       course, rather than the four-hour course in Maryland, and Connecticut also requires photo

       identification on its permits to purchase. ECF 133 at 9. Despite the differences between the laws,

       Webster used those studies to predict whether Maryland’s licensing requirements might have an

       impact on reducing gun violence.

              The Court must determine, inter alia, whether Maryland’s decision to enact the HQL law

       was based on substantial evidence. Turner Broad. Sys., Inc. v. FCC, 520 U.S. 180, 195 (1997).

       The General Assembly considered Webster’s testimony in deciding to enact the FSA. The General

       Assembly would have known of the distinctions in the laws of Missouri and Connecticut.

       Moreover, in Heller v. District of Columbia, 45. F. Supp. 3d 35 (D.D.C. 2014), aff’d in part, 801

       F.3d 264 (D.C. Cir. 2015), the court addressed challenges to a firearm registration law with

       requirements similar to Maryland’s HQL law. The Heller Court considered some of the same

       opinions that Webster has offered in this case, including those as to the study of the permit-to-

       purchase law in Missouri. Id. at 52-53. As in Heller, Webster’s analysis here with regard to the

       studies conducted in Connecticut and Missouri does not render his testimony inadmissible.




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              Further, plaintiffs take issue with paragraph 17 of Webster’s Declaration. There, Webster

       discusses a study that he conducted to assess the FSA’s impact on the homicide rate in Maryland.

       ECF 125-11, ¶ 17. Based on that study, Webster concluded that the HQL requirements were

       associated with a 48% reduction in firearm homicide rates in Anne Arundel, Montgomery, and

       Prince Georges’ counties. Id.

              According to plaintiffs, paragraph 17 is inadmissible because it relies on “incorrect data”

       and “fails to demonstrate (or even explicitly state) that the HQL requirement caused” any change

       in the firearm homicide rates in Maryland. ECF 133 at 13-14. As noted, they also assert that the

       data on which Webster relies in his Supplemental Declaration is “flawed” and the product of

       “cherry picking” and “data dredging.” Id. at 10-12.

              In my view, plaintiffs’ arguments pertain to the weight of the witness’s conclusions, not

       admissibility. See Bresler, 855 F.3d at 195 (noting that “‘questions regarding the factual

       underpinnings of the [expert witness’] opinion affect the weight and credibility’ of the witness’

       assessment, ‘not its admissibility’”) (quoting Structural Polymer Grp. v. Zoltek Corp., 543 F.3d

       987, 997 (8th Cir. 2008)) (alteration in Bresler). Indeed, other courts have admitted Webster’s

       expert opinions, similar to those advanced here. See, e.g., Kolbe, 42 F. Supp. 3d at 780; Heller, 45.

       F. Supp. 3d at 41-42.

              Accordingly, I shall deny plaintiffs’ motion to exclude portions of Webster’s declarations.


                                              IV.      Defendants’ Motion

                                                A. Carlisle Moody

              Moody is a professor of economics at the College of William and Mary, where he teaches

       econometrics, mathematical economics, and time series analysis. ECF 135-24, ¶ 2. According to

       Moody, he has “researched guns, crime, and gun policy for almost 20 years and published 12

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       articles related directly to these topics.” Id. For this case, Moody “used four different methods to

       study the FSA’s impact” on Maryland’s firearm homicide rate and concluded that the “FSA has

       had no beneficial impact….” Id. ¶ 4.

              Defendants seek to exclude Moody’s expert opinion (ECF 135-24) in full for failure to

       satisfy the requirements of Rule 702. See ECF 145-1. In particular, the State asserts that Moody’s

       testimony “is not based on sufficient facts or data and is not the product of reliable principles and

       methods” because Moody “failed to account for justifiable homicides, homicides committed with

       long guns, or the effect of the events in 2015 surrounding the death of Freddie Gray in his analysis.”

       Id. at 4. 3 In other words, defendants contend that Moody did not “control for [the] Freddie Gray

       effect” in his analysis. Id. at 5. Thus, defendants posit, his conclusions are unreliable.

              Plaintiffs counter that “it is clear that this effect [of the events in 2015] was accounted for

       in Professor Moody’s methodology.” ECF 151 at 5. Specifically, Moody explained that he relied

       on a Wikipedia page to understand the Freddie Gray phenomenon. ECF 145-3 (Moody Dep.) at

       12. And, he said that he implicitly accounted for the “Freddie Gray” effect when he compared “the

       percent change in the homicide rate after 2014 for Maryland and for states that did not have permit

       to purchase laws.” Id. at 15.

              To be sure, there may be some lacunae in Moody’s reasoning. But, defendants’ challenge

       primarily “amounts to a disagreement with the values” Moody chose to assign to certain variables

       in his research. Bresler, 855 F.3d at 195. As with Webster, “such challenges to the accuracy of

       [Moody’s] calculations ‘affect the weight and credibility’ of [Moody’s] assessment, not its

       admissibility.” Id. at 196 (quoting Zoltek Corp., 543 F.3d at 997); see also Heckman v. Ryder Truck


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               The civic unrest in Baltimore City in late April and May 2015 occurred after the death of
       Freddie Gray, who was injured while in police custody. The unrest occurred some 18 months after
       the HQL requirement went into effect (October 2013).

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       Rental, Inc., CCB-12-664, 2014 WL 3405003 (D. Md. July 9, 2014) (finding that expert’s failure

       to account for certain variables did not make the testimony inadmissible, but should only go to

       weight of the testimony). Accordingly, I decline to strike his testimony.

                                                  B. Gary Kleck

              Plaintiffs also identified Gary Kleck as an expert. ECF 145-2; see ECF 135-25 (Kleck

       Expert Report and Declaration); ECF 135-29 (Kleck Supplemental Declaration). He is a Professor

       of Criminology and Criminal Justice at Florida State University. ECF 135-25 at 11. Kleck’s

       research focuses on the impact of firearms and gun control on violence, and he has authored or co-

       authored a number of books and articles addressing topics in this field. Id. Kleck’s Declaration

       focuses on his view of the flaws in Webster’s studies and conclusions. See generally ECF 135-25.

              The State seeks to exclude Kleck’s testimony in full on the basis that it “is not based on

       peer-reviewed research, has not been widely accepted, and is irrelevant to the issues in this case.”

       ECF 145-1 at 7. In response, plaintiffs emphasize that whether an expert opinion is subject to peer

       review is just one factor to consider when determining whether expert testimony should be

       admitted. ECF 151 at 9. Furthermore, plaintiffs argue: “Professor Kleck’s qualifications more than

       compensate for whatever peer review Defendants claim is lacking.” Id. at 10 (citing Peabody Coal

       Co. v. Dir., Off. of Workers’ Compensation Programs, 201 F.3d 436(Table), 1999 WL 1020530,

       at *4 (4th Cir. 1999) (“Qualifications of expert witnesses can buttress the reliability of their

       opinions.”)).

              With respect to the issue of relevance, defendants assert that the “issue in this case [is]

       whether there is substantial evidence in the record to support the General Assembly’s predictive

       judgment that enacting the HQL law would further public safety.” ECF 145-1 at 8. According to




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       the State, Kleck’s criticism of the methods Webster employs “do not bear on [] the question [at

       hand] . . . .” Id. But, Kleck’s opinions are relevant for the same reason as Webster’s.

              The State next complains that Kleck’s testimony is not based on “peer-reviewed research.”

       ECF 145-1 at 7. For example, the State points out that “Kleck relies primarily on a law review

       article that he co-authored and that appeared in the UCLA Law Review in 2009 for the assertion

       that ATF gun ‘trace data’ is not a reliable indicator of straw gun purchases.” Id. (citing ECF 135-

       25, ¶ 7). When questioned at his deposition regarding the law review article, Kleck stated, ECF

       145-4 at 16: “Law reviews typically don’t have peer review, but on occasion, they do, and it’s

       possible they did in that case. I really don’t remember.”

              Kleck’s testimony is admissible for two primary reasons. First, Kleck references other

       reputable sources, including the Bureau of Alcohol, Tobacco, and Firearms (“ATF”) in support of

       his contentions. See, e.g., ECF 135-25, ¶ 7 (noting that “ATF explicitly cautions potential users of

       their trace data that ‘the firearms selected [for tracing] do not constitute a random sample and

       should not be considered representative of the larger universe of all firearms used by criminals, or

       any subset of that universe.”). Second, the Fourth Circuit has explained: “‘The fact of publication

       (or lack thereof) in a peer reviewed journal will be a relevant, though not dispositive, consideration

       in assessing the scientific validity of a particular technique or methodology on which an opinion

       is premised.’” Nease, 848 F.3d at 229 (4th Cir. 2017) (emphasis added) (citing Daubert, 509 U.S.

       at 594). That Kleck relies on some studies that are not peer reviewed is not dispositive.

              The State also claims that “Professor Kleck’s criticisms of the use of firearm trace data as

       an indicator of straw purchases have been discredited in a peer-reviewed article authored by the

       leading social science experts who study gun violence.” ECF 145-1 at 8 (citing ECF 140-2




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       (Webster Supplemental Declaration), ¶¶ 8-10). However, this does not render Kleck’s opinion on

       trace data inadmissible. Again, this argument goes to weight, not admissibility.

              In sum, under the flexible Daubert factors, I conclude that Kleck’s testimony is based on

       research that he was entitled to consider. Moreover, his testimony is relevant. Accordingly, I shall

       deny the motion to strike Kleck’s expert testimony.

                                                 C. Mark Pennak

              Plaintiffs seek to admit the lay opinions of Mark Pennak concerning the HQL training

       requirements under F.R.E. Rule 701. He is the president of MSI and a qualified handgun instructor.

       ECF 145-1 at 1-4. Defendants seek to exclude several paragraphs from Pennak’s Declaration

       (ECF 135-3).

              The Fourth Circuit has recognized that “‘the line between lay opinion testimony under 701

       and expert testimony under Rule 702 is a fine one.’” United States v. Farrell, 921 F.3d 116, 143

       (4th Cir. 2019) (quoting United States v. Johnson, 617 F.3d 286, 293 (4th Cir. 2010)), cert. denied,

       __ U.S. __, 140 S. Ct. 269 (2019). The “‘guiding principle’ in distinguishing a lay opinion from

       an expert opinion is that lay testimony must ‘be based on personal knowledge.’” Farrell, 921 F.3d

       at 143 (internal citation omitted). In making this determination, the court is “afforded a good deal

       of discretion.” Smith, 962 F.3d at 767.

              Notably, the Advisory Committee Notes to Rule 701 provide that testimony based on “‘the

       particularized knowledge that the witness has by virtue of his or her position in [a] business’” may

       be admissible under Rule 701 because “it is not based on ‘experience, training or specialized

       knowledge within the realm of an expert[.]’” Lord & Taylor, LLC, 849 F.3d at 576 (quoting Fed.

       R. Evid. 701 advisory committee note to 2000 amendment); see also Tampa Bay Shipbuilding &

       Repair Co. v. Cedar Shipping Co., 320 F.3d 1213, 1217 (11th Cir. 2003) (testimony that charges


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       billed for repairs were “reasonable” did not constitute expert testimony because “testimony by

       business owners and officers is one of the prototypical areas [of lay opinions] intended to remain

       undisturbed” by the amendment); Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153 (3d Cir. 1993)

       (a business owner is permitted to give lay opinion testimony as to damages, as it is based on his

       knowledge and participation in the day-to-day affairs of the business).

              Further, the Fourth Circuit has specified that “if a witness’s firsthand observations are

       ‘common enough’ and require applying only a ‘limited amount of expertise,’ they may fairly come

       in under Rule 701.” Smith, 962 F.3d at 767 (quoting Perkins, 470 F.3d at 156). On the other hand,

       “opinions resulting ‘from a process of reasoning which can be mastered only by specialists in the

       field’ must be admitted through Rule 702.” Smith, 962 F.3d at 767 (quoting United States v.

       Howell, 472 F. App’x 245, 246 (4th Cir. 2012) (quoting Fed. R. Evid. 701 advisory committee

       note to 2000 amendment)).

              As noted, Pennak is the president of MSI and a qualified handgun instructor within the

       meaning of P.S. § 5-117.1(d)(3)(i). ECF 135-3, ¶ 4. He is also a “National Rifle Association

       (‘NRA’) certified instructor in Rifle, Pistol, Personal Protection in the Home, Personal Protection

       Outside the Home and Muzzelloading” and an “NRA certified Range Safety Officer.” Id. Pennak

       has “given instruction and training to students seeking” an HQL on “numerous occasions.” Id.

              In his Declaration, Pennak provides his opinion regarding the HQL training requirements,

       including the live-fire requirement. See ECF 135-3. He has not been designated as an expert

       witness, however.

              In particular, defendants seek to exclude the opinions Pennak offers in paragraphs 8-10,

       13, 15-17, 18-19 and 21-23 of his Declaration. ECF 145-1 at 1-4. The pertinent details of these

       paragraphs are set forth, infra. Defendants argue that Pennak’s opinions “are based on his



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       specialized knowledge of firearm safety training and, thus, are not properly admissible as Rule 701

       lay opinion testimony.” Id. at 2.

              Plaintiffs counter that Pennak’s opinions are admissible as lay testimony under Rule 701

       because they are “derived from firsthand observation” and are “not based on specialized

       knowledge, skill, or experience.” ECF 151 at 1. They emphasize that Pennak’s testimony is

       “predicated on his previous experience[,]” id. (citing Lord & Taylor, LLC, 849 F.3d at 576), and

       the opinions are “offered ‘on the basis of relevant historical or narrative facts that the witness has

       perceived.’” ECF 151 at 2 (quoting MCI Telecommunications Corp. v. Wanzer, 897 F.2d 703, 706

       (4th Cir. 1990)).

              In paragraph 8, Pennak opines on the use of live ammunition during the firearm safety

       training, as required under P.S. § 5-117.1(d)(3)(iii), and the typical orientation that his students

       receive regarding the “‘functionality and the safe operation and handling of all these types of

       handguns without live ammunition[.]’” ECF 145-1 at 3 (quoting ECF 135-3, ¶ 8). These statements

       are admissible under Rule 701 because they are based on Pennak’s firsthand observations as well

       as his “particularized knowledge” from his experience as an instructor. ECF 135-3, ¶ 8; see

       Perkins, 470 F.3d at 153 (admitting opinion testimony of police officers as to the reasonableness

       of an officer’s use of force because “their testimony was framed in terms of their eyewitness

       observations and particularized experience as police officers, . . . their opinions were admissible.”).

       Similarly, Pennak’s testimony regarding his own classroom instruction, set forth in paragraph 10,

       constitutes a firsthand observation. ECF 135-3, ¶¶ 8, 10.

              However, Pennak’s conclusion in paragraph 10 that “[f]iring one live round accomplishes

       no training objective at all[]” is not admissible. This is a conclusion regarding firearm safety

       training in general, rather than one regarding Pennak’s specific programs. Id. And, unlike Pennak’s



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       statement about basic safety in paragraph 8, this is an opinion that could not be derived from a

       simple understanding of commonly accessible procedures. Id. ¶ 8. As the defense correctly points

       out, Pennak “brought the wealth of his experience . . . to bear on [his] observations and made

       connections.” United States v. Oriedo, 498 F.2d 593, 603 (7th Cir. 2007). This requires a “process

       of reasoning which can be mastered only by specialists in the field.” ECF 155 at 2. Thus, I shall

       exclude the last sentence in paragraph 10.

              Likewise, in ECF 135-3, ¶ 9, Pennak provides an in-depth explanation of the “composition

       and functioning of ‘snap cap’ dummy rounds.” Further, he notes that the use of such “dummy

       rounds” permits a student to mimic real ammunition by “allowing the slide of a semi-automatic

       handgun to chamber a round in the same way as it would with a live round.” This is outside the

       realm of observation or common knowledge. See Smith, 962 F.3d at 767 (quoting Perkins, 470

       F.3d at 156).

              Of relevance here, the F.R.E. 701 Advisory Committee Note to the 2000 Amendment

       explains that “courts have permitted lay witnesses to testify that a substance appeared to be a

       narcotic, so long as a foundation of familiarity with the subject is established.” Id. (citing United

       States v. Westbrook, 896 F.2d 330 (8th Cir. 1990)). But, the Committee notes that if “that witness

       were to describe how a narcotic was manufactured, or to describe the intricate workings of a

       narcotic distribution network, then the witness would have to qualify as an expert under Rule 702.”

       Fed. R. Evid. 701, advisory committee note to 2000 Amendment (citing United States v. Figueroa-

       Lopez, 125 F.2d 1241 (9th Cir. 1997)). Here, the intricate, internal functioning of the rounds and

       the firearms are unquestionably “scientific, technical, or other specialized knowledge,” analogous

       to explaining the manufacture of a narcotic. Smith, 962 F.3d at 766. Thus, paragraph 9 is not

       admissible.



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              The State calls into question Pennak’s statement in paragraph 13 that the “live-fire

       requirement ‘requires the use of a firing range, as even firing one live round of ammunition can

       only be done safely on a properly constructed range[.]’” ECF 145-1 at 3 (citing ECF 135-3, ¶ 13).

       Further, Pennak points out that “the discharge of ammunition is generally banned in the more

       populated areas of Maryland, except at established firing ranges.” ECF 135-3, ¶ 13. These

       statements are admissible under Rule 701 because they are based on knowledge “common enough”

       to constitute a lay opinion and contain information that one could obtain through familiarity with

       local custom and practice. Smith, 962 F.3d at 767 (quoting Perkins, 470 F.3d at 156).

              As to paragraphs 15-17, 18-19, and 21-23, defendants complain that Pennak uses his

       “specialized knowledge of simunition rounds” to opine on the “‘safe’ use and training purposes of

       simunition rounds” as well as the “modifications required to fire simunition rounds” and the

       “purported effect of local ordinances on the use of simunition rounds and the live-fire

       requirement.” ECF 145-1 at 3.

              In paragraph 15, Pennak provides an in-depth analysis of the difference between simunition

       rounds and “paint ball” rounds. In doing so, he describes how “compressed air or CO2” is used as

       “a propellant.” In paragraphs 16 and 17, Pennak addresses the decibel level produced by firing

       simunition ammunition and the modification equipment needed to use simunition ammunition.

       Such information is clearly beyond the scope of common knowledge or knowledge gained by

       firsthand observation. In my view, it is analogous to the manufacture of narcotics described in the

       Committee Notes. See Fed. R. Evid. 701, advisory committee note to 2000 amendment.

              In paragraph 18, Pennak opines on state law and local regulations as they relate to the firing

       of simunition rounds. Even if Pennak formed these opinions as a result of his job-related

       experience, they fall outside the boundaries of lay expertise. See United States v. Vega, 813 F.3d



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   386 (1st Cir. 2016) (finding that opinions by two lay witnesses in Medicare fraud prosecution that

   depended on their understanding technical Medicare laws should not have been admitted without

   first qualifying witnesses as experts).

          In paragraphs 19 and 21-23, Pennak addresses, inter alia, shooting ranges in the

   Montgomery County area (ECF 135-3, ¶ 19), and the impact of the live fire requirement on

   Pennak’s ability to provide HQL training. Id. ¶¶ 21-23. To the extent the information concerns

   Pennak’s firsthand experience as a firearm safety instructor, it is “common enough” to satisfy the

   requirements of Rule 701. Additionally, the Advisory Committee Notes to the 2000 Amendment

   state that “most courts have permitted the owner or officer of a business to testify to the value or

   projected profits of the business, without the necessity of qualifying the witness as accountant,

   appraiser, or similar expert.” Fed. R. Evid. 701, advisory committee note to 2000 amendment.

   Here, Pennak shares his opinions as to the projected challenges of his business, so he need not

   qualify as an expert.

          Considering Pennak’s firsthand experience as a firearm safety instructor, and upon review

   of the relevant paragraphs, I am satisfied that paragraphs 8, 10 (with the exception of the last

   sentence), 13, 19, and 21-23 are admissible under Rule 701. But, I shall exclude from consideration

   paragraph 9, the last sentence of paragraph 10, and paragraphs 15-18.

                                             I.   Conclusion

          For the reasons set forth above, I shall grant Defendants’ Motion in part and deny it in part.

   And, I shall deny Plaintiffs’ Motion.

          An Order follows, consistent with this Memorandum Opinion.


   Dated: July 27, 2021                                                 /s/
                                                         Ellen L. Hollander
                                                         United States District Judge

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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

                                                    *
     MARYLAND SHALL ISSUE, INC., et al.             *
                                                    *
                    v.                              *            Civil Case No. ELH-16-3311
                                                    *
     LAWRENCE HOGAN, et al.                         *
                                                    *
                                                *********
                                                ORDER

            For the reasons set forth in the accompanying Memorandum Opinion, it is this 27th day

     of July, 2021, by the United States District Court for the District of Maryland, ORDERED:

            1) Plaintiffs’ Motion (ECF 133) is DENIED;

            2) Defendants’ Motion (ECF 145) is GRANTED in part and DENIED in part. In

               particular, I shall grant defendants’ motion to strike paragraph 9; the last sentence of

               paragraph 10; and paragraphs 15-18 of Pennak’s Declaration (ECF 135-3). The

               motion is otherwise denied.



                                                                /s/
                                                         Ellen L. Hollander
                                                         United States District Judge




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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

                                             *
      MARYLAND SHALL ISSUE, INC., et al.     *
                                             *
                v.                           *                      Civil Case No. ELH-16-3311
                                             *
      LAWRENCE HOGAN, et al.                 *
                                             *
                                         *********
                                         ORDER

             For the reasons set forth in the accompanying Memorandum Opinion, it is this 12th day

      of August, 2021, by the United States District Court for the District of Maryland, ORDERED:

             1) The Clerk shall substitute Colonel Woodrow W. Jones, III as a defendant, in lieu of

                Colonel William M. Pallozzi;

             2) Defendants’ Motion for Summary Judgment (ECF 125) is GRANTED;

             3) Plaintiffs’ Motion for Summary Judgment (ECF 135) is DENIED;

             4) The Memorandum Opinion has been filed under seal. By August 23, 2021, the parties

                shall advise the Court as to whether they object to the lifting of the seal or, alternatively,

                whether the Court should file a redacted version, limited to pages 17 and 53.

             5) If either side requests the filing of a redacted version, the proposed redaction(s) should

                be submitted by August 23, 2021.




                                                            ______/s/_______________
                                                            Ellen L. Hollander
                                                            United States District Judge




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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

      MARYLAND SHALL ISSUE, INC., et al.     )
                                             )
                        Plaintiffs,          )
            v.                               )
                                             )                    Case No. 16-cv-3311-ELH
      LAWRENCE HOGAN, et al.                 )
                                             )
                                             )
                        Defendants.          )
      ______________________________________ )

                                          NOTICE OF APPEAL

             Notice is given that Plaintiffs Maryland Shall Issue, Inc., Atlantic Guns, Inc., Deborah Kay

      Miller, and Suzan Vizas, appeal to the United States Court of Appeals for the Fourth Circuit from

      an order granting Defendants’ Motion for Summary Judgment and denying Plaintiffs’ Motion

      for Summary Judgment, entered on the 12th day of August, 2021, and from an order granting in

      part and denying in part Defendants’ motion to strike the opinion testimony of lay witness Mark

      Pennak and denying Plaintiffs’ motion to strike the opinions of Defendants’ expert witnesses,

      entered on the 27th day of July, 2021.




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         Respectfully submitted,


         HANSEL LAW, PC                                BRADLEY ARANT BOULT
                                                       CUMMINGS, LLP

         ________/s/____________________               ________/s/____________________
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         Phone: 301-461-1040                           Washington, DC 20036
         Facsimile: 443-451-8606                       jsweeney@bradley.com
                                                       Phone: 202-393-7150
         Counsel for Plaintiffs                        Facsimile: 202-347-1684

                                                       Counsel for Plaintiff Atlantic Guns, Inc.




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                                       CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 10th day of September, 2021, I caused the foregoing to

      be filed via the Court’s electronic filing system, which will make service on all parties entitled to

      service.

                                                            _____/s/______________________
                                                            John Parker Sweeney




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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

                                                        *
     MARYLAND SHALL ISSUE, INC., et al.                 *
                                                        *        REDACTED
                     v.                                 *        Civil Case No. ELH-16-3311
                                                        *
     LAWRENCE HOGAN, Jr. et al.                         *

                                       MEMORANDUM OPINION

            This Memorandum Opinion resolves a challenge under the Second Amendment to the

     constitutionality of Maryland’s handgun licensing requirement, embodied in Maryland’s Firearm

     Safety Act of 2013 (the “FSA” or the “Act”). The FSA, codified in Md. Code (2018 Repl. Vol.),

     § 5-117.1 of the Public Safety Article (“P.S.”), was enacted by the Maryland General Assembly in

     the aftermath of the 2012 tragedy in Newtown, Connecticut, when 20 first-graders and six adults

     were brutally murdered by a 20-year-old individual who killed the victims with an AR-15-type

     Bushmaster rifle.

            Plaintiffs Maryland Shall Issue, Inc. (“MSI”), for itself and approximately 1,900 members;

     Atlantic Guns, Inc. (“Atlantic Guns”); Deborah Kay Miller; and Susan Vizas filed suit against

     defendant Lawrence Hogan, Jr., in his capacity as Governor of Maryland, and defendant Colonel

     William M. Pallozzi, in his capacity as the Secretary and Superintendent of the Maryland State

     Police (“MSP”).1 ECF 1 (Complaint); ECF 14 (First Amended Complaint or “FAC”).2 I shall

     refer to the defendants collectively as the “State.”


            1
               Colonel Woodrow W. Jones, III has since succeeded Pallozzi as Secretary and
     Superintendent of the MSP. Neither party sought to substitute Jones for Pallozzi, but defendants
     specify that their motion for summary judgment (ECF 125) is brought on behalf of Governor
     Hogan and Col. Jones. The Clerk shall substitute Jones as a defendant.
            2
             This case was initially assigned to Judge Marvin Garbis. It was reassigned to me on July
     26, 2018, due to the retirement of Judge Garbis. See Docket.

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              In particular, plaintiffs challenge the provision of the Act that requires a Handgun

       Qualification License (“HQL”) as a condition for purchasing a handgun in Maryland. The First

       Amended Complaint (ECF 14) contains three counts. Count I asserts a claim alleging that the HQL

       contravenes the Second Amendment. Count II asserts a violation of the Due Process Clause of the

       Fourteenth Amendment, based, inter alia, on statutory vagueness. In Count III, plaintiffs assert

       an ultra vires claim under Md. Code (2014 Repl.), § 10-125(d) of the State Government Article,

       challenging alleged rulemaking by the MSP.

              As discussed, infra, I previously found that the plaintiffs lacked Article III standing as to

       their claims. ECF 98. On appeal, the Fourth Circuit affirmed in part and reversed in part and

       remanded for further proceedings. See Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199 (4th Cir.

       2020). Only the Second Amendment claim remains.

              Cross-motions for summary judgment are now pending. Defendants’ motion (ECF 125) is

       supported by a memorandum (ECF 125-1) (collectively, “Defendants’ Motion”) and 15 exhibits.

       ECF 125-2 to ECF 125-16. They argue that plaintiffs have failed to present a genuine dispute of

       material fact to support their Second Amendment challenge to the HQL law. ECF 125-1 at 8.

       Moreover, defendants assert that the Act “easily satisfies intermediate scrutiny” review. Id.

              Plaintiffs have filed a combined cross-motion for summary judgment and opposition to

       Defendants’ Motion (ECF 135), supported by a memorandum (ECF 135-1) (collectively,

       “Plaintiffs’ Motion”) and 28 exhibits. ECF 135-2 to ECF 135-29. They argue that the “undisputed

       facts” demonstrate that the “HQL requirement is unconstitutional because it effects a ban on

       handgun acquisition that is inconsistent with the Second Amendment’s text, history, and tradition.”

       ECF 135-1 at 12. Further, plaintiffs argue that the Act is subject to strict scrutiny, but they maintain

       that, even under intermediate scrutiny, defendants cannot meet their burden because the



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       requirements as to the HQL are “unnecessary and ineffective.” Id. at 27. Plaintiffs take issue with

       the “30-day delay” in obtaining the HQL, the fingerprint requirement, and the safety course with

       the live-fire requirement. Id. at 46-48. Moreover, plaintiffs argue that the HQL process is

       “burdensome,” id. at 12, as well as “superfluous” and “redundant,” in light of the “pre-existing

       and still-continuing handgun registration process,” identified by them as the “77R Handgun

       Registration.” Id. at 11.

              Defendants have filed a combined opposition to Plaintiffs’ Motion and a reply in support

       of their own motion (ECF 140), along with 15 additional exhibits. Plaintiffs have replied (ECF

       150) and submitted four additional exhibits.

              With leave of Court (ECF 128), Everytown For Gun Safety (“Everytown”), a gun-violence-

       prevention organization, filed an amicus brief in support of Defendants’ Motion. ECF 129

       (“Amicus Brief”). The Amicus Brief includes 13 exhibits. Everytown argues that the HQL law

       is constitutional for three reasons: 1) the background check process that the law requires “is

       longstanding and lawful” under District of Columbia v. Heller, 554 U.S. 570 (2008) (“Heller I”);

       2) the training requirement is consistent with the original understanding of the Second

       Amendment; and 3) the licensing fees are consistent with fees and taxes that states have been

       historically imposed on individuals seeking to obtain a firearm. ECF 129 at 11-12.

              No hearing is necessary to resolve the pending motions. See Local Rule 105(6). For the

       reasons that follow, I conclude that the HQL law is constitutional. Accordingly, I shall grant

       Defendants’ Motion and deny Plaintiffs’ Motion.


                                          I.      Procedural Summary

              Plaintiff MSI is a non-profit membership organization that is “‘dedicated to the

       preservation and advancement of gun owners’ rights in Maryland. It seeks to educate the

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       community about the right of self-protection, the safe handling of firearms, and the responsibility

       that goes with carrying a firearm in public.’” ECF 135-3 (Decl. of Mark W. Pennak, MSI

       President), ¶ 2 (internal citation omitted). MSI’s purpose includes “promoting and defending the

       exercise of the right to keep and bear arms” and “defending the Constitutional right of law-abiding

       persons to lawfully purchase, own, possess and carry firearms and firearms accessories.” Id. As

       of January 2021, MSI had approximately 1,900 members throughout Maryland. Id.

              Plaintiff Atlantic Guns is a licensed federal firearms dealer that was founded in 1950. ECF

       135-2 (Decl. of Stephen Schneider, owner of Atlantic Guns, dated 10/3/2018), ¶¶ 2, 3. According

       to Schneider, handguns are the most popular firearm of choice for Atlantic Guns’ customers and

       the HQL requirement has “severely impacted” Atlantic Guns’ business. Id. ¶¶ 6, 7. In particular,

       Schneider states, id. ¶ 8: “Atlantic Guns turns away would be customers every week [because of

       the HQL requirement], totaling at least in the hundreds over the five years since the Handgun

       License requirement took effect. Sometimes prospective customer[s] place a deposit on a handgun,

       which we then hold pending their obtaining a Handgun License. Some of these customers later

       request refunds and the sale is not consummated.”

              The individual plaintiffs, Miller and Vizas, are MSI members. They claim that they would

       like to own a handgun, but have not attempted to purchase one and do not intend to obtain an HQL.

              Miller has never owned a firearm, but her husband owns both handguns and long guns.

       ECF 135-5 at 7, Tr. 17. In 2017, Miller decided that she wanted to purchase a handgun because

       she “wanted to be able to defend [herself] in [her] home.” Id. at 8-9, Tr. 18-19. Further, she decided

       that she needed to have a gun for herself, rather than use her husband’s gun, because she was

       concerned that under the “new law,” using her husband’s gun would constitute “receipt,”

       potentially subjecting her to prosecution. Id. at 9, Tr. 19. Miller claimed that the “time for the



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       training” is an “inconvenience that has deterred” her from obtaining an HQL. Id. at 12, Tr. 33.

       Specifically, Miller explained that she has “back issues” that make it difficult to sit for the four-

       hour course and it would also be burdensome to take time off from work. Id.

              Vizas decided in 2015 that she wanted to purchase a handgun. ECF 135-4 at 5, Tr. 18. She

       explained that she wanted to “just have it.” Id. at 7, Tr. 25. Vizas took a “hunter safety training”

       course in Maryland in 2016 because her children wanted to attend the class. Id. at 9, Tr. 37. But,

       she claimed that the “expense” of the required HQL class and the “time to take the class, to get

       fingerprints, [and] to wait for a background check” are an “inconvenience that has deterred [her]

       from obtaining an HQL.” Id. at 10, Tr. 43.

              In the course of this litigation, MSI has also identified other members who do not possess

       an HQL but who wish to acquire a handgun. ECF 135-27 (Dep. of John Matthew Clark); ECF 135-

       17 (Dep. of Dana Hoffman); ECF 135-26 (Dep. of Scott Miller). None of these individuals has

       actually applied for an HQL. But, they claim that the HQL requirements have deterred them from

       acquiring licenses and purchasing handguns. Mr. Miller, for example, explained that “the

       inconvenience” associated with the HQL requirements has deterred him from purchasing a

       handgun. ECF 135-26 at 3, Tr. 24. But, he also said, id.: “I have no reason to believe that I’d be

       barred from owning one…” See also ECF 135-17 at 11-12, Tr. 23-24 (Hoffman explaining that

       going to the required training would be problematic because of her medical conditions).

              As noted, the FAC originally contained three counts. Defendants moved to dismiss. ECF

       18. Judge Marvin Garbis, to whom the case was then assigned, issued a Memorandum and Order

       (ECF 34), granting the motion as to the Instructor Certification Requirement of the Act with respect

       to Count II. But, he denied the motion as to all other claims. Id.




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                At the conclusion of discovery, the parties filed cross-motions for summary judgment. By

       Memorandum Opinion (ECF 98) and Order (ECF 99) of March 31, 2019, I concluded that

       plaintiffs lacked Article III standing as to all claims in the FAC. Therefore, I granted the

       defendants’ summary judgment motion (ECF 59) and denied plaintiffs’ cross motion for summary

       judgment (ECF 77). See ECF 102 (“Redacted Memorandum Opinion”). Plaintiffs subsequently

       appealed to the Fourth Circuit. ECF 103.

                On appeal, the Fourth Circuit affirmed in part and reversed in part, and remanded the case

       for further proceedings. Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199 (4th Cir. 2020). The

       Court determined that Atlantic Guns has standing to assert a Second Amendment claim, both “to

       bring its own, independent Second Amendment claim” and to bring a Second Amendment claim

       “on behalf of potential customers” under the doctrine of third-party standing. Id. at 214, 216. And,

       “because standing for one party on a given claim is sufficient to allow a case to proceed in its

       entirety on that issue,” the other plaintiffs (Vizas, Miller, and MSI) also had standing to bring a

       Second Amendment claim. Id. at 210, 216.

                Notably, the Fourth Circuit “state[d] no opinion…on the merits of Atlantic Guns’ asserted

       second amendment claims.” Id. at 214 n.5. Moreover, the Fourth Circuit affirmed the decision as

       to Counts II and III, concluding that plaintiffs lacked standing to bring the constitutional due

       process claim and the challenge to the MSP regulations as ultra vires. Id. at 216-20. Thus, the

       Court said, id. at 216: “In light of our conclusion that Atlantic Guns has both independent and

       third-party standing, we reverse the district court’s judgment in favor of the State Defendants as

       to the Second Amendment claims [in Count I] and remand with instructions that the claims proceed

       to trial.”




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              Accordingly, only Count I remains at issue. Following the remand by the Fourth Circuit,

       the parties submitted a proposed scheduling order, which provided for additional discovery. ECF

       120. I approved the parties’ proposed schedule. ECF 121. The cross-motions for summary

       judgment followed.


                                            II.     Factual Background3

                                      A.      Handgun Laws in Maryland

              In 1941, Maryland enacted a “Pistols” subtitle to the Maryland Code, which banned the

       sale or transfer of a handgun to a person convicted of a crime of violence or a fugitive. See Md.

       Code (1941), Art. 27, §§ 531(A)–(G), now codified at P.S. § 5-118. Since 1966, Maryland has

       enacted four statutes intended to prevent prohibited persons from acquiring handguns. In 1966,

       the Maryland General Assembly enacted the 77R Handgun Registration Requirement. It was

       followed by the Gun Violence Act of 1996; the Responsible Gun Safety Act of 2000; and the

       Firearm Safety Act of 2013.

              The 77R Handgun Registration Requirement (“77R” or “Handgun Registration”) has

       several requirements. Plaintiffs assert that they “are not challenging the 77R background check

       process.” ECF 14, ¶ 50 n.1.

              The application under the Handgun Registration statute requires the purchaser to provide,

       inter alia, his or her “name, address, Social Security number…driver’s [license] or photographic

       identification soundex number…” See Md. Code (1966), Art. 27, § 442, now codified at P.S. § 5-



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                I incorporate here the facts set forth in my earlier opinion (ECF 98), as supplemented by
       the new factual material submitted by the parties with their summary judgment motions. In general,
       when citing to an exhibit, I have identified the exhibit at least once, but not repeatedly. In addition,
       when citing to the parties’ submissions, I use the electronic pagination, which does not always
       correspond to the page numbers on the submissions.

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       118. This information is used by the MSP to conduct a background check as to a prospective

       purchaser. P.S. § 5-121; ECF 135-6 (Dep. of Daniel Webster) at 14, Tr. 73.

              Under 77R, firearms dealers are prohibited from transferring a handgun to a prospective

       purchaser “until after seven days shall have elapsed from the time an application to purchase or

       transfer shall have been executed by the prospective purchaser or transferee…and forwarded by

       the prospective seller…to the Superintendent of the Maryland State Police.” Md. Code (1966),

       Art. 27, § 442; see P.S. §§ 5-118, 5-120, 5-123.

              The Gun Violence Act of 1996 made the 77R Handgun Registration requirement applicable

       to all handgun transfers, including gifts and private sales. Md. Code (1996), Art. 27, § 445, now

       codified at P.S. § 5-124. And, the Responsible Gun Safety Act of 2000 added the requirement that

       all prospective handgun purchasers must complete “a certified firearms safety training course that

       the Police Training Commission conducts….” ECF 135-11; see Md. Code (2003), P.S. § 5-

       118(b)(3)(x). Pursuant to this requirement, the Police Training Commission created an hour-long,

       online course for prospective handgun purchasers. ECF 135-1 at 19.

                                                B.        The FSA


              The Maryland General Assembly enacted the FSA in 2013, and it went into effect on

       October 1, 2013. In relevant part, the Act requires most Maryland handgun purchasers to first

       obtain an HQL. Subject to certain exemptions not pertinent here,4 “[a] dealer or any other person

       may not sell, rent, or transfer a handgun” to a second person, and the second person “may not

       purchase, rent, or receive a handgun” from the first person, unless the buyer, lessee, or transferee


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                Active and retired members of law enforcement agencies and the military are not required
       to obtain an HQL. P.S. § 5-117.1(a). The FSA also does not apply to “licensed firearms
       manufacturer[s]” or “a person purchasing, renting, or receiving an antique, curio, or relic firearm,”
       as defined by federal law. Id.

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       presents a valid HQL. P.S. § 5-117.1(b), (c). A person who violates the Act is guilty of a

       misdemeanor, and is subject to imprisonment for up to five years and/or a fine not exceeding

       $10,000. Id. § 5-144(b).

              To obtain an HQL, a person must satisfy a handful of conditions. Of relevance here, an

       applicant must “complete a minimum of 4 hours of firearms safety training within the prior three

       years” and, “based on an investigation,” the individual may not be “prohibited by federal or State

       law from purchasing or possessing a handgun.” Id. § 5-117.1(d).5 The safety training, which is

       undertaken at the applicant’s expense, must cover classroom instruction on “State firearm law[,]

       home firearm safety[,] and handgun mechanisms and operation,” along with a live-fire “firearms

       orientation component that demonstrates the person’s safe operation and handling of a firearm.”

       Id. § 5-117.1(d)(3).

              An applicant must complete a written application, in a manner designated by the Secretary

       of the MSP (the “Secretary”). See P.S. § 5-101(u) (defining “Secretary”). As authorized by the

       Act, the MSP adopted regulations to effectuate the HQL requirements. See P.S. §§ 5-105; 5-

       117.1(n); Code of Maryland Regulations (“COMAR”) 29.03.01.26-.41.

              The application must include the applicant’s “name, address, driver’s license or

       photographic identification soundex number,” along with other identifiers and a nonrefundable



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                 The applicant must also be at least 21 years of age to obtain an HQL. P.S. § 5-117.1(d).
       But see Hirschfeld v. Bureau of Alcohol, Firearms, Tobacco & Explosives, 5 F.4th 407, 410 (4th
       Cir. 2021) (concluding that federal criminal statutes making it unlawful for federal firearms
       licensees to sell handguns to people under 21 years of age violate the Second Amendment), vacated
       as moot, ___ F.4th ___, 2021 WL 4301564 (4th Cir. Sept. 22, 2021). The age requirement is not
       at issue in this case.

               I note that Hirschfeld was vacated after this Memorandum Opinion was first issued, but
       prior to its designation by West for publication. Therefore, I have added the change in Hirschfeld’s
       status.

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       application fee of $50. P.S. § 5-117.1(g); COMAR 29.03.01.28. Moreover, the application must

       include “a complete set of the applicant’s legible fingerprints taken in a format approved by” the

       Maryland Department of Public Safety and Correctional Services (“DPSCS”) and the Federal

       Bureau of Investigation (“FBI”). P.S. § 5-117.1(f)(3)(i); see ECF 125-7 (Decl. of MSP Captain

       Andy Johnson) at 1-9. The applicant’s fingerprints must be taken by a State-certified vendor using

       “livescan” technology. P.S. § 5-117.1(f)(3)(i); ECF 125-7, ¶ 23.6 In addition, the applicant must

       submit proof of completion of the training requirement, and a statement under oath that the

       applicant is not prohibited from gun ownership. P.S. § 5-117.1(g).

              Using the fingerprints provided in a completed application, the Secretary must apply to

       DPSCS for a criminal history records check for all HQL applicants. Id. § 5-117.1(f)(2). And, if

       DPSCS receives criminal history information “after the date of the initial criminal history records

       check,” it must share that information with MSP; MSP may subsequently revoke the HQL of a

       person who becomes ineligible to possess the handgun. Id. § 5-117.1(f)(7); see ECF 125-7, ¶¶ 23,

       24; ECF 140-4 (Dep. of Andy Johnson) at 9-10, Tr. 133-134 (explaining how DPSCS reports

       arrests and prosecutions to MPS and if the charge is a “disqualifier” for an HQL, then MSP will

       revoke the individual’s HQL); ECF 125-9 (Affidavit of First Sgt. Donald Pickle, Assistant

       Commander of MSP’s Licensing Div.), ¶ 6.

              In order to obtain a valid HQL, most applicants must complete a four-hour, live firearms

       safety training course, taught by a qualified handgun instructor (“QHI”), consisting of both

       classroom instruction and “a firearms orientation component that demonstrates the person’s safe




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                 Plaintiffs complain that there are “hardly any [State-certified] private fingerprinting
       vendors in rural areas.” ECF 135-1 at 25. But, according to the State’s website, there are at least
       86     vendors      across   the    State   that   provide     fingerprinting     services.    See
       https://www.dpscs.state.md.us/publicservs/fingerprint.shtml.
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       operation and handling of a firearm.” P.S. § 5-117.1(d)(3). In particular, the safety training must

       cover classroom instruction on “State firearm law”; “home firearm safety”; and “handgun

       mechanisms and operation.” Id. And, as part of the “firearms orientation component,” which

       “demonstrates” the “safe operation and handling of a firearm,” § 5-117.1(d)(3)(iii), the applicant

       must “safely fire[] at least one round of live ammunition.” COMAR, 29.03.01.29. The safety

       course is not provided by the MSP, but the MSP has a sample lesson plan for the course on its

       website for use by QHIs. ECF 135-7 (Dep. of Andy Johnson) at 8-9, Tr. 68-69; ECF 135-9 (Dep.

       of MSP Captain James Russell) at 5-6, Tr. 70-71; Id. at 14, Tr. 114.7

              A person can become a QHI if he or she has: “A valid Qualified Handgun Instructor

       License issued by the Secretary”; “Been recognized by the Maryland Police and Correctional

       Training Commission”; or “A valid instructor certification issued by a nationally recognized

       firearms organization.” COMAR, 29.03.01.37. An individual may obtain a Qualified Handgun

       Instructor License from the Secretary by providing, among other things, proof of “formal training

       in the care, safety, and use of handguns, including a minimum qualification score of 80 percent on

       a practical police course,” and proof of a “minimum of 1 year of experience in instruction in the

       care, safety and use of handguns.” Id. 29.03.01.38.

              HQL applicants are required to locate, arrange, and pay for training at their own expense.

       However, an applicant is exempt from the training requirement under certain conditions, including

       prior completion of a safety training course, lawful ownership of a “regulated firearm,” which




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                 As of November 17, 2017, the MSP permits the use of “non-lethal marking projectiles”
       to satisfy the HQL’s “live fire” training requirement. See ECF 125-7 at 100. Moreover, since July
       2020, because of the COVID-19 pandemic, the Licensing Division has permitted the instruction
       component of the training course to be done via “real time, bi-directional audio and video
       connection.” ECF 125-10, ¶ 12.

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       includes a handgun, or “an honorably discharged member of the armed forces of the United States

       or the National Guard.” P.S. §§ 5-117.1(e), 5-101(r).

              The Act requires the MSP to process any completed application within 30 days of its

       receipt. Id. § 5-117.1(h). For the most part, HQL applications are processed in the order that they

       are submitted to MSP. ECF 125-7, ¶ 6. According to the two Commanders of the Licensing

       Division of MSP, all “properly completed application[s]” that have been received by the MSP

       since the inception of the HQL law have been processed within this mandated 30-day time frame.

       Id. ¶ 12; ECF 125-10 (Decl. of MSP Captain Andrew Rossignol), ¶ 15. If the application is missing

       components at the 30-day mark, then the application will receive an administrative denial that can

       be overturned once all of the components of the applications are submitted. ECF 135-7 at 33-35,

       Tr. 138-140. This means that some applications are not fully processed within 30 days. Id. at 35,

       Tr. 140.

              Once an applicant receives an HQL, then the applicant must comply with P.S. § 5-118

       before taking possession of the gun. Section 5-118 requires an individual to complete an

       application (known as the 77R form) confirming that he or she is not prohibited from acquiring a

       handgun, among other things, and pay a $10 application fee. Unless an application is disapproved

       by the MSP within seven days of submitting the 77R form, the applicant may take possession of

       the gun. P.S. §§ 5-122, 5-123; see ECF 135-6 (Dep. of Daniel Webster, Director of the Johns

       Hopkins University Center for Gun Policy and Research) at 11, Tr. 38. The HQL is valid for ten

       years (P.S. § 5-117.1(i)) and may be renewed without completion of another firearms safety course

       or the resubmission of fingerprints. Id. § 5-117.1(j); COMAR, 29.03.01.34.

              If the HQL is not approved, the Secretary must provide a written denial, along with a

       statement of reasons and notice of appeal rights. Id. § 5-117.1(h). A person whose application is



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       not approved may request a hearing with the Secretary within 30 days of the denial, and thereafter

       may seek judicial review in State court. Id. §§ 5-117.1(I)(1), (3).

              According to plaintiffs, the process of obtaining fingerprints, taking the training course,

       and submitting an application to the MSP may cost an applicant more than $200. ECF 135-1 at 26.

       For starters, an applicant may have to pay at least $50 for live-scan fingerprints and from $50 to

       more than $100 for the required safety course. See ECF 135-19 (“LiveScan HQL Fingerprinting

       Costs as of 12/2/2017”); ECF 135-20 (Dep. of Schneider) at 3, Tr. 17; ECF 135-18 (Dep. of

       Pennak) at 4-5, Tr. 22-23. Then, as noted, an applicant must submit a $50 application fee to MSP

       with the completed application. P.S. § 5-117.1(g)(2).

              In legislative hearings concerning the FSA, the General Assembly heard testimony from

       various public policy and law enforcement experts advocating for the licensing requirement

       generally, and the fingerprint and training requirements in particular. See ECF 125-3; ECF 125-5;

       ECF 125-6. Dr. Daniel Webster, ScD, MPH, Director of the Johns Hopkins University Center for

       Gun Policy and Research, was one of the experts. He testified, ECF 125-3 at 2: “Arguably, the

       most important objective of a state’s gun laws is to prevent dangerous individuals from possessing

       firearms. Although Maryland has some useful laws to accomplish this task, the system is especially

       vulnerable to illegal straw purchases and the individuals using false identification in their

       applications to purchase regulated firearms.”

              In support of the Act, Webster discussed various studies of gun violence and public

       policies. He relied, inter alia, on a study conducted by the U.S. Government Accountability Office

       (“GAO”), in which five “agents acting in an undercover capacity used ... counterfeit driver's

       licenses in attempts to purchase firearms from gun stores and pawnshops that were licensed by the

       federal government to sell firearms.” ECF 125-4 (GAO–01–427, FIREARMS PURCHASED



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       FROM FEDERAL FIREARM LICENSEES USING BOGUS IDENTIFICATION 2 (2001))

       (“GAO Study”), at 5-6.8 The investigators conducted the study in states that relied on “the instant

       background check,” but which “do not require fingerprinting or a waiting period” for firearm

       purchases. Id. Based on these results, the report concluded that “the instant background

       check . . . cannot ensure that the prospective purchaser is not a felon or other prohibited person

       whose receipt and possession of a firearm would be unlawful.” Id. at 5.

              Further, Webster explained that the District of Columbia and five states—Connecticut,

       Iowa, Massachusetts, New Jersey, and New York—require individuals to apply directly with a law

       enforcement agency and be photographed and fingerprinted before they can purchase handguns.

       ECF 125-3 at 3. Those states, according to Webster, “have some of the lowest age-adjusted firearm

       mortality rates per 100,000 population in the nation for the period 2006-2010—Connecticut 5.1,

       Iowa 6.4, Massachusetts 3.5, New Jersey 5.2, and New York 5.0—compared with the overall rate

       for the nation of 9.5.” Id. Missouri, however repealed a licensing law that it had in place in 2007.

       According to Webster, “[i]mmediately following the repeal of Missouri’s permit-to-purchase

       licensing law [in 2007], the share of guns recovered by Missouri police agencies that had an

       unusually short time interval from retail sale to crime indicative of trafficking more than doubled.”

       Id. Further, he explained, id.: “Preliminary evidence suggests that the increase in the diversion of

       guns to criminals linked to the law’s repeal may have translated into increases in homicides

       committed with firearms.”




              8
                  The states in which the GAO conducted its study had adopted the National Instant
       Criminal Background Check System (“NICS”), see 18 U.S.C. § 922(t), under which the following
       information is required of each individual who undergoes a NICS check: (1) name, (2) sex, (3)
       race, (4) date of birth, and (5) state of residence. 28 C.F.R. § 25.7. A dealer may, in addition, report
       the purchaser's Social Security Number or other identifying number and physical description. Id.

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              The General Assembly also heard testimony from then-Baltimore County Police Chief

       James Johnson. See ECF 125-5. He maintained that the HQL requirement would “reduce the

       number of non-intentional shootings by ensuring that gun owners know how to safely use and store

       firearms”; “will decrease illegal gun sales and purchases by ensuring that all licensees are eligible

       to possess firearms under Federal and State law”; and “will reduce murder rates.” Id. at 4. As to

       the fingerprint requirement, Johnson said that it “will help law enforcement identify people

       involved in gun crimes,” and it “is not an inconvenience” for Marylanders. Id. at 4. Further, with

       respect to the training requirement, Johnson noted: “The current viewing requirement – viewing a

       30-minute video – is insufficient.” Id. at 5. And, he averred that the training would deter straw

       purchasers because they would not be inclined to “sit through a four-hour training program.” Id.9

              Similarly, then-Baltimore City Police Commissioner Anthony Batts testified that most “of

       the homicides and non-fatal shootings that plague Baltimore are perpetrated by prohibited persons

       with illegal guns.” ECF 125-6 at 2. According to Batts, the training and fingerprint requirement

       will “ensur[e] that the applicant is not prohibited from possessing a handgun” and will serve “as a

       deterrent to straw buyers of handguns.” Id. at 2-3.

              From October 1, 2013, when the FSA went into effect, through the end of 2020, a total of

       192,506 Marylanders have successfully obtained an HQL. ECF 140-11 at 4. And, between 2015

       through 2020, 180,423 HQL applications were submitted to the Licensing Division of the MSP,

       of which 5,001 were denied. ECF 135-16 at 1 (MSP Licensing Division Report, 1/4/2018); ECF

       140-11 at 4 (MSP Licensing Division Report, 12/31/2020).




              9
                “Straw purchases are transactions in which persons who are legally prohibited from
       purchasing a firearm (due to criminal history or other disqualifying events) recruit third-parties
       to purchase guns for them.” ECF 125-11, ¶ 8.

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              According to the evidence, from October 1, 2013 through 2020, some 93,056 HQL

       applications were initiated but not submitted to the MSP. ECF 135-15 (Pallozzi Third Supp.

       Interrog. Resp.) at 3-4, 8. Colonel Pallozzi postulated that there “are a number of reasons why an

       individual might initiate but not submit an application.” Id. at 4. For example, he noted that “an

       application may be created for training purposes, or by an individual who has no intention of

       submitting an application.” Id. Further, he explained, id.: “MSP personnel who process

       applications routinely receive communications from individuals who are ineligible for an HQL,

       including because of their age, immigration status, residency status, or criminal history, who have

       initiated an application but ultimately decide not to submit the application because they are

       ineligible for an HQL.”

              Also of relevance, plaintiffs have provided the following Maryland crime data, gathered

       from the Maryland Uniform Crime Reports and U.S. Department of Justice Federal Bureau of

       Investigation, Criminal Justice Information Services Division, ECF 135-23:

              Year      Homicides Shooting  Handgun   Shooting Handgun Recovered
                                  Homicides Homicides Homicide Homicide Handguns
                                                      Rate     Rate     Used in
                                                                        Crime
              2009      440       308       299       5.40     5.24     4,359

              2010      426           296           278           5.12        4.81         4,378

              2011      398           272           265           4.66        4.54         4,515

              2012      372           281           271           4.77        4.60         4,546

              201310 387              272           268           4.58        4.52         4,611


              10
                  Plaintiffs omitted data for 2013. But, because the data is publicly available and is subject
       to judicial notice under Federal Rule of Evidence 201, I have included it. See MD Uniform Crime
       Report                2013               at            14,               17,              https://pilot-
       mdsp.maryland.gov/Document%20Downloads/Crime%20in%20Maryland%202013UCR.pdf;
       Recovered Handguns Used in Crime data available online is from U.S. Department of Justice
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             2014        363          245           231            4.09      3.86      4,487

             2015        553          419           398            6.97      6.62      4,963

             2016        534          402           368            6.68      6.11      5,291

             2017        569          441           401            7.28      6.62      5,269

             2018        489          452           401            7.48      6.64      6,832

             201911 543               514           462            8.50      7.64      5,971



              The parties also dispute whether the HQL has negatively impacted gun sales in Maryland.

       The following chart documents the number of handguns sold by Atlantic Guns in Maryland from

       2009 through 2020. See ECF 84-112; ECF 141-1 [SEALED].

                                             Year              Guns transferred
                                             2009                    2224
                                             2010                    1874
                                             2011                    2253
                                             2012                    2825
                                             2013                    4681
                                             2014                    1568
                                             2015                    1626
                                             2016                    1934
                                             2017                    1987
                                             2018                    2143
                                             2019                    2093
                                             2020                    3724




       Bureau of Alcohol, Tobacco, Firearms, and Explosives, Office of Strategic Intelligence and
       Information, Maryland Firearms Tracing System Data 2013 Report, https://www.atf.gov/resource-
       center/docs/143894-mdatfwebsite13pdf/download.
              11
                   The data for 2020 is not yet available.

               This exhibit was filed in 2018 with plaintiffs’ first summary judgment motion. See
              12

       ECF 75. Plaintiffs again refer the Court to the document. See ECF 135-1 at 15 n.1.

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              The summary indicates that gun sales fell in the years immediately following the enactment

       of the FSA. However, during the past four years, Atlantic Guns has sold a total of 771 more guns

       than it did during the four years immediately preceding the enactment of the FSA.

              Additional facts are included, infra.


                                              III.    Legal Standard

                Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment is

       appropriate only “if the movant shows that there is no genuine dispute as to any material fact and

       the movant is entitled to judgment as a matter of law.” See Fed. R. Civ. P. 56(a); Celotex Corp. v.

       Catrett, 477 U.S. 317, 322-24 (1986); see also Iraq Middle Market Development Found. v.

       Harmoosh, 848 F.3d 235, 238 (4th Cir. 2017) (“A court can grant summary judgment only if,

       viewing the evidence in the light most favorable to the non-moving party, the case presents no

       genuine issues of material fact and the moving party demonstrates entitlement to judgment as a

       matter of law.”). The nonmoving party must demonstrate that there are disputes of material fact so

       as to preclude the award of summary judgment as a matter of law. Matsushita Elec. Indus. Co.,

       Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986).

              The Supreme Court has clarified that not every factual dispute will defeat a summary

       judgment motion. “By its very terms, this standard provides that the mere existence of some alleged

       factual dispute between the parties will not defeat an otherwise properly supported motion for

       summary judgment; the requirement is that there be no genuine issue of material fact.” Anderson

       v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986) (emphasis in original). A fact is “material” if

       it “might affect the outcome of the suit under the governing law.” Id. at 248. There is a genuine

       issue as to material fact “if the evidence is such that a reasonable jury could return a verdict for

       the nonmoving party.” Id.; see Sharif v. United Airlines, Inc., 841 F.3d 199, 2014 (4th Cir. 2016);

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       Raynor v. Pugh, 817 F.3d 123, 130 (4th Cir. 2016); Libertarian Party of Va. v. Judd, 718 F.3d

       308, 313 (4th Cir. 2013). On the other hand, summary judgment is appropriate if the evidence “is

       so one-sided that one party must prevail as a matter of law.” Anderson, 477 U.S. at 252. And, “the

       mere existence of a scintilla of evidence in support of the plaintiff’s position will be insufficient;

       there must be evidence on which the jury could reasonably find for the plaintiff.” Id.

              Notably, “[a] party opposing a properly supported motion for summary judgment ‘may not

       rest upon the mere allegations or denials of [her] pleadings,’ but rather must ‘set forth specific

       facts showing that there is a genuine issue for trial.’” Bouchat v. Baltimore Ravens Football Club,

       Inc., 346 F.3d 514, 522 (4th Cir. 2003) (quoting former Fed. R. Civ. P. 56(e)), cert. denied, 541

       U.S. 1042 (May 17, 2004); see also Celotex, 477 U.S. at 322-24. As indicated, the court must view

       all of the facts, including any reasonable inferences to be drawn, in the light most favorable to the

       nonmoving party. Matsushita Elec. Indus. Co., Ltd., 475 U.S. at 587; accord Roland v. United

       States Citizenship & Immigration Servs., 850 F.3d 625, 628 (4th Cir. 2017); FDIC v. Cashion, 720

       F.3d 169, 173 (4th Cir. 2013).

              The district court’s “function” is not “to weigh the evidence and determine the truth of the

       matter but to determine whether there is a genuine issue for trial.” Anderson, 477 U.S. at 249;

       accord Guessous v. Fairview Prop. Invs., LLC, 828 F.3d 208, 216 (4th Cir. 2016). Thus, in

       considering a summary judgment motion, the court may not make credibility determinations.

       Jacobs v. N.C. Administrative Office of the Courts, 780 F.3d 562, 569 (4th Cir. 2015); Mercantile

       Peninsula Bank v. French, 499 F.3d 345, 352 (4th Cir. 2007). Where there is conflicting evidence,

       such as competing affidavits, summary judgment ordinarily is not appropriate, because it is the

       function of the fact-finder to resolve factual disputes, including matters of witness credibility. See




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       Black & Decker Corp. v. United States, 436 F.3d 431, 442 (4th Cir. 2006); Dennis v. Columbia

       Colleton Med. Ctr., Inc., 290 F.3d 639, 644-45 (4th Cir. 2002).

              However, to defeat summary judgment, conflicting evidence must give rise to a genuine

       dispute of material fact. Anderson, 477 U.S. at 247-48. If “the evidence is such that a reasonable

       jury could return a verdict for the nonmoving party,” then a dispute of material fact precludes

       summary judgment. Id. at 248; see Sharif v. United Airlines, Inc., 841 F.3d 199, 204 (4th Cir.

       2016). Conversely, summary judgment is appropriate if the evidence “is so one-sided that one

       party must prevail as a matter of law.” Anderson, 477 U.S. at 252. And, “[t]he mere existence of a

       scintilla of evidence in support of the [movant’s] position will be insufficient; there must be

       evidence on which the jury could reasonably find for the [movant].” Id.

             When, as here, the parties have filed cross-motions for summary judgment, the court must

       “‘consider each motion separately on its own merits to determine whether either of the parties

       deserves judgment as a matter of law.’” Def. of Wildlife v. N.C. Dep’t of Transp., 762 F.3d 374,

       392 (4th Cir. 2014) (citation omitted); see Belmora LLC v. Bayer Consumer Care, 987 F.3d 284,

       291 (4th Cir. 2021). In doing so, the court “‘resolve[s] all factual disputes and any competing,

       rational inferences in the light most favorable to the party opposing that motion.’” Def. of Wildlife,

       762 F.3d at 393 (quoting Rossignol v. Voorhaar, 316 F.3d 516, 523 (4th Cir. 2003), cert. denied,

       540 U.S. 822 (2003)); see Mellen v. Bunting, 327 F.3d 355, 363 (4th Cir. 2003).

             In sum, simply because multiple parties have filed for summary judgment does not mean

       that summary judgment to one party or another is necessarily appropriate. Indeed, “[b]oth motions

       must be denied if the court finds that there is a genuine issue of material fact.” 10A C. WRIGHT,

       A. MILLER, & M. KANE, FEDERAL PRACTICE & PROCEDURE § 2720 (4th ed. Suppl. 2020) (WRIGHT

       & MILLER).



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                 Notably, there are no material facts in dispute. Rather, the parties disagree over the

       application of the law to the facts. And, in particular, they disagree about the decision-making of

       the Maryland General Assembly.




                                                  IV.     Discussion

                                         A. The Second Amendment Generally

                 The Second Amendment to the Constitution provides: “A well regulated Militia, being

       necessary to the security of a free State, the right of the people to keep and bear Arms, shall not be

       infringed.” See U.S. Const. amend. II. In Heller I, 554 U.S. at 592, the Supreme Court determined

       that, by its operative clause, the Second Amendment guarantees “the individual right to possess

       and carry weapons in case of confrontation.”

                 According to the Heller I majority, the Second Amendment’s “core protection” is “the right

       of law-abiding, responsible citizens to use arms in defense of hearth and home.” Id. at 634-35.

       Accordingly, the Court found that a complete prohibition on handguns—the class of weapon

       “overwhelmingly chosen by American society for [the] lawful purpose [of self-defense]” in the

       home—infringed on the central protection of the Second Amendment and thus failed any level of

       constitutional scrutiny. Id. at 628–29; see also Woollard v. Gallagher, 712 F.3d 865, 874 (4th Cir.

       2013) (noting that self-defense in the home is the “core protection” of the Second Amendment

       right).

                 Nevertheless, the Court recognized that “the right secured by the Second Amendment is

       not unlimited,” in that it is “not a right to keep and carry any weapon whatsoever in any manner

       whatsoever and for whatever purpose.” Heller I, 554 U.S. at 626; see Hirschfeld v. Bureau of

       Alcohol, Firearms, Tobacco & Explosives, 5 F.4th 407, 419 (4th Cir. 2021), vacated as moot, ___

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       F.4th ___, 2021 WL 4301564 (4th Cir. Sept. 22, 2021); Walker v. Donahoe, 3 F.4th 676, 689 (4th

       Cir. 2021). Indeed, the Court has made clear that the Second Amendment permits “reasonable

       firearms regulations.” McDonald v. City of Chicago, 561 U.S. 742, 784 (2010); see Caetano v.

       Massachusetts, 577 U.S. 411 (2016) (per curiam); see also Kolbe v. Hogan, 849 F.3d 114, 132

       (4th Cir. 2017) (en banc), cert. denied, __ U.S. __, 138 S. Ct. 469 (2017); United States v. Chester,

       628 F.3d 673, 675 (4th Cir. 2010).

              The Heller I Court provided a non-“exhaustive” list of “presumptively lawful regulatory

       measures,” including “longstanding prohibitions” on firearm possession by certain groups of

       people, and “laws imposing conditions and qualifications on the commercial sale of arms.” Heller

       I, 554 U.S. at 626–27 & n.26; see McDonald, 561 U.S. at 786 (noting that the Court’s holding in

       Heller “did not cast doubt on such longstanding regulatory measures…[‘]laws imposing conditions

       and qualifications on the commercial sale of arms.’”) (quoting Heller I, 554 U.S. at 626-27). And,

       in Kolbe, 849 F.3d at 121, the Fourth Circuit concluded that the FSA’s ban on assault weapons did

       not contravene the Second or Fourteenth Amendments, because such weapons are not protected

       by the Second Amendment. Alternatively, it ruled that, even if the banned weapons “are somehow

       entitled to Second Amendment protection,” the provision was properly subjected to intermediate

       scrutiny and is “constitutional under that standard of review.” Id.

              The Fourth Circuit, like several other circuits, has adopted a two-pronged approach to

       analyzing Second Amendment challenges. Chester, 628 F.3d at 680; see Hirschfeld, 5 F.4th at

       414-15; see also Harley v. Wilkinson, 988 F.3d 766, 769 (4th Cir. 2021) (“Like our sister circuits,

       we apply a two-prong approach in considering as-applied Second Amendment challenges.”);

       Kolbe, 849 F.3d at 132 (“Like most of our sister courts of appeals, we have concluded that “a two-

       part approach to Second Amendment claims seems appropriate under Heller.” (internal citation



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       omitted)); United States v. Hosford, 843 F.3d 161, 165 (4th Cir. 2016) (holding that courts

       “generally engage in the ... two-pronged [Chester] analysis for facial Second Amendment

       challenges”); see, e.g., Medina v. Whitaker, 913 F.3d 152, 156 (D.C. Cir. 2019); Gould v. Morgan,

       907 F.3d 659, 669 (1st Cir. 2018); Jackson v. City and Cty. of San Francisco, 746 F.3d 953, 967

       (9th Cir. 2014); GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1260 n.34 (11th Cir. 2012).

       Under this approach, the court must first determine “‘whether the challenged law imposes a burden

       on conduct falling within the scope of the Second Amendment’s guarantee.’” Kolbe, 849 F.3d at

       133 (quoting Chester, 628 F.3d at 680). If it does not impose a burden, then the challenged law is

       valid. Kolbe, 849 F.3d at 133. “If, however, the challenged law imposes a burden on conduct

       protected by the Second Amendment, [the Court must] next ‘apply[ ] an appropriate form of

       means-end scrutiny.’” Id. In other words, the court must determine whether to apply strict scrutiny

       or intermediate scrutiny; this “depends on the nature of the conduct being regulated and the degree

       to which the challenged law burdens the right.” Id. (internal quotations omitted) (noting that courts

       should look to the First Amendment as a guide in determining the applicable standard of review);

       see Hirschfeld, 5 F.4th at 415 (“Just as the First Amendment employs strict scrutiny for content-

       based restrictions but intermediate scrutiny for time, place, and manner regulations, the scrutiny

       in this context ‘depends on the nature of the conduct being regulated and the degree to which the

       challenged law burdens the right.’”) (quoting Chester, 628 F.3d at 682).

              Courts “are at liberty to” avoid ruling on the first prong of the test, and “assume that a

       challenged statute burdens conduct protected by the Second Amendment and focus instead on

       whether the burden is constitutionally justifiable.” Hosford, 843 F.3d at 167. Indeed, the Fourth

       Circuit has found it “prudent” not to rest on the first prong's historical inquiry. Id.; see Woollard,

       712 F.3d at 875 (“[W]e are not obliged to impart a definitive ruling at the first step of the Chester



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       inquiry. And indeed, we and other courts of appeals have sometimes deemed it prudent to instead

       resolve post-Heller challenges to firearm prohibitions at the second step.”); United States v.

       Masciandaro, 638 F.3d 458, 470 (4th Cir. 2011) (assuming that the Second Amendment was

       implicated by a statute prohibiting possession of firearms in national parks and applying

       intermediate scrutiny); Kolbe v. O’Malley, 42 F. Supp. 3d 768, 789 (D. Md. 2014) (“Nevertheless,

       the court need not resolve whether the banned assault weapons and LCMs are useful or commonly

       used for lawful purposes… and will assume, although not decide, that the Firearm Safety Act

       places some burden on the Second Amendment right.”), aff'd in part, vacated in part, 813 F.3d

       160 (4th Cir. 2016), aff’d on reh'g en banc, 849 F.3d 114 (4th Cir. 2017).

              As to what level of scrutiny to apply, the Fourth Circuit has instructed that when a law

       severely burdens “the core protection of the Second Amendment, i.e., the right of law-abiding,

       responsible citizens to use arms for self-defense in the home,” it is subject to the strict scrutiny

       test. Kolbe, 849 F.3d at 138. But, if a law “does not severely burden” that core protection, then

       intermediate scrutiny is the appropriate standard. Id.; see Chester, 628 F.3d at 682 (“A severe

       burden on the core Second Amendment right of armed self-defense should require strong

       justification. But less severe burdens on the right … may be more easily justified.”); see also New

       York State Rifle & Pistol Ass'n, Inc. v. Cuomo, 804 F.3d 242, 260 (2d Cir. 2015) (“NYSRPA”)

       (“Heightened scrutiny need not … be akin to strict scrutiny when a law burdens the Second

       Amendment—particularly when that burden does not constrain the Amendment’s core area of

       protection.” (internal quotation marks omitted)).

              To satisfy strict scrutiny, “the government must prove that the challenged law is ‘narrowly

       tailored to achieve a compelling governmental interest.’” Kolbe, 849 F.3d at 133 (quoting Abrams

       v. Johnson, 521 U.S. 74, 82 (1997)). This is a demanding standard that requires the government to



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       establish that “‘no less restrictive alternative’ would serve its purpose.” Cent. Radio Co. Inc. v.

       City of Norfolk, Va., 811 F.3d 625, 633 (4th Cir. 2016) (citing United States v. Playboy Entm’t

       Grp., Inc., 529 U.S. 803, 813 (2000)); see Antietam Battlefield KOA v. Hogan, 461 F. Supp. 3d

       214, 237 (D. Md. 2020).

              “The less onerous standard of intermediate scrutiny requires the government to show that

       the challenged law ‘is reasonably adapted to a substantial governmental interest.’” Kolbe, 849 F.3d

       at 133 (quoting Masciandaro, 638 F.3d at 471). Stated differently, the government must prove

       “that there is a reasonable fit between the challenged regulation and a substantial governmental

       objective.” Chester, 628 F.3d at 683 (internal quotation marks omitted); see Hirschfeld, 5 F.4th at

       415; Harley, 988 F.3d at 769.

              Unlike strict scrutiny, intermediate scrutiny “does not demand that the challenged law ‘be

       the least intrusive means of achieving the relevant government objective, or that there be no burden

       whatsoever on the individual right in question.’” Kolbe, 849 F.3d at 133 (quoting Masciandaro,

       638 F.3d at 474). Rather, the State must demonstrate that there is “a fit that is ‘reasonable, not

       perfect.’” Woollard, 712 F.3d at 878 (quoting United States v. Carter, 669 F.3d 411, 417 (4th Cir.

       2012)) (cleaned up); see Libertarian Party of Erie Cty. v. Cuomo, 970 F.3d 106, 128 (2d Cir. 2020)

       (“In applying intermediate scrutiny, we ask ‘whether the statutes at issue are substantially related

       to the achievement of an important governmental interest.’”) (internal citation omitted); United

       States v. McGinnis, 956 F.3d 747, 754 (5th Cir. 2020) (“Intermediate scrutiny requires the lesser

       showing of ‘a reasonable fit between the challenged regulation and an important government

       objective.’”) (citation omitted), cert. denied, __ U.S.__, 141 S. Ct. 1397 (2021). In fact, a “statute

       may meet this standard despite being overinclusive in nature.” Harley, 988 F.3d at 769.

                                            B. Text, History, and Tradition



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              Plaintiffs urge the Court to analyze their Second Amendment claim based on “text, history,

       and tradition,” rather than the two-pronged approach discussed earlier. ECF 135-1 at 34-37; see

       Heller v. District of Columbia, 670 F.3d 1244, 1271 (D.C. Cir. 2011) (“Heller II”) (Kavanaugh,

       J., dissenting) (“Heller and McDonald leave little doubt that courts are to assess gun bans and

       regulations based on text, history, and tradition ....”). As recently as July 2021, the Fourth Circuit

       applied the two-step framework in analyzing a Second Amendment claim. Hirschfeld, 5 F.4th at

       414-15; see also Harley, 988 F.3d at 769; Kolbe, 849 F.3d at 141 (two-step framework “is entirely

       faithful to the Heller decision and appropriately protective of the core Second Amendment right”).

       As part of the inquiry, however, the Court must also “consider text, structure, history, and practice

       to reveal the original public meaning of the Second Amendment.” Hirschfeld, 5 F.4th at 419.

       Therefore, I shall proceed under the two-pronged approach.13

                                    C. HQL’s burden on the Second Amendment



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                  Even if I were to analyze the dispute based only on the “text, history, and tradition,” this
       would not compel a finding that the HQL is unconstitutional. Heller I and McDonald “did not hold
       that a state's firearms licensing laws were unconstitutional[.]” Libertarian Party of Erie Cty. v.
       Cuomo, 300 F. Supp. 3d 424, 434 (W.D.N.Y. 2018). Rather, the Heller I Court found
       unconstitutional a total ban on handguns, but the Court declined to address the constitutionality of
       a handgun licensing requirement. See Heller I, 554 U.S. at 631. Thus, the Second Circuit, for
       example, rejected the argument that New York State's firearms licensing laws were
       unconstitutional under Heller I and McDonald, concluding that so holding “would stretch the
       conclusions of both decisions well beyond their scope.” Libertarian Party, 970 F.3d at 127; see
       also, e.g., United States v. Focia, 869 F.3d 1269, 1283 (11th Cir. 2017) (rejecting claim that federal
       statute was “an impermissible prior restraint in violation of the Second Amendment because it
       criminalizes dealing in firearms without a license,” and collecting cases from the First, Second,
       Third, Fourth, and Seventh Circuits rejecting similar claims); Berron v. Illinois Concealed Carry
       Licensing Review Board, 825 F.3d 843, 847 (7th Cir. 2012) (“If the state may set substantive
       requirements for ownership, which Heller says it may, then it may use a licensing system to enforce
       them.... Courts of appeals uniformly hold that some kind of license may be required.”); Powell v.
       Tompkins, 926 F. Supp. 2d 367, 379 (D. Mass. 2013) (“[T]he requirement of prior approval by a
       government officer, or a licensing system, does not by itself render [a firearms] statute
       unconstitutional on its face.”) (internal quotation marks omitted), aff'd, 783 F.3d 332 (1st Cir.
       2015).

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              The parties vigorously disagree as to the analysis under the two-step framework. Plaintiffs

       contend that the HQL “requirement burdens conduct within the Second Amendment’s guarantee,”

       and they insist that strict scrutiny “is the only appropriate level of scrutiny because the HQL

       requirement burdens the Second Amendment’s core right.” ECF 135-1 at 40. According to

       plaintiffs, the HQL requirements fail the intermediate scrutiny test because (1) the recited harms

       do not exist and, in any event, the HQL requirement will not “alleviate these harms in a direct and

       material way,” and (2) they dispute “that the HQL requirement is narrowly tailored to serve a

       substantial government interest.” Id. at 59.

              Conversely, defendants argue that the HQL law does not impose a burden on the exercise

       of Second Amendment rights because it “does not deprive any ‘law-abiding, responsible citizen’

       of the right to possess a handgun for in-home self-defense.” ECF 125-1 at 20 (quoting Heller I,

       554 U.S. at 635). However, even if the HQL law did impose such a burden, defendants maintain

       that intermediate scrutiny would be the appropriate test because the law does not severely limit the

       possession of firearms or prevent individuals from possessing a firearm. Id. at 21. And, they insist

       that the law would survive under the intermediate scrutiny test because Maryland has a substantial

       interest in promoting public safety, and the HQL requirements are reasonably adapted to that

       interest. ECF 140 at 26-39.

              The Fourth Circuit recently clarified the appropriate approach in Hirschfeld, 5 F.4th 407,

       which involved “several federal laws and regulations that prevent federally licensed gun dealers

       from selling handguns to any 18-, 19-, or 20-year-old.” It said, id. at 418: “At step one of the

       Chester inquiry, we ask ‘whether the conduct at issue was understood to be within the scope of the

       right at the time of ratification.’” (Quoting Chester, 628 F.3d at 680) (emphasis in Hirschfeld).

       The Hirschfeld Court also said, 5 F.4th at 418-19:



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              The government bears the burden to show that the regulation clearly falls outside
              the scope of the Second Amendment. See [Chester, 628 F.3d] at 681–82; Ezell [v.
              City of Chicago], 651 F.3d [684], [] 702–03 [(7th Cir. 2011)]; Tyler [v. Hillsdale],
              837 F.3d [678], [] 688 [(6th Cir. 2016)]. And in the face of historical silence or
              ambiguity, we assume the conduct is protected. Chester, 628 F.3d at 680–82. At
              the very least, this inquiry requires us to consider text, structure, history, and
              practice to reveal the original public meaning of the Second Amendment. See
              Heller, 554 U.S. at 576–628, 128 S.Ct. 2783. The relevant question is: What did
              the right to keep and bear arms mean to the public at the time of ratification?

              I need not delve into a historical analysis in this case, however, because the Supreme Court

       has already determined that the type of firearm at issue under the HQL law—the handgun—

       unquestionably falls within the scope of the Second Amendment. Indeed, the Supreme Court has

       characterized the handgun as “the quintessential self-defense weapon” and observed that handguns

       are “the most popular weapon chosen by Americans for self-defense in the home.” Heller I, 554

       U.S. at 629 (deeming the District of Columbia’s handgun ban to be unconstitutional because it

       prohibited “an entire class of arms that is overwhelmingly chosen by American society for [self-

       defense]” (internal quotation marks omitted)); see Kolbe, 849 F.3d at 131.

              The requirements for the purchase of a handgun, as set out in the HQL law, undoubtedly

       burden this core Second Amendment right because they “make it considerably more difficult for

       a person lawfully to acquire and keep a firearm…for the purpose of self-defense in the home.”

       Heller II, 670 F.3d at 1255; see Libertarian Party of Erie County, 300 F. Supp. 3d at 441 (finding

       that a firearm licensing law burdens conduct protected by the Second Amendment). Thus, I must

       proceed to the second step of the two-prong inquiry.

                                                D. Level of Scrutiny

                                                       1.

              The Second Amendment protects the right of “a law-abiding, responsible citizen to possess

       and carry a weapon for self-defense.” Chester, 628 F.3d at 682-83 (emphasis in original); see ECF


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       135-1 at 44-45. As indicated, the handgun is the “quintessential self-defense weapon.” Heller I,

       554 U.S. at 629. And, the licensing law implicates the core of the Second Amendment right

       because it places a burden on the ability of law-abiding citizens to own firearms for self-defense

       in the home.

              Because the handgun is protected by the Second Amendment, the Court must decide the

       level of scrutiny to apply in evaluating the constitutionality of the Act. See Hirschfeld, 5 F.4th at

       440 (“Having found that 18-year-olds are protected by the Second Amendment, our precedent

       requires that we apply ‘an appropriate form of means-end scrutiny.’”) (internal citation omitted).

       In addition to considering the “nature of the conduct being regulated,” the Court must consider

       “the degree to which the challenged law burdens the right.” Chester, 628 F.3d at 682; see Fyock

       v. City of Sunnyvale, 779 F.3d 991, 998-99 (9th Cir. 2015) (determining appropriate level of

       scrutiny by considering “how severely, if at all, the law burdens [the Second Amendment] right”);

       Heller II, 670 F.3d at 1261 (determining “the appropriate standard of review by assessing how

       severely the prohibitions burden the Second Amendment right”). Thus, the applicable level of

       scrutiny is determined by whether and to what extent the challenged regulation burdens the core

       Second Amendment right.

              Heightened scrutiny is appropriate where the law imposes a severe burden on Second

       Amendment protections. A law severely burdens the core right if it “effectively disarm[s]

       individuals or substantially affect[s] their ability to defend themselves.” Kolbe, 849 F.3d at 139.

       But, there is no substantial burden “‘if adequate alternatives remain for law-abiding citizens to

       acquire a firearm for self-defense.’” Libertarian Party of Erie Cty., 300 F. Supp. 3d at 442 (quoting

       NYSRPA, 804 F.3d at 259). And, “intermediate scrutiny is the appropriate standard [where the

       challenged provision] does not severely burden the core protection of the Second Amendment, i.e.,



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       the right of law-abiding, responsible citizens to use arms for self-defense in the home.” Kolbe, 849

       F.3d at 138; see Chester, 628 F.3d at 682 (“A severe burden on the core Second Amendment right

       of armed self-defense should require strong justification. But less severe burdens on the right ...

       may be more easily justified.”).

               The record is clear that plaintiffs and others like them are readily able to acquire handguns

       in Maryland for self-defense if they obtain an HQL. In fact, the plaintiffs do not provide evidence

       establishing that any law-abiding, responsible citizen who applied for an HQL was denied the

       HQL. See Libertarian Party of Erie Cty, 970 F.3d at 127–28. Moreover, the HQL requirements

       place no more than “marginal, incremental, or even appreciable restraint on the right to keep and

       bear arms.” NYSRPA, 804 F.3d at 259 (quoting United States v. Decastro, 682 F.3d 160, 164 (2d

       Cir. 2012)).

               Only “the narrow class of persons who are adjudged to lack the characteristics necessary

       for the safe possession of a handgun” face a substantial burden on the core Second Amendment

       protection as a result of the HQL. Aron v. Becker, 48 F. Supp. 3d 347, 371 (N.D.N.Y. 2014). In

       contrast, “law-abiding, responsible citizens face nothing more than time” and a reasonable

       “expense” in order to possess a handgun. Libertarian Party of Erie Cty., 300 F. Supp. 3d at 443.

       I note that plaintiffs have no quarrel with the 77R law, an earlier statute that also included a training

       requirement, a waiting period, and a fee.

               Although the HQL law implicates the core Second Amendment right, the burden is not so

       severe as to require strict scrutiny. Other courts addressing challenges to registration and licensing

       requirements have applied intermediate scrutiny on the ground that “none of the … requirements

       prevents an individual from possessing a firearm in his home or elsewhere, whether for self-

       defense or hunting, or any other lawful purpose.” Heller II , 670 F.3d at 1258; see NYSRPA, 804



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       F.3d at 260 (applying intermediate scrutiny where “[t]he burden imposed by the challenged

       legislation is real, but it is not ‘severe’” (citation omitted)); United States v. Marzzarella, 614 F.3d

       85, 96–97 (3d Cir. 2010) (noting that registration requirements “do[ ] not severely limit the

       possession of firearms”); Jones v. Becerra, 498 F. Supp. 3d 1317, 1329 (S.D. Cal. 2020) (noting

       that the disputed provision “does not categorically ban the possession of arms used for self-

       defense. It therefore does not impose a substantial burden on the Second Amendment, and allows

       for intermediate rather than strict scrutiny.”).

               Indeed, “there has been near unanimity in the post-Heller case law that, when considering

       regulations that fall within the scope of the Second Amendment, intermediate scrutiny is

       appropriate.” Mai v. United States, 952 F.3d 1106, 1115 (9th Cir. 2020); see, e.g., Hirschfeld, 5

       F.4th at 440-41 (applying intermediate scrutiny without deciding “how close to the core of the

       Second Amendment these laws strike”); Kolbe, 849 F.3d at 138 (applying intermediate scrutiny

       where the law “does not severely burden the core protection of the Second Amendment”); Hosford,

       843 F.3d 161, 168 (4th Cir. 2016) (declining to apply strict scrutiny to a firearms prohibition that

       “addresses only conduct occurring outside the home,” without deciding if or when strict scrutiny

       applies to a law reaching inside the home); Woollard, 712 F.3d at 876 (applying intermediate

       scrutiny to requirement that an individual demonstrate a “good and substantial reason” for carrying

       a handgun in public before he can obtain a permit to do so); Carter, 669 F.3d at 417 (applying

       intermediate scrutiny on review of a Second Amendment challenge to prohibition of firearms for

       users of marijuana); Masciandaro, 638 F.3d at 471 (applying intermediate scrutiny to a regulation

       barring the carrying of loaded weapons in a motor vehicle in a national park); Chester, 628 F.3d

       at 682-83 (applying intermediate scrutiny when reviewing a Second Amendment challenge to 18

       U.S.C. § 922(g)(9), which prohibits the possession of firearms by a person convicted of a



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       misdemeanor crime of domestic violence); see also Sibley v. Watches, 460 F. Supp. 3d 302, 313-

       14 (W.D.N.Y. May 18, 2020) (“The Second Circuit and district courts in this Circuit have

       continually chosen to apply intermediate scrutiny to general challenges under the Second

       Amendment.”) (internal quotation marks omitted); Doe No. 1 v. Putnam Cty., 344 F. Supp. 3d 518,

       538 n.12 (S.D.N.Y. 2018) (“[T]he Second Circuit has not yet applied [strict] scrutiny to any statute

       in the Second Amendment context ....”).

              Accordingly, because the licensing law implicates the core Second Amendment right, but

       does not severely burden it, I shall apply intermediate scrutiny.

                                                        2.

              As a threshold matter, the parties disagree over the precise contours of the intermediate

       scrutiny test. According to plaintiffs, the Supreme Court’s most recent iteration of the test is that

       “‘to survive intermediate scrutiny, a law must be ‘narrowly tailored to serve a significant

       governmental interest.’” ECF 135-1 at 49 (quoting Packingham v. N.C., ___ U.S. ___, 137 S. Ct.

       1730, 1732 (2017) (internal citation omitted)). Indeed, as the Fourth Circuit recently noted,

       Hirschfeld, 5 F.th at 441 n.56: “Exactly what intermediate scrutiny requires in a given situation

       remains unclear. Compare Chester, 628 F.3d at 683 (‘reasonable fit’), with Miss. Univ. for Women

       v. Hogan, 458 U.S. 718, 724 (1982) (‘substantially related’).” I shall apply the test as it has been

       articulated by the Fourth Circuit in its most recent Second Amendment opinions. See Hirschfeld,

       5 F.4th 407; Harley, 988 F.3d 766; Kolbe, 849 F.3d 114.

              “Under the standard of intermediate scrutiny, the government bears the burden of

       establishing a reasonable fit between the challenged law and a substantial governmental objective.”

       Harley, 988 F.3d at 769; see Hirschfeld, 5 F.4th at 440-41. But, the fit need not be perfect or even

       the least intrusive means of accomplishing the desired objective. United States v. Staten, 666 F.3d



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       154, 162 (4th Cir. 2011). Rather, the defendants must show “‘reasonable inferences based on

       substantial evidence’ that the statutes are substantially related to the governmental interest.”

       NYSRPA, 804 F.3d at 264; see Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 662–64 (1994)

       (“Turner I”).

              “Various evidence can be mustered to meet [the intermediate scrutiny] standard but

       ‘reference to legislative findings, academic studies, or other empirical data is necessary.’”

       Hirschfeld, 5 F.4th at 441 (quoting Tyler, 837 F.3d at 694). Further, “while ‘case law, and even

       common sense’ may be relied on, the government may not ‘rely upon mere anecdote and

       supposition.’” Hirschfeld, 5 F.4th at 441 (quoting Tyler, 837 F.3d at 694 (internal quotations and

       citation omitted)); see also Hirschfeld, 5 F.4th at 449 (“Congress may not pass intermediate

       scrutiny by relying on unsupported conclusory testimony to justify its desired outcome.”); Heller

       v. District of Columbia, 801 F.3d 264, 279 (D.C. Cir. 2015) (“Heller III”) (“[T]he Supreme Court

       has ‘permitted litigants to justify ... restrictions ... based ... on history, consensus, and simple

       common sense’ when the three are conjoined.” (internal citation omitted)).

              Plaintiffs argue that intermediate scrutiny in the “Second Amendment context does not

       allow deference to the legislature’s findings.” ECF 135-1 at 51. But, plaintiffs cite one Second

       Amendment case in support of this argument: Duncan v. Becerra, 970 F.3d 1133, 1166 (9th Cir.

       2020), reh'g granted, opinion vacated, 988 F.3d 1209 (9th Cir. 2021) (en banc). Of relevance

       here, the Supreme Court has said that, “[i]n reviewing the constitutionality of a statute, ‘courts

       must accord substantial deference to the predictive judgments of [the legislature].’” Turner Broad.

       Sys., Inc. v. FCC, 520 U.S. 180, 195 (1997) (“Turner II”); accord Schrader v. Holder, 704 F.3d

       980, 990 (D.C. Cir. 2013). And, the Fourth Circuit has instructed courts to “accord substantial




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       deference to the predictive judgments of [the legislature].” Kolbe, 849 F.3d at 140 (internal citation

       and quotation omitted); see Hirschfeld, 5 F.4th at 448-49.

                  Especially in the “context of firearm regulation, the legislature is ‘far better equipped than

       the judiciary’ to make sensitive public policy judgments (within constitutional limits) concerning

       the dangers in carrying firearms and the manner to combat those risks.” Kachalsky v. County of

       Westchester, 701 F.3d 81, 97 (2d Cir. 2012) (quoting Turner I, 512 U.S. at 665); accord Kanter v.

       Barr, 919 F.3d 437, 451 (7th Cir. 2019) (same). Significantly, “the Fourth Circuit has urged courts

       to approach Second Amendment claims with particular caution, giving due respect to the limits of

       their Article III powers.” Hirschfield v. Bureau of Alcohol, Tobacco, Firearms, and Explosives,

       417 F. Supp. 3d 747, 758 (W.D. Va. 2019), vacated, 5 F.4th 407. In Masciandaro, 638 F.3d at

       475, for example, the Court said: “To the degree that we push the right beyond what the Supreme

       Court in Heller declared to be its origin, we circumscribe the scope of popular governance, move

       the action into court, and encourage litigation in contexts we cannot foresee. This is serious

       business. We do not wish to be even minutely responsible for some unspeakably tragic act of

       mayhem because in the peace of our judicial chambers we miscalculated as to Second Amendment

       rights.”

                  To be sure, even with deference, meaningful review is required. Hirschfeld, 5 F.4th at 448-

       49. As the Hirschfeld Court said, id. at 448: “It is true that we sometimes give weight to Congress's

       ‘predictive judgments’ under Turner…. But this does not mean that we should blindly abdicate

       our obligation to review Congress’s actions under heightened scrutiny.” (Quoting Turner I, 512

       U.S. at 665-66); see Heller II, 670 F.3d at 1259 (“Although we do accord substantial deference to

       the predictive judgments of the legislature when conducting intermediate scrutiny, the State is not

       thereby insulated from meaningful judicial review.” (Internal quotations omitted)). But, the court’s



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       role is only “to assure that, in formulating its judgments, [Maryland] has drawn reasonable

       inferences based on substantial evidence.” Turner II, 520 U.S. at 195.

                                                        3.

              For starters, defendants’ interest in promoting public safety in Maryland is clearly a

       substantial and compelling interest. See Hirschfeld, 5 F.4th at 441 (“To begin, the government's

       interests in preventing crime, enhancing public safety, and reducing gun violence are ‘not only

       substantial, but compelling.’”) (quoting Kolbe, 849 F.3d at 139). The Fourth Circuit has expressly

       found that the State has a substantial interest in providing for public safety and preventing crime.

       See Kolbe, 849 F.3d at 139; Woollard, 712 F.3d at 877-78; see also Masciandaro, 638 F.3d at 473

       (finding that the government has a substantial interest in providing for public safety in national

       parks). And, plaintiffs do not attempt to argue otherwise.

              Rather, plaintiffs argue that Maryland’s “purported public safety interests are an

       unconstitutional pretext for preventing law-abiding Maryland citizens from acquiring and

       possessing handguns.” ECF 135-1 at 37. In their view, the HQL requirements were enacted to

       “‘intimidate’ the citizens of Maryland from acquiring handguns.” Id. (citing ECF 135-6 at 7-9, Tr.

       30-31). Further, they claim that the FSA was the culmination of an effort led by former Maryland

       Attorney General J. Joseph Curran to “‘restrict the future sale of handguns to those who can show

       a real, law enforcement need for one.’” ECF 135-1 at 22-23 (citing Symposium: Guns as a

       Consumer Product: New Public Health and Legal Strategies to Reduce Gun Violence, 4 J. Health

       Care L. & Pol’y 1, 5 (2000)).

              Former Attorney General Curran did not hold elected office at the time of the passage of

       the FSA. Nor does the legislative record indicate that he had any role in the enactment of the FSA.

       Thus, Curran’s views are irrelevant to the law at issue in this case. Moreover, the other evidence



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       cited by plaintiffs in support of this argument merely supports the idea that defendants intended to

       limit the sale of handguns to unlawful purchasers.

              Plaintiffs also argue that the defendants have no evidence that there are any actual harms

       associated with handgun purchases and usage in Maryland. ECF 135-1 at 52. Yet, this contention

       is belied by the evidence, which establishes that handguns are the firearms most frequently used

       for criminal activity in Maryland. In 2012, for example, just prior to the passage of the FSA, there

       were 372 homicides in Maryland. ECF 135-23 at 1. And, out of 281 homicides by firearm, 271

       involved a handgun. Id. In other words, handguns were used in 73 percent of the reported murders

       in 2012.14 This powerful evidence indicates the high rate of handgun usage for unlawful purposes

       and the significant risks associated with inadequate precautions in the sale and distribution of

       handguns.

              Further, the record indicates that background checks conducted by firearm dealers, without

       fingerprints, are susceptible to fraud. See, e.g., ECF 125-3; ECF 125-4. According to defendants’

       experts, the firearm registration system in place in Maryland prior to passage of the FSA was

       “especially vulnerable” and resulted in “illegal straw purchases and…individuals using false

       identification in their applications to purchase regulated firearms.” ECF 125-3 at 2 (noting that

       prospective purchasers could more easily put inaccurate information on their application

       forms…in order to avoid a denial of the application”); see ECF 125-14 (Decl. of Chief Johnson),

       ¶ 11 (noting that prior to passage of HQL he was “aware of cases in Baltimore County involving

       straw purchases of handguns for prohibited person”); ECF 140-3 (Webster’s Third Supplemental

       Decl.), ¶ 12 (“Background checks conducted with only identification documents but without the




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                In 2019, there were 543 homicides in Maryland. And, out of 514 homicides by firearm,
       462 involved a handgun. See ECF 135-23 at 1.
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       applicant’s fingerprints can lead to ‘false negatives’ – situations in which individuals are cleared

       to purchase and possess firearms despite having a disqualifying criminal conviction.”). The

       experts’ concern as to fraud is consistent with the findings of the GAO Study that background

       checks conducted by firearm dealers “cannot ensure that the prospective purchaser is not a felon

       or other prohibited person whose receipt and possession of a firearm would be unlawful.” ECF

       125-4 at 2.

              Plaintiffs claim that the GAO Study is inapplicable here because it predates the REAL ID

       Act, 49 U.S.C. § 30301; 6 C.F.R. § 37.14(a)-(b). See ECF 135-1 at 63. Further, plaintiffs claim

       that “[b]ecause Maryland is now a REAL ID compliant state, there is no likelihood that false

       Maryland identification will be used” to purchase a handgun. Id. at 29. However, plaintiffs misstate

       the facts. The U.S. Department of Homeland Security has extended until May 3, 2023, the national

       deadline      for   REAL     ID    compliance.     See    Maryland      Dept.    of   Transportation,

       https://mva.maryland.gov/Pages/mdotmva-current-operations.aspx#realid (last accessed, July 27,

       2021). Moreover, plaintiffs do not provide any evidence that the REAL ID Act would eliminate

       the problem of false identification in this context. In any event, as discussed, infra, the addition of

       another prevention measure is not dispositive.

              The susceptibility to fraud has resulted in actual problems. Chief Johnson explained in his

       testimony before the General Assembly, ECF 125-5 at 4: “In law enforcement, we know that

       criminals prohibited from buying guns attempt to use straw purchasers…. Often, the people

       recruited to make a straw purchase are intellectually unsophisticated or coerced into straw

       purchasing attempts. In a recent case in Baltimore County, an intellectually disabled person was

       used to purchase numerous weapons, some of which were recovered and confirmed as having been

       used in crimes of violence.” See also ECF 140-3, ¶ 10 (Webster noting that “one of the most



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       common ways in which prohibited purchasers obtain firearms” is “through straw purchases or

       from private unlicensed sellers who purchase firearms from licensed gun dealers and then sell them

       in the underground gun market to criminals”).

              Handguns often fall into the wrong hands. Testifying before the General Assembly, then

       Baltimore City Police Commissioner Batts explained: “Most of the homicides and non-fatal

       shootings that plague Baltimore are perpetrated by prohibited persons with illegal guns.” ECF 125-

       6 at 2. To illustrate, he stated that in 2012 “79% of all homicide suspects arrested had prior records

       and approximately 45% had firearms offenses in their criminal histories.” Id.

              In addition, there are risks associated with handgun users who are not properly trained in

       handgun use and storage. For example, MSP Capt. James Russell averred, ECF 125-13, ¶ 14: “In

       my experience, prior to taking a training course, the vast majority of firearms safety students lack

       a sufficient working knowledge of a handgun to handle and operate it safely.” And, Chief Johnson

       testified at his deposition that he was aware of over 100 accidental discharges of handguns during

       his time in law enforcement in Maryland. See ECF 140-5 at 7-8, Tr. 105-106. These accidental

       discharges, according to Johnson, are often caused by people who mistakenly pulled the trigger,

       “unaware that there was a round in the chamber” because they thought ejecting the magazine was

       “sufficient” to render the weapon safe. Id. at 8, Tr. 106. And, as to the problem of improper storage,

       Chief Johnson stated, ECF 125-14, ¶ 15: “I am aware of at least two instances in which minors

       accessed improperly-stored firearms within the home, brought the weapons to school, and

       discharged them at school.”

              Further, under the video training requirement that preceded the FSA, the MSP could not

       guarantee that prospective purchasers were actually watching the training material. ECF 125-14,

       ¶ 7 (“A further advantage of classroom training is that an instructor can verify that an individual



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       attended the training, as opposed to watching a video, which cannot be verified.”); ECF 125-13, ¶

       26 (noting that “…students watching a video may leave the room while the video is playing”);

       ECF 125-5 at 5 (noting that the “current viewing requirement – viewing a 30-minute video—is

       insufficient”).

               Based on this evidence, the General Assembly concluded that the risks and challenges

       associated with the purchase and use of handguns in Maryland required a more robust

       identification and training requirement, in order to reduce the risks outlined above and to promote

       public safety. And, it “is beyond cavil that [the State has a] ‘substantial, indeed compelling,

       governmental interest[] in public safety and crime prevention.’” NYSRPA, 804 F.3d at 261

       (Kachalsky, 701 F.3d at 96).

                                                              4.

               The Court must next decide whether the HQL requirements “are a reasonable fit to” the

       State’s interest in public safety. See Hirschfeld, 5 F.4th at 441. In particular, I must determine

       whether the fingerprinting requirement and the firearm safety training are substantially related to

       the government’s interest in promoting public safety. In addition, I must ascertain whether the

       requirements impose more burden on the Second Amendment right than necessary to achieve that

       interest.

               As to the fingerprint requirement, defendants posit that it serves “three critical public safety

       functions,” ECF 125-1 at 26: (1) It “enables MSP to ensure that the applicant is positively

       identified and not using false identification or altering his or her identification information”; (2)

       “a fingerprint record can be used to determine if an HQL licensee is convicted of a disqualifying

       offense subsequent to passing the initial background investigation”; and (3) the fingerprint




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       requirement, “through its inherent and lasting reliability, acts as a deterrent to straw purchasers

       and those intending to purchase firearms solely for criminal purposes.”

              Plaintiffs counter that the fingerprint requirement is unnecessary because the preexisting

       registration requirement already “positively identif[ied] handgun purchasers” and allowed law

       enforcement “to locate and disarm handgun owners who were subsequently disqualified from

       handgun ownership.” ECF 135-1 at 28. In particular, they point out, ECF 135-1 at 18, that the 77R

       Handgun Registration application required the prospective purchaser’s identifying information,

       including “name, address, Social Security number, place and date of birth, height, weight, race,

       eye and hair color, signature, driver’s [license] or photographic identification soundex number,

       [and] occupation.” See Md. Code (2003), P.S. § 442. And, the MSP used this information to

       conduct a background check on the prospective firearm purchaser. See ECF 135-6 at 14, Tr. 73

       (Webster noting that prior to the HQL, there was a requirement that MSP conduct a background

       check on prospective purchasers).

              According to plaintiffs, the HQL fingerprint requirement “is beneficial only for stopping a

       potential purchaser whose fingerprints are already in the Central Repository and who attempts to

       use a false government issued photographic identification of another individual who does not have

       a criminal record.” ECF 135-1 at 29. They assert that defendants “have no evidence that anyone

       in Maryland has ever attempted to purchase a handgun in such circumstances.” Id. And, in any

       event, plaintiffs posit that the “REAL ID” diminishes the “likelihood that false Maryland

       identification will be used for such a purchase.” Id. Further, plaintiffs take issue with the evidence

       that defendants used to establish that the fingerprint requirement is substantially related to serving

       public safety. Id. at 54-58.




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              Defendants’ experts are in agreement that a fingerprint requirement helps to prevent fraud,

       ensure the identity of gun purchasers, and deter straw purchasers. In particular, two members of

       law enforcement and Webster provided testimony to the General Assembly as to the benefits of a

       fingerprinting requirement. See ECF 125-3; ECF 125-5; ECF 125-6. Chief Johnson, for example,

       explained that the fingerprinting requirement would “help law enforcement to identify people

       involved in gun crimes.” ECF 125-5 at 5. And, Commissioner Batts noted that the fingerprint

       requirement would help “ensur[e] that the applicant is not prohibited from possessing a handgun.”

       ECF 125-6 at 2-3.

              In their testimony in support of the FSA, Webster, Johnson, and Batts relied on empirical

       evidence, in addition to their personal expertise. See ECF 125-3; ECF 125-5; ECF 125-6. As noted,

       during Webster’s testimony before the General Assembly, he shared the conclusions of an array

       of empirical studies as to the benefits of licensing laws that require fingerprinting. See ECF 125-

       3. For instance, Webster explained that five states that require citizens to apply directly with a law

       enforcement agency and be fingerprinted before they can purchase handguns “have some of the

       lowest age-adjusted firearm mortality rates per 100,000 population in the nation for the period

       2006-2010.” Id. at 3. Johnson and Batts also referenced research from states with licensing

       requirements. ECF 125-5 at 4 (noting that “other states with licensing requirements have shown

       such a reduction”); ECF 125-6 (“States like New York, New Jersey and Massachusetts have shown

       that licensing will also serve as a deterrent to the straw buyers of a handgun.”).

              Webster and Johnson reaffirmed and emphasized the benefit of the fingerprint requirement

       in their expert declarations and deposition testimony for this case. See Kolbe, 849 F.3d at 140 n.14

       (noting that the court may look to evidence outside of the legislative record in order to confirm the

       reasonableness of the legislature’s predictions). For instance, Chief Johnson averred, ECF 125-14,



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       ¶ 8: “Based on my law enforcement experience and conversations with other law enforcement

       personnel, it is my opinion that an individual who has to render a set of fingerprints to obtain an

       HQL will be deterred from falsely identifying him or herself during the application process. In

       contrast, a background investigation based solely on photographic identification can be defeated

       with false identification.” See also, e.g., id. ¶ 9 (“[I]t is my opinion that an individual who knows

       they have to render a set of fingerprints to obtain an HQL is less likely to engage in a straw

       purchase on behalf of a disqualified individual.”); ECF 135-8 at 2-3 (Dep. of Chief Johnson), Tr.

       19-20 (“I believe the fingerprint itself is a more robust element that determines one’s true identity.

       The [previous background check] obviously can be defeated with false identification….”); ECF

       140-11, ¶ 12 (Webster explaining that “purchaser licensing systems that use law enforcement

       agencies and fingerprint verification of an applicant’s identity more effectively vet applications to

       purchase firearms than can be accomplished by gun store owners and clerks who process these

       applications in the absence of licensing systems or biometric identity markers.”). Defendants’

       witnesses also stressed the importance of the fingerprint requirement to prevent firearms from

       falling into, or remaining in, the hands of convicted criminals. See, e.g., ECF 125-7 (Decl. of

       Captain Andy Johnson), ¶¶ 23, 24; ECF 125-11 (Decl. of Webster), ¶ 10.

              Plaintiffs counter that, even without the fingerprint requirement, MSP could have

       dispossessed individuals of their registered firearms if they were subsequently disqualified from

       gun ownership. ECF 135-1 at 28-29. However, before 2013, there was no “systematic or routine

       reporting” of criminal history record information of registered gun owners. First Sgt. Donald

       Pickle, Assistant Commander of MSP’s Licensing Division, averred, ECF 125-9, ¶ 12: “While it

       is true that MSP was able to locate and disarm handgun owners prior to the fingerprint requirement

       when MSP was notified that the individual was subsequently disqualified from handgun



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       ownership, I am unaware of any systematic or routine reporting of this information from any law

       enforcement agency, court system, or other criminal justify agency prior to enactment of the

       Firearm Safety Act and the HQL fingerprint requirement.” See also ECF 140-2 (Webster

       Supplemental Decl.), ¶ 6 (“Based on my gun policy research in the State of Maryland, I am aware

       that there is no such routine reporting of individuals convicted of all disqualifying offenses from

       local law enforcement agencies to the Maryland State Police.”).

              The FSA obviates any dependency on reporting by local law enforcement. “Using the

       fingerprint record generated as part of the HQL application process, DPSCS is able to provide

       MSP with licensees’ updated criminal history information.” ECF 125-7 (Decl. of Capt. Andy

       Johnson), ¶ 23; see also ECF 140-2, ¶ 6 (Webster noting that “the reports routinely generated based

       on the fingerprint records allow the Maryland State Police to track arrests without having to rely

       on reporting from local law enforcement”); see FSA § 5-117.1(f)(7). “This information enables

       MSP to revoke the HQLs of persons who become ineligible to possess them and to notify the

       Firearms Enforcement Unit, which is responsible for removing firearms from disqualified

       individuals. The Firearms Enforcement Unit investigates whether the person is still in possession

       of firearms and, if so, is responsible for retrieving those firearms.” ECF 125-7, ¶ 23. And, as even

       plaintiffs’ expert concedes, it is undeniable that the ability to identify when an HQL licensee

       subsequently becomes disqualified is beneficial for public safety. ECF 125-15 (Dep. of Kleck) at

       3, Tr. 49 (agreeing that there are potential public safety benefits to identifying an HQL licensee

       who becomes disqualified after receiving an HQL).

              Plaintiffs vigorously dispute some of the empirical studies on which defendants have relied.

       In particular, in his declarations and expert report, Webster argues that empirical evidence from

       studies conducted about permit-to-purchase firearm laws in Connecticut and Missouri demonstrate



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       that such laws “are an effective means of reducing (1) the diversion of guns for criminal purposes;

       (2) firearm homicides; and (3) suicides with firearms.” ECF 125-11, ¶ 13; see id. ¶¶ 14-16.

       Plaintiffs, through Kleck, question the methodology and conclusions of Webster’s studies. ECF

       135-1 at 55-57. Kleck posits, for example, that Webster’s conclusions are the result of “data

       dredging” and that the studies’ choice of control variables and control areas were “cherry-

       pick[ed].” Id. at 57; see ECF 135-25, ¶¶ 13-23.

              In Heller III, 801 F.3d at 275-76, the D.C. Circuit upheld a fingerprinting requirement for

       handgun registration based, in part, on testimony from Webster and another law enforcement

       expert, as well as the conclusions of the GAO Study. Id. at 275-76. The plaintiffs in Heller III

       argued that “the District [i.e., the defendant] has not experienced a problem with fraud in the

       registration of firearms” and the problem of fraud “is unlikely to arise, given the increased

       difficulty of manufacturing fraudulent identification documents today, as compared to 2001, when

       the GAO concluded its investigation.” Id. at 276. That argument is similar to the contention

       advanced here by plaintiffs.

              In response to the plaintiffs’ argument, the D.C. Circuit reasoned, id.: “Even if this is true,

       however, a prophylactic disclosure measure such as the one at issue here survives intermediate

       scrutiny if the deterrent value of the measure will materially further an important governmental

       interest.” The Heller III Court noted that the “GAO study indicates the fingerprinting requirement

       would help deter and detect fraud and thereby prevent disqualified individuals from registering

       firearms,” and the experts’ testimony affirmed that using fingerprints “‘to positively identify an

       individual is far more effective than relying simply on a name and social security number.’” Id.

       (internal citation omitted). Thus, the court concluded that “the District has adduced substantial

       evidence from which it reasonably could conclude that fingerprinting…registrants will directly



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       and materially advance public safety by preventing at least some ineligible individuals from

       obtaining weapons….” Id. at 277.

               In the face of these “conflicting views” of Webster's work, the Court need not “put [its]

       imprimatur” on his research and conclusions. Turner II, 520 U.S. at 208. Rather, “‘[i]t is the

       legislature’s job,” not the job of the Court, “to weigh conflicting evidence and make policy

       judgments.’” Kolbe, 849 F.3d at 140 (quoting Woollard, 712 F.3d at 881) (alterations in Kolbe).

       The Court’s role is merely to decide whether defendants have provided “substantial evidence” to

       support the General Assembly “making the judgment that it did.” Turner II, 520 U.S. at 208; see

       also Gonzales v. Carhart, 550 U.S. 124, 163 (2007) (courts should give legislatures “wide

       discretion to pass legislation in areas where there is ... scientific uncertainty”) (collecting cases).

               Substantial evidence was presented to the Maryland legislature, from which it was entitled

       to conclude that the fingerprinting of prospective handgun purchasers would promote public

       safety. The State relied on expert testimony, empirical evidence, and “simple common sense” to

       reasonably infer that a fingerprinting requirement would facilitate identification of a gun’s owner,

       both at the time of licensing and upon any subsequent disqualifying activity. Lorillard Tobacco

       Co. v. Reilly, 533 U.S. 525, 555 (2001) (“[W]e have permitted litigants to justify ... restrictions

       [under intermediate scrutiny] by reference to studies and anecdotes pertaining to different locales

       altogether, or even, in a case applying strict scrutiny, to justify restrictions based solely on history,

       consensus, and simple common sense.”). Moreover, the General Assembly was of the view that

       such a requirement would deter straw purchases.

               As the Fourth Circuit stated in Kolbe, 849 F.3d at 140, with respect to another FSA

       provision: “The judgment made by the General Assembly of Maryland in enacting the FSA is

       precisely the type of judgment that legislatures are allowed to make without second-guessing by a


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       court.” I am satisfied that the State “adduced substantial evidence” that the fingerprinting

       requirement will help effectuate public safety by, among other things, preventing fraud and

       facilitating the removal of firearms from disqualified individuals.

                                                            5.

              With respect to the live training and live-fire requirement, defendants argue that it “will

       reduce accidental discharges and access of firearms to ineligible persons, including minors.” ECF

       140 at 34. In addition to the testimony presented to the General Assembly (ECF 125-3; ECF 125-

       5; ECF 125-6), defendants primarily rely on affidavits from Capt. Russell and former Chief

       Johnson to establish that the training requirement is reasonably adapted to achieve the

       government’s purported interests and is superior to the video training required under the earlier

       registration scheme. ECF 125-13; ECF 125-14.

              According to the defense experts, the training requirement creates an additional deterrent

       because “straw purchasers will [not] sit through a four-hour training program.” ECF 125-5 at 5;

       see ECF 125-14, ¶ 11 (noting that straw purchasers would be deterred by “taking a four-hour

       firearms safety training that included an overview of State firearms law”). Further, the experts

       opine that the training contemplated by the HQL law promotes safe handling, operation, and

       storage of firearms which reduces the risk of accidental discharges and access of firearms to minors

       and criminals. ECF 125-13, ¶¶ 19-21; ECF 125-14, ¶ 14-16. Additionally, a live training course,

       in contrast with video training, “allows for dialogue…such that students can ask questions,” ECF

       125-14, ¶ 17, and “receive feedback from the instructor.” ECF 125-13, ¶ 26. Live training also

       allows an instructor “to verify that an individual attended the training.” ECF 125-14, ¶ 17; ECF

       125-13, ¶¶ 22-23; see also ECF 125-14, ¶ 17.




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              Plaintiffs maintain that the new training requirement is unnecessary because it is

       “substantively identical to the 77R Handgun Registration online presentation.” ECF 135-1 at 60.

       If the law is “substantively identical” to the earlier training program, however, then it is difficult

       to understand the basis of plaintiffs’ complaint. In any event, plaintiffs cite no evidence to support

       their contention that the four-hour training is identical to the one-hour video training. In the end,

       plaintiffs are unhappy with the inconvenience of the requirement. The four-hour classroom

       requirement for the HQL is a minor inconvenience; it does not violate the Second Amendment.15

              Both defense experts also stressed the benefits of the live-firing requirement. Capt. Russell,

       for example, averred that the live-fire requirement “is a significant step toward ensuring

       responsible and safe gun ownership.” ECF 125-13, ¶ 25. According to Chief Johnson, the live fire

       component of the training could prevent accidental discharges because it would make an individual

       “accustom[ed] to the mechanism, the operation of the weapon” and the “process of clearing the

       weapon” to render it safe. ECF 140-5 at 9, Tr. 107; see ECF 135-9 at 12, Tr. 107 (Capt. Russell

       noting that his students say that they “feel so much [more] comfortable with the nomenclature,

       how to make it safe, and…shooting procedures” after the live-fire training).

              As plaintiffs point out, Chief Johnson also stated that he thinks “just firing one round [of

       live ammunition] is not adequate.” ECF 135-8 at 10, Tr. 52. But, just because the requirement does

       not go as far as it could have or should have does not mean it is unconstitutional. See Mance v.

       Sessions, 896 F.3d 699, 701, 704, 708–09 (5th Cir. 2018) (per curiam) (finding that federal laws


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                 Maryland has established training requirements as a condition for licensing in various
       contexts. To be sure, the training requirements do not always implicate constitutional rights. But,
       these requirements reflect the legislative approach to licensing. For instance, to qualify for a
       Maryland driver’s license for the first time, individuals must participate in 30 classroom hours of
       instruction and spend six hours behind the wheel. See Motor Vehicle Administration
       (https://mva.maryland.gov/drivers/Pages/rookie-driver-general-learners.aspx) (last accessed, July
       22, 2021).

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      preventing federally licensed dealers from directly selling handguns to out-of-state buyers survived

      strict scrutiny despite their underinclusivity, as governments “need not address all aspects of a

      problem in one fell swoop”). Moreover, Chief Johnson also noted, ECF 135-8 at 10, Tr. 52: “I do

      not think the requirement to show proficiency in discharging a round is unreasonable.” Thus, even

      if he did not think the requirement went far enough, he still thought it was reasonable.

             Plaintiffs’ primary argument as to the live fire requirement is that it “effectively bans

      completion of the HQL training in almost all urban areas of Maryland because there is nowhere to

      legally discharge a firearm except at an established firing range.” ECF 150 at 13; see ECF 135-3

      (Decl. of Pennak), ¶ 22. Although the live firing requirement may present a slight burden on

      prospective purchasers who live in urban areas, and who therefore must travel outside their

      immediate neighborhoods to complete the training, the requirement is certainly not the equivalent

      of a “ban” on the completion of the training. See Connecticut Citizens Defense League, Inc. v.

      Lamont, 465 F. Supp. 3d 56, 73 (D. Conn. 2020) (“The U.S. Constitution permits the States to set

      out a procedural road to lawful handgun ownership, rather than simply allowing anyone to acquire

      and carry a gun…. That road may be long…. It may be narrow…. It may even have tolls.”)

      (citations omitted); Second Amendment Arms v. City of Chicago, 135 F. Supp. 3d 743, 754 (N.D.

      Ill. 2015) (“[A] slight diversion off the beaten path is no affront to ... Second Amendment rights.”).

             As discussed, despite this requirement, thousands of Maryland citizens have applied for

      and successfully received HQL licenses since 2013. Moreover, most of plaintiffs’ witnesses who

      were allegedly deterred from purchasing a handgun by the HQL had already taken firearm safety

      courses or were exempt from the training requirement. See ECF 140-8 (Dep. of Clark) at 5, Tr. 15;

      ECF 140-7 (Dep. of Mr. Miller) at 9, Tr. 20; ECF 135-4 (Dep. of Vizas) at 9, Tr. 37; but see ECF

      135-5 at 12, Tr. 33 (Ms. Miller noting that she was deterred from taking the training because of



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       her back problems). For example, Ms. Vizas, one of the named plaintiffs, had already participated

       in a hunter safety training course in 2016 simply because her children wanted to attend the class.

       ECF 135-4 at 9, Tr. 37. Thus, the training requirement is hardly the obstacle that plaintiffs suggest.

              Plaintiffs make two additional arguments in attempting to demonstrate that the training

       requirement is unnecessary, ineffective, and illegal. Both are unpersuasive.

              First, plaintiffs argue that there is “no evidence that the training courses actually being

       taught bear any relationship to any of the asserted government interests.” ECF 150 at 24. But,

       plaintiffs do not present any evidence to demonstrate that the substance of the training courses is

       problematic. And, the Act provides that the safety training must cover “State firearm law[,] home

       firearm safety[,] and handgun mechanisms and operation.” P.S. § 5-117.1(d)(3); see COMAR,

       29.03.01.29 (setting out the “minimum curricula” relating to each statutory subject). Additionally,

       the MSP provides instructors with a sample lesson plan for the course. ECF 135-7 (Dep. of

       Johnson) at 8-9, Tr. 68-69; ECF 135-9 (Dep. of Russell) at 5-6, Tr. 70-71; id. at 14, Tr. 114 (noting

       that the MSP recommends instructors use the sample lesson plan, although it is not a requirement).

       And, instructors must meet certain requirements in order to become qualified to teach the course.

       See COMAR, 29.03.01.37, .38.

              Second, plaintiffs assert that the exceptions to the safety course illustrate “the pretextual

       nature of the Defendants’ claimed interest.” ECF 135-1 at 39. As noted, the Act does not require

       HQL training for individuals, for example, who already own registered firearms or have passed

       hunter safety training. P.S. §§ 5-117.1(e). According to plaintiffs, this indicates that the video

       training course is sufficient to ensure public safety. ECF 135-1 at 39-40. However, the State’s

       experts specifically disputed that claim. Chief Johnson, for example, stated, ECF 125-14, ¶ 17: “I

       am aware that prior to the enactment of the HQL requirement, purchasers of handguns were



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       required to view a video that, in my opinion, did not amount to training on the safe operation and

       handling of a firearm. Based on my 39-year career in law enforcement, I do not consider merely

       watching a video to be training….” And, as noted with respect to the live-fire requirement, just

       because a law does not address every “facet of a problem at once” does not mean it is

       unconstitutional. See Hirschfeld, 5 F.4th at 450.

              Additionally, both sides rely on Heller III, 801 F.3d 264, to support their contentions as to

       the training requirement. Plaintiffs’ reliance is misplaced.

              Heller III addressed a challenge to the District’s training requirement that mandated a one-

       hour firearms safety course, available online, and a test about local gun laws. The D.C. Circuit

       said, id. at 278-79: “The District has presented substantial evidence from which it could conclude

       that training in the safe use of firearms promotes public safety by reducing accidents involving

       firearms, but has presented no evidence from which it could conclude that passing a test of

       knowledge about local gun laws does so. The safety training, therefore, is constitutional; the test

       of legal knowledge is not.”

              As to the training course requirement, the “District’s experts each testified to their belief

       in the value of training to prevent accidents,” and the District “offered anecdotal evidence showing

       the adoption of training requirements ‘in most every law enforcement profession that requires the

       carrying of a firearm’ and a professional consensus in favor of safety training.” Id. at 279 (citation

       omitted). Thus, even though the District did not present empirical evidence about the benefits of

       mandatory training, the court was satisfied that the requirement was justified. Id. But, as to the

       “test” requirement, the court found that the District had not presented sufficient evidence to

       demonstrate that “knowledge of the District’s gun laws will promote public safety.” Id.




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              Although the HQL training requirement is more extensive than the training requirement in

       Heller III, the D.C. Circuit’s reasoning is instructive. Defendants submitted declarations from two

       law enforcement experts who, speaking from “experience and common sense,” and based on

       “hundreds of conversations with other law enforcement officers regarding their experience,”

       expressed their belief in the value of live training to prevent accidents, among other things. ECF

       125-14, ¶ 4; see ECF 125-13, ¶¶ 18-21. And, unlike the law at issue in Heller III, the HQL training

       requirement does not require applicants to demonstrate their knowledge of State laws that are

       unrelated to public safety. Plaintiffs do not contend otherwise.

              Therefore, as in Heller III, I am satisfied that the expert opinions of the State’s witnesses,

       as well as common sense, comprise substantial evidence that the State’s training requirement will

       help to prevent handgun accidents and deter straw purchasers and thus promote public safety.

                                                         6.

              Overall, plaintiffs argue that the expense and time associated with HQL requirements

       impose too great a burden on prospective purchasers for its limited benefits. In particular, plaintiffs

       complain that the HQL requirement is time-consuming because it “imposes an additional

       statutorily-permissible 30-day waiting period.” ECF 135-1 at 24. And, in addition to the 30-day

       waiting period, plaintiffs complain that “completing an HQL application takes time” and money—

       at least $200. Id. at 24, 26. Specifically, to complete the application, prospective handgun

       purchasers “must begin an application, find a firearm instructor, complete a half day of firearm

       instruction in a classroom format, complete the live-fire requirement, locate a live-scan fingerprint

       vendor, obtain fingerprints, and complete their application online.” Id.

              However, courts have regularly found that “reasonable” fees and waiting periods are

       constitutional. See, e.g., Silvester v. Harris, 843 F.3d 816, 827 (9th Cir. 2016) (noting that “[t]here



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       is … nothing new in having to wait for the delivery of a weapon” and upholding 10-day waiting

       period); Heller III, 801 F.3d at 278 (finding that “reasonable fees associated with constitutional

       requirements of registration and fingerprinting are also constitutional”); Kwong v. Bloomberg, 723

       F.3d 160, 165–69 (2d Cir. 2013) (holding constitutional a $340 fee for a license to possess a

       handgun in one's home); see also Cox v. New Hampshire, 312 U.S. 569, 577 (1941) (holding, in

       response to a First Amendment challenge to a parade licensing statute, that a government may

       impose a fee “to meet the expense incident to the administration of the act and to the maintenance

       of public order in the matter licensed”); Kuck v. Danaher, 600 F.3d 159, 163 (2d Cir. 2010)

       (recognizing, in the firearms licensing context, “that administrative determinations may require a

       non-trivial amount of time to complete”).

              In order to demonstrate the significance of the burden, plaintiffs assert that the HQL

       requirement “discouraged nearly one-quarter of Maryland citizens who wished to exercise their

       fundamental Second Amendment rights and who were motivated enough to begin an HQL

       application from completing it and obtaining their HQL.” ECF 135-1 at 13. However, this claim

       is based on the number of users who initiated an HQL application on MSP’s server but did not

       complete the application. Id. Plaintiffs do not cite to any evidence demonstrating that the

       applications were not completed because of the HQL requirements. As defendants point out, there

       are many reasons why an application may not be completed. ECF 140 at 11-12; see ECF 140-6

       (Dep. of Diane Armstrong, supervisor for the Handgun Qualification License Unit); ECF 135-15

       (MSP Col. Pallozzi Third Supp. Interrog. Resp.) at 3-4, 8. For example, individuals sometimes

       inadvertently create multiple accounts and initiate multiple applications on those accounts, but

       only complete an application on one account. ECF 140-6 at 4, Tr. 8. It is also conceivable that




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       some applications were not completed because the applicants recognized that they would not

       qualify, perhaps because of a prior criminal record.

              Moreover, plaintiffs claim that the FSA has caused a significant decline in gun sales. They

       point to Atlantic Guns’ average yearly handgun sales for the four-year period before the enactment

       of the FSA, from 2009 to 2012, and compare those sales to its average yearly handgun sales for

       the four-year period subsequent to the FSA, from 2014 to 2017. The comparison shows a 20

       percent reduction in sales, according to plaintiffs. ECF 135-1 at 43; ECF 84, ¶ 9 [SEALED].

              To be clear, the Court does not dispute the fact that Atlantic Guns may have lost sales and

       revenue as a result of the FSA. See Maryland Shall Issue, 971 F.3d at 211-12 (noting that after the

       FSA took effect, the dealer’s handgun sales suffered). However, plaintiffs excluded the sales for

       2013 from their calculation. And, in 2013, Atlantic Guns’ sales were ________________ the

       yearly average from the preceding four years. See ECF 84-1 [SEALED].16

              Further, the four-year period of 2014-2017 does not tell the whole story. Atlantic Guns’

       sales data from 2017-2020 indicates that the FSA may not have any long-term effect on sales. In

       the last year four years, Atlantic Guns sold, on average, eight percent more handguns per year than

       it did during the four years immediately preceding the enactment of the FSA. See ECF 141-1. And,

       other than the plaintiffs’ witnesses who were purportedly deterred from purchasing handguns,

       there is no evidence as to whether the law has actually prevented any law-abiding, eligible citizens

       from purchasing handguns.

              In addition, throughout their arguments, the parties vigorously dispute whether the Act has

       actually had the intended effect of promoting public safety. Defendants tout two studies conducted



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                 It is plausible that the sizeable increase in gun sales in 2013 might have had an offsetting
       effect on gun sales in the following years.

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       by Webster that purport to assess the FSA’s impact on (1) the supply of handguns diverted to

       criminal use in Baltimore and (2) the homicide rate in Maryland. ECF 125-1 at 29-30; see ECF

       125-11, ¶¶ 17-18. In response, plaintiffs point out everything that they believe is wrong with those

       studies. ECF 135-1 at 54-55.

               The first study, according to Webster, “shows a strong association between the adoption of

       Maryland’s HQL law and a reduction in the number of handguns diverted to criminals in

       Baltimore.” ECF 125-11, ¶ 18 & n.6 (citing Cassandra K. Crifasi et al., The initial impact of

       Maryland’s Firearm Safety Act of 2013 on the supply of crime guns in Baltimore, 3(5) The Russel

       Sage Foundation Journal for the Social Sciences 128–40 (2017)) (“2017 Study”). In particular,

       Webster explained that the “study showed that the FSA with the HQL requirement was associated

       with a 76 percent reduction in the number of handguns originally sold in Maryland that were (1)

       recovered by police in connection with a crime within one year of retail sale; and (2) where the

       person from whom the gun was recovered was not the same as the person who purchased the gun

       originally.” ECF 125-11, ¶ 18. The study also surveyed probationers and parolees in Baltimore,

       40% of whom reported that obtaining a handgun was more difficult after the HQL’s enactment.

       Id. ¶ 19.

               Relying on Kleck’s analysis, plaintiffs take issue with Webster’s conclusions, stating, ECF

       135-1 at 55: “Although [the 2017 Study] concludes that the FSA caused a reduction in the supply

       of crime handguns in Baltimore, this conclusion is not based on any actual (or reliable) data on the

       supply of handguns in Baltimore or anywhere else.” According to Kleck, the 2017 Study used

       firearms trace data, which “cannot legitimately be used to assess the supply of crime guns” because

       the Bureau of Alcohol, Tobacco, Firearms and Explosives states that “[t]he firearms selected [for

       tracing] do not constitute a random sample and should not be considered representative of the



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       larger universe of all firearms used by criminals, or any subset of that universe.” ECF 135-25, ¶¶

       6, 7. Further, with respect to the survey of Baltimore probationers and parolees, Kleck asserts that

       the “convenien[t] sample of criminals was not representative of criminals…” and there is no

       “evidence whatsoever that any of these individuals had actually tried to acquire a gun before or

       after the FSA went into effect.” Id. ¶ 11.

              Additionally, as to homicide rates, Webster concluded that the HQL requirements were

       associated with a 48% reduction in firearm homicide rates in Maryland based on data collected

       from Anne Arundel, Montgomery, and Prince George’s counties. ECF 125-11, ¶ 17. Webster

       purportedly excluded Baltimore City from the statistical model because “the study period included

       2015, when firearm homicide rates surge[d] in Baltimore City immediately following the riots over

       the in-custody death of Freddie Gray, Jr.,” so “estimates of the law’s impacts in Baltimore or

       statewide would be biased in the direction of more homicides due to the historical confounder of

       major riots.” Id.

              Plaintiffs criticize Webster’s decision to exclude Baltimore City from his statistical model

       and emphasize that the HQL requirement is actually associated with an increased homicide rate in

       Baltimore City, and Maryland as a whole. ECF 135-1 at 30-31; ECF 150 at 20-21. To be sure, it

       is undisputed that the number of handgun homicides in Maryland has increased overall since 2013.

       See ECF 135-23 at 1. But, the data is not as clear as plaintiffs suggest. The firearm homicide rate

       decreased immediately following the passage of the FSA in 2013 and only began to rise again in

       2015. And, as defendants contend, that rise may be associated with the aftermath of “the death of

       Freddie Gray and the ensuing unrest.” ECF 140 at 14. And, it is also quite plausible that, without

       the HQL the disturbing number of homicides might have been even greater.




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              Given the array of variables, it may be impossible to determine the effectiveness of the law

       at this juncture, or at any juncture. See Hirschfeld, 5 F.4th at 451 (“While we recognize that it

       would be difficult to determine the effectiveness of these laws now….”); see also id. at 483 (Wynn,

       J., dissenting) (“[A]s the majority recognizes, it ‘[is] difficult to determine the effectiveness of

       these laws now.’… Given this conceded uncertainty, I would not have this Court stray far beyond

       its area of expertise to strike down a long-established law because of its perceived

       ineffectiveness.”). In the face of such uncertainty, I would be straying beyond my authority to

       strike down a law because of its perceived ineffectiveness. See Masciandaro, 638 F.3d at 475–76

       (“We do not wish to be even minutely responsible for some unspeakably tragic act of mayhem

       because in the peace of our judicial chambers we miscalculated as to Second Amendment rights....

       If ever there was an occasion for restraint, this would seem to be it.”).

              In any event, the “Supreme Court has stated explicitly that the government satisfies

       intermediate scrutiny if its predictions about the effect of a challenged law are rational and based

       on substantial evidence—it need not establish with certitude that the law will actually achieve its

       desired end.” Heller v. District of Columbia, 45. F. Supp. 3d 35, 41-42 (D.D.C. 2014) (emphasis

       added) (citing Turner I, 512 U.S. at 666 (stating that, to survive intermediate scrutiny, government

       must show that “in formulating its judgments, [the legislature] has drawn reasonable inferences

       based on substantial evidence”)), aff’d in part, 801 F.3d 264 (D.C. Cir. 2015).

                                                 V.      Conclusion

              The record demonstrates a reasonable fit between Maryland’s HQL law and the State’s

       important interest in promoting public safety. As noted, the evidence indicates that there are real

       safety risks associated with the misuse of handguns and the possession of handguns by those who

       are barred under the law from gun possession. And, as discussed above, the fingerprinting and



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       training requirements align directly with the State’s need to verify the identity of gun purchasers,

       deter straw purchasers, and ensure that handgun users have sufficient knowledge about guns, so as

       to mitigate safety risks.

               The fingerprinting and training requirements are reasonably adapted to serve the State’s

       overwhelming interest in protecting public safety. Moreover, the time and expense associated with

       the requirements are reasonable. See Heller II, 670 F.3d at 1249 n.* (noting that “administrative

       ... provisions incidental to the underlying regime”—which include reasonable fees associated with

       registration—are lawful insofar as the underlying regime is lawful). “Simply put, the State has

       shown all that is required: a reasonable, if not perfect, fit between the FSA and Maryland’s interest

       in protecting public safety.” Kolbe, 849 F.3d at 140-41. I decline to usurp the legislative role by

       invalidating the measures that the Maryland General Assembly enacted based on substantial

       evidence that such measures would promote public safety.

               As Judge Wilkinson aptly noted in his concurrence in Kolbe, 849 F.3d at 150: “No one

       really knows what the right answer is with respect to the regulation of firearms,” but “the profound

       ambiguities of the Second Amendment” are not “an invitation to courts to preempt this most

       volatile of political subjects and arrogate to themselves decisions that have been historically

       assigned to other, more democratic actors.” Further, he stated, id.: “Disenfranchising the American

       people on this life and death subject would be the gravest and most serious of steps. It is their

       community, not ours. It is their safety, not ours. It is their lives, not ours. To say in the wake of so

       many mass shootings in so many localities across this country that the people themselves are now

       to be rendered newly powerless, that all they can do is stand by and watch as federal courts design

       their destiny—this would deliver a body blow to democracy as we have known it since the very

       founding of this nation.”



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              For the reasons set forth above, I shall grant Defendants’ Motion and deny Plaintiffs’

       Motion. An Order follows, consistent with this Memorandum Opinion.17




       Dated: August 12, 2021                                               /s/
                                                             Ellen L. Hollander
                                                             United States District Judge




              17
                  The Memorandum Opinion will be filed under seal because it contains confidential
       business information filed under seal by a party. Therefore, the Court will file a redacted version
       of the Memorandum Opinion or, alternatively, after consultation with counsel, it will lift the seal.
       By August 23, 2021, the parties shall advise the Court as to whether they object to the lifting of
       the seal or, alternatively, whether the Court should file a redacted version, limited to pages 17 and
       53. If either side requests the filing of a redacted version, the proposed redaction(s) should be
       submitted by August 23, 2021.
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                                CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 3rd day of August, the foregoing was

        served, via electronic delivery, to all parties’ counsel via the Court’s appellate

        CM/ECF system which will forward copies to Counsel of Record.


                                                    /s/ John Parker Sweeney
                                                    John Parker Sweeney
